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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA


  STATE OF LOUISIANA, et al.,

      Plaintiffs,

                    v.
                                                  Civil Action No. 22-cv-1213
  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United States of
  America, et al.,

      Defendants.


                         DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                          MOTION FOR PRELIMINARY INJUNCTION
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                                        INTRODUCTION

        The record in this case shows that the Federal Government promoted necessary and

 responsible actions to protect public health, safety, and security when confronted by a deadly

 pandemic and hostile foreign assaults on critical election infrastructure. Among those efforts,

 various agencies and officials spoke publicly and privately with social media companies to

 promote the Government’s message on issues of public health and safety, identify potential threats

 to election integrity and security on social media, and call the companies’ attention to

 misinformation spreading on their platforms.

        Plaintiffs condemn these efforts as a wide-ranging “Censorship Enterprise” constituting

 “some of the most egregious First Amendment violations in American history.” Pls.’ Supp. Prelim.

 Inj. Br. at 1 (Dkt. 214) (“PI Supp.”). To do so, Plaintiffs press a far-ranging conspiracy theory in

 which dozens of federal agencies and officials, across multiple administrations, have allegedly

 coerced or colluded with every large-scale social media company to suppress speech and speakers

 expressing views on COVID-19 and election integrity that are “disfavored” by the current

 Administration. But Plaintiffs’ repetition of the word “censorship” and its equivalents does not

 cure the significant factual deficiencies in their theory—including that much of the challenged

 conduct occurred in the previous Administration—or transform sheer speculation into concrete

 proof. Indeed, despite receiving thousands of pages of documents and deposing multiple federal

 officials over an eight-month period, Plaintiffs fail to cite any evidence of past or (critically)

 imminent violations of their First Amendment rights to support their request for extraordinary

 preliminary relief. And when confronted with evidence that undermines their arguments, Plaintiffs

 urge the Court to simply disregard the facts and adopt Plaintiffs’ conclusory allegations and

 speculations instead. Although the Court accepted Plaintiffs’ factual allegations in ruling on
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 Defendants’ motion to dismiss, allegations alone are not enough to justify preliminary injunctive

 relief. Plaintiffs must now back up their allegations with evidence. Their failure to do so

 necessarily means that they cannot meet any of the preliminary injunction requirements.

        First, and most starkly, Plaintiffs cannot establish that they will suffer any ongoing or

 imminent irreparable harm in the absence of a preliminary injunction. In their more than 500 pages

 of briefing, Plaintiffs devote just two sentences to this dispositive factor. And the only argument

 Plaintiffs advance is that because they have alleged a First Amendment violation, irreparable harm

 must be assumed. But even when a First Amendment violation is alleged, a plaintiff still must

 establish that the allegedly ongoing or imminent harm is real. Plaintiffs’ stale, nearly year-old

 declarations pointing to even older content moderation decisions fail to make that showing.

        Second, Plaintiffs cannot establish a likelihood of success on the merits. To start, Plaintiffs

 lack Article III standing. They submit no evidence of an impending harm to a legally cognizable

 interest. Nor do they submit evidence supporting their far-fetched assertion that impending

 harms—whatever they may be—will result from the Government’s alleged coercion of social

 media companies, rather than the companies’ own economic interest in maximizing advertising

 revenues (the lifeblood of their businesses) and societal influences that inform the companies’

 content moderation decisions. Absent this type of evidence, Plaintiffs have no basis for concluding

 that social media companies, which have regulated content on their platforms since the industry’s

 earliest days and which are not parties to this case, will spontaneously cease their content

 moderation efforts if the Court enjoins the Government from speaking.

        Plaintiffs’ claims fare no better on the merits. To succeed on their First Amendment claims,

 Plaintiffs must first make the difficult showing that a particular content moderation decision that

 harmed them is attributable to a particular Defendant. The Supreme Court has repeatedly held that




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 the government may be deemed responsible for private conduct only if (1) the government

 coerced, or significantly encouraged to the point of compelling, the private party into engaging in

 that conduct, or (2) the government jointly participated in that conduct to such an extent that the

 private party operated as a government actor. The record here contains no evidence satisfying these

 demanding standards. Rather, it shows that government officials expressed positions on matters of

 significant public concern—precisely what the Government is entitled to do, and indeed what the

 public expects. The Constitution preserves the Government’s right to encourage specific private

 behavior, such as joining a war effort, stopping the sale of cigarettes to children, and—in this

 case—reducing the spread of misinformation that undermines election security or the nation’s

 efforts to protect the public from the spread of a deadly disease. A social media company’s

 independent decision to follow the Government’s urgings does not transform the company’s

 conduct into government action.

        Nor does the statutory environment alter the analysis. Plaintiffs make much of the fact that

 federal officials, including members of a separate branch of government, have advocated for

 reform to § 230 of the Communications Decency Act. Those calls for reform have come from

 Members of Congress from both major political parties, federal officials from multiple

 administrations, and Defendants and non-Defendants alike. That social media companies—like

 many other important companies—face the potential for legislative reform does not transform each

 and every suggestion or encouragement from a federal official into a potential constitutional

 problem. Yet adopting Plaintiffs’ legal theory would have precisely that result, thrusting courts

 into the role of policing every communication from any federal official to or about a social media

 company, and disabling federal officials from freely advocating in the public interest as to some




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 of the most critical actors in our society. Neither the state action doctrine nor the First Amendment

 warrants that result.

        In tacit acknowledgement that they cannot satisfy the actual state action standard, Plaintiffs

 repeatedly urge the Court to water that standard down, or even to adopt Plaintiffs’ newly created

 state action theories (such as “deception” or “collusion”) instead. Plaintiffs then repeatedly

 mischaracterize the evidence to fit those newly fabricated theories. But no matter how Plaintiffs

 spin the law or the evidence, they fail to satisfy their burden of showing that any single Defendant

 is responsible for any particular content moderation decision under settled state action principles.

 And in the absence of any such evidence, Plaintiffs’ claims do not vindicate any free speech

 interest. Rather, they simply seek to portray government speech on a range of topics with which

 Plaintiffs disagree as “censorship” and to invoke the authority of the Court to silence that speech.

 The First Amendment lends no support to that effort.

        Plaintiffs face no greater likelihood of success on their ultra vires and Administrative

 Procedure Act (APA) claims. Those claims run up against several jurisdictional hurdles. And on

 the merits, Plaintiffs merely rehash their failed First Amendment claims and advance a claim of

 procedurally improper rulemaking that is specious on its face.

        Third, the balance of harms tips sharply in favor of Defendants. Plaintiffs’ interests in

 preventing interference with their First Amendment freedoms may be substantial in the abstract,

 but on this record, they are entirely speculative, and they are far outweighed by the Government’s

 interest in speaking and taking action to promote the public interest. Plaintiffs’ sweeping and vague

 proposed injunction would effectively muzzle the White House and multiple federal agencies, with

 dire consequences for law enforcement, national security, and public health interests that

 Defendants have the power and duty to protect. In particular, as explained in five agency




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 declarations filed with this brief, Plaintiffs’ proposed injunction could prevent the dissemination

 of vital public health information, communications with social media companies about criminal

 activity in process on their platforms, and efforts to act on national security threats relating to

 international terrorism and election security. The resulting harm inflicted on society as a whole is

 reason enough to deny Plaintiffs’ requested preliminary injunction.

        Moreover, even if Plaintiffs could satisfy each of the requirements for a preliminary

 injunction, their proposed injunction should be denied because it fails to satisfy the specificity

 requirement of Federal Rule of Civil Procedure 65(d). The proposed injunction’s numerous vague

 and undefined terms fail to put Defendants on reasonable notice as to what conduct is enjoined.

 The injunction is also overbroad, as it would sweep in a host of government conduct that does not

 implicate any protected First Amendment interest, while obstructing legitimate efforts by the

 Federal Government to fulfill its critical law enforcement, national security, and public health

 missions.

        The Court should deny Plaintiffs’ motion for a preliminary injunction.

                  BACKGROUND AND PROPOSED FINDINGS OF FACT
 I.     For years, in response to public sentiment, social media companies have sought to
        identify and contain misinformation on their platforms.
        A. Since their emergence, social media companies have been economically
           incentivized to moderate content on their platforms.
        1.    Social media companies, such as Facebook, Twitter, and YouTube, are for-profit

 companies that allow users and advertisers to post content on their platforms subject to their terms

 of service. Since the emergence of the first social media companies in the early 2000s, these

 companies have moderated content uploaded to their platforms. See, e.g., Making the Internet Safe

 for Kids: The Role of ISP’s and Social Networking Sites: Hearing Before the Subcomm. on

 Oversight & Investigations of the H. Comm. on Energy & Com., 109th Cong. 214-16 (2006)



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 (statement of Chris Kelly, Chief Privacy Officer, Facebook.com, Inc.); see also id. at 219

 (statement of Michael Agnus, Executive Vice President & General Counsel, MySpace). 1 For

 example, as early as 2003, the earliest social media platforms (e.g., Friendster) had terms of service

 that included content moderation provisions that barred, among other things, false and misleading

 information. Declaration of Dr. Stuart Gurrea (Gurrea Decl.) ¶¶ 12, 68 (Ex. 1). Over the years as

 social media companies grew and developed, including periods well before 2020, content

 moderation by the companies “has responded to evolving concerns, including terrorism, election

 interference, and public health concerns.” Id. Today, each major company requires users and

 advertisers to agree to extensive conditions—including conditions related to content moderation—

 in exchange for authorization to use its platforms. 2

        2.     As Defendants’ expert economist Dr. Stuart Gurrea has explained, social media

 platforms are intrinsically economically incentivized to moderate content on their platforms

 because moderation contributes to retaining users and increasing their engagement. Gurrea Decl.

 ¶¶ 12, 44-46. (Ex. 1).3 Increased user numbers and engagement, in turn, increases the number of


 1
   See Gurrea Decl. ¶¶ 12-13 (Ex. 1) (explaining that social media companies have moderated
 content since their emergence).
 2
   See Gurrea Decl. ¶ 12 (Ex. 1).
 3
   Social media platforms are a type of two- (or multi-) sided market where, on one side of the
 platform, users interact with each other or access content and, on the other side, advertisers target
 consumers through the platform. Gurrea Decl. ¶ 33 (Ex. 1). Typically, social media platforms
 attract and maintain a large user base and collect user data—and users derive more value from the
 platforms as the number of users increase. Id. ¶ 34. On the other side of the platform, advertisers
 target users with specific demographic characteristics or interests, and social media platforms
 facilitate this targeted advertising by relying on user data. Id. ¶ 35. Advertisers on social media
 platforms want their products displayed on their platform in a manner that enhances the brand
 reputation of the product, as brand reputation affects consumer decisions. Id. ¶ 36. And because
 social media platforms primarily generate revenue through advertising, it is in their economic
 interest to attract a large user base and increase user engagement. Id. ¶ 39. Consequently, “social
 media platforms are incentivized economically to moderate content on their platforms because
 content moderation is a quality-control decision that impacts user engagement and advertising
 revenue.” Id. ¶ 42.


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 people viewing advertisements, thus resulting in an increase in both advertising revenues and

 platforms’ profits. Id. ¶¶ 11, 41. In addition, content moderation that preserves or enhances the

 reputation and value of an advertiser’s product directly makes the platform more valuable to the

 advertiser, and therefore increases advertising revenues and the platform’s profits. Id. ¶¶ 12, 38,

 48. Conversely, inadequate content moderation that is detrimental to user engagement likely will

 reduce advertising revenue because the value of a platform to advertisers depends on the level of

 user engagement and the quality of the user experience. Id. ¶¶ 12, 38, 45, 54, 62. This is particularly

 true for Twitter, Facebook, and YouTube, among others, as they operate under “particularly strong

 economic incentives to moderate content,” because they rely on a large user base to attract

 advertisers and thus focus on retaining the large group of users who may be alienated by more

 extreme views. Id. ¶ 44.

        3.     Consistent with Dr. Gurrea’s analysis, the social media companies themselves have

 commented publicly that they adopt and apply their content moderation policies based on customer

 and advertiser demands. For example, a former representative from Twitter recently explained in

 congressional testimony that the company has long seen the “lawful but awful . . . speech of a

 small number of abusive users drive away countless others.” See Ex. 2 at 6 (Protecting Speech

 from Government Interference and Social Media Bias, Part 1: Twitter’s Role in Suppressing the

 Biden Laptop Story: Hearing Before the H. Comm on Oversight & Accountability, 118th Cong.

 (2023)); see also id. at 5 (emphasizing the importance of “the health of the conversation”).

 Twitter’s decision to adopt and apply content moderation policies “was based on customer

 research, advertiser feedback, Twitter’s declining revenue, user growth, and stock price.” Id.

        4.     Other social media platforms similarly have attested to the user and advertiser

 preferences that have long impelled platform content moderation policies and measures. For




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 example, a YouTube representative has explained that “advertisers typically do not want to be

 associated with controversial or sensitive content on YouTube,” and so the company allows

 content creators “the privilege of earning advertiser revenue,” or “monetization,” of the videos

 they post, only if those content creators “meet more restrictive criteria, including” certain

 “Advertiser-friendly Content Guidelines.” Declaration of Alexandra N. Veitch ¶¶ 17, 50,

 Netchoice, LLC v. Paxton, No. 21-cv-840 (W.D. Tx. Sept. 30, 2021), ECF No. 8-5 (Ex. 3). And

 similarly, “advertisers will not advertise on Facebook if they believe it is not effective at removing

 harmful content or content that violates [its] community standards. Indeed, people and advertisers

 have stopped using Facebook due to these concerns.” Declaration of Neil Potts ¶ 8, Netchoice,

 LLC v. Paxton, No. 21-cv-840 (W.D. Tx. Sept. 30, 2021), ECF No. 8-6 (Ex. 4); cf. NetChoice,

 LLC v. Paxton, 49 F.4th 439 (5th Cir. 2022) (vacating preliminary injunction and remanding),

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        5.     Platform responses to advertiser concerns stem from real world experience. In 2017,

 for example, a wave of companies pulled their advertisements from YouTube for fear of

 association with “offensive or extremist videos,” before YouTube bolstered its policies and

 enforcement. See Ex. 84 at 2 (Brett Molina, Many YouTube creators frustrated by changes in

 policies, practices, USA TODAY (Apr. 5, 2018)) (“Major advertisers including AT&T and

 Verizon started pulling their business from YouTube in March 2017 after discovering their ads

 were appearing on offensive or extremist videos. YouTube parent company Google said it would

 start an ‘extensive review’ of its ad policies.”). In 2020, Facebook similarly was forced to address

 advertiser concerns when “[m]ore than 750 companies including Coca-Cola, Hershey and

 Unilever . . . temporarily paused their advertising on Facebook and its subsidiary Instagram” upon

 being “unimpressed with promises to better police hate speech.” Ex. 150 (Elizabeth Dwoskin &




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 Taylor Telford, Facebook is working to persuade advertisers to abandon their boycott. So far, they

 aren’t impressed., Wash. Post (Jul. 3, 2020)).4

        B. After the 2016 U.S. presidential election, social media companies took significant
           steps to combat election-related influence campaigns and misinformation on their
           platforms.
        6.    Although social media companies have long moderated content on their platforms,

 see Gurrea Decl. ¶¶ 66-78 (Ex. 1), the 2016 U.S. presidential election marked a turning point for

 the companies. The U.S. intelligence community, 5 a Department of Justice-appointed special

 counsel, 6 and bipartisan majorities of the intelligence committees for both houses of Congress all

 concluded that Russian agents had interfered with the 2016 election, including by conducting an

 influence campaign on social media. See, e.g., Ex. 7 at 14 (H. Permanent Select Comm. on Intell.,

 Report on Russian Active Measures, H.R. Rep. No. 115-1110 (2018)) (finding that “Russian

 intelligence leveraged social media in an attempt to sow social discord and to undermine the U.S.

 electoral process”). 7 Among its many findings, the House Permanent Select Committee on


 4
   Recent events, too, confirm that market forces demand that social media companies adopt and
 apply content moderation policies. For example, when Elon Musk in 2022 acquired control of
 Twitter and substantially relaxed its content moderation policies, Twitter lost half of its top
 advertisers, according to a report by Media Matters for America. See Ex. 5 at 2 (Halisia Hubbard,
 Twitter has lost 50 of its top 100 advertisers since Elon Musk took over, report says, Nat’l Public
 Radio (Nov. 25, 2022)). Twitter also is estimated to lose 32 million users over the next two years,
 including based on concerns about the proliferation of hate speech because of Mr. Musk’s
 relaxation of Twitter’s content moderation policies, according to a forecast by Insider Intelligence.
 See Ex. 6 at 2 (Mark Sweney, Twitter ‘to lose 32m users in two years after Elon Musk Takeover,’
 The Guardian (Dec. 13, 2022)).
 5
   See Ex. 8 (Office of the Director of National Intelligence, Background to “Assessing Russian
 Activities and Intentions in Recent U.S. Elections”: The Analytic Process and Cyber Incident
 Attribution (2017)).
 6
   See Special Counsel Robert S. Mueller, III, U.S. Dep’t of Justice, Report on the Investigation
 into Russian Interference in the 2016 Presidential Election (2019) (Redacted version released Apr.
 18, 2019).
 7
   “Russia’s targeting of the 2016 U.S. presidential election was part of a broader, sophisticated,
 and ongoing information warfare campaign designed to sow discord in American politics and



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 Intelligence (“Committee”) concluded that “[h]acked material,” including material from the

 Democratic National Committee (“DNC”), “was disseminated through [a] myriad network of

 actors with the objective of undermining the effectiveness of the future administration.” Ex. 7 at

 12. “This dissemination worked in conjunction with derisive messages posted on social media to

 undermine confidence in the election and sow fear and division in American society.” Id. The

 Committee opined further that, “[a]s a country, it is time for us to reflect, understand what

 happened, fix the discovered problems, and unify around the common purpose of countering any

 future influence campaigns by Russia or any other nation.” Id. at 10.

        7.     Demands for action from Congress and the public had a profound impact on the

 behavior of social media companies. See Gurrea Decl. ¶ 73 (Ex. 1) (“[t]rust and safety in the realm

 of political speech” became a “bigger concern” in the context of the 2016 U.S. presidential

 election). Congressional committees, for example, repeatedly called social media executives to

 testify in public hearings about what had gone wrong on their platforms in 2016, and how the

 companies would adjust their policies.8

        8.     Twitter understood that it was being “told in no uncertain terms, by the public and

 by Congress, that [it] had a responsibility to do a better job protecting future elections.” Ex. 10 at




 society.” Ex. 9 at 75 (S. Select Comm. on Intelligence, Report, Russian Active Measures
 Campaigns and Interference in the 2016 U.S. Election, Volume II: Russia’s Use of Social Media,
 S. Rep. No. 116-290 (2020)).
 8
   See, e.g., Extremist Content and Russian Disinformation Online: Working with Tech to Find
 Solutions: Hearing Before the Subcomm. on Crime & Terrorism of the S. Comm. on the Judiciary,
 115th Cong. (2017); Russia Investigative Task Force Hearing with Social Media Companies:
 Hearing before the H. Comm. on Intell., 115th Cong. (2017); Social Media Influence in the 2016
 U.S. Election: Hearing Before the S. Comm. on Intell., 115th Cong. (2017); Foreign Influence
 Operations’ Use of Social Media Platforms (Company Witnesses), Hearing Before the S. Comm.
 on Intell., 115th Cong. (2018); Securing U.S. Election Infrastructure and Protecting Political
 Discourse: Hearing Before the Subcomm. on Nat’l Sec. of the H. Comm. on Oversight & Reform,
 115th Cong. (2019).


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 3 (Protecting Speech from Government Interference and Social Media Bias, Part 1: Twitter’s Role

 in Suppressing the Biden Laptop Story: Hearing Before the H. Comm on Oversight &

 Accountability, 118th Cong. (2023) (opening statement of Yoel Roth, Former Head of Trust &

 Safety, Twitter, Inc.). Moreover, Twitter was “economically incentivized to moderate low-quality

 content in the sphere of politics because it recognized that user engagement drove the majority of

 its revenues through advertising.” Gurrea Decl. ¶ 74 (Ex. 1). As Twitter explained in its Form 10-K

 annual report in December 2016, “[i]f people do not perceive our products and services to be

 useful, reliable and trustworthy, we may not be able to attract users or increase the frequency of

 their engagement with our platform and the ads that we display.” Id. (emphasis added) (quoting

 Twitter, Inc., Annual Report (Form 10-K) (Feb. 27, 2017)). To that end, in 2018, Twitter adopted

 a policy to prevent hacked materials from being placed on its platform, id., and it removed at least

 70 million bot (fake) accounts relating to political issues, Gurrea Decl. ¶ 74 (Ex. 1). And before

 the 2020 election, Twitter “updated [its] civic integrity policy to address misleading or disputed

 information that undermines confidence in the election, causes voter intimidation or suppression

 or confusion about how to vote or misrepresents affiliation or election outcomes.” Ex. 14 at 4

 (Censorship and the 2020 Election: Hearing Before the S. Comm. on the Judiciary, 116th Cong.

 (2020)) (statement of Jack Dorsey, CEO, Twitter, Inc.). In response to calls from the public “to

 offer additional context to help make potentially misleading information more apparent,” Twitter

 applied labels to over 300,000 tweets concerning the 2020 election between October 27, 2020, and

 November 11, 2020. Id.

        9.    Facebook responded to the public’s calls as well. On November 18, 2016, Facebook

 CEO Mark Zuckerberg published an “update” on Facebook in response to “[a] lot” of Facebook

 users’ questions about “what we’re doing about misinformation” relating to elections. Ex. 11




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 (Mark Zuckerberg, Facebook (Nov. 18, 2016)). Mr. Zuckerberg assured the public that Facebook

 “take[s] misinformation seriously” and would be implementing a host of new measures to crack

 down on misinformation on the platform. Id. On January 4, 2018, Mr. Zuckerberg published a post

 on Facebook where he recognized that “Facebook has a lot of work to do—whether it’s protecting

 our community from abuse and hate, defending against interference by nation states, or making

 sure that time spent on Facebook is time well spent.” See Ex. 12 (Mark Zuckerberg, Facebook

 (Jan. 4, 2018)). Accordingly, Mr. Zuckerberg explained that his “personal challenge for 2018 is to

 focus on fixing these important issues” and that “[t]his will be a serious year of self-

 improvement[.]” Id. In October 2019, as the 2020 presidential election approached, Facebook

 redoubled its efforts, announcing that it was taking “several new measures to help protect the

 democratic process” in advance of the 2020 elections, including attempts to “[p]revent[] the spread

 of misinformation” through “clearer fact-checking labels[.]” Ex. 13 (Guy Rosen, et al., Helping to

 Protect the 2020 US Elections, Meta (Oct. 21, 2019)). Among other things, Facebook “built

 sophisticated systems to protect against election interference that combined artificial intelligence,

 significant human review and partnerships with the intelligence community, law enforcement and

 other tech platforms.” See Ex. 14 at 4 (statement of Mark Zuckerberg, CEO, Facebook). Further,

 Facebook “locked down new political ads in the week before the [2020] election to prevent

 misleading claims from spreading” and “strengthened [its] enforcement against malicious and

 conspiracy networks like Qanon”—all with the explanation that “[t]his is what people expect of

 [Facebook].” Id. Put simply, Facebook “heard resoundingly from [its] community that people do

 not want to see [election-related] misinformation and believe it is a problem.” Id. at 10.




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        C. As the COVID-19 pandemic emerged, social media companies sought to address
           health misinformation on their platforms.
        10.   The COVID-19 pandemic marked another turning point for social media companies.

 In early 2020, the emergence of the pandemic precipitated a public health crisis, loss of life, fear,

 and economic disruption across the country and the world. To date, more than 103 million

 Americans have reportedly contracted the virus, resulting in more than 6 million hospitalizations

 and 1.12 million deaths. Ex. 15 (COVID Data Tracker, Ctrs. for Disease Control & Prevention

 (last updated Apr. 25, 2023)). In January 2020, the Secretary of Health and Human Services

 (“HHS”) declared COVID-19 a public health emergency; in March 2020, then-President Trump

 declared a national emergency. See Declaring a National Emergency Concerning the Novel

 Coronavirus (COVID-19) Outbreak, Proclamation No. 9994, 85 Fed. Reg. 15,337 (Mar. 13, 2020).

        11.   In this pandemic environment, it became immediately apparent to global health

 authorities that COVID-19 misinformation, especially when it circulated on social media, could

 lead to death and intensify suffering worldwide. As the United Nations Secretary-General

 explained in a public statement, “[a]s soon as the virus spread across the globe, inaccurate and

 even dangerous messages proliferated wildly over social media, leaving people confused, misled,

 and ill-advised.” Ex. 16 (COVID-19 pandemic: countries urged to take stronger action to stop

 spread of harmful information, World Health Org. (Sept. 23, 2020)). The World Health

 Organization (“WHO”), together with the United Nations and other partners, called upon countries

 to “take stronger action to stop [the] spread of harmful information” relating to the pandemic. Id.

 In May 2020, WHO member states (including the United States) adopted a resolution recognizing

 that managing the “infodemic” of COVID-19 misinformation is “a critical part of controlling the

 COVID-19 pandemic[.]” Id. In June 2020, 132 countries (including the United States) signed onto

 a “cross-regional statement on ‘infodemic’ in the context of COVID-19” stating, among other



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 things, that “social media platforms” have “a clear role and responsibility in helping people to deal

 with the ‘infodemic.’” Ex. 17 at 2 (Cross-Regional Statement on ‘Infodemic’ in the Context of

 COVID-19, U.S. Mission to the United Nations (June 12, 2020)).

        12.   Well before these 132 countries called on them to act, social media companies had

 already begun adopting measures to curb the spread of COVID-19-related misinformation on their

 platforms. For some companies, including YouTube, Facebook, and Pinterest, this was not their

 first foray into curbing the spread of public health misinformation. See Gurrea Decl. ¶¶ 76-77 (Ex.

 1). In a March 2020 blog post, Facebook explained that removing health misinformation from its

 platform was nothing new: “We’ve removed harmful [health-related] misinformation since 2018,

 including false information about the measles in Samoa where it could have furthered an outbreak

 and rumors about the polio vaccine in Pakistan where it risked harm to health and aid workers.”

 Ex. 18 at 3 (Nick Clegg, Combating COVID-19 Misinformation Across Our Apps, Meta (Mar. 25,

 2020)). Beginning in January 2020, Facebook “applied this policy to misinformation about

 COVID-19 to remove posts that make false claims about cures, treatments, the availability of

 essential services or the location and severity of the outbreak.” Id. Twitter likewise introduced

 policies to “address content that goes directly against guidance from authoritative sources of global

 and local public health information.” Ex. 19 at 4 (Vijaya Gadde & Matt Derella, An update on our

 continuity strategy during COVID-19, Twitter Blog (Mar. 16, 2020; updated Apr. 1, 2020)).

        13.   These policies resulted in widespread content moderation by social media platforms

 in early 2020. Twitter reported that, during a two-week period in March 2020 alone, it had

 “removed more than 1,100 tweets containing misleading and potentially harmful content” and

 “challenged more than 1.5 million accounts which were targeting discussions around COVID-19

 with spammy or manipulative behaviors.” Id. And Facebook reported in April 2020 that, “during




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 the month of March [2020], [it] displayed warnings on about 40 million posts related to COVID-

 19,” and had “removed hundreds of thousands of pieces of misinformation that could lead to

 imminent physical harm,” including “theories like physical distancing is ineffective in preventing

 the disease from spreading.” Ex. 20 at 5 (Guy Rosen, An Update on Our Work to Keep People

 Informed and Limit Misinformation About COVID-19, Meta (Apr. 16, 2020)).

        14.   As the nation’s pandemic response progressed, the companies consulted “guidance

 from the WHO and other health authorities” when updating their policies. See Ex. 18 at 3. For

 instance, in February 2021, following “consultations with leading health organizations[] including

 the [WHO],” Facebook expanded “the list of false claims [it would] remove to include additional

 debunked claims about the coronavirus and vaccines.” See Ex. 20 at 1-2. And in March 2021,

 Facebook consulted the “High Level Panel on Vaccine Confidence & Misinformation” (a coalition

 organized by the London School of Hygiene and Tropical Medicine and others) and the Vaccine

 Confidence Project (an international research group) about its approach to moderating vaccine-

 hesitant content. See Pls.’ Suppl. Br. Ex. A, at 42 (Dkt. 174-1) (email from Facebook executive).

 In September 2021, Google announced that YouTube would remove content containing false

 claims about COVID-19 vaccines—a decision that was reached in consultation with “local and

 international health organizations and experts,” including the WHO. Ex. 153 at 1 (YouTube Team,

 Managing harmful vaccine content on YouTube, YouTube Official Blog (Sept. 29, 2021)).

        D. Social media companies have long taken actions short of removal against
           “borderline content” that is not expressly prohibited by their content moderation
           removal policies.
        15.   The companies’ efforts to limit the spread of misinformation on their platforms have

 been multifaceted. As one Twitter representative recently testified, “[c]ompanies like Twitter—

 teams like mine—have to exercise judgment about where to draw the line on [problematic] content

 and implement that judgment consistently at the scale of hundreds of millions of unique posts per


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 day.” See Ex. 10 at 4. One way in which the companies tackle this difficult task is by taking actions

 short of removal—including downgrading and labeling posts—against “borderline content,” or

 “content that [is] not prohibited” outright by a company’s community standards but that “come[s]

 close to the lines drawn by those policies.” Ex. 22 at 21 (Transparency Center, Content Borderline

 to Community Standards, Meta (Sept. 23, 2021)). Since 2018, Facebook, Twitter, and YouTube

 have each taken steps to discourage and demote borderline content. 9

        16.   In a blog post, Facebook CEO Mark Zuckerberg explained the “basic incentive

 problem” that prompted the company to moderate borderline content. Ex. 23 at 7. According to

 Mr. Zuckerberg, “[o]ne of the biggest issues social networks face is that, when left unchecked,

 people will engage disproportionately with more sensationalist and provocative content.” Id. Even

 though users were more likely to engage with borderline content, they consistently reported to

 Facebook that such content “degrade[s] the quality of [Facebook’s] services.” Id. at 6. As. Dr.

 Gurrea notes, these reports about “quality” are highly concerning to large platforms like Facebook

 because “low-quality content” drives advertisers and users away from the platform, see Gurrea

 Decl. ¶¶ 59-64 (Ex. 1)—even if, as Facebook acknowledges, people “engage with [it],” see Ex. 23

 at 8 (“People consistently tell us these types of content make our services worse—even though

 they engage with them.”). But simply adjusting Facebook’s community standards categorically to

 require removal of more types of low-quality content would not solve the problem, because “no

 matter where [Facebook] draw[s] the lines for what is allowed, as a piece of content gets close to



 9
   See Ex. 23 at 6-9 (Mark Zuckerberg, A Blueprint for Content Governance and Enforcement,
 Facebook (Nov. 15, 2018), https://perma.cc/ZK5C-ZTSX); Ex. 24 at 2 (YouTube Team,
 Continuing our work to improve recommendations on YouTube, YouTube Official Blog (Jan. 25,
 2019), https://perma.cc/FH3M-KL6U); Ex. 25 (Alex Kantrowitz, Twitter is Going to Limit the
 Visibility of Tweets from People Behaving Badly, BuzzFeed News (May 15, 2018),
 https://perma.cc/RRU8-X4R3) (quoting a statement from Twitter’s CEO).


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 that line, people will engage with it more on average—even when they tell us afterwards they don’t

 like the content.” Id. at 7. At the time of Mr. Zuckerberg’s post in 2018, the most concerning forms

 of borderline content were “click-bait and misinformation.” Id. at 8.

     17. To address this problem, Mr. Zuckerberg announced that Facebook would address

 “borderline content so it gets less distribution and engagement.” Id. The announcement included

 the following graph:




 Id. at 7. “By making the distribution curve look like the graph [above] where distribution declines

 as content gets more sensational,” Mr. Zuckerberg explained, “people are disincentivized from

 creating provocative content that is as close to the line as possible.” Id. Facebook’s goal was to

 “create a healthier, less polarized discourse where more people feel safe participating.” Id. at 9.

 And reducing the distribution of such content would address the consistent concern that Facebook

 heard from users that “these types of content make [its] services worse.” Id. at 8.

     18. YouTube made a similar announcement in January 2019. See Ex. 24. YouTube

 announced that it was “taking a closer look at how [it could] reduce the spread of content that

 comes close to—but doesn’t quite cross the line of—violating [its] Community Guidelines.” Id. at

 2. And “[t]o that end,” YouTube would begin “reducing recommendations of borderline content




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 and content that could misinform users in harmful ways.” Id. Specific examples included “videos

 promoting a phony miracle cure for a serious illness.” Id.

     19. The companies’ approaches to borderline content have been extensively scrutinized—

 and, at times, criticized—by scholars and observers, in part because of a lack of transparency. As

 one commentator noted, reducing the visibility of content amorphously described as “approaching

 the line” means “not having to articulate an explicit policy; this gives platforms the flexibility to

 intervene around quickly emerging phenomena, go after content designed to elude prohibitions,

 and curtail content they ‘know’ is bad but have a hard time articulating why.” Ex. 26 at 12 (Tarleton

 Gillespie,   Reduction/Borderline    content/Shadowbanning,       Yale-Wikimedia      Initiative   on

 Intermediaries & Info. (July 20, 2022)). These policies thus “avoid[] accountability, . . . and are

 not—yet—reported as part of the platform[s’] transparency obligations.” Id.; see also Evelyn

 Douek, Facebook’s “Oversight Board:” Move Fast with Stable Infrastructure and Humility, 21

 N.C. J. L. & Tech. 1, 42-43 (2019) (highlighting ways in which borderline content policies lack

 transparency).

     20. The companies have moderated COVID-19 content under their borderline content

 policies, although they have not publicly provided extensive details as to how those policies are

 applied. In July 2021, Facebook announced that “[s]ince the beginning of the pandemic,” it had

 “labeled and reduced the visibility of more than 167 million pieces of COVID-19 content

 debunked by our network of fact-checking partners.” Ex. 27 at 3 (Guy Rosen, Moving Past the

 Finger Pointing, Meta (July 17, 2021)). And since September 2021, Facebook’s borderline content

 policy page has listed—among other kinds of borderline content—“[c]ontent that does not violate

 our COVID-19 or vaccine policies, but which shares misleading or sensationalized information

 about vaccines in a way that would be likely to discourage vaccinations.” Ex. 22 at 2. YouTube,




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 too, has noted that its work to “reduc[e] recommendations of borderline content” has been

 “foundational [to] ensuring that we limit the spread of COVID-19 related borderline content on

 our site.” Ex. 28 at 2 (How has YouTube responded to the global COVID-19 crisis?, YouTube,

 https://perma.cc/3CCA-SNLE) YouTube. Beyond highlighting their efforts generally, the

 companies have not catalogued the content that has been removed under their borderline content

 policies.

         E. Bipartisan calls to revise or revoke Section 230 have repeatedly arisen over the
            years.
         21.    Enacted in 1996, § 509 of the Telecommunications Act of 1996, Pub. L. No. 104-

 104, 110 Stat. 56, 138-39 (codified at 47 U.S.C. § 230), commonly known as § 230, has been

 interpreted to immunize social media companies from liability for their content moderation

 decisions. In particular, paragraph (c)(1) states: “No provider . . . of an interactive computer service

 shall be treated as the publisher or speaker of any information provided by another information

 content provider.” 47 U.S.C. § 230(c)(1). Paragraph (c)(2) further provides:

                No provider or user of an interactive computer service shall be held liable
         on account of —
                 (A)     any action voluntarily taken in good faith to restrict access to or
         availability of material that the provider or user considers to be obscene, lewd,
         lascivious, filthy, excessively violent, harassing, or otherwise objectionable,
         whether or not such material is constitutionally protected; or
                (B)     any action taken to enable or make available to information content
         providers or others the technical means to restrict access to material described in
         paragraph [A].

 47 U.S.C. § 230(c)(2). The statute also provides that “[n]o cause of action may be brought and no

 liability may be imposed under any State or local law that is inconsistent with this section.” Id.

 § 230(e)(3).

         22.    The problem Congress sought to solve in § 230(c) arose from a New York state trial

 court’s ruling that an internet service provider that had voluntarily deleted some messages from an


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 online message board was then “legally responsible for the content of defamatory messages that it

 failed to delete.” See Fair Hous. Council of San Fernando Valley v. Roommates.com, LLC, 521

 F.3d 1157, 1162 (9th Cir. 2008) (discussing Stratton Oakmont, Inc. v. Prodigy Servs. Co., No.

 31063/94, 1995 WL 323710 (N.Y. Sup. Ct. May 24, 1995)). Congress responded to that ruling by

 “immuniz[ing] the removal of user-generated content” through § 230. Id. That is, § 230 “provides

 ‘Good Samaritan’ protections from civil liability for providers . . . of an interactive computer

 service for actions to restrict . . . access to objectionable online material.” H.R. Rep. No. 104-458,

 at 194 (1996) (Conf. Rep.), as reprinted in 1996 U.S.C.C.A.N. 10. In enacting § 230(c), Congress

 made findings describing online platforms as offering “a forum for a true diversity of political

 discourse, unique opportunities for cultural development, and myriad avenues for intellectual

 activity.” 47 U.S.C. § 230(a)(3). Accordingly, it is established that “the policy of the United States”

 is “to preserve the vibrant and competitive free market that presently exists for the Internet and

 other interactive computer services, unfettered by Federal or State regulation[.]” Id. § 230(b).

        23.    Bipartisan concerns about § 230 have been expressed for years, and efforts to reform

 or revoke § 230 have been made for nearly as long. For example, congressional inquiries, including

 in 2016 and in 2019, explored the concerns of some legislators about allegations of politically

 biased content moderation by online platforms that have asserted that § 230(c) immunizes them

 from liability for their content moderation decisions—concerns that then-President Trump echoed

 in 2019 and 2020. 10 Then-President Trump tweeted: “REVOKE 230!” Ex. 31 at 1 (Donald J.

 Trump (@realDonaldJTrump), Twitter (May 29, 2020, 11:15 AM)). In October 2021, then-


 10
   See, e.g., Ex. 29 (Letter from Senator John Thune to Mark Zuckerberg, Chairman and Chief
 Executive Officer, Facebook, Inc. (May 10, 2016)); Ex. 30 (Stifling Free Speech: Technological
 Censorship and the Public Discourse: Hearing Before the Subcomm. on the Const. of the S. Comm.
 on the Judiciary, 116th Cong. (2019)); Remarks by President Trump at the Presidential Social
 Media Summit, 2019 WL 3072280, at *15 (July 11, 2019).


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 Missouri Attorney General Eric Schmitt similarly tweeted: “Get rid of section 230 protections,

 treat them like common carriers, bust up #BigTech.” Ex. 32 at 1 (Eric Schmitt (@Eric_Schmitt)

 (Oct. 12, 2021, 3:06 PM)). Then-Attorney General William P. Barr observed in February 2020

 that “[t]echnology has changed in ways that no one, including the drafters of [§] 230, could have

 imagined.” Ex. 33 at 2 (William P. Barr, Att’y Gen., Opening Remarks at the DOJ Workshop on

 Section 230: Nurturing Innovation or Fostering Unaccountability? (Feb. 19, 2020)). Four months

 later, then-Attorney General Barr issued several proposed recommendations to reform § 230 so as

 to “provide stronger incentives for online platforms to address illicit material on their services

 while continuing to foster innovation and free speech.” Ex. 34 at 1 (Press Release, U.S. Dep’t of

 Just., Justice Department Issues Recommendations for Section 230 Reform (June 17, 2020),

 https://perma.cc/9S5E-JXLX). Noting that the Department of Justice was “[r]esponding to

 bipartisan concerns about the scope of 230 immunity,” the recommendations “identified a set of

 concrete reform proposals to provide stronger incentives for online platforms to address illicit

 material[s] on their services while continuing to foster innovation and free speech.” Id. Among the

 recommendations was “to make clear that federal antitrust claims are not, and were never intended

 to be, covered by Section 230 immunity.” Id. at 2. In May 2020, former President Trump issued

 an Executive Order, entitled “Preventing Online Censorship,” in which he directed the Federal

 Government to narrowly construe protections against liability for social media companies in § 230

 in light of the purported decisions of those companies to provide “warning label[s]” on the speech

 of some individuals but not others.11 For his part, President Biden has also participated in the


 11
   Exec. Order No. 13,925, Preventing Online Censorship, § 1, 85 Fed. Reg. 34,079, 34,079 (May
 28, 2020), rescinded by Exec. Order No. 14,029, Revocation of Certain Presidential Actions and
 Technical Amendment, § 1, 86 Fed. Reg. 27,025 (May 14, 2021). Similarly, proposed legislation
 both before and after then-President Trump’s issuance of Executive Order 13925 sought to narrow
 § 230 and explored concerns by Republican legislators about online platforms’ “selective



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 public debate over § 230. See Mem. in Supp. of Defs.’ MTD at 12 (Dkt. 128-1) (“Defs.’ MTD”)

 (quoting 2d. Am. Compl. ¶ 313 (Dkt. 84)).

 II.    Since 2017, Executive Branch agencies and officials have promoted authoritative
        information or expressed concerns with the spread of misinformation.
        24.   Beginning with the Trump Administration and continuing into the Biden

 Administration, the White House and Executive Branch agencies have responded in myriad ways

 to societal concerns over misinformation, particularly on social media platforms, that could

 endanger public health or threaten the integrity of our electoral processes. For instance, since at

 least 2017, in the face of revelations about foreign influence targeting the Nation’s election

 infrastructure, agencies such as the Department of Homeland Security (“DHS”), the Federal

 Bureau of Investigation (“FBI”), and the predecessor agency to Cybersecurity and Infrastructure

 Security Agency (“CISA”) worked with various segments of society—including state and local

 election officials and technology companies—to share information that could be used to identify

 and prevent the dissemination of election-related misinformation circulated by foreign adversaries

 and others. Beginning in 2020, in response to the deadly COVID-19 pandemic, public health

 authorities such as Centers for Disease Control and Prevention (“CDC”) provided science-based,

 data-driven health information to protect the public against the virus’s spread and helped social

 media companies identify misinformation about COVID-19 circulating on their platforms. The

 Surgeon General and the White House later used their bully pulpits to call on social media

 companies to take more aggressive action, consistent with their own corporate policies, against

 health misinformation on their platforms.


 censorship” and lack of transparency in moderating content. Compare Ending Support for Internet
 Censorship Act, S. 1914, 116th Cong. (2019), with Limiting Section 230 Immunity to Good
 Samaritans Act, S. 3983, 116th Cong. (2020); Stopping Big Tech’s Censorship Act, S. 4062, 116th
 Cong. (2020); Platform Accountability & Consumer Transparency Act, S. 4066, 116th Cong.
 (2020).


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        25.    In this action, Plaintiffs sue a total of 67 Federal agencies and official-capacity

 Defendants, in a sprawling Complaint that takes aim at numerous public statements and private

 communications by Executive Branch officials touching on matters of election security and the

 COVID-19 pandemic. Plaintiffs seek to treat this array of Executive Branch agencies and officials

 as a monolith, characterizing the disparate and independent actions of 67 different Defendants over

 multiple administrations as a single “Censorship Enterprise.” PI Supp. 1. Plaintiffs provide no

 factual or legal basis for treating these various actions collectively as part of a single “enterprise,”

 and the Court must consider whether preliminary injunctive relief is appropriate based on each

 Defendant’s alleged conduct. Below, Defendants describe the relevant actions that the White

 House and each of the federal agency and official-capacity Defendants have or have not taken over

 the last two administrations, which apparently form the basis of (but do not support) Plaintiffs’

 request for sweeping and indiscriminate injunctive relief. See also Defs.’ Resp. to Pls.’ Proposed

 Findings of Fact in Supp. of Mot. for Prelim. Inj. ¶¶ 19-211 (“Defs.’ Resp. PFOF”) (filed

 concurrently with this brief).

        A. The White House
       26.     By early 2021, hundreds of thousands of Americans had lost their lives to COVID-

 19, and the pandemic was still rampant. Indeed, 23,629 COVID-related U.S. deaths were reported

 during the week of January 6-13, 2021, which still remains the single highest weekly total of

 reported COVID-19 deaths in the United States.12

        27.    The Administration viewed social media as a powerful tool for promoting accurate,

 authoritative COVID-19 information, such as CDC guidance on vaccines, see Ex. 37 at 2 (Press



 12
   Ex. 38 (COVID Data Tracker: Trends in Number of COVID-19 Cases and Deaths in the US
 Reported to CDC, by State/Territory, Ctrs. for Disease Control & Prevention (last updated Apr.
 28, 2023)).


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 Briefing by Press Secretary Jen Psaki, The White House (July 16, 2021)) (discussing White House

 efforts to “meet people where they are” on social media), but was also concerned that

 misinformation relating to COVID-19 vaccines posed a critical threat to public health and

 contributed to preventable hospitalizations and deaths, see Ex. 36 at 19 (Defs.’ Supp. Rog. Resp.

 Related to Robert Flaherty). Accordingly, during the first several months of the Biden

 Administration, White House officials began speaking with social media companies about

 promoting more accurate COVID-19 information and to better understand what actions the

 companies were taking to curb the spread of COVID-19 misinformation. These officials included

 Andy Slavitt, former Senior Advisor for the COVID-19 Response, 13 and Rob Flaherty, Director

 of Digital Strategy. Mr. Flaherty was responsible for overseeing the President’s engagements on

 social media and outreach to digital creators, among other things. See Ex. 36 at 19.

        28.   White House spokespeople—mainly former Press Secretary Jennifer Psaki—have

 spoken publicly about the President’s view that social media companies ought to curb the spread

 of misinformation related to COVID-19 on their platforms. Other White House officials—mainly

 Mr. Flaherty—have also had numerous private communications with social media companies on

 a wide range of topics, including COVID-19 misinformation. The record does not show a single

 instance in which these individuals threatened legal or regulatory action against companies that

 chose not to heed the Administration’s calls to address the COVID-19 misinformation circulating

 on their platforms. Nor does the record show that White House officials demanded that the

 companies change their content moderation policies or take action (regardless of existing policies)

 to address particular content that they view as potentially harmful COVID-19 misinformation. To




 13
   Mr. Slavitt served for four months before stepping down in June 2021. Ex. 39 (Maeve Sheehey,
 Andy Slavitt stepping down from White House Covid-19 response role, Politico (June 9, 2021)).


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 the contrary, although the Administration has long urged the companies to combat misinformation

 on their platforms and has provided general recommendations to that effect, it has made “crystal

 clear” its view that “[a]ny decision about platform usage and who should be on the platform is

 orchestrated and determined by private-sector companies,” and “not the federal government.” Ex.

 37 at 31 (Ms. Psaki July 16, 2021, press briefing statement).

              1. White House Public Statements
        29.    President Biden and his spokespeople have repeatedly expressed concerns about the

 spread of potentially harmful misinformation on social media, especially related to COVID-19. In

 these public statements, Ms. Psaki and others have emphasized that, as private entities, platforms

 bear the responsibility for setting and enforcing their own policies concerning misinformation—

 policies with which the Government, like members of the public, may or may not agree.

                 a. White House Press Briefings (Jennifer Psaki)
        30.    In 2021 and 2022, Ms. Psaki was regularly asked during White House press briefings

 for the President’s views on social media companies’ content moderation policies, particularly as

 they related to COVID-19 misinformation and whether the platforms should take action against

 former President Trump’s accounts. Ms. Psaki repeatedly emphasized that, as private actors, social

 media companies make their own decisions about whether and how to moderate content on their

 platforms. See, e.g., Ex. 147 at 15 (Press Briefing by Press Secretary Jen Psaki and Secretary of

 Agriculture Tom Vilsack, The White House (May 5, 2021)) (noting that the President “believe[s]

 in First Amendment rights” and that “social media platforms need to make” “the decisions”

 regarding “how they address the disinformation [and] “misinformation [that] . . . continue to

 proliferate on their platforms”); Press Briefing by Press Secretary Jen Psaki and Director of the

 National Economic Council Brian Deese, 2021 WL 2310371, at *9 (June 4, 2021) (“[A]s always,




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 [whether to moderate content is] a decision for the company to make and any platform to make.”);

 id. at *10 (“This is a decision by a private-sector company.”).

        31.    The topic of COVID-19 misinformation was the focus of a July 15, 2021, joint press

 briefing with Surgeon General Vivek Murthy. Ex. 40 (Press Briefing by Press Secretary Jen Psaki

 and Surgeon General Dr. Vivek H. Murthy, The White House (July 15, 2021)). In that briefing, Ms.

 Psaki explained that the White House had been “in regular touch” with the platforms and “flagging

 . . . for Facebook” “problematic posts . . . that spread disinformation.” Id. at 10. In the following

 day’s briefing, she clarified that her reference to “flagging . . . problematic posts” was meant

 simply to reflect the Government’s practice of “regularly making sure social media platforms are

 aware of the latest narratives dangerous to public health” and of “engag[ing] with [platforms] to

 better understand the enforcement of social media platform policies.” Ex. 37 at 6. She emphasized

 that the Government does not “take anything down” or “block anything” and that platforms

 themselves, as “private-sector compan[ies],” “make[] decisions about what information should be

 on their platform[s].” Id. at 12. She reiterated this point three days later, on July 19: “It’s up to

 social media platforms to determine what their application is of their own rules and regulations.”

 Press Briefing by Press Secretary Jen Psaki, 2021 WL 3030746, at *16 (July 19, 2021).

        32.    In the July 15, 2021, Press Briefing, Ms. Psaki also mentioned four “proposed

 changes” concerning misinformation that the White House had “recommended” to social media

 companies. Ex. 40 at 10-11. Those recommendations were that (i) the platforms should “measure

 and publicly share the impact of misinformation on their platform[s]”; (ii) the platforms should

 “create a robust enforcement strategy that bridges their properties and provides transparency about

 the rules”; (iii) the platforms should “take faster action” against “harmful, violative posts”—that

 is, “posts that will be within their policies for removal [but] often remain up for days”; and (iv) the




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 platforms should “promote quality information sources in their feed algorithm.” Id. With respect

 to “creat[ing] a robust enforcement strategy,” Ms. Psaki noted that there are “about 12 people who

 are producing 65 percent of anti-vaccine misinformation on social media platforms,” and “[a]ll of

 them remain active on Facebook” despite being “banned” on other platforms “that Facebook

 owns.” Id. at 10. She did not recommend removing content relating to these twelve people’s

 accounts; instead, she made a factual statement about those accounts in support of her

 recommendation that platforms have strategies for “bridg[ing] their properties”—i.e., applying

 consistent rules across multiple platforms owned by the same entity—and “provid[ing]

 transparency about the rules.” Id. These recommendations thus highlighted the need for

 transparency, consistency, and efficiency in the companies’ enforcement of their existing policies.

 And, mindful that the companies were responsible for decision-making regarding misinformation

 on their platforms, Ms. Psaki repeatedly noted that these proposals were not demands—they were

 “proposed” and “recommended” by the White House. Id.

        33.   The subject of content moderation on social media platforms continued to come up

 periodically during White House press briefings throughout 2021 and 2022, and Ms. Psaki

 continued to emphasize that content moderation decisions were the companies’ to make. See, e.g.,

 2021 WL 3030746, at *16 (“It’s up to social media platforms to determine what their application

 is of their own rules and regulations.”); Press Briefing by Press Secretary Jen Psaki, 2022 WL

 1468470, at *9 (May 10, 2022) (“[I]t’s the decision by a private sector company to make on who

 will or will not be allowed on their platforms.”). When Ms. Psaki was asked whether the

 Administration was “considering any regulatory or legal moves to possibly address disinformation

 on social media,” she responded: “That’s up to Congress to determine how they want to proceed

 moving forward.” 2021 WL 3030746, at *2. In October 2021, Ms. Psaki was asked again about




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 whether the White House supported policy reforms—specifically, reforms to § 230. See Press

 Briefing by Press Secretary Jen Psaki, 2021 WL 4587211, at *9 (Oct. 6, 2021). She reaffirmed the

 President’s view that “tech platforms must be held accountable for the harms that they cause” and

 expressed that the President “has been a strong supporter of fundamental reforms to achieve that

 goal, . . . includ[ing] Section 230 reforms [and] privacy and antitrust reforms as well as more

 transparency.” Id. Reiterating the White House’s view that Congress should lead any effort to

 propose policy reforms relating to misinformation, Ms. Psaki concluded, “[the President] looks

 forward to working with Congress on these bipartisan issues.” Id.

        34.   At a White House press briefing on April 25, 2022, Ms. Psaki was asked whether the

 White House was concerned about Twitter’s purchase by Elon Musk. Ms. Psaki stated:

        No matter who owns or runs Twitter, the President has long been concerned about
        the power of large social media platforms, . . . [and] the power they have over our
        everyday lives; has long argued that tech platforms must be held accountable for
        the harms they cause. He has been a strong supporter of fundamental reforms to
        achieve that goal, including reforms to Section 230 [47 U.S.C. § 230], enacting
        antitrust reforms, requiring more transparency, and more. And he’s encouraged that
        there’s bipartisan interest in Congress.

 Ex. 42 at 3 (Press Briefing by Press Secretary Jen Psaki, The White House (Apr. 25, 2022)).

 Notably, Ms. Psaki spoke on this occasion about the myriad policy issues raised by the dominance

 of social media companies; she did not mention COVID-19 or misinformation in particular, nor

 was she asked about it. See also Defs.’ Resp. PFOF ¶¶ 123-130, 146-152, 155-162, 310-314.

                b. President Biden’s Comments
        35.   On July 16, 2021, while President Biden was preparing to board Marine One, a

 reporter asked the President what his “message” was for “platforms like Facebook.” Ex. 45 at 2

 (Question from Reporter to President Joseph R. Biden, Jr., in Washington, D.C. 2 (July 16, 2021)).

 The President responded: “They’re killing people. Look, the only pandemic we have is among the

 unvaccinated and they’re killing people.” Id. Three days later, President Biden was asked about


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 his earlier comment. He explained that he had just read that twelve individuals were responsible

 for sixty percent of the misinformation regarding COVID 19 circulating on social media—a

 statistic reported by the non-profit Center for Countering Digital Hate 14—and clarified that

 “Facebook isn’t killing people. These 12 people are out there giving misinformation. Anyone

 listening to it is getting hurt by it. It’s killing people . . . the outrageous misinformation about the

 vaccine. That’s what I meant.” Ex. 43 at 2-3 (Question from Reporter to President Joseph R. Biden,

 Jr., in Washington, D.C. (July 19, 2021)). He further said, “[m]y hope is that Facebook, instead of

 taking [the comment] personally, . . . would do something about the misinformation,” thus

 repeating his policy view that social media companies—like every other sector in society—ought

 to do more to curb the harmful spread of COVID-19 misinformation on their platforms. Id. In that

 same interview, President Biden was asked whether he would “hold [social media companies]

 accountable if they don’t do more to stop the spread.” Ex. 43 at 3. He responded: “When you say

 hold accountable, I just want to – I’m not trying to hold people accountable. I’m trying to make

 people look at themselves, look in the mirror, think about that misinformation going to your son,

 your daughter, your relatives, someone you love. That’s all I’m asking.” Id. President Biden did

 not threaten any legal or regulatory action or make any demands. See also Defs.’ Resp. PFOF

 ¶¶ 153-154, 162-163.

                c. White House Communications Director Kate Bedingfield’s Comments
        36.    On July 20, 2021, White House Communications Director Kate Bedingfield

 appeared on the television news program Morning Joe. Ms. Bedingfield was asked what the Biden

 Administration plans to do about COVID-19 misinformation on social media. Ms. Bedingfield

 explained that the “most important” thing was for people to obtain information from trusted


 14
   See generally Ex. 44 (Ctr. For Countering Digital Hate, The Disinformation Dozen, Why
 Platforms Must Act on Twelve Leading Online Anti-Vaxxers (Mar. 24, 2021)).


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 sources like their doctors, but with respect to social media platforms, “we all have a responsibility

 here,” including platforms and “news outlets.” Ex. 46 at 4 (Interview by Mika Brzezinski with

 Kate Bedingfield, Commc’ns Dir., White House, in Washington, D.C. (July 20, 2021)). The

 interviewer followed up by asking Ms. Bedingfield whether President Biden would support

 amending § 230 so that the platforms could no longer rely on its legal protection. Id. at 5. Ms.

 Bedingfield demurred by responding, “[w]ell, we’re reviewing that,” id., before noting that the

 President had emphasized that “the people creating the content” are responsible for it, id. at 6. As

 Ms. Bedingfield explained, “it is a big and complicated ecosystem, and everybody bears

 responsibility to ensure that we are not providing people with bad information about a vaccine that

 will save their lives.” Id. Ms. Bedingfield did not threaten any legal or regulatory action against,

 or make any demands of, social media platforms during this interview.

              2. White House Private Statements
        37.    White House aides—mainly, Mr. Flaherty—have had numerous conversations with

 representatives from Meta, Google, and Twitter about COVID-19 misinformation. 15 In those

 conversations, Mr. Flaherty sought to better understand (i) the companies’ existing policies

 addressing the spread of misinformation or disinformation on their platforms, (ii) the actions those

 companies were taking to enforce those policies, and (iii) what the Government could do to assist

 social media companies in their efforts to address the spread of misinformation on their platforms.



 15
    Many of Mr. Flaherty’s communications with these companies did not concern mis- and dis-
 information. For example, the Administration has routinely partnered with the companies to
 promote the President’s messages on policy matters, such as when the White House and Instagram
 arranged for Olivia Rodrigo to visit the White House to encourage young people to get vaccinated
 against COVID-19, see Ex. 47 (MOLA_DEFSPROD_00016809), and when the President hosted
 a town hall meeting with “creators” on YouTube, see Ex. 48 (MOLA_DEFSPROD_00017159).
 In other communications, White House officials have reported accounts impersonating federal
 officials—in violation of federal law—and the President’s relatives—in violation of social media
 companies’ terms of service. See infra.


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 See Ex. 36 at 20. Mr. Flaherty “also encouraged social media companies to be transparent and

 share data concerning the prevalence of misinformation and disinformation on their platforms.”

 Id. At times, he “expressed frustration when he perceived platforms to be applying their policies

 inconsistently or to not be forthcoming in their assessment of the problems with misinformation

 and disinformation on their platforms.” Id.

        38.   The record is replete with examples of Mr. Flaherty asking the companies for

 information about the nature and extent of the COVID-19 misinformation they were seeing on

 their platforms. See infra Defs.’ Proposed Findings of Fact (“PFOF”) § II.A.2.a. As described

 further below, when specific proposals for policy changes by social media platforms were raised,

 Mr. Flaherty explicitly disclaimed that the White House supported them or was asking the

 companies to adopt them. See infra Defs.’ PFOF § II.A.2.b. White House officials did flag some

 content—mainly, imposter accounts—for the social media companies. See infra Defs.’ PFOF

 § II.A.2.c. When they did so, the companies reviewed the requests under their existing policies,

 and the White House neither threatened the companies nor demanded that they override their

 policies to accommodate the White House’s concerns. See id.; Defs.’ Resp. PFOF ¶¶ 34-122.

                a. White House Requests for More Data about Misinformation on Facebook
        39.   An illustrative example of the White House’s focus on understanding misinformation

 trends on the platforms is an April 14, 2021, exchange during which Mr. Flaherty and Mr. Slavitt

 asked their respective contacts at Facebook to explain why a post by then-Fox News anchor Tucker

 Carlson—in which he discouraged Americans from getting vaccinated against COVID-19—was

 the most viewed post that day on Facebook.

        40.   By April 2021, the White House had already requested information several times

 from Facebook about the prevalent COVID-19 misinformation themes on its platform. See, e.g.,

 Dkt. 174-1 at 7 (February 8, 2021 email to Facebook: “do you have data on the actual number of


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 claims-related posts you’ve removed?”); Pls.’ Jones Decl., Ex. G at 1 (Dkt. 214-9) (February 24,

 2021 email to Facebook: “Can you give us a sense of volume on these [themes], and some metrics

 around [t]he scale of removal for each?”); see also Ex. 49 (MOLA_DEFSPROD_00017759)

 (email from Facebook representative to Mr. Flaherty noting that he might not be able to answer

 Mr. Flaherty’s “questions on the data” in an upcoming meeting). For its part, Facebook would

 occasionally send the White House information from its public announcements about its

 misinformation policies, sometimes copied and pasted directly from an announcement’s text. See,

 e.g., Dkt. 174-1 at 5-6 (response that included text copied from Facebook’s blog); id. at 8 (email

 from Facebook sharing publicly announced policy changes); id. at 9 (email from Facebook sharing

 “survey data on vaccine uptake” that it had published online).

        41.   On March 14, 2021, the Washington Post published a story about misinformation on

 Facebook that Mr. Flaherty perceived to be inconsistent with what Facebook had told White House

 officials previously, which frustrated Mr. Flaherty. According to the Post, Facebook was

 “conducting a vast behind-the-scenes study of doubts expressed by U.S. users about vaccines,”

 which had revealed that “[j]ust 10 out of the 638 population segments [studied] contained 50

 percent of all vaccine hesitancy content on the platform.”16 Mr. Flaherty emailed the story to his

 contact at Facebook and wrote in the subject line: “You are hiding the ball[.]” Dkt. 174-1 at 12.

 By this he meant, as he later explained in another email, that he felt the Post had revealed that

 Facebook had access to “data on the impact of borderline content”—that is, content that does not

 violate Facebook’s policies for removal, but which Facebook nonetheless moderates 17—“and its


 16
    Ex. 50 at 2 (Elizabeth Dwoskin, Massive Facebook study on users’ doubt in vaccines finds a
 small group appears to play a big role in pushing the skepticism, Wash. Post (Mar. 14, 2021)).
 17
    As Facebook has explained, “Some types of content, although they do not violate the letter of
 our Community Standards, are sensationalist or provocative and can bring down the overall quality



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 overlap with various communities,” which data Mr. Flaherty had previously asked for and which

 Facebook had not provided. Dkt. 174-1 at 11.

        42.   Mr. Flaherty explained that he was “not trying to play ‘gotcha’ with [Facebook],”

 but that the White House was “gravely concerned” about misinformation on Facebook and wanted

 to better understand how the Administration could be helpful in resolving the problem. Id. (“[W]e

 want to know that you’re trying, we want to know how we can help, and we want to know that

 you're not playing a shell game with us when we ask you what is going on.”). In light of the Post

 story, Mr. Flaherty stated that he felt Facebook had not been forthcoming with him in their prior

 interactions. Id. Mr. Slavitt responded to the email thread and echoed Mr. Flaherty’s concerns,

 stating that “100% of the questions I asked have never been answered and weeks have gone by.”

 Id. at 10. He added: “Internally we have been considering our options on what to do about it,”

 evidently meaning Facebook’s lack of transparency about the trends it was seeing on its platform.

 Id.; see also Ex. 40 at 10 (Ms. Psaki calling for companies to “measure and publicly share the

 impact of misinformation on their platform”). There is no evidence that Mr. Slavitt was referring

 to (or that the White House actually took) retributive action of any kind, and no evidence that

 Facebook took action in response to Mr. Slavitt’s email.

        43.   Facebook responded to these emails on March 16, 2021, by committing to “getting

 [the White House] the specific information needed to successfully manage” the “rollout” of the

 new COVID-19 vaccine. Dkt. 174-1 at 10. Facebook explained that the information in the Post

 story was not “vetted internally” and offered to walk the White House through data that Facebook




 of discourse on our platform, especially because people have frequently told us that they do not
 like encountering these forms of content.” Ex. 22 at 2.


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 had previously shared with the White House—data that had been published in a public report. Id.;

 see also id. at 9 (email attaching the data referenced in Facebook’s email about the Post story).

         44.   One month later, on April 14, 2021, Mr. Slavitt and Mr. Flaherty had an email

 exchange with Facebook regarding Tucker Carlson’s post asserting that vaccines are ineffective.

 Upon learning (likely through CrowdTangle) 18 that Mr. Carlson’s post was the most viewed

 vaccine-related post on Facebook that day, Mr. Slavitt and Mr. Flaherty reached out to their

 respective contacts at Facebook. Mr. Slavitt wrote: “Number one on Facebook [today]. Sigh.” Dkt.

 174-1 at 35. Mr. Flaherty wrote: “[T]he top post about vaccines today is [T]ucker Carlson saying

 they don’t work.” Id. at 22. He added: “Yesterday was Tomi Lehren [sic] saying she won’t take

 one. This is exactly why I want to know what ‘Reduction’ actually looks like—if ‘reduction’ means

 ‘pumping our most vaccine hesitant audience with [T]ucker Carlson saying it doesn’t ‘work’ then

 . . . I’m not sure it’s reduction!”19 In its response to both White House officials, Facebook explained

 that Mr. Carlson’s post was “not the most popular post about vaccines on Facebook [that day],”

 noting also that “[r]egardless of popularity, the Tucker Carlson video does not qualify for removal

 under [its] policies.” Id. at 34.

         45.   Mr. Flaherty responded by asking Facebook to help the White House understand how

 it was applying its content moderation policies: “I guess this is a good example of your rules in

 practice then—and a chance to dive in on questions as [to how] they’re applied,” wrote Mr.



 18
    CrowdTangle is a Facebook tool that allows users to “[m]onitor public information” about the
 reach of Facebook posts. Ex. 51 (CrowdTangle, Meta, https://perma.cc/L7N2-CSK5). “FEMA has
 been a user of CrowdTangle since 2015, and has used it to create real-time displays for their various
 regional teams to support their social media situational awareness efforts and help direct needs or
 information clarification.” Ex. 52 at 3 (MOLA_DEFSPROD_00018060).
 19
    “Reduction” is likely a reference to Facebook’s borderline content policy, under which
 Facebook has pledged since 2018 to combat misinformation by “reducing its distribution and
 virality.” Ex. 23 at 8.


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 Flaherty. Id. at 33. He went on to ask, among other things: “How was this [the Tucker Carlson

 video] not violative? . . . What exactly is the rule for removal vs demoting? Moreover: you say

 reduced and demoted. What does that mean?” Id. Mr. Flaherty ended his email by remarking:

 “[n]ot for nothing but last time we did this dance, it ended in an insurrection.” Id. at 34. Later that

 day, Mr. Flaherty followed up with another question: “And sorry—if this was not one of the most

 popular posts about the vaccine on Facebook today, then what good is [C]rowd[T]angle?” Id. at

 33. When after two days Facebook still had not responded, Mr. Flaherty followed up (in

 frustration): “These questions weren’t rhetorical[.]” Id. Facebook thereafter responded with

 answers to Mr. Flaherty’s questions, including that Mr. Carlson’s post was not violative because

 “while [Facebook] remove[d] content that explicitly directs people not to get the vaccine, . . .

 [Facebook] reviewed this content in detail and it does not violate those policies.” Id. at 36.

        46.    The aforementioned exchanges demonstrates that, even in a moment of apparent (and

 atypical) frustration with Facebook, White House officials remained focused on obtaining

 information from social media companies to better understand the important problem of

 misinformation, as was true throughout their interactions with Facebook and other platforms. In

 the exchange, White House officials sought an explanation as to why a post by an influential figure

 that discouraged vaccination was surging in popularity given the company’s content moderation

 policies (hence Mr. Flaherty’s reference to “Reduction”). When Facebook responded that the post

 did not violate its community standards, White House officials did not demand (or even request)

 that Facebook remove the post or change its policies so that the post would be considered violative.

 Instead, the White House officials sought to learn more about how Facebook applied its policies—

 such as its little-understood “demoti[on]” policy for borderline content, see supra Defs.’ PFOF

 § I.D—and how the White House could use Facebook’s public-data resource (CrowdTangle) to




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 understand what Americans were seeing on the platform. Although Mr. Flaherty used strong

 language at times, this language reflected his frustration over not receiving answers to his repeated

 requests for information and the urgency of the public health crisis that the Administration was

 working to tackle—not threats or demands that Facebook change its content moderation policies

 or how they were enforced. Nor is there any evidence that Facebook subsequently changed its

 approach to applying its established policies, or took any action against the Tucker Carlson post,

 or any other post, as a result of the White House’s contacts. Defs.’ Resp. PFOF ¶¶ 81-82, 93-97.

                b. No White House Demands for Changes to the Companies’ Content Moderation
                   Policies or Practices Regarding COVID-19
        47.   Indeed, the record contains no evidence that White House officials demanded that

 social media companies adopt particular changes to their content moderation policies or the

 manner of their enforcement, or that action be taken against specific posts concerning COVID-19.

 Mr. Flaherty disclaimed the notion that he (or anyone at the White House) knew how best to

 combat misinformation on social media. See, e.g., Dkt. 174-1 at 11 (“I will . . . be the first to

 acknowledge that borderline content offers no easy solutions.”). Moreover, on one occasion when

 Mr. Flaherty shared specific proposals with Facebook—proposals that were developed by third-

 party researchers—Mr. Flaherty emphasized that the White House was not asking Facebook to

 adopt those recommendations. See generally Defs.’ Resp. PFOF ¶¶ 34-211.

     48. Specifically, on April 23, 2021, Mr. Flaherty sent Facebook’s representative an email

 with the subject “Research Suggestions.” Pls.’ Jones Decl., Ex. L at 1 (Dkt. 214-14). An outside

 group had recently “[b]rief[ed]” the White House on COVID-19 vaccine misinformation on

 Facebook. Id. Mr. Flaherty sent Facebook the outside group’s findings, which included specific

 recommendations, including that “Facebook should direct resources to equal policy enforcement

 around violative content and networks in non-English languages.” Id. at 2. In his cover email, Mr.



                                                  36
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 Flaherty explicitly noted that Facebook should not “read this as White House endorsement of these

 suggestions (or, also, as the upper bound of what our thoughts on this might be).” Id. at 1. He noted

 that he was sending the recommendations only in the “spirit of transparency” because the findings

 were “circulating around the building[.]” Id. On May 1, Facebook wrote to Mr. Slavitt, thanking

 “the [White House] team for sharing the research work” and providing “some details on where

 we’re developing work in this space (and where we aren’t).” Dkt. 174-1 at 41-42. The White House

 did not respond to this note with threats or demands to implement the outside group’s suggestions.

 Id. at 41. Instead, Mr. Flaherty repeated his typical questions about what Facebook was seeing on

 its platform. Id. (“Not to sound like a broken record, but how much content is being demoted, and

 how effective are you at mitigating reach, and how quickly?”).

                   c. White House Requests for Action on Fake and Doctored Posts and Accounts
            49.   At times, White House officials requested that social media companies remove fake

 accounts from their platforms—such as imposter accounts purporting to belong to members of the

 President’s family, or Dr. Fauci. See Ex. 53 at 1 (MOLA_DEFSPROD_00016598) (the President’s

 daughter-in-law); Dkt. 174-1 at 4 (the President’s grandchild); Ex. 54 at 1 (MOLA_DEFSPROD_

 00016939) (Dr. Fauci); Ex. 55 at 1-2 (MOLA_DEFSPROD_00017968) (a “fan account” for the

 President’s son). White House officials also flagged a doctored video of the First Lady. Dkt. 174-

 1 at 65.

            50.   It is not unusual for members of the public, or the victims themselves, to report

 imposter accounts or doctored content to social media platforms. Twitter, Facebook, and YouTube

 each prohibit imposter accounts and provide mechanisms for the public to report violations of their




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 imposter rules.20 Indeed, in one instance when the White House flagged a fake account of one of

 the President’s family members, Twitter merely directed the White House to fill out its publicly

 available imposter form. Ex. 53 at 1. Understandably, however, some companies have a

 mechanism for the White House to submit expedited requests for removal of such information,

 since willfully impersonating a federal official is a federal crime, see 18 U.S.C. § 912, and could

 have dangerous consequences for public safety and national security. Those mechanisms,

 moreover, have been utilized by at least the prior two administrations. See Dkt. 174-1 at 3 (noting

 that Twitter offered the Biden Administration “the same system we had in place for the previous

 two administrations”).

        51.   The record demonstrates that the White House requested that the platforms review

 the above-mentioned incidents, see Ex. 54 at 2 (“Hi there –any way we can get this pulled down?”);

 Ex. 53 at 1 (“[This account] is an impersonation – and [the victim] has requested it be taken

 down.”); Dkt. 174-1 at 4 (“Please remove this account immediately”); id. at 65 (“[w]ould you mind

 looking at this video and helping us with next steps to put a label or remove it?”), and that the

 platforms accordingly evaluated the White House’s requests under their existing policies. When

 the platforms determined that the content was violative, it was removed. See, e.g., Dkt. 174-1 at 4.

 When the content was not violative—as was the case with a doctored video of the First Lady

 circulating on Twitter—the platform declined to remove it. Id. at 63 (“After escalating this to our

 team, the [t]weet and video referenced will not be labeled under our synthetic and manipulated

 media policy.”). In the latter instance, the White House did not seek to compel Twitter to change

 its decision; it asked for “any other info” about why the content did not qualify for labeling, “in


 20
   See Ex. 56 (Account Integrity & Authentic Identity, Meta, https://perma.cc/DCR9-9FBY); Ex.
 57 (Authenticity on Twitter, Twitter Help Ctr., https://perma.cc/6NVT-PS59); Ex. 58
 (Impersonation policy, YouTube Help, https://perma.cc/R5BD-X6JB).


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 order to help us understand the Twitter processes best.” Id. at 61. A White House official also

 requested the removal of a tweet by Robert F. Kennedy, Jr., regarding COVID-19 vaccines. As

 discussed further below, see infra Defs.’ Arg. § II.B.1, the record shows that the tweet had already

 been escalated for review by Twitter’s independent trust and safety team, which—applying its

 independent judgment—did not remove the tweet.

         52.    To be sure, White House officials sometimes used language reflecting urgency or

 exasperation when engaging with the social media companies about imposter accounts and

 doctored content. See, e.g., Dkt. 174-1 at 58 (Mr. Flaherty observing that Twitter’s explanation

 was “Total Calvinball”). This language merely reflects the same frustration that Mr. Flaherty

 expressed when he perceived the platforms to be “applying their policies inconsistently or to not

 be forthcoming in their assessment of the problems with misinformation and disinformation on

 their platforms.” See Ex. 36 at 20. It does not reflect demands or threats of legal or regulatory

 retaliation.

         53.    Since the start of 2023, the landscape of White House COVID-19 efforts has changed

 dramatically. On April 10, 2023, the President signed into law a resolution terminating the national

 emergency related to the COVID-19 pandemic. See Joint Resolution of Apr. 10, 2023, Pub. L. No.

 118-3, 137 Stat. 6. And HHS’s public health emergency is likewise due to end on May 11, 2023,

 in part because, “thanks to the [A]dministration’s whole-of-government approach to combating

 the virus, we are in a better place in our response than we were three years ago, and we can

 transition away from the emergency phase.” Ex. 67 at 1 (COVID-19 Public Health Emergency

 (PHE), Dep’t of Health & Hum. Servs., https://perma.cc/3HZ4-QM3G). Moreover, recognizing

 that “transitioning out of the emergency phase is the natural evolution of the COVID response,”

 the White House plans to wind down its COVID-19 Response Team later this month. See Ex. 59




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 (Dan Diamond & Taylor Pager, White House Disbanding its Covid-19 Team in May, Wash. Post

 (Mar. 22, 2023)). The COVID-19 Response Team was charged, among other things, with

 “[o]rganizing the White House to combat COVID-19,” Exec. Order No. 13,987, 86 Fed. Reg.

 7019, § 2 (Jan. 20, 2021), and included several White House staffers who communicated with

 social media companies about the spread of COVID-19 misinformation on their platforms,

 including Mr. Slavitt and other Defendants. See Ex. 60 at 1 (MOLA_DEFSPROD_00018067).

 Winding down the team and ending COVID-19 emergency declarations reflect that the

 Administration is reaching a new phase of its response to the virus. See also Defs.’ Resp. PFOF

 ¶¶ 188-211.

        B. The Surgeon General
        54.    The U.S. Surgeon General is commonly referred to as the “Nation’s Doctor.”21 The

 Office of the Surgeon General (“OSG”) is housed within HHS, and the Surgeon General reports

 to the Assistant Secretary for Health. 22 The Surgeon General does not have independent regulatory

 authority. See, e.g., Reorganization Plan No. 3 of 1966, 31 Fed. Reg. 8855 (June 25, 1966)

 (transferring the Surgeon General’s powers to what is now HHS); Declaration of Max Lesko, Chief

 of Staff, Off. of the Surgeon Gen. ¶ 3 (“Lesko Decl.”) (Ex. 63). Rather, the Surgeon General’s role

 is primarily to draw attention to public health matters affecting the nation.23 For example, Surgeons

 General have traditionally issued reports and calls to action on public health issues ranging from



 21
    See Ex. 61 at 1 (About the Office of the Surgeon General, U.S. Dep’t of Health & Hum. Servs.,
 https://perma.cc/AHX2-KGED).
 22
    See Office of the Assistant Secretary for Health; Statement of Organization, Functions and
 Delegations of Authority, 52 Fed. Reg. 11,754, 11,754-55 (Apr. 10, 1987); see also Ex. 62 at 1
 (Office of the Assistant Secretary for Health Organizational Chart, U.S. Dep’t of Health & Hum.
 Servs., https://perma.cc/R5JF-URY9).
 23
    See Ex. 64 at 1 (Mission of the Office of the Surgeon General, U.S. Dep’t of Health & Hum.
 Servs., https://perma.cc/87KA-DMD9); see also Waldo Dep. 26:1-11.


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 health literacy 24 to opioid addiction,25 to—perhaps most famously—the health risks of smoking

 cigarettes. 26

         55.      The current Surgeon General, Dr. Vivek Murthy, took two such official actions

 relating to health misinformation in 2021 and 2022. In July 2021, Dr. Murthy issued a Surgeon

 General’s Advisory (“Advisory”) that called attention to the harms caused by the spread of

 misinformation and offered “recommendations” for various sectors of society, including social

 media platforms, to address such harms. And in March 2022, Dr. Murthy issued a Request for

 Information (“RFI”), published in the Federal Register, seeking comments from interested

 members of the public about health misinformation on social media. In addition to the Advisory

 and the RFI, Dr. Murthy made public statements reiterating the Advisory’s themes at a White

 House press briefing, at public events, and in interviews. In private, OSG held courtesy meetings

 with Facebook, Google, and Twitter to inform them of the Advisory’s release and its themes, and

 the Surgeon General held an additional meeting with Facebook on July 23, 2021 (at Facebook’s

 request) at which the Advisory’s themes were discussed. OSG has not flagged specific posts for

 social media companies or demanded particular actions from the companies (let alone any specific

 company), nor has it worked with the companies to moderate content on their platforms. Lesko

 Decl. ¶ 8 (Ex. 63). Moreover, OSG was not—and is not—involved in a coalition of researchers

 known as the “Virality Project.” Indeed, following the issuance of the Advisory and the RFI, the




 24
    See generally U.S. Dep’t of Health & Hum. Servs., Proceedings of the Surgeon General’s
 Workshop on Improving Health Literacy (2006), https://perma.cc/25F7-ABJ2.
 25
    See Ex. 66 (U.S. Surgeon General’s Advisory on Naloxone and Opioid Overdose, U.S. Dep’t of
 Health & Hum. Servs., https://perma.cc/W9KJ-QPAW).
 26
    See generally U.S. Dep’t of Health, Education, & Welfare, Smoking and Health: Report of the
 Advisory Committee to the Surgeon General of the Public Health Service (1964),
 https://perma.cc/Z2WJ-UWEN.


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 Surgeon General’s office has pivoted to “core issues” other than COVID-19-related

 misinformation. Waldo Dep. 114:6-115:5 (Dkt. 210-1).

              1. The Advisory, the RFI, and Other Public Statements
        56.    Dr. Murthy was confirmed by the Senate on March 23, 2021, see 167 Cong. Rec.

 S1721 (daily ed. Mar. 23, 2021), and sworn into office on March 25. On July 15, 2021, Dr. Murthy

 published a Surgeon General’s Advisory related to COVID-19 misinformation. See generally

 Waldo Ex. 11 (Dkt. 210-12) (“Advisory”). A Surgeon General’s Advisory is a “public statement

 that calls the American people’s attention to a public health issue” and provides

 “recommendations” as to “how that issue should be addressed.” Id. at 3. A Surgeon General’s

 Advisory does not impose any obligations on private parties.

        57.    The July 2021 Advisory states that health misinformation has “sowed confusion,

 reduced trust in public health measures, and hindered efforts to get Americans vaccinated.” Id. at

 16. The Advisory calls for a “whole-of-society effort” to “curb the spread of harmful

 misinformation,” id. at 6-7, and it offers recommendations as to how various sectors can tackle the

 issue, id. at 8-15. For “technology platforms,” the Advisory identifies eight recommendations,

 including “[a]ssess[ing] the benefits and harms of products and platforms and tak[ing]

 responsibility for addressing the harms,” “[g]iv[ing] researchers access to useful data to properly

 analyze the spread and impact of misinformation,” and “[p]rioriti[zing] the early detection of

 misinformation ‘super-spreaders’ and repeat offenders.” Id. at 12. The Advisory does not mention

 any particular social media post—or any individual responsible for such a post—that the Surgeon

 General would consider to be harmful misinformation. Nor does the Advisory demand any specific

 action of social media companies. To the contrary, the Advisory recognizes that “[d]efining

 ‘misinformation’ is a challenging task,” id. at 17, and it encourages platforms to consider how to




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 “safeguard[] user privacy and free expression” while addressing the spread of health

 misinformation, id. at 6-7. See also Defs.’ Resp. PFOF ¶¶ 318-329.

        58.   On the date of the Advisory’s release, July 15, 2021, Dr. Murthy spoke at a virtual

 event hosted by the Stanford Internet Observatory and a joint press briefing with White House

 Press Secretary Jennifer Psaki. During the Stanford event, Dr. Murthy advised that “[i]f we want

 to fight health misinformation, we’ll need all parts of society to pull together,” which is “why this

 surgeon general advisory has recommendations for everyone.” Waldo Ex. 12 at 7-8 (Dkt. 210-13).

 He also described the Advisory’s recommendations at a high level. Id. At the White House briefing

 later that day, Dr. Murthy reiterated the same points, explaining that “we need an all-of-society

 approach to fight misinformation” and that the Advisory “has recommendations for everyone.”

 See Ex. 40 at 2. In response to journalists’ questions, he noted that the Advisory “ask[ed] [social

 media platforms] to step up” to address misinformation, but made no demands that they take action

 of any kind, or suggest that the Government would retaliate against them if they did not. Id.

        59.   After the Advisory’s release, Dr. Murthy spoke publicly about the importance of

 addressing health misinformation—as described in the Advisory—and the need for a “healthy

 information environment.” See Ex. 68 (Clay Skipper, Surgeon General Dr. Vivek Murthy Sees

 Polarization as a Public Health Issue, GQ (Mar. 11, 2022)); see also Ex. 69 (Rockefeller

 Foundation, Building Public Health’s Defense Against Disinformation, https://perma.cc/M5EG-

 YJKG) (announcing a February 14, 2022, virtual event on misinformation featuring Dr. Murthy).

 In these remarks, Dr. Murthy did not make demands or threaten legal action, nor did he call out

 specific social media companies or their users.

        60.   In March 2022, OSG published in the Federal Register an RFI seeking “input from

 interested parties on the impact and prevalence of health misinformation in the digital information




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 environment during the COVID-19 pandemic.” Impact of Health Misinformation in the Digital

 Information Environment in the United States Throughout the COVID-19 Pandemic Request for

 Information (RFI), 87 Fed. Reg. 12,712, 12,712 (Mar. 7, 2022). The RFI requested any comments

 by May 2, 2022. It sought information on a broad range of topics, including “[i]nformation about

 sources of COVID-19 misinformation” on social media and elsewhere, such as “specific, public

 actors that are providing misinformation” and “components of specific platforms that are driving

 exposure to information.” Id. at 12,714. The RFI emphasized, however, that “[a]ll information

 should be provided at a level of granularity that preserves the privacy of users.” Id. at 12,713. Like

 the Surgeon General’s Advisory, the RFI imposed no obligations; responses were purely

 voluntary. See id. at 12,712 (“You may respond to some or all of the topic areas covered in the

 RFI.”); see also Defs.’ Resp. PFOF ¶¶ 411-423.

        61.    On April 7, 2023, OSG published the comments it received in response to the RFI.

 Several social media companies submitted responses, including Twitter, Google, and Meta

 (Facebook). See Ex. 70 (RFI Responses Compiled, Dep’t of Health & Hum. Servs (Apr. 7,

 2023)).27 None of these companies’ responses indicates that they changed their content moderation

 policies, or moderated the content of any users, in response to the RFI (or any other action taken

 by OSG). See id. at 1-6 (Twitter); id. at 7-14 (Google); id. 15-24 (Meta). Twitter’s five-page

 response, for example, simply discusses the content moderation policies that Twitter was at that

 point applying and includes statistics concerning their enforcement. Id. at 1-6. Meta’s eight-page

 submission similarly discusses Facebook’s polices that were in place at the time, noting that the


 27
   In response to the RFI, OSG received more than 7,500 pages of comments from various sectors
 of society, including from researchers, private firms, public health departments, and many
 individuals. Those comments are publicly available at https://www.regulations.gov/comment/
 HHS-OASH-2022-0006-0002. For convenience and feasibility, Defendants’ exhibit contains only
 the responses submitted by Twitter, Google, and Meta (Facebook). See Ex. 70.


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 document offers a “high-level” description of those policies and directing readers to view Meta’s

 website for “[m]ore details around our approach to misinformation.” Id. at 18. Google’s

 submission takes the same approach; it provides an overview of Google’s “efforts in addressing

 COVID-19 health misinformation and disinformation,” including Google’s efforts to “provid[e]

 authoritative content.” Id. at 13. OSG does not intend to take any formal action with respect to the

 RFI responses it received. See Lesko Decl. ¶ 10 (Ex. 63).

              2. Direct Communications with Social Media Companies
        62.    On May 25, 2021, Dr. Murthy participated in an introductory call with Nick Clegg,

 President of Global Affairs at Facebook, and Mr. Slavitt. See Ex. 187 at 5 (Defs.’ Fourth Am.

 Combined Objections & Resp. to Pl. First Set of Prelim. Inj.-Related Interrogatories. On May 28,

 Mr. Clegg followed up by sending Dr. Murthy and Mr. Slavitt a biweekly “COVID insights

 report”—which described Facebook’s “most engaged or the most viewed posts,” Waldo Dep.

 140:15-16—for May 3-15, 2021, Waldo Ex. 4 at 1 (Dkt. 210-5). Mr. Clegg also “highlight[ed] a

 few policy updates” that Facebook had announced publicly on May 27, and he shared “data [he]

 mentioned on [the] call” that “point to the positive (if not as publicly discussed) influence

 [Facebook was] having on attitudes towards vaccines[.]” Id.; see also Defs.’ Resp. PFOF ¶¶ 252,

 282-286.

        63.    Before the Advisory’s July 15, 2021 release, Eric Waldo, then-Chief Engagement

 Officer for OSG, 28 arranged high-level “stakeholder calls with relevant parties,” also known as

 “rollout calls.” Waldo Dep. 18:20-21. The goal of the rollout calls was for OSG to “give

 [stakeholders] a heads-up that the advisory was going to come out” and to encourage them to



 28
   Mr. Waldo no longer works at OSG. Katharine Dealy, OSG’s Director of Engagement, is his
 successor. Defs.’ Notice Regarding Substitution of Official-Capacity Defendants at 2 (“Defs.’
 Notice of Substitution”) (Dkt. 263).


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 review the document when it became public. Id. at 18:20-21; 87:2-6. Mr. Waldo held rollout calls

 on July 12 and July 14 with representatives from Twitter and Google/YouTube, respectively. Ex.

 187 at 35-36. These were cordial meetings. See Waldo Dep. 87:2-6. Indeed, representatives from

 Google/YouTube expressed agreement as to the importance of combating health misinformation

 and said they were “excited” to review the Advisory. Id. at 89:25-90:2. Due to scheduling conflicts,

 a rollout call with Facebook did not occur until the day after the Advisory was released, or July

 16, 2021. Id. at 90:15-19. That meeting occurred on the same day that the President told reporters

 that persons spreading COVID-19 misinformation on Facebook were “killing people”—a

 comment that he clarified two days later, see supra at 28-29—which made the meeting “slightly

 awkward.” Id. at 92:25. Facebook and OSG did not discuss the President’s comments or

 Facebook’s sentiment towards it, however. Id. at 94:7-10; see also Defs.’ Resp. PFOF ¶¶ 153, 157,

 217, 222, 223, 227, 254-258, 273, 287-292, 348-349.

        64.   On July 16, 2021—the same day that OSG and Facebook met to discuss the

 Advisory—Mr. Clegg reached out to Dr. Murthy to request a call regarding “how we can continue

 to work toward . . . shared goals” despite “disagreement on some of the policies governing

 [Facebook’s] approach[.]” Waldo Ex. 17 at 2 (Dkt. 210-16); see also Waldo Ex. 18 at 1 (Dkt. 210-

 17) (text message from Mr. Clegg to Dr. Murthy). Mr. Clegg noted that Facebook staff were feeling

 “a little aggrieved” by the President’s comments. Waldo Ex. 18 at 1 (Dkt. 210-17). In his email,

 Mr. Clegg mentioned that OSG and Facebook had met that day to discuss “the scope of what the

 White House expect[ed] from” Facebook. Waldo Ex. 17 at 2 (Dkt. 210-16). Mr. Waldo testified,

 however, that Mr. Clegg misunderstood the nature of OSG’s meeting with Facebook, which Mr.

 Waldo had attended (and Mr. Clegg had not). Waldo Dep. 236:21-25. At the July 16 meeting, OSG




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 had simply “walk[ed] over the . . . recommendations section” of the Advisory “at a high level.” Id.

 91:7-16.

        65.   In addition, on July 17, 2021, Facebook published a document describing actions it

 was “already tak[ing] . . . on the eight recommendations from the Surgeon General” in the form of

 measures that Facebook had had in place since April 2020, more than a year prior to the Advisory.

 See Ex. 71 (Taking action to combat COVID-19 vaccine misinformation, Facebook (July 17,

 2021), https://perma.cc/6R6J-ANNF). The four-page document does not mention a single new

 action that Facebook would begin to take in light of the Surgeon General’s Advisory; rather, it

 describes ways in which Facebook was already addressing the Advisory’s recommendations. Id.

        66.   In response to Mr. Clegg’s meeting request, Dr. Murthy met virtually with Mr. Clegg

 on July 23, 2021. Dr. Murthy tried to set a “cordial” tone at the meeting and raised the issue of

 “wanting to have a better understanding of the reach of the mis- and disinformation” on Facebook.

 Waldo Dep. 107:1-2, 98:18-22. The “most specific questions were about understanding the data

 around the spread of misinformation and how we [are] measuring that,” Id. at 35:20-23, meaning

 “how we’re measuring the harm and the impact,” Id. at 36:14. He also reiterated that OSG is

 “asking everyone to do more.” Id. at 107:13-14. According to Mr. Waldo, someone from OSG’s

 staff (Mr. Waldo could not recall whom) made a request of Facebook to explain “if they would

 share” what they were doing in response to the Advisory, “if anything.” Id. at 109:5-17. And an

 offer was made (again, Mr. Waldo could not recall by whom) to connect DJ Patil, the White

 House’s “data person,” with Facebook personnel, so that Dr. Patil could better understand

 Facebook’s data about the spread of misinformation. Id. at 112:1-10. Dr. Murthy did not demand

 specific actions or threaten legal consequences against Facebook if they were not taken. See id. at

 35:20. See also Defs.’ Resp. PFOF ¶¶ 259-271, 352-368.




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        67.   After the July 23, 2021 call, Dr. Murthy did not have further meetings about

 misinformation with Facebook. See Lesko Decl. ¶ 12 (Ex. 63). Nor did OSG request meetings on

 misinformation with other social media companies. 29 OSG concluded that such meetings “would

 [not] be a good use of Dr. Murthy’s time.” Waldo Dep. 115:1, 113:3-15. Mr. Waldo explained

 why OSG decided to deprioritize these meetings:

        [OSG had] done the work that we intended vis-a-vis the advisory, which is the
        Surgeon General's role, to raise up the issue, bring attention to it, and then . . . we
        wanted to move on to other priorities and that, you know, our part of the relay race
        was over. We had -- we had raised up the flagpole that this is an issue of public
        importance and that hopefully researchers, nonprofits, citizens, whomever, relative
        stakeholders would take actions. But we weren’t – we’re not a regulatory agency.
        We don’t have oversight authority, et cetera. So it wasn't our job then to sort of
        show up with a clipboard, but rather we were trying to encourage the field to move
        forward and give permission structure where others might recognize that this is
        important and want to study it more, want to do more work in this area. But . . . Dr.
        Murthy wanted to focus on other core issues . . . .

 Id. at 114:6-115:5.

          68. For its part, Facebook followed up with OSG in several ways. First, Mr. Clegg

 thanked Dr. Murthy for his time on July 23, 2021, and expressed wanting to “make sure [he] saw

 the steps [Facebook] took just this past week”—or, since July 16—“to adjust policies on what we

 are removing with respect to misinformation.” Waldo Ex. 19 at 1 (Dkt. 210-18). 30 In that message,

 Mr. Clegg also expressed interest in “a regular cadence of meetings,” which never materialized

 because OSG “didn’t think [such meetings] would be worth [its] time given [OSG’s] competing



 29
    Mr. Waldo participated in three meetings—two with Google in July and September 2021 and
 one with Facebook in August 10—at the companies’ request. Ex. 187 at 35-36. These were
 courtesy meetings that the companies requested to give OSG advance notice of announcements
 and work that they were doing on misinformation. See Waldo Dep. 66:16-23, 129:1-23.
 30
    The record does not indicate clearly what these “steps” were. And, as discussed infra,
 Facebook’s announcement with respect to the Surgeon General’s Advisory did not describe any
 new action that Facebook would take. See Ex. 71. The document highlights ways in which
 Facebook was already following the recommendations laid out in the Advisory.


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 priorities.” Waldo Dep. 254:7-12. Second, Facebook occasionally sent OSG updates on its

 activities. For example, on August 23, 2021, shortly after the Food and Drug Administration

 (FDA) approved the Pfizer COVID-19 vaccine, a Facebook representative forwarded Mr. Waldo

 an email informing the White House that Facebook planned to update its misinformation policies

 to remove claims that there were no FDA-approved vaccines. Waldo Ex. 27 at 1 (Dkt. 210-23).

 Third, Facebook continued to send OSG—mainly, Mr. Waldo—its bi-weekly COVID insight

 reports. See Waldo Ex. 54 at 1 (Dkt. 210-46) (Facebook sending Mr. Waldo “the most recent two

 reports” from June 24 to July 8, 2022). Mr. Waldo did not “spend a lot of time looking at [the]

 reports,” Waldo Dep. 140:14-20, and he was not aware of any action taken by federal officials in

 response to the reports, id. at 141:14-16. As of December 2022, Mr. Waldo did not believe that he

 was still receiving those reports. Id. at 294:1-2. Mr. Waldo no longer works at OSG. See Defs.’

 Notice Regarding Substitution of Official-Capacity Defendants at 2 (“Defs.’ Notice of

 Substitution”) (Dkt. 263).

              3. The Virality Project
        69.     One of the Advisory’s recommendations for governments is to “[i]nvest in fact-

 checking and rumor control mechanisms where appropriate.” Advisory at 15. In support, the

 Advisory cites an online article written by individuals at the Stanford Internet Observatory and

 posted on a website for the “Virality Project.” See id. at 22 n.62 (citing M. Masterson, A. Zaheer,

 et al., Rumor control: A framework for countering vaccine misinformation, Virality Project Policy

 Analysis (May 4, 2021) (Ex. 72)). The Virality Project is a “coalition of research entities focused

 on supporting real-time information exchange” about COVID-19 misinformation “between the

 disinformation research community, public health officials, civil society organizations,

 government agencies, and social media platforms.” Ex. 73 (Announcing the Virality Project,




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 Virality Project (Feb. 11, 2021), https://perma.cc/9T3J-F2HG). One of the lead entities responsible

 for the Virality Project is the Stanford Internet Observatory. See id.

        70.    The Virality Project issued a “final report” on February 24, 2022, which was later

 revised on April 26, 2022. Waldo Ex. 28 at 2 (Dkt. 210-24) (“Virality Project Report”). Among

 other things, the report describes a process by which Virality Project analysts “created tickets

 documenting URLs” of “both specific pieces of misinformation and broader narratives.” Virality

 Project Report at 27. According to the report, 174 “incidents” of misinformation were “referred to

 platforms for potential action.” Id. at 30. The Virality Project provided information to social media

 platforms, but had no control over content moderation, censorship, or labeling posts. See Ex. 74

 (Background on the SIO’s Projects on Social Media, Stanford Internet Observatory (Mar. 17,

 2023)) (“SIO Statement”). Rather, social media companies examined any reports sent to them by

 the Virality Project to determine if the content violated their policies and did not take action in

 cases where companies felt their existing policies were not violated. Id. Decisions to remove or

 flag tweets were made by the social media companies. Id.

        71.    The report also notes that the Virality Project “built strong ties” with OSG, Virality

 Project Report at 17, and that it “hosted [a] discussion with [Dr.] Murthy” on July 15, 2021, the

 day of the Advisory’s launch and Dr. Murthy’s virtual appearance at the event hosted by the

 Stanford Internet Observatory, id. at 143. But according to OSG’s Chief of Staff, Max Lesko, OSG

 “never provided any tip, flag, ticket, report, or other form of notification or input to the Virality

 Project concerning posts or accounts on social media.” See Lesko Decl. ¶ 16 (Ex. 63). Moreover,

 OSG did not understand the Stanford event on July 15, 2021, to be a Virality Project event, and it

 was not advertised as such. Id. ¶ 15; see also Waldo Ex. 12 at 1 (Dkt. 210-13) (advertising the July

 15, 2021, event as being hosted by the Stanford Internet Observatory). Mr. Waldo, who led OSG’s




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 rollout of the Advisory, testified that he had never heard of the Virality Project. Waldo Dep.

 207:10-14. Nor was he aware of any OSG involvement in the Virality Project. Id. at 207:18-21.

 He was not familiar with anyone at OSG or in the Federal Government reporting specific instances

 of misinformation on social media—referred to in the Virality Project report as “tickets”—to the

 Virality Project, either. Id. at 285:4-10.

         72.   The Virality Project has not been active since 2022. Its February 2022 report is self-

 described as a “final” report. See Virality Project Report. The project’s most recent “weekly

 briefing,” “policy analysis,” and “rapid response” posts—the only three categories of posts

 available on the Virality Project’s website—all occurred in August 2021. 31 The final “weekly

 briefing” post from August 3, 2021, notes that it will be the project’s “last official briefing.” See

 Ex. 75 (Virality Project Weekly Briefing # 32, Virality Project (Aug. 3, 2021)). And the Virality

 Project’s Twitter account has made no posts since announcing the final report on February 24,

 2022. See Ex. 76 (Virality Project, Twitter (Feb. 24, 2022, 2:08 PM), https://perma.cc/6ADR-

 YCW7). To the best of OSG’s knowledge, the Virality Project is no longer currently active, and

 OSG does not currently have any contact with it. Lesko Decl. ¶ 14 (Ex. 63). See also Defs.’ Resp.

 PFOF ¶¶ 1236-1265.

         C. The Centers for Disease Control and Prevention (CDC)
         73.   CDC, a component of HHS, is a “science-based, data-driven, service organization

 that,” “[f]or more than 70 years,” has worked to “protect[] the public’s health.” Ex. 77 (CDC 24/7:

 Saving Lives, Protecting People, Ctrs. for Disease Control & Prevention, https://perma.cc/Z53S-

 9J8S (last updated Aug. 31, 2022)). Its mission is to “work[] 24/7 to protect America from health,



 31
   See Ex. 81 (Weekly Briefings, Virality Project, https://perma.cc/W64T-2CXX); Ex. 82 (Rapid
 Response, Virality Project, https://perma.cc/9Z2L-KE5F); Ex. 83 (Policy Analysis, Virality
 Project, https://perma.cc/CZS2-KKSB).


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 safety and security threats, both foreign and in the U.S.” Ex. 78 (Mission, Role and Pledge, Ctrs.

 for Disease Control & Prevention, https://perma.cc/SU2B-Z6TR (last updated Apr. 29, 2022)). To

 accomplish its mission, CDC “conducts critical science and provides health information” to

 prevent “expensive and dangerous health threats, and respond[] when [such threats] arise.” Id.

 CDC’s Office of Communications supports the agency’s mission by “[e]nsur[ing] CDC’s work is

 accessible, understandable, and actionable,” and by “[m]aximiz[ing] public trust in and credibility

 of CDC’s science, programs, and recommendations.” Ex. 79 (Office of Communications (OC),

 Ctrs. for Disease Control & Prevention, https://perma.cc/885U-GHJ8 (last updated Apr. 3, 2023)).

        74.   Carol Crawford works for the CDC Office of Communications as the head of its

 Division of Digital Media. Crawford Dep. 11:7-12 (Dkt. 205-1). In that role, Ms. Crawford

 provides leadership for CDC’s website and social media accounts. Id. at 11:14-19; Declaration of

 Carol Crawford, Director of CDC’s Division of Digital Media ¶ 3 (“Crawford Decl.”) (Ex. 80);

 see also Ex. 79. That includes convening personnel from across the agency to manage the CDC

 website and maintain social media accounts, coordinating CDC’s web content management

 system, and drafting policies and guidelines in that space. Crawford Decl. ¶ 3 (Ex. 80). Ms.

 Crawford has worked for CDC in various capacities for 34 years. Id. ¶ 1.

        75.   At various times during 2020-2022, CDC communicated regularly with several

 social media companies (such as Facebook) and sporadically with others (such as Twitter),

 primarily about promoting COVID-19 health information from CDC and also about COVID-19

 misinformation on the companies’ platforms. When communicating with social media companies,

 CDC was either (1) responding to Facebook’s requests for science-based public health

 information; (2) proactively alerting Facebook, Twitter, and YouTube about false COVID-19

 claims the agency observed on the platforms that could adversely affect public health; or




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 (3) advising the companies where to find accurate information about such claims on CDC’s

 webpage. CDC also received bi-weekly summaries (in what were called “CrowdTangle reports”)

 from Facebook about high-volume COVID-19 content circulating on its platform. CDC did not

 direct or encourage the development or enforcement of the companies’ misinformation policies

 and did not direct or encourage them to take any particular actions with respect to any particular

 speakers 32 or claims circulating on their platforms.

              1. CDC’s Pandemic-Era Meetings with Social Media Companies
        76.    Even before the COVID-19 pandemic, Ms. Crawford had occasional contacts with

 social media companies, primarily for the purpose of managing CDC’s own social media accounts.

 At times, social media companies would reach out to CDC to partner with the agency on special

 projects such as promoting information about flu vaccines or addressing prescription drug

 overdoses. Id.

        77.    Early in the COVID-19 pandemic, Ms. Crawford and others from her office began

 to communicate regularly with representatives from certain social media companies about

 COVID-19. Those communications were largely prompted by the companies’ efforts to “get[]

 [CDC’s] credible information out to [their] audiences[.]” Crawford Dep. 181:25–182:1. Social

 media companies began regularly reaching out to CDC to ensure that the information they chose

 to promote on their platforms remained consistent with the latest CDC guidance on issues such as

 masking protocols or vaccine recommendations. Crawford Decl. ¶ 5 (Ex. 80). Google, for instance,



 32
    That includes the Individual Plaintiffs in this case. Crawford Dep. 264:2-18 (“Q: At any of your
 – in flagging any material for any of the social media issues, themes, facts, whatever you flag, can
 you say whether or not you flagged any information from the Great Barrington Declaration? A: I
 don’t know what that is. Q: Okay. How about Jay Bhattacharya? Anything from him? A: I don’t
 know who that is. Q: Marty Kulldorff. Anything from him? A: I don’t know who that is. Q: Aaron
 Kheriaty. Anything from him? A: I don’t know who that is. Q: Jim Hoft, or Gateway Pundit? A: I
 don’t know who that is. Q: All right. And Jill Hines? A: I don’t know who she is.”).


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 would reach out to verify that the CDC web links appearing in its search results were accurate and

 up-to-date. Id. And Facebook reached out for help identifying CDC content that the company

 wanted to promote in its platform “group” pages. Id.

        78.    An email from Facebook to Ms. Crawford in early February 2020 illustrates the types

 of communications the platforms had with CDC. At that time, a representative from Facebook

 informed Ms. Crawford that the company had “been working to identify how [it] can support

 efforts to provide users with accurate and timely information about [the] coronavirus,” Crawford

 Ex. 2 at 2 (Dkt. 205-3), and was considering initiatives to “mak[e] it easier” for users to find “CDC-

 credible information,” Crawford Dep. 18:9-15. The same Facebook representative informed CDC

 that the company was already taking “steps to control information and misinformation related to

 [COVID-19],” including by “remov[ing] [] misinformation” on its platform and by directing users

 to the WHO’s webpage. Crawford Ex. 2 at 3-4 (Dkt. 205-3). What Facebook was looking to do in

 February 2020—and the reason it was reaching out to CDC then—was to “get CDC’s feedback on

 a few key initiatives that” the company was “considering launching in the coming days/weeks” to

 promote CDC information. Id. at 2. Facebook proposed three initiatives: (1) “proactive messages,”

 called “‘Quick Promotions,’” “at the top of the News Feed to users in various countries about how

 to protect [themselves] from coronavirus,” which would point users to “credible websites including

 the WHO internationally, and the CDC in the US”; (2) a “Coronavirus Page serving up content

 that exists on other organizations’ [Facebook] pages including the CDC,” which users could find

 when they “search for information on coronavirus” on the platform; and (3) “a coronavirus ‘hub’

 which would contain various modules including pages to follow, fundraisers that are happening

 on the platform related to coronavirus, and potentially a common set of FAQs.” Id. at 3. The email

 from Facebook included “design mocks” and asked for CDC’s “feedback” on various questions,




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 including whether CDC thought it “would be beneficial to launch” the “Quick Promotions” “in the

 US at this time[.]” Id.

        79.    Ms. Crawford responded that the agency believed there would be “great value” in

 adding “Quick Promotions” to Facebook’s newsfeed and suggested that “if we can rotate

 messages, there could be times [CDC] might want to address widespread myths like mask use or

 new issues.” Id. at 2. She also stated that CDC thought the two other promotions were “great” and

 would “love to be a part of [them].” Id. She noted that “[U.S.] users will need information directly

 from CDC and other federal/local organizations rather than international organizations,” and asked

 Facebook to “[l]et us know what you need.” Id.

        80.    Soon, officials from CDC and Facebook began meeting weekly “to exchange

 information about COVID.” Crawford Dep. 16:13-15. Later in the pandemic, CDC began meeting

 regularly with Google. Id. at 180:16-17. For a “short period of time,” CDC met regularly with

 Pinterest as well, id. at 180:23-24; and “on occasion,” CDC met with Twitter, id. at 180:24-25–

 181:1. While “misinformation was discussed” in those meetings, the meetings were “by and

 large . . . about things other than misinformation,”—in particular, about promoting CDC

 information relating to COVID on the social media companies’ platforms. Id. at 181:22-25. These

 regular meetings facilitated conversations about the latest COVID-19 information in the midst of

 a pandemic environment where CDC’s knowledge and understanding of the novel virus were

 evolving. Crawford Decl. ¶ 6 (Ex. 80).

        81.    CDC no longer has regular meetings with any social media company except for

 Google, and it has no regular or direct communications with any social media company about

 misinformation. Id. ¶¶ 6-12. The last regular meeting with Facebook personnel took place in the

 summer of 2021. Id. ¶ 8. It has been well over a year since CDC had a meeting with Twitter or




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 Pinterest that touched on misinformation. Id. ¶¶ 9-10. And while CDC currently meets regularly

 with Google, there is no evidence that those meetings have related in any way to misinformation

 since March 2022. Id. ¶ 11. Instead, the bi-weekly meetings with Google focus on topics such as

 the impact of the redesign of the CDC.gov website on search engine results. Id.

        82.    Moreover, even outside of meetings, CDC does not regularly, or directly,

 communicate with social media or technology companies about misinformation; nor does it have

 plans to do so. Id. ¶¶ 6-7. However, CDC has some occasional, indirect contact with personnel

 from social media or technology companies that may relate to misinformation. Id. For example,

 CDC personnel develop periodic “State of Vaccine Confidence Insight” reports, which are publicly

 available on its website, and which CDC periodically distributes to a wide list of email recipients

 that may include personnel from social media companies. Id. ¶ 7. CDC also funds and attends

 conferences that discuss misinformation and infodemic management, and personnel from social

 media companies may attend or speak at those conferences. Id. These occasional, indirect

 interactions concerning misinformation do not involve any requests or demands by CDC for a

 social media company to moderate any particular content on its platform. See also Defs.’ Resp.

 PFOF ¶¶ 434-530 (Facebook), 531-560 (Google), 561-589 (Twitter).

              2. CDC’s Responses to Social Media Companies’ Requests for Scientific
                 Information Relating to Claims About COVID-19 or Vaccines
        83.    On occasion, some social media companies reached out to Ms. Crawford via email

 to ask for information responsive to certain claims about COVID-19 or vaccines circulating on

 their platforms, and Ms. Crawford would respond on CDC’s behalf.

        84.    For example, at various times in 2021, Facebook emailed Ms. Crawford a list of

 claims (untethered to any particular post) and asked CDC to indicate whether they had been

 “debunked,” see Crawford Ex. 16 at 1 (Dkt. 205-17)—in other words, whether they were “false



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 and can lead to harm,” Crawford Ex. 17 (Dkt. 205-18), or “contribute to vaccine hesitancy or

 refusals,” Crawford Ex. 26 at 2 (Dkt. 206-26). After checking with the relevant subject-matter

 experts as necessary, Ms. Crawford would respond by indicating whether the claims were false

 and harmful, and sometimes directing the company to information available on CDC’s website

 that directly responded to the false claim. Crawford Dep. 129:11-22; Crawford Ex. 15 at 2 (Dkt.

 205-16) (directing Facebook to CDC’s “facts and misses” page for more information in response

 to one of the false claims); Crawford Ex. 23 (Dkt. 205-24) (sending links to CDC webpages

 addressing the claims raised by Facebook). Nevertheless, CDC could not always provide

 conclusive answers to the claims Facebook sent the agency. And where scientific evidence was

 unavailable at the time, CDC would respond to Facebook’s inquiries with “[i]nconclusive.” See,

 e.g., Crawford Ex. 16 at 1 (Dkt. 205-17).

        85.   When responding to Facebook, CDC did not instruct the company to remove or take

 any other action against posts or users promoting claims that CDC concluded were false and

 hazardous to public health. Crawford Dep. at 138:12-14. Indeed, Ms. Crawford understood that

 the scientific information CDC provided in its responses might inform Facebook’s own “policy

 making” and content moderation decisions, id. at 139:23-25-140:1-4, but that “CDC’s role” was

 never “to determine what” Facebook should or should not “do with the scientific information that

 [CDC] provided,” id. at 161:20-23. Nor do any communications between Facebook and Ms.

 Crawford indicate that she or anyone else from CDC ever told Facebook how to handle

 misinformation. Instead, Facebook made clear that it was “seeking [the agency’s] advice” on

 various issues to “help [it] determine the appropriate action to take on [certain] content[.]” See

 Crawford Ex. 26 at 4 (emphasis added) (Dkt. 205-26). At times, Facebook informed CDC about

 updates to its policies as a result of information it learned from CDC. See id. (noting actions the




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 company took against certain claims under its “current policy”); id. at 1 (informing CDC of

 “several updates” Facebook had made to its “COVID-19 Misinformation and Harm policy based

 on [CDC] inputs”). But the record contains no evidence that CDC ever demanded (or even asked)

 that Facebook implement any specific policy changes or even that Facebook report any such

 changes to the agency. See also Defs.’ Resp. PFOF ¶¶ 434-530.

        86.    Google (which owns YouTube) likewise requested CDC’s input on claims about

 COVID-19 vaccines circulating on YouTube’s platform. For instance, in March 2021, Google

 reached out to CDC to ask if a “vaccine expert[]” from CDC could join a call where Google

 “plan[ned] to share a new list of . . . vaccine misinformation claims” that the company had

 compiled. Crawford Ex. 29 at 2 (Dkt. 205-29). Ms. Crawford agreed to “arrange[] for a few

 [subject matter experts] to join the call[.]” Id. And in April of that year, Google again asked CDC

 if a vaccine expert could join a call “to follow up on some additional questions” from the company.

 Crawford Ex. 30 at 1 (Dkt. 205-30). Google also reached out with more technical questions, too.

 As vaccines were becoming available in 2021, Google notified CDC of updates the company

 planned to implement to its “vaccine general availability banner” as COVID-19 vaccines became

 available to new groups of people or CDC issued new guidance. See Crawford Ex. 42 at 3 (Dkt.

 205-42) (Google asking CDC to verify whether Google’s “one liner on the latest booster shot

 guidance from the CDC/Vaccines.gov” was accurate and CDC confirming that it was). As with

 Facebook, CDC did not demand (or even ask) that Google take any action with respect to content

 on YouTube or information appearing in Google’s own banners. See also Defs.’ Resp. PFOF

 ¶¶ 531-549.

        87.    Most recently, in June 2022, Google requested CDC’s “evidence-based input” on

 health-related claims unrelated to COVID-19 or vaccines. Crawford Ex. 43 (Dkt. 205-43). CDC




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 did not substantively respond to that request because it concerned information that fell outside

 CDC’s scope. Crawford Dep. 256:9-16. When asked in her deposition why she thought Google

 sent CDC this request, Ms. Crawford testified that she believed it was because CDC’s “focus is

 not solely on COVID,” and so Google likely “thought that [CDC] might be able to help” by

 providing input on “this [other] topic as well.” Id. at 256:4-8. Contrary to Plaintiffs’ assertion, see

 PI Supp. 33, this email exchange does not show that CDC is communicating with platforms about

 misinformation on other topics as well.

              3. CDC Emails Alerting Social Media Companies to Misinformation Themes
                 Observed on Platforms and Providing Relevant Scientific Information
        88.    At the same time, CDC occasionally pointed out to, or “flagged” for, Facebook or

 Twitter “issues” or “themes” about COVID-19 that the agency noticed had been circulating widely

 on the companies’ platforms and referred the companies to information on CDC’s website that

 addressed the claims. Crawford Ex. 9 at 1 (Dkt. 205-10); Crawford Dep. 87:13-25–88:1-2

 (explaining that “flagging” meant simply “pointing out”). On occasion, CDC included specific

 social media posts as examples, to provide context or to clarify what the claims were. Id. at 90:14-

 23 (saying CDC “provided some examples of what we meant”). On May 6, 2021, for instance, Ms.

 Crawford emailed Facebook to point out “two issues [that] we are seeing a great deal of misinfo”

 about—“vaccine shedding and microchips”—and provided “some example posts.” Crawford Ex.

 9 at 1 (Dkt. 205-10). On May 10, 2021, Ms. Crawford sent the same email to Twitter, with example

 posts from its platforms. Crawford Ex. 34 at 4 (Dkt. 205-34). Ms. Crawford noted in her emails

 that CDC “plan[ned] to post something shortly to address vaccine shedding and” that she could

 “send that link soon.” Crawford Ex. 9 at 1 (Dkt. 205-10); Crawford Ex. 34 at 4 (Dkt. 205-34). Ms.

 Crawford testified that, through these alerts, CDC was “trying to point out” to the social media

 companies the “[in]accurate information” circulating about COVID-19 “and [to] make the credible



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 information more available to users.” Crawford Dep. 88:25-89:6. The “goal,” in other words, was

 “to be sure that people ha[d] credible health information so that they [could] make the correct

 health decisions for themselves.” Id.

        89.    Ms. Crawford did not “know exactly what [the companies] might do with” the claims

 and posts flagged by CDC, nor did she ask the companies to take any particular action with respect

 to the claims or posts. Id. at 88:15-18; see also id. at 75:19-21. Neither she nor “anyone at CDC”

 advised a “social media company on how [it] should apply [its] policies to . . . a particular post[.]”

 Id. at 104:22-105:6. And the social media companies did not face any “consequence[s]” if they

 declined to “do anything with” the items “flagged” or pointed out by CDC. Id. at 88:19-22. Ms.

 Crawford simply believed “it was worth pointing out that” CDC was “going to have” responsive

 “information up soon” on its website, id., which could assist the social media companies’

 application of their own policies with respect to claims “widely circulating” on their platforms. Id.

 at 153:23-154:3. Ultimately, the social media companies themselves “made decisions about” how

 to handle the misinformation circulating on their platforms, “based on whatever policy they had.”

 Id. at 211:18-19; id. at 103:13-16 (discussing Facebook’s options). Ms. Crawford has “never seen

 [those] policies,” id., or had input into their development or enforcement, id. at 105:12-19.

              4. CDC’s Two “Be on the Lookout Meetings” in May 2021
        90.    In May 2021, CDC held two meetings—called “Be On the Lookout” or “BOLO”

 meetings—to discuss misinformation with social media platforms. Crawford Dep. 198:21-24; id.

 at 244:19-245:2; see also Crawford Decl. ¶¶ 14-16 (Ex. 80). Facebook, Twitter, and YouTube

 were invited to participate, Crawford Ex. 34 at 4 (Dkt. 205-34) (Twitter invite); Crawford Ex. 40

 at 1 (Dkt. 205-40) (YouTube invite); id. at 3 (Facebook invite), and officials from the Census

 Bureau (“Census”) also participated in the meetings, infra Defs.’ PFOF § II.D.




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        91.   The BOLO meetings emerged from an Interagency Agreement that CDC entered into

 with Census in January 2021. Crawford Decl. ¶¶ 13-14 (Ex. 80). The agreement allowed CDC to

 consult with Census “to learn how th[at agency] handled [online] misinformation” during the 2020

 Census, to inform CDC’s response to COVID-19 misinformation circulating online. Crawford

 Dep. 111:1-6, 175:14-19. CDC sought Census’ assistance on this issue because CDC was

 “shorthanded” at the time, and Census “seemed to have more knowledge than [CDC] did.” Id. at

 111:5-6. Census introduced CDC to the idea of BOLO meetings, which would provide a forum for

 CDC to “give examples” to social media companies of false health information circulating on their

 platforms and to point the companies to responsive scientific information available from CDC.

 Crawford Dep. 210:20-22. Participants from social media companies “could [then] follow up

 separately” with CDC to discuss any of the issues further. Id. Ms. Crawford “ran the BOLO

 meetings,” with the help of a Census contractor. Id. at 265:11-19. Census “drafted the slide deck,”

 which CDC edited, id. at 210:15-25; and Census explained how it “thought [CDC] should” present

 the information, based on how Census “had done it in the past.” Id. The PowerPoint slide decks

 presented COVID-19 misinformation narratives and contained example social media posts as

 illustrations. Crawford Decl. ¶ 14 (Ex. 80). During these presentations, CDC did not ask, let alone

 demand, that a company take a particular action with respect to the themes and example posts that

 were discussed at the BOLO meetings. See Defs.’ Resp. PFOF ¶¶ 550-562.

        92.   Two additional BOLO meetings were scheduled for the summer of 2021 but never

 occurred. Crawford Decl. ¶ 15 (Ex. 80). The first was cancelled due to a holiday; CDC emailed

 PowerPoint slides to the companies instead. Id.; Crawford Dep. 248:15-22. The second was

 cancelled because CDC had no information to share. Crawford Decl. ¶ 15 (Ex. 80). There have




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 been no BOLO meetings of this type since May 28, 2021, and no further meetings are anticipated.

 Id.

              5. A CDC Official’s One-Time Use of a Facebook Reporting Channel in 2021
        93.    In the spring of 2021, Facebook and Twitter each separately suggested that CDC

 register to use the companies’ respective “reporting channel” or “portal” set up by the company

 for entities such as CDC to report “misinformation or threats” that they observed on the platforms.

 Crawford Dep. 91:9-10; id. at 211:24-212:7. Ms. Crawford did not use Twitter’s portal and does

 not recall anyone else from CDC ever being given access to the portal. Id. at 213:5-8. Ms. Crawford

 also did not use the Facebook reporting channel, but one other CDC official used it in the summer

 of 2021 to report a handful of “posts or threats” in a single submission. Id. at 92:3-5, 92:13-18;

 Crawford Decl. ¶ 18 (Ex. 80). CDC did not demand that Facebook take any particular action with

 respect to the few posts flagged through the reporting channel in the summer of 2021; and

 Facebook did not report back to CDC whether it took any action on those posts. Crawford Decl.

 ¶ 18. Ms. Crawford testified that she is unaware of any CDC official using a reporting channel

 since the summer of 2021. Id.; see also Defs.’ Resp. PFOF ¶¶ 476-478.

              6. CDC’s Receipt of Bi-weekly Facebook COVID-19 Content Reports in 2021
        94.    Additionally, from January to December 2021, Facebook sent CDC bi-weekly

 reports, called “CrowdTangle COVID content report[s],” Crawford Ex. 6 at 2 (Dkt. 205-7) which

 provided a “summary of the higher volume conversations” about COVID-19 on the platform,

 Crawford Dep. 53:7-12, and included “pictures of [] posts” “as examples” of the conversations, id.

 at 149:6-7. These reports could be used by CDC to better “understand what[] [was] being

 discussed” on social media so that the agency could “update [CDC] communication material” in

 response. Id. at 148:11-15. Facebook personnel included a summary of “[h]ighly

 engaged . . . content,” which was not limited to content considered “misinformation,” in the cover


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 emails to which the reports were attached. See, e.g., Crawford Ex. 7 at 1 (Dkt. 205-8) (including

 in the summary of highly engaged content “posts . . . about celebrating health care workers” and

 posts “shar[ing] news that kids over 12 can be vaccinated,” with “posts includ[ing] varied stances

 on support/opposition to the idea”). Ms. Crawford did not “personally do anything . . . with the

 CrowdTangle reports” aside from passing them along to others. Crawford Dep. 59:14-19; 52:6-10.

 CDC did not direct Facebook to take any action with respect to any information or example posts

 contained in the reports. The last CrowdTangle report CDC received from Facebook was in

 December 2021. 33

        95.   Before it began sending these summary CrowdTangle reports to CDC, Facebook had

 also allowed CDC, since March or April 2020, to “log into CrowdTangle and run [its] own reports

 or searches.” Crawford Dep. 77:9-13, 147:12-14. Ms. Crawford did not use CrowdTangle to run

 searches, but other teams from CDC may have done so. Id. at 148:11-15. In any event, to the extent

 anyone did run searches in CrowdTangle, that would not indicate any effort to influence

 Facebook’s applications of its content moderation policies. See also Defs.’ Resp. PFOF ¶¶ 440-

 452, 456, 471, 472, 507-10.

        D. The Census Bureau
        96.   Although the Census Bureau worked with CDC on COVID-19 misinformation in the

 past, CDC has not “work[ed] with Census in quite some time.” Crawford Dep. 111:9-10. In

 particular, pursuant to a now-expired Interagency Agreement, supra Defs.’ PFOF § II.C.4, Census

 helped CDC organize the two BOLO meetings CDC hosted in May 2021. Crawford Dep. 210:10-


 33
   Crawford Ex. 6 at 1-2 (Dkt. 205-7) (first report sent in January 2021); Dkt. 71-2 at 1 (email from
 Facebook attaching the “last insights report for this series” (emphasis removed)); id. 71-2 at 1
 (email from Facebook attaching the “last insights report for this series” (emphasis omitted)); id. at
 2 (email from Facebook noting that the “reports will be discontinued in Jan 2022” (emphasis
 omitted)); id. (Crawford thanking Facebook for sending the reports and stating that she
 “understand[s] the[y’re] ending”).


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 25. To Ms. Crawford’s knowledge, CDC’s last meetings and communications with Census

 personnel about misinformation took place in the summer of 2021. Crawford Decl. ¶ 13 (Ex. 80).

         97.   Also in 2021, Facebook added Census to the distribution list for its CrowdTangle

 reports. Crawford Dep. 58:17-20; id. Crawford Ex. 6 at 1 (Dkt. 205-7). On one occasion, Ms.

 Crawford sent Facebook a few questions from Census seeking greater understanding about how

 the company applied its content moderation policies to certain types of misinformation. In

 particular, Census wanted to know Facebook’s “approach” to “adding labels to” certain stories

 posted on its platform and why Facebook decided to remove certain posts that had been identified

 as containing misinformation. Crawford Dep. 76:2-77:1; Crawford Ex. 8 at 2 (Dkt. 205-9). Ms.

 Crawford testified that she “th[ought] that Census was at least periodically checking on things they

 had flagged,” id. at 117:19-21, but there is no evidence that in “periodically checking on things”

 Census ever demanded or even asked a social media company to take specific action with respect

 to a particular post.

         E. Dr. Fauci, Former Director of the National Institute of Allergy and Infectious
            Diseases (NIAID)
         98.   The National Institute of Allergy and Infectious Diseases (“NIAID”) is an agency

 within the National Institutes of Health (“NIH”), which in turn is a component of HHS. See Ex.

 85 (List of Institutes and Centers, Nat’l Insts. of Health, https://perma.cc/YR83-TJMY); Ex. 86

 (About NIH, Nat’l Insts. of Health, https://perma.cc/55BG-UDQU). NIAID conducts and supports

 research to better understand, treat, and prevent infectious, immunologic, and allergic diseases and

 is responsible for “respond[ing] to emerging public health threats.” Ex. 87 (NIAID Mission, Nat’l

 Insts. of Health, https://perma.cc/8GVS-XSWM). To that end, NIAID manages a diverse research

 portfolio concerning “many of the world’s most intractable and widespread diseases,” including




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 “tuberculosis and influenza, HIV/AIDS, biodefense,” COVID-19, and others. Id.; see also 42

 U.S.C. § 285f.

        99.   From 1984 to 2022, Dr. Fauci was the Director of NIAID, serving under seven

 Republican and Democratic Presidents in that role. Ex. 88 (Anthony S. Fauci, M.D., Former NIAID

 Director, Nat’l Insts. of Health, https://perma.cc/CSF2-XYNH). During that time, he led the

 agency in tackling “newly emerging and re-emerging infectious disease threats including

 HIV/AIDS, West Nile virus, the anthrax attacks, pandemic influenza, various bird influenza

 threats, Ebola and Zika, among others, and, of course, most recently the COVID-19 pandemic.”

 Ex. 89 (Statement by Anthony S. Fauci, M.D., Nat’l Insts. of Health (Aug. 22, 2022),

 https://perma.cc/RH8Z-P3X5). In 2008, he was awarded the presidential medal of freedom—the

 highest honor available to federal civil servants—by President George W. Bush for his work on

 HIV/AIDS. Ex. 90 (President Bush Honors Presidential Medal of Freedom Recipients, The White

 House (June 19, 2008), https://perma.cc/KE8X-4SPS).

        100. In January 2020, President Trump announced the formation of a Coronavirus Task

 Force, and named as its members Dr. Fauci and eleven other federal officials (including then-

 Secretary of Health and Human Services Alex Azar and then-Assistant to the President and Senior

 Advisor to the Chief of Staff Rob Blair). Ex. 91 (Statement from the Press Secretary Regarding

 the   President’s   Coronavirus   Task   Force,    The   White    House    (Jan.   29,   2020),

 https://perma.cc/5VFS-LRZC). The task force was “charged . . . with leading the United States

 Government response to the novel 2019 coronavirus and with keeping [the President] apprised of

 developments.” Id. In January 2021, after the change in administrations, Dr. Fauci was named

 President Biden’s Chief Medical Advisor, Fauci Dep. 10:17-22 (Dkt. 206-1), to advise the

 President on handling the COVID-19 pandemic, Ex. 92 (Statement from President Joe Biden on




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 the announcement of Dr. Anthony Fauci’s Departure from NIAID, The White House (Aug. 22,

 2022), https://perma.cc/4KMA-PWH2). After 50 years as a civil servant (and 38 of those years as

 Director of NIAID), Dr. Fauci recently retired from government service. Ex. 93 (Dr. Anthony

 Fauci to Leave NIAID at the End of December, Nat’l Insts. of Health (Dec. 7, 2022),

 https://perma.cc/NLZ6-NY85). 34

        101. As the nation’s leading infectious disease expert, Dr. Fauci assumed a critical role in

 the pandemic response during the last two presidential administrations, answering difficult

 questions about unsettled scientific matters in White House press briefings, congressional

 hearings, cable news programs, and other public platforms. Until his retirement at 82 years old, he

 worked tirelessly—maintaining 18-hour workdays 35—at the height of the pandemic. He has

 garnered numerous awards for leading the nation through an unprecedented public health crisis.36

        102. Dr. Fauci had only limited interactions with Facebook during 2020, and no

 involvement with other social media platforms. In March 2020, Facebook CEO Mark Zuckerberg

 sent Dr. Fauci an email invitation to participate in a “Facebook Live” event, in which Dr. Fauci

 answered Mr. Zuckerberg’s questions about COVID-19 in a live broadcast on the Facebook

 platform. See Ex. 187 at 58-60; see also Fauci Ex. 23 at 2 (Dkt. 206-24). Mr. Zuckerberg began

 his invitation with a “note of thanks for [Dr. Fauci’s] leadership and everything [he was] doing to

 make our country’s response to this outbreak as effective as possible.” Fauci Ex. 23 at 3 (Dkt. 206-



 34
    Dr. Hugh Auchincloss succeeded Dr. Fauci as the Acting Director of NIAID. See Defs.’ Notice
 of Substitution at 2.
 35
    Ex. 94 (Azmi Haroun, Dr. Anthony Fauci, the US’s top infectious-disease expert, shared a day
 in his life, and it’s exhausting just reading it, Insider (Dec. 4, 2020), https://perma.cc/ML8H-
 HSB5).
 36
    See, e.g., Ex. 95 (2021 National Academy of Sciences Public Welfare Medal, National Academy
 of Sciences, https://perma.cc/B8CV-T76C); Ex. 96 (Anthony Fauci Named Recipient of AHA
 Award of Honor, American Hospital Association (Apr. 21, 2022), https://perma.cc/M2BL-EGJR).


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 24). Mr. Zuckerberg continued by explaining that he “wanted to share a few ideas of ways

 [Facebook] could help . . . get [Dr. Fauci’s] message out.” Id. One idea was connected to

 Facebook’s forthcoming “Coronavirus Information Hub,” which would appear “at the top of

 Facebook for everyone” to help users “get authoritative information from reliable sources

 and . . . encourage people to practice social distanc[ing.]” Id. Mr. Zuckerberg thought that “it

 would be useful to include a video from [Dr. Fauci]” on this hub, “because people trust and want

 to hear from experts[.]” Id. Another idea was that Dr. Fauci participate in other “livestreamed

 Q&As” as part of a “series” that Mr. Zuckerberg was creating “with health experts to try to use

 [his] large following on the platform . . . to get authoritative information out as well.” Id. Dr. Fauci

 responded that Mr. Zuckerberg’s “idea and proposal sound terrific” and that he “would be happy

 to do a video for [the] hub.” Id. at 4. During the video, Dr. Fauci answered “important questions”

 from Mr. Zuckerberg about COVID-19 “public health measures.” Fauci Dep. at 177:2-8. Dr. Fauci

 has also participated in a small number of other livestreamed discussions with Mr. Zuckerberg to

 discuss COVID-19. See Ex. 187 at 58-60.

        103. Otherwise, Dr. Fauci has had no interactions with any social media company about

 COVID-19 or misinformation related to COVID-19. Dr. Fauci has never asked a social media

 company “to remove misinformation from” its platform. Fauci Dep. at 152:21-24. Dr. Fauci does

 not “pay attention to what social media organizations like Google and YouTube and

 Twitter . . . do[.]” Id. at 239:21-24; id. at 241:6-13 (“I do not get involved in any way with social

 media. I don’t have an account, I don’t tweet, I don’t Facebook, and I don’t pay attention to

 that. . . . I don’t pay attention to what gets put up and put down on social media.”). He is unfamiliar

 with the companies’ policies. See id. at 241:14-25. And he has not been involved in any social

 media company’s decision whether, or how, to moderate particular content. Id. at 280:3-7; id. at




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 281:24-282:2. Indeed, Dr. Fauci has testified that rather than “interfering with other people’s

 ability to say what they want to say,” his method of “countering false information . . . is to try to

 [] flood the system with the correct information[.]” Id. at 357:8-13. See also Defs.’ Resp. PFOF

 ¶¶ 598-808, 840-852.

        104. In April 2020, Dr. Fauci’s communications staff alerted Facebook of “fake Dr. Fauci

 accounts on [Facebook] and [Instagram],”—a federal crime, see 18 U.S.C. § 912—including one

 “particularly troubling” account that was also “selling masks[.]” Fauci Ex. 55 at 3-4 (Dkt. 207-

 19). “[A]ll but two” of the “accounts were removed for the impersonation of Dr. Fauci.” Id. at 3.

 The two that were not removed were apparently “fan accounts[.]” Id. Dr. Fauci was not involved

 in the communications with Facebook about the impersonating accounts and was not aware that

 the accounts existed.

        105. Plaintiffs misconstrue the record when they assert that Dr. Fauci “approves of the

 removal of these accounts from social media because he thinks they are ‘a bad thing,’ even though

 they may include parody accounts.” PI Supp. 40. Links to the accounts to which Plaintiffs refer

 were included in an email chain that did not include Dr. Fauci, see Fauci Ex. 55 (Dkt. 207-19),37

 and Dr. Fauci was shown that email for the first time during his deposition. When asked about the

 accounts linked in the email, Dr. Fauci stated, “I don’t know what these are. I just got a bunch of

 links to them. I’m not sure what they are.” Fauci Dep. 311:7-9. Dr. Fauci speculated that, based

 on the email, it looked like his communications staff was “trying to get rid of fake accounts” on

 Facebook “because fake accounts are bad things, I believe.” Id. at 309:24-310:1. He went on to

 say: “I’m reading here that there are people that are using my name falsely and creating fake


 37
   Although Plaintiffs repeatedly suggest the possibility that some accounts were parody accounts,
 they have introduced no such evidence, and the communications from NIAID staff clearly show
 that NIAID staff were only seeking the removal of accounts impersonating Dr. Fauci.


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 accounts which people in the communications staff [are] saying . . . is troubling because they’re

 doing things like selling masks and doing things like that. So I think that it would be kind of

 appropriate for my communications staff to be concerned when people are falsely impersonating

 me.” Id. at 310:8-16. When asked whether he was saying that “bad things,” such as impersonating

 accounts, “should be removed from social media,” Dr. Fauci responded, “No. I mean, I think when

 someone says they’re me and they’re not me, I think someone should take a close look at that.” Id.

 at 311:22-312:1. And when asked whether “someone” should “take a close look at other false

 statements on social media,” Dr. Fauci testified, “That’s not my lane. I don’t – I never get involved

 in that, nor do I concentrate on that, so I don’t have an opinion on that. Like I’ve told

 you . . . now . . . I can repeat it for the hundredth time, I really don’t get involved in social media

 issues.” Id. at 312:2-9. See also Defs.’ Resp. PFOF ¶¶ 809-825.

         F. The Cybersecurity and Infrastructure Security Agency (CISA)
             1. CISA’s Mission and General Overview
         106. The Cybersecurity and Infrastructure Security Agency (“CISA”), a component of

 DHS, has a broad statutory mandate to “coordinate with” Federal and non-Federal entities

 (including international entities) “to carry out the cybersecurity and critical infrastructure activities

 of the Agency, as appropriate[.]” 6 U.S.C. § 652(c)(2). To accomplish its mission and manage

 risks to the nation’s election infrastructure, CISA works collaboratively with state and local

 governments, election officials, federal partners, and private sector partners. Declaration of Geoff

 Hale, Lead for Election Security and Resilience, Nat’l Risk Mgmt. Ctr., CISA ¶ 6 (“Hale Decl.”)

 (Ex. 97). This includes working in a nonpartisan manner with state and local election officials—

 among others, officials from Missouri and Louisiana, as discussed below—as the trusted and




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 expert voices within their communities to equip the American public with accurate information

 about the conduct and security of elections. Id. 38

            2. The Election Infrastructure Subsector
        107. In January 2017, based on the vital role that elections play in the United States, DHS

 officially designated election infrastructure as a critical infrastructure subsector. Hale Decl. ¶ 4

 (Ex. 97). This designation recognizes that the disruption of U.S. election infrastructure would have

 a devastating impact on the country. Id. “Election infrastructure” refers to an assembly of systems

 and networks, including, among other things, voter registration databases and associated IT

 systems, IT infrastructure and systems used to manage elections, voting systems and associated

 infrastructure, storage facilities for election and voting system infrastructure, and polling places.

 Id. ¶ 5. CISA reduces the risk to U.S. critical infrastructure by, among other things, building

 resilience to disinformation. Id. ¶ 9.

        108. The official designation of election infrastructure as “critical infrastructure” also

 resulted in the creation of the “Election Infrastructure Subsector,” which builds election

 infrastructure resilience by focusing on a wide range of election-related systems and assets, such

 as storage facilities, polling places, centralized vote tabulation locations used to support the

 election process, and related information and communications technologies. Id. ¶ 23. Like all

 critical infrastructure sectors, the Election Infrastructure Subsector is supported by two councils:


 38
    In furtherance of its mission, CISA provides publicly available resources on election security
 for both the general public and election officials at all levels. Hale Decl. ¶ 7 (Ex. 97). Examples of
 these resources include an Election Infrastructure Insider Threat Mitigation Guide, CISA’s
 partnership with the FBI to publish election-security-related public service announcements, and
 the compilation of a toolkit of free services and tools intended to help state and local government
 officials, election officials, and vendors enhance the cybersecurity and cyber resilience of U.S.
 election infrastructure. Id. In addition, CISA provides numerous voluntary and no-cost election
 security services, such as cybersecurity assessments, cyber threat hunting, cyber incident response,
 and training and exercises to state and local government officials and private sector election
 infrastructure partners. Id. ¶ 8.


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 a government coordinating council (“GCC”) and a sector coordinating council (“SCC”). Id. ¶¶ 24,

 27.

         109. The Election Infrastructure Subsector GCC (“EIS-GCC”) is comprised of state, local,

 and Federal Government departments and agencies, which share information and collaborate on

 best practices to mitigate and counter threats to election infrastructure. Id. ¶ 29. The EIS-GCC

 Executive Committee is chaired by CISA, and its members include the U.S. Election Assistance

 Commission Chairperson, the National Association of Secretaries of State (“NASS”) President,

 the National Association of State Election Directors (“NASED”) President, and a local government

 election official. Id. ¶ 30. Notably, Louisiana is a member of NASS, and both Louisiana and

 Missouri are members of NASED. Id. ¶ 33. The Louisiana Secretary of State has been a member

 of the EIS-GCC since May 2018. Id. ¶ 31. He served as an EIS-GCC Executive Committee

 member from the summer of 2021 to the summer of 2022, while he was the NASS President. Id.

 The Missouri Secretary of State served as an alternate member of the EIS-GCC from 2018-2019.

 Id. ¶ 32.

         110. The Election Infrastructure Subsector SCC (“EI-SCC”) comprises owners or

 operators with significant business or operating interests in U.S. election infrastructure systems or

 services. Its mission is “to advance the physical security, cyber security, and emergency

 preparedness of the nation’s election infrastructure,” and it accomplishes this mission through the

 voluntary actions of the infrastructure owners and operators represented in the EI-SCC. Id. ¶ 34.

 The EI-SCC is governed by a five-member Executive Committee. Id. ¶ 35. Although CISA is not

 a member of the EI-SCC, it serves as the secretariat and provides various administrative functions.

 Id. ¶ 36.




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        111. After the 2020 election, the EI-SCC and EIS-GCC launched a Joint Managing

 Mis/Disinformation Working Group to coordinate infrastructure security efforts across the

 subsector. Id. ¶ 38. The Working Group provides a forum through which the Election

 Infrastructure Subsector can identify challenges in mitigating the risks posed by disinformation

 impacting election infrastructure and produce resources for addressing these risks. Id. ¶ 39. To

 date, the Joint Managing Mis/Disinformation Working Group has published two guides to assist

 state and local election officials and industry providers with preparing for and responding to risks

 associated with disinformation: (1) the Rumor Control Page Start-Up Guide, which is designed for

 use by state, local, tribal and territorial government officials and private partners seeking to dispel

 inaccurate election security-related information by sharing accurate information; and (2) the MDM

 Planning and Incident Response Guide for Election Officials, which is designed for SLTT election

 officials and to help them understand, prepare for, and respond to disinformation that may impact

 the ability to securely conduct elections. Id. ¶ 40.

        112. CISA supports the Joint Managing Mis/Disinformation Working Group by providing

 administrative and substantive support, such as facilitating working group meetings and helping

 to draft working group products. Id. ¶ 41. The Working Group does not engage with social media

 companies, and it does not flag or report potential disinformation to social media or technology

 companies. Id. ¶ 43.

            3. The Center for Internet Security
        113. The Center for Internet Security (“CIS”) is a non-profit organization that exists to

 “make the connected world a safer place by developing, validating, and promoting timely best

 practice solutions that help people, businesses, and governments protect themselves against

 pervasive cyber threats.” Id. ¶ 44; Ex. 98 (About Us, Ctr. For Internet Sec., https://perma.cc/456L-

 TUHD). It is home to the Multi-State Information Sharing and Analysis Center (“MS-ISAC”) and


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 the Elections Infrastructure Information Sharing and Analysis Center (“EI-ISAC”). Hale Decl. ¶

 44 (Ex. 97).

        114. The MS-ISAC serves as a central cybersecurity resource for state, local, tribal and

 territorial government entities. Id. ¶ 45. It is a membership-based organization that includes more

 than 14,000 organizations and all fifty states, including Plaintiffs Missouri and Louisiana. Id. ¶ 46.

 The MS-ISAC members receive direct access to a suite of cybersecurity services and cybersecurity

 informational products including, but not limited to, cybersecurity advisories and alerts,

 vulnerability assessments, incident response support, secure information sharing, tabletop

 exercises, and malicious domains/internet protocol reports. Id. ¶ 47.

        115. The EI-ISAC, which was founded in 2018, is an organization managed by CIS with

 membership open to all state, local, tribal and territorial organizations that support election

 officials. Id. ¶ 48. Membership in the EI-ISAC is voluntary and free for participants. Id. ¶ 49. The

 EI-ISAC supports the rapidly changing cyber and critical infrastructure security needs of U.S.

 elections offices and offers a suite of election-focused cyber defense tools, including threat

 intelligence products, incident response and forensics, threat and vulnerability monitoring,

 cybersecurity awareness, and training products. Id. ¶ 48.

        116. DHS has provided financial assistance to CIS through a series of cooperative

 agreement awards, managed by CISA, to provide specified cybersecurity services to state, local,

 tribal, and territorial government organizations through the MS- and EI-ISACs. Id. ¶ 50. DHS has

 limited the use of funds to cybersecurity services intended to detect, prevent, respond to, mitigate,

 and recover from cyber threats, vulnerabilities and risk. Id. DHS approved scope of work for the

 cooperative agreements has never funded CIS to perform disinformation-related work, including

 the reporting of potential election-related disinformation to social media platforms. Id. ¶ 51.




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            4. CISA’s Efforts to Build Resilience to Misinformation
                a. CISA’s Mis-, Dis-, and Malinformation (“MDM”) Team
        117. CISA’s Mis-, Dis-, and Malinformation (“MDM”) Team leads CISA’s efforts to

 build resilience to disinformation targeting critical infrastructure. Scully Dep. 16:4-6 (Dkt. 209-1)

 The MDM Team, which was formerly known as the Countering Foreign Influence Task Force,

 was established in 2018 in CISA’s predecessor agency. See Ex. 187 at 77. CISA builds this

 resilience through public awareness and engagement and seeks to reduce the impact of

 disinformation targeting election infrastructure. Scully Dep. 346:15-348:1. In general, CISA

 develops publications for public awareness and education, as well as publications for key

 stakeholders to help them understand how disinformation works and the steps they can take to

 mitigate risks. Id. at 16:7-15; Hale Decl. ¶ 14 (Ex. 97) (describing creation of graphic novels

 focusing on disinformation tactics through fictional stories and development of infographic

 explaining foreign influence campaigns). CISA also conducts analysis of open-source reporting.

 Scully Dep. 16:16-25. In addition, CISA engages or has engaged with different stakeholders,

 including civil society groups, federal partners, and private sector organizations, such as social

 media and technology companies. Id. at 16:16-22; Ex. 187 at 77.

                b. CISA’s Switchboarding Work During the 2020 Election Cycle
        118. “Switchboarding” refers to a process by which CISA forwarded to social media

 companies election-related information that state and local election officials (or other stakeholders,

 such as NASS and NASED) had identified as misinformation. Scully Dep. 17:1-14, 23:19-24:2,

 303:11-304:5. Those companies then decided how to handle the forwarded content based on their

 own policies. Id. at 17:15-21. During the 2020 election cycle, CISA provided switchboarding

 services primarily for state and local election officials, but also for other election infrastructure

 stakeholders. Id. at 16:16-25.



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         119. For the 2020 election cycle, much of the potential election security-related

 disinformation CISA received from state and local election officials was shared by those officials

 through CIS. Hale Decl. ¶ 71 (Ex. 97); Scully Dep. 59:9-60:17, 119:5-120:5.39 When that

 happened, election officials would email the potential disinformation to CIS, which would then

 forward the information to CISA and others, including the Election Integrity Partnership (“EIP”),

 discussed below. Scully Dep. 16:16-25. 40 CISA did not fund CIS or the MS- or EI-ISAC for any

 of the work they provided in relation to the reporting of potential election security-related

 disinformation to social media or technology companies during the 2020 election cycle. Hale Decl.

 ¶ 77 (Ex. 97). In addition, officials in Plaintiff States Louisiana and Missouri were among those

 who shared potential misinformation with CISA or CIS for purposes of it being sent to social

 media    companies.    Id.   ¶ 70;   Ex.    100    (MOLA_DEFSPROD_00007488);             Ex.    101

 (MOLA_DEFSPROD_00007646);             Ex.   102        (MOLA_DEFSPROD_00010719);         Ex.    103

 (MOLA_DEFSPROD_00008681); Ex. 104 (MOLA_DEFSPROD_00010774); and Ex. 105

 (MOLA-DEFSPROD_00008610).

         120. Before establishing its switchboarding operation, CISA met with social media

 companies and reaffirmed its “position” to “never ask [the companies] to take any specific


 39
    CISA also received potential disinformation in two other ways. Scully Dep. 119:5-120:5. The
 first was that election and other officials would send information to CISA Central, which is CISA’s
 operations center. Id. at 119:5-120:5. The second was that election and other officials would
 directly contact CISA employees. Id. at 119:5-120:5.
 40
    In addition, CISA understands that CIS would share reports of potential election security-related
 disinformation with other organizations with which it had its own independent relationships, such
 as with the EIP for further analysis and with NASS and NASED for situational awareness. Hale
 Decl. ¶ 74 (Ex. 97). At a certain point in the 2020 election cycle, CIS began forwarding the
 potential election security-related disinformation received from state and local election officials
 directly to the relevant social media or technology companies and would include CISA on the
 email for situational awareness, as well as others, including the EIP. Id. ¶ 75. CISA took no action
 on these emails sent by CIS, other than frequently recording them in an internal spreadsheet that
 CISA had created. Id.


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 actions,” and to leave it to the companies to “make decisions based on their terms of service.”

 Scully Dep. 241:23-242:5. Consistent with that position, when CISA transmitted to social media

 companies potential misinformation identified by local and state officials, CISA’s protocol was to

 include the following notice stating that it was not requesting that the social media companies take

 any particular action:

        The Cybersecurity and Infrastructure Security Agency (CISA) of the U.S.
        Department of Homeland Security (DHS) is not the originator of this information.
        CISA is forwarding this information, unedited, from its originating source – this
        information has not been originated or generated by CISA. This information may
        also be shared with law enforcement or intelligence agencies.

        CISA affirms that it neither has nor seeks the ability to remove or edit what
        information is made available on social media platforms. CISA makes no
        recommendations about how the information it is sharing should be handled or used
        by social media companies. Additionally, CISA will not take any action, favorable
        or unfavorable, toward social media companies based on decisions about how or
        whether to use this information.

        In the event that CISA follows up to request further information, such a request is
        not a requirement or demand. Responding to this request is voluntary and CISA
        will not take any action, favorable or unfavorable, based on decisions about whether
        or not to respond to this follow-up request for information.

 See, e.g., Ex. 106 at 1 (MOLA_DEFSPROD_00008499); Hale Decl. ¶ 72 (Ex. 97).

        121. Normally, CISA would receive a note from a social media company acknowledging

 that it had received CISA’s email, but CISA often did not receive a similar note reporting what

 action was ultimately taken. Scully Dep. 177:7-178:8. If a social media company needed additional

 information from an election or other official, CISA tried to facilitate the information sharing. Id.

 at 219:25-220:13.

        122. Consistent with the fact that social media companies independently evaluated

 whether certain information violated their terms of service, they from time to time concluded that

 forwarded posts did not violate their content moderation policies and therefore took no action. See,




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 e.g., Ex. 105 at 1 (MOLA_DEFSPROD_00008610) (email from Twitter stating that the “[t]weet

 was not determined to be a violation of our rule”); Ex. 107 at 1 (MOLA_DEFSPROD_00008640)

 (email from Twitter concluding that certain tweets violated its terms of service while others did

 not): Ex. 108 at 1 (MOLA_DEFSPROD_00009505) (email from Twitter stating “[t]weet was not

 in violation of our Civic Integrity Policy”); Ex. 109 at 1 (MOLA_DEFSPROD_00010711) (email

 from Twitter stating that the tweets were not in violation of their policies and would not be

 actioned); Ex. 110 at 1 (MOLA_DEFSPROD_00010794) (email from Twitter stating “internal

 review of account data indicates [the account] is not suspicious”); Ex. 111 at 1

 (MOLA_DEFSPROD_00010376) (email from Twitter stating the tweet did not violate its civic

 integrity policy).

         123. On occasion at the request of election officials, CISA would ask social media

 companies to report back on how, if at all, they had addressed misinformation CISA had flagged

 on behalf of those officials. Scully Dep. 163:17-164:17. Over time, however, the companies began

 reporting directly to the election officials what actions, if any, they took concerning potential

 misinformation. Id. at 164:8-25. See also Defs.’ Resp. PFOF ¶¶ 972-977, 1076-1082.

         124. CISA discontinued its switchboarding work after the 2020 election cycle and has no

 intention to engage in switchboarding for the next election. Scully Dep. 21:19-25; 265:13-19; Hale

 Decl. ¶ 78 (Ex. 97). In April or May 2022, CISA leadership decided that CISA would no longer

 play a switchboarding role, in part because it was resource intensive. Scully Dep. at 22:1-23; 62:15-

 22. Although CIS had requested that DHS provide funding for CIS’s 2022 switchboarding efforts,

 DHS declined. Hale Decl. ¶ 79 (Ex. 97). It is CISA’s understanding that during the 2022 election,

 social media companies engaged directly with CIS and election officials with any misinformation

 concerns. Scully Dep. 265:20-266:13. Although CISA was copied on CIS’s communications with




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 social media companies in 2020, it was not copied on any such communications in 2022. Id. at

 266:14-16.

        125. Plaintiffs contend, based on a November 10, 2021, “Cyberscoop” article, that CISA

 intended to expand its disinformation efforts, PI Supp. 58; see also Pls.’ Proposed Finding of Fact

 ¶ 1106, (“Pls.’ PFOF”) (Dkt. 214-1) (referring to “Cyberscoop” article and claiming that “CISA

 publicly states that it is expanding its efforts to fight disinformation heading into the 2024 election

 cycle”); Pls.’ PFOF ¶ 1114 (citing same November 2021 article where CISA Director Easterly is

 quoted as saying that CISA is “beefing up its misinformation and disinformation team”). While

 CISA anticipated and publicly stated that its MDM Team would grow, the size of the team has

 remained constant and the scope of CISA’s disinformation mission has not expanded. Hale Decl.

 ¶¶ 12-13 (Ex. 97); see also Defs.’ Resp. PFOF ¶¶ 1094-1122.

        126. Regarding CISA’s 2022 election-related work, CISA endeavored to mitigate the

 risks posed by disinformation by providing updates to CISA’s Election Security Rumor vs. Reality

 webpage, discussed infra at 79, and the “Tactics of Disinformation” resilience guide, which

 highlighted examples of the tactics used by disinformation actors and outlining proactive measures

 to mitigate the effectiveness of such tactics. Hale Decl. ¶¶ 64, 66 (Ex. 97). CISA also partnered

 with the FBI to publish a public service announcement on information manipulation tactics related

 to the 2022 midterm elections. Id. ¶ 67; Scully Dep. 303:11-304:5. And CISA sought to amplify

 the voices of state and local election officials through its social media platforms and other public

 forums. Hale Decl. ¶ 64 (Ex. 97). 41


 41
    Over the past several years, CISA has done a limited amount of disinformation-related work
 concerning other critical infrastructure sectors, but none of that work has concerned
 communications with social media companies concerning content on their platforms. Hale Decl.
 ¶ 16 (Ex. 97). For example, during the COVID-19 pandemic, and in relation to the Healthcare and
 Public Health Sector, CISA provided support to the sector and produced two public guidance



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         127. The “Election Security Rumor vs. Reality” webpage was “designed to address

  common disinformation narratives by providing accurate information related to elections.” See Ex.

  112 (Election Security Rumor vs. Reality, CISA (Nov. 4, 2022), https://perma.cc/VV2B-57BT);

  Hale Decl. ¶ 15 (Ex. 97). CISA developed this website to provide accurate information about false

  election rumors spreading in the public domain. Scully Dep. 290:18-23. The page was designed to

  “inform voters and help them build resilience against foreign influence operations and

  disinformation narratives about election infrastructure.” See Ex. 112. Although the page was

  designed for voters, social media companies also have used the rumors page as a source to debunk

  content on their platforms. Scully Dep. 290:12-17. Notably, both Louisiana and Missouri have

  similar websites that seek to promote accurate information concerning elections and COVID-19.42

  In fact, the Missouri Secretary of State’s election misinformation page expressly links to CISA’s

  resources concerning election misinformation.43




  documents. Id. ¶ 17. In addition, in support of the President’s Unified Coordination Group for
  domestic preparedness and response regarding any potential impacts of Russia’s invasion of
  Ukraine on the United States, a group that was in operation from January 2022 to April 2022,
  CISA personnel provided situational awareness reports based on publicly available third-party
  reporting and also provided support to build resilience to disinformation related to the crisis for
  the purpose of being prepared should foreign influence operations increase their targeting of U.S.
  critical infrastructure. Id. ¶ 18. And in relation to the Financial Services Sector, CISA has been
  working with the Treasury Department on a public guide to help the sector understand
  disinformation and the risks it poses. Id. ¶ 19. That guide is still in development, and work
  currently is on pause because other, urgent tasks have taken priority. Id.
  42
      See Ex. 113 at 3-8 (Social Media Resources, Mo. Dep’t of Health & Senior Servs.,
  https://perma.cc/6U4G-Y44L) (providing “rumor control” resources regarding COVID-19); Ex.
  114 at 1 (Election Security, Mo. Sec’y of State, https://perma.cc/LW4Y-9TLJ); Ex. 115 at 1-2
  (COVID-19 Stay at Home Order, Off. of the Governor, https://perma.cc/2HMS-RBBU) (providing
  accurate information concerning Louisiana’s COVID-19 stay at home order); Ex. 116 (Get
  Election Information: Frequently Asked Questions, La. Dep’t of State, https://perma.cc/F72W-
  4VMB).
  43
     See Ex. 114 at 3 (linking to CISA, The War on Pineapple: Understanding Foreign Intelligence
  in 5 Steps (2019) (Ex. 117)); id. (linking to Dep’t of Homeland Sec., Social Media Bots Overview
  (2018) (Ex. 118)).


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                 c. CISA’s Meetings with Social Media Companies
         128. In furtherance of its mission to improve the security and resiliency of critical

  infrastructure, CISA participated in meetings with social media companies and others concerning

  misinformation, including (1) recurring U.S. Government (“USG”)-Industry meetings (and

  preparatory meetings in advance of these meetings); (2) CISA Cybersecurity Advisory Committee

  (“CSAC”) quarterly meetings; (3) CISA CSAC, Protecting Critical Infrastructure from

  Misinformation and Disinformation subcommittee meetings; and (4) meetings convened by the

  EIS-GCC and the EI-SCC Joint Managing Mis/Disinformation Working Group. See Ex. 187 at

  42-44. Contrary to Plaintiffs’ insinuation that these meetings “provide[d] avenues for government

  officials to push for censorship of disfavored viewpoints and speakers online,” Pls.’ Mem. in Supp.

  of Mot. for Prelim. Inj. 27, (“PI Br.”) (Dkt. 11-1), Plaintiffs have failed to adduce any evidence

  that any such alleged “push” for censorship occurred during these meetings.

         129. USG-Industry meetings. For example, the USG-Industry meetings, which began in

  2018 and continued through 2022, included federal agency participants from CISA, DHS, the FBI,

  the Department of Justice (“DOJ”), and the Office of the Director of National Intelligence

  (“ODNI”), as well as social media company participants from Google, Facebook, Twitter, Reddit

  and Microsoft, and on occasion Verizon Media, Pinterest, LinkedIn, and the Wikimedia

  Foundation. See Ex. 187 at 42-43; Scully Dep. 31:10-16. The topics discussed generally included

  information sharing around election risks, briefs from the industry, threat updates, and highlights

  and upcoming “watch outs.” Id. at 43. CISA’s role at these meetings generally involved educating

  social media platforms on how elections function and are administered, as well as potential threats

  to election security. Scully Dep. 224:22-25:9. Much of the discussion at these meetings involved

  cybersecurity issues, as well as discussions about then-ongoing physical threats to poll workers.

  Id. at 235:11-22. CISA has not participated in the USG-Industry meetings since the 2022 general


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  election, see Hale Decl. ¶ 69 (Ex. 97), and currently, there is no plan to resume participation in

  these meetings. Scully Dep. 32:9-11.

         130. Although concerns about misinformation and disinformation were also discussed

  during these agency-industry meetings, they did not involve “pushes” to censor misinformation or

  disinformation. Id. at 39:12-25. For example, CISA discussed the development of informational

  products it had created to promote resilience to disinformation, such as a general disinformation

  resilience guide highlighting examples of the tactics use by foreign disinformation actors and

  outlining proactive measures to mitigate the effectiveness of such tactics entitled the Tactics of

  Disinformation. Id. at 39:12-18: Hale Decl. ¶ 66 (Ex. 97). Other agencies, including DOJ, FBI,

  ODNI, and DHS, would participate and provide unclassified, high-level reviews or strategic

  intelligence briefings on these topics. Scully Dep. 25:10-23. The social media companies would

  share high-level trend information from public reporting they had released. Id. at 40:2-41:15. For

  example, members of the intelligence community discussed malign foreign actors who potentially

  were going to launch disinformation operations. Id. at 39:19-25; see also Defs.’ Resp. PFOF

  ¶¶ 861-866, 978-990.

         131. CISA CSAC meetings. Established under the National Defense Authorization Act for

  Fiscal Year 2021, Pub. L. No. 116-283, 134 Stat. 3388 (NDAA), the CISA CSAC operates as a

  federal advisory committee, governed by the Federal Advisory Committee Act, to provide

  recommendations to CISA on topics related to its cybersecurity mission. See Ex. 119 (CISA

  Cybersecurity Advisory Committee, CISA, https://perma.cc/G6BW-LKDR); Ex. 120 (CISA

  Cybersecurity Advisory Committee (CSAC) Charter, CISA, https://perma.cc/QU5C-ZT5F). CSAC

  includes experts on cybersecurity, technology, risk management, privacy and resilience, and

  members employed or previously employed by, among others, social media and technology




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  companies. Ex. 120 at 2-3. The CSAC quarterly meeting agenda and summaries are available

  online, Ex. 121 (CISA Cybersecurity Advisory Committee (CSAC) Meeting Resources, CISA,

  https://perma.cc/F6N9-2DF2), and contrary to Plaintiffs’ contention, a review of those materials

  fails to reflect any coercion or attempted censorship by the Federal Government of social media

  companies. Instead, these materials reflect the creation of a new, congressionally-mandated

  advisory committee, discussions about how CISA can better accomplish its mission of promoting

  the security and resilience of critical infrastructure such as by refining the national effort to identify

  and prioritize the most critical entities and infrastructure, improving efforts to strengthen the

  nation’s cyber workforce, and enhancing public-private communication and collaboration in

  preventing and responding to cybersecurity incidents. Id.

          132. CISA CSAC, Protecting Critical Infrastructure from Misinformation and

  Disinformation Subcommittee (MDM Subcommittee) meetings. In addition, the CSAC MDM

  Subcommittee, which was directed to stand down in December 2022 because it had completed the

  tasks for which it was created and provided its recommendations to CISA, had nothing to do with

  attempted censorship of content on social media platforms. See Ex. 187 at 43. The MDM

  Subcommittee did not discuss whether or how social media platforms should moderate content,

  either in specific cases or more generally. Ex. 122 at 9 (Addressing false claims and misperceptions

  of the UW Center for an Informed Public’s research, Univ. of Wash. (Mar. 16, 2023)). Rather, the

  CSAC established the MDM Subcommittee for the purpose of evaluating and providing

  recommendations on potentially effective MDM resiliency efforts that fit within CISA’s unique

  capabilities and mission. Ex. 123 (CISA Cybersecurity Advisory Committee, Subcommittee

  Factsheet and 2022 Cybersecurity Advisory Committee (CSAC) Reports and Recommendations

  (2023)). Like the CSAC Committee, the MDM Subcommittee operated transparently and details




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  about the MDM Subcommittee, its membership, reports, and recommendations, are posted on

  CISA’s website. Id. Specifically, the MDM Subcommittee recommended that CISA take actions

  such as “shar[ing] up to date ‘best practices’ around how to proactively address and counter MDM

  based on the most recent research[,]” “[s]har[ing] information with state and local election

  officials[,]” and “[p]rotect[ing] the courts” from becoming the “target of an intensified campaign

  to undermine public trust in the legitimacy of their processes.” Ex. 124 at 1-2 (CISA Cybersecurity

  Advisory Committee, Report to the Director: Protecting Critical Infrastructure from

  Misinformation & Disinformation Information Sharing Around Foreign Adversary Threats to

  Elections (2022)). Nothing in these materials reflects an attempt by CISA to “push” social media

  companies to censor mis- or disinformation.

         133. EIS-GCC and EI-SCC Joint Managing Mis/Disinformation Working Group

  meetings. Finally, as explained above, see supra Defs.’ PFOF ¶ 111, the EIS-GCC and EI-SCC

  Joint Mis/Disinformation Working Group, which was launched after the 2020 election, provides a

  forum through which the Election Infrastructure Subsector can identify challenges in building

  resilience against disinformation and produce resources to work towards this goal. See Ex. 187 at

  44. Notably, the Secretary of State Office for Plaintiff Louisiana has been a member of the EIS-

  GCC since May 2018, and while serving as the NASS President from the summer of 2021 to 2022,

  the Louisiana Secretary of State served as an EIS-GCC Executive Committee member. Hale Decl.

  ¶ 31 (Ex. 97). In this capacity, Louisiana received regular briefings (usually every two weeks) on

  CISA’s election security efforts—including briefings on CISA’s disinformation resilience work—

  engaged in security planning activities for the Election Infrastructure Subsector and oversaw the

  management and activity of EIS-GCC working groups. Id. This included the oversight and

  management of the EI-SCC and EIS-GCC Joint Managing Mis/Disinformation Working Group.




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  Id. The Missouri Secretary of State Office was an alternate member of the EIS-GCC from 2018-

  19. Id. ¶ 32. In this capacity, the Missouri Secretary of State Office attended the EIS-GCC biannual

  meetings and activity participated in briefings on the Election Infrastructure Subsector’s security

  and resilience efforts. Id.

                  d. CISA’s Limited Involvement with the Election Integrity Partnership
          134. The Election Integrity Partnership (“EIP”) was a private partnership formed in 2020

  that included the Stanford Internet Observatory (“SIO”), the University of Washington, Graphika,

  and the Atlantic Council’s Digital Forensic Research Lab, and whose mission was to better

  understand the information environment around elections. See Scully Ex. 1 at vi (Dkt. 209-2) (The

  Long Fuse: Misinformation and the 2020 Election). The EIP’s “primary goals were to: (1) identify

  mis- and disinformation before they went viral and during viral outbreaks[;] (2) share clear and

  accurate counter-messaging[;] and (3) document the specific misinformation actors, transmission

  pathways, narrative evolutions, and information infrastructures that enabled these narratives to

  propagate.” Id. Among other actions, the EIP developed a ticketing system where trusted external

  stakeholders and internal EIP analysts could flag misinformation that EIP would then analyze and,

  depending on the nature of the information, could flag for social media companies for their

  awareness. Id. at 8-10; 18-19.

          135. The EIP provided public factual findings to social media platforms, but had no

  control over content moderation, censorship, or labeling posts. Ex. 74 at 2. Rather, social media

  platforms examined any reports sent to them by the EIP to determine if the content violated their

  policies and whether and how to moderate the content. Id.; see Ex. 122 at 6 (stating that EIP’s

  “researchers made independent decisions about what to pass on to platforms, just as the platforms

  made their own decisions about what to do with our tips”); Ex. 125 at 3 (A Statement from the

  Election    Integrity    Partnership,   Election     Integrity   Partnership   (Oct.    5,   2022),


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  https://perma.cc/LV9L-CNCR) (“Each [social media] company made their own determinations on

  how to treat our reports.”). Content moderation decisions were independently made by social

  media platforms, and the EIP did not make recommendations to the platforms about what actions

  they should take. Ex. 74 at 2.

         136. CISA involvement with the EIP was limited, and it did not found, fund, or have any

  role in the management or operation of the EIP. Hale Decl. ¶ 52 (Ex. 97); Ex. 122 at 7. During

  2020, several Stanford University students interned at CISA on election security matters. Hale

  Decl. ¶ 53 (Ex. 97). 44 During their internships, CISA personnel and the interns discussed the

  challenges facing and the needs of election officials. Id.; Scully Ex. 1 at 2 (Dkt. 209-2). Based on

  lessons learned from the 2018 election, CISA employee Brian Scully shared with the interns his

  view that State and local election officials’ resources were insufficient to allow them to identify

  misinformation that targeted their jurisdictions. Scully Dep. 84:10-22. The interns then presented

  the lack of resources and challenges facing election officials to officials at the SIO. Hale Decl.

  ¶ 54 (Ex. 97). CISA personnel subsequently had a conversation with Alex Stamos, who worked

  for the SIO, and confirmed his understanding that the States were lacking in such resources. Scully

  Dep. 86:22-87:9; Hale Decl. ¶ 54 (Ex. 97).

         137. In July 2020, the EIP was formed. Scully Ex. 1 at 21(3) (Dkt. 207-2). As the EIP was

  being stood up, and given its relationships with the election community, CISA connected the EIP

  with election stakeholders at NASS, NASED, and CIS, which, as discussed earlier, manages the

  MS-ISAC and the EI-SAC. Hale Decl. ¶ 58 (Ex. 97). And as it would with other nongovernmental

  organizations in the election community, CISA received a briefing from EIP in May or June 2022,


  44
    Students who interned at CISA should only have performed CISA work during their internships
  with the agency, and they should not have performed any CISA work outside of their CISA
  internship, including while interning at SIO or supporting the EIP. Hale Decl. ¶ 61 (Ex. 97).


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  during which the EIP shared its plans for the 2022 midterms and lessons learned from the 2020

  election. Scully Dep. 54:10-14; Hale Decl. ¶ 60 (Ex. 97).

         138. CISA did not launch the EIP, and the EIP is not a government organization. Hale

  Decl. ¶ 56 (Ex. 97). CISA does not fund and has never funded the EIP. Id. ¶ 57. CISA generally

  did not share information with the EIP. Scully Dep. 73:25-74:2; 106:3-9. It did not submit tickets

  flagging potential misinformation to the EIP. Ex. 125 at 2 (“CISA did not send any examples of

  potential misinformation to EIP” and “EIP did not send any reports of false rumors or

  disinformation to social media companies on behalf of [DHS] or [CISA].”); Ex. 74 at 3 (stating

  that the EIP did not receive requests from CISA to eliminate or censor tweets); Ex. 122 at 7 (stating

  that CISA did not send content to the EIP to analyze, and the EIP did not flag content to social

  media platforms on behalf of CISA). CISA is not aware of any communications with the EIP about

  specific disinformation concerns. Scully Dep. 75:2-5. Presently, CISA is not doing any work with

  the EIP. Hale Decl. ¶ 63 (Ex. 97). See also Defs.’ Resp. PFOF ¶¶ 991-1075.

         G. The State Department’s Global Engagement Center (GEC)
         139. Disinformation from foreign state and foreign non-state actors is of critical concern

  to the United States. See Declaration of Leah Bray, Deputy Coordinator, Glob. Engagement Ctr.,

  U.S. Dep’t of State ¶ 5 (Bray Decl.) (Ex. 142).45 Indeed, Congress and the Executive Branch

  recognized before 2020 that private platforms’ enforcement of their own terms of service can be

  important in opposing activities of foreign adversaries, such as the ISIS terrorist organization, that



  45
     For example, disinformation is one of Russia’s most important and far-reaching tools in support
  of its invasion of Ukraine. Bray Decl. ¶ 5 (Ex 142). Russia has operationalized the concept of
  perpetual adversarial competition in the information environment by encouraging the development
  of a disinformation and propaganda ecosystem. Id. This ecosystem creates and spreads false
  narratives to strategically advance Russia’s policy goals. Id. Russia’s intelligence services operate,
  task, and influence websites that present themselves as news outlets to spread lies and sow discord.
  Id. ¶ 6.


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  have sought to use social media platforms to disseminate anti-American propaganda. 46 Congress

  also explicitly recognized the need for government action to counter such dissemination when it

  mandated that the Department of State’s Global Engagement Center (GEC) counter foreign

  propaganda and disinformation. Kimmage Dep. 26:5-12 (Dkt. 208-1). The GEC’s mission is “to

  direct, lead, synchronize, integrate, and coordinate efforts of the Federal Government to recognize,

  understand, expose, and counter foreign state and foreign non-state propaganda and disinformation

  efforts aimed at undermining or influencing the policies, security, or stability of the United States[,

  its] allies[,] and partner nations.” See 22 U.S.C. § 2656 note (Global Engagement Center).

          140. The GEC plays a key role in coordinating U.S. government efforts and helping to

  lead a global response to such foreign malign influence. See Bray Decl. ¶ 7 (Ex. 142). A central

  part of this effort is exposing foreign state and non-state actors’ disinformation tactics so that allied

  governments and partners abroad, including civil society organizations, academia, the press, and

  the international public, can conduct further analysis of their own and thereby increase collective

  resilience to disinformation and propaganda. Id.

          141. The GEC carries out its statutory mission to counter propaganda and disinformation

  from foreign state and non-state actors along five lines of effort: (1) analytics and research,


  46
     See Ex. 163 at 13 (Global Efforts to Defeat ISIS: Hearing Before the S. Comm. on Foreign Rels.,
  114th Cong. (2016) (statement of Brett H. McGurk, Special Presidential Envoy)) (Twitter,
  Facebook, and YouTube “are . . . removing ISIL-related content from their platforms . . . . [W]e
  have widely publicized how anyone can report ISIL content on-line, so that platforms can remove
  it if the content violates a platform’s terms of service, which it often does.”); Ex. 164 at 3
  (Countering Terrorist Internet Recruitment: Hearing Before the Subcomm. on Investigations of
  the S. Comm. on Homeland Sec. and Governmental Affs., 114th Cong. (2016) (statement of Sen.
  Rob Portman)) (“[S]ocial media firms including Facebook and Twitter have stepped up their
  voluntary efforts to police their own terms of service, which prohibit incitements to terrorism.
  Twitter has closed more than 100,000 ISIS-linked accounts, and Facebook has actively worked to
  remove offending users while working in various ways to promote content to counter jihadist
  propaganda. Those actions have helped to degrade ISIS’s social media megaphone. . . but its online
  presence remains strong.”).


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  (2) international partnerships, (3) programs and campaigns, (4) exposure, and (5) technology

  assessment and engagement. Id. ¶ 4; see also Kimmage Dep. 26:24-27:19. GEC’s Russia, People’s

  Republic of China, Iran, and Counterterrorism teams seek to build societal and institutional

  resilience against foreign propaganda and disinformation abroad. Bray Decl. ¶ 4 (Ex. 142);

  Kimmage Dep. 28:5-10. The GEC plays a coordination role in the interagency’s public exposure

  of foreign information influence operations, including the use of proxy sites and social media

  networks overseas. Ex. 126 (GEC, About Us, U.S. Dep’t of State, https://perma.cc/6U48-PE8Y).

  The GEC hosts private sector technology demonstrations, assesses counter-disinformation

  technologies against specific challenges, and identifies technological solutions through overseas

  technology challenge programs. Bray Decl. ¶ 4 (Ex. 142). The GEC also has a resources team, an

  interagency coordination team, a Technology Engagement Team (TET), and a front office.

  Kimmage Dep. 28:5-19.

          142. The GEC’s TET holds meetings with social media companies and exchanges

  information concerning the propaganda and disinformation tools and techniques used by the

  United States’ adversaries. Kimmage Dep. 29:14-30:14. These meetings rarely include discussions

  about specific content posted on social media because the meetings are at a higher, more

  conceptual level about what foreign actors are doing, rather than specific content. Id. at 30:20-

  31:3. The TET team also ran the disinfo-cloud, an information sharing platform that contained

  tools to counter propaganda and misinformation. Id. at 169:19-173:17. These tools could

  identify coordinated inauthentic activity on a social media platform by a foreign disinformation

  actor. Id. at 170:11-18. 47


  47
    For a time, the TET had a location in Silicon Valley where one individual, Sam Stewart (named
  as Defendant Samaruddin K Stewart), was stationed. Kimmage Dep. 153:7-154:21. The purpose
  of the Silicon Valley location was to facilitate public/private coordination and broker constructive



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         143. The GEC front office engages with social media companies, primarily to build

  relationships with those companies to facilitate better communications at the working level. Id. at

  31:12-20. The primary topics discussed at these meetings are the tools and techniques used by

  America’s adversaries, including the campaigns being conducted by foreign propaganda actors

  like Russia, China, Iran, and terrorist organizations, as well as the narratives they are promoting.

  Id. at 32:11-19. The GEC also is in listening mode during these meetings for anything the social

  media companies want to share, although they typically have little to share. Kimmage Dep. 32:11-

  33:1. The social media companies have shared high-level information like a foreign disinformation

  campaign with a narrative, rather than specific content that would be part of that campaign. Id. at

  33:14-34:2.

         144. The GEC did not flag specific content for social media companies during the

  meetings between the GEC front office and social media companies and did not give the companies

  any directives. Id. at 34:13-36:5. The GEC’s purpose in advising social media companies about

  disinformation campaigns was not to influence companies’ internal decisions regarding content,

  but to deepen their understanding of the actions of malign actors seeking to undermine U.S.

  national security, in line with the GEC’s congressional mandate. Id. at 36:6-37:7. In addition, the

  purpose of the GEC’s liaisons with social media companies is not to stop the spread of online

  disinformation; rather, the GEC simply shares lessons learned, information about propaganda and

  disinformation techniques, and the campaigns and narratives of foreign propaganda and



  engagements between the government and the tech sector, including social media companies, and
  academia and research. Kimmage Dep. 155:5-21. Mr. Stewart had conversations with social media
  companies in which the GEC shared information related to its mission to counter foreign
  propaganda and disinformation. Id. at 155:22-156:11. The social media companies also educated
  the GEC based on what sorts of propaganda and disinformation they were seeing. Id. at 157:11-
  23. Mr. Stewart no longer works for the GEC, and no one from the TET is currently working from
  the Silicon Valley location. Id. at 154:14-21, 272:17-25.


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  disinformation actors. Id. at 273:12-24. Sharing information can help social media companies to

  identify coordinated inauthentic activity or to understand what these actors are trying to achieve,

  as well as to understand the types of narratives they are promoting. Id. at 279:17-280:4. Providing

  this information to social media companies is the first step in social media companies’ ability to

  address foreign propaganda on their sites, as “[s]olving a problem has to start with understanding

  the problem[.]” Id. at 280:9-281:3.

         145. However, the GEC does not engage in any activities where the intention is to propose

  to social media companies that certain content should not be posted on their platforms. Kimmage

  Dep. 37:16-25. Indeed, “[t]he Global Engagement Center does not tee up actions for social media

  companies to take,” and it “does not seek to influence the decisions of the social media companies.”

  Id. at 38:2-3, 283:9-22; Bray Decl. ¶ 16 (Ex. 142) (explaining that the GEC’s practice is not to

  request social media companies take any specific actions when sharing information with them).48

  Nor does the GEC seek to provide information that might inform social media companies’

  decisions concerning content moderation, or brief social media companies on their content




  48
     In rare instances the GEC has flagged a specific post for a social media company when the
  circumstances involved potential threats to the safety of State Department personnel. Bray Decl.
  ¶ 17 (Ex. 142). In 2018, a colleague informed Mr. Kimmage, who was then acting Coordinator of
  the GEC, of a security situation in a Middle Eastern country where protestors were using a social
  media platform to communicate in ways that raised urgent security concerns, and the State
  Department was concerned for the safety of its personnel. Id.; Kimmage Dep. 38:12-39:25. Mr.
  Kimmage communicated directly with a social media platform and informed it of the State
  Department’s concern. Id. Mr. Kimmage was “very specific” in his interaction with the social
  media company that this was a real time situation in which the State Department believed its
  personnel were at risk and asked the company to review the activity on these accounts to decide
  whether the content in question, which had been posted by foreign actors, violated its terms of
  service. Id. at 38:12-39:25, 40:1-3. Mr. Kimmage did not ask for anything to be removed from the
  site, but he did express concerns about the personal safety of State Department personnel. Id. at
  38:12-39:25. Mr. Kimmage is unaware of what action, if any, the platform took in response to his
  identification of this issue, because it did not report back to him. Id. at 40:4-7.


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  moderation policies. Kimmage Dep. 38:4-11, 285:19-286:1. 49 Rather, whatever actions social

  media companies may take after receiving information from the GEC is left completely up to those

  companies. Id. at 273:12-274:8; see also Defs.’ Resp. PFOF ¶¶ 1123-1134.

         H. The Federal Bureau of Investigation
             1. FBI Efforts as to Foreign Influence and Election Misinformation
         146. “Foreign influence operations,” as then-Deputy Assistant Attorney General Adam S.

  Hickey of the DOJ National Security Division explained in 2018 to the Senate Judiciary

  Committee, “include covert actions by foreign governments intended to affect U.S. political

  sentiment and public discourse, sow divisions in our society, or undermine confidence in our

  democratic institutions to achieve strategic geopolitical objectives.” Ex. 127 at 1 (Election

  Interference: Ensuring Law Enforcement is Equipped to Target Those Seeking to Do Harm:

  Hearing Before the S. Comm. on the Judiciary, 115th Cong. (2018) (statement of Adam Hickey,

  Deputy Assistant Att’y Gen., Dep’t of Just.), 2018 WL 2933298). A prominent example is found

  in the 2018 federal indictment “of 13 Russian individuals and three entities, including the Internet

  Research Agency (or IRA), for federal crimes in connection with an effort to interfere in the 2016

  Presidential election. The defendants allegedly conducted what they called ‘information warfare

  against the United States,’ with the stated goal of ‘spread[ing] distrust towards the candidates and

  the political system in general.’” Ex. 128 at 1 (Adam. S. Hickey, Deputy Assistant Att’y Gen.,



  49
    When asked at his deposition about any efforts by the GEC to influence social media companies’
  content moderation decisions, Mr. Kimmage, the acting GEC Coordinator and Principal Deputy
  Coordinator from 2017 until June 2021, stated that he never had a conversation with social media
  companies during which he encouraged them to speed up the removal of posts. Kimmage Dep.
  42:12-20, 47:16-20. Mr. Kimmage further testified that he is unaware of instances in which other
  GEC personnel expressed concern about specific content on a platform to a third party on the
  understanding that the party would convey that concern to the social media company. Id. at 55:20-
  56:8.



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  Remarks at Misinfo Con (Aug. 6, 2018), 2018 WL 3727551); see also Ex. 129 (Press Release,

  Dep’t of Just., Grand Jury Indicts Thirteen Russian Individuals and Three Russian Companies for

  Scheme to Interfere in the United States Political System (Feb. 16, 2018), 2018 WL 920088) (DOJ

  news release describing indictment). It was to address such “information warfare” that the FBI in

  the fall of 2017 established the Foreign Influence Task Force (“FITF”). See Ex. 130 at 7 (Oversight

  of the Federal Bureau of Investigation: the January 6 Insurrection, Domestic Terrorism, and Other

  Threats: Hearing Before the S. Comm. on the Judiciary, 117th Cong. 1 (2021), 2021 WL 808994

  (statement of Christopher Wray, Dir., FBI)).

         147. Among the categories of activity by foreign governments that the FITF investigates

  and seeks to disrupt are “attempts by adversaries—hoping to reach a wide swath of Americans

  covertly from outside the United States—to use false personas and fabricated stories on social

  media platforms to discredit U.S. individuals and institutions”; “[t]argeting U.S. officials and other

  U.S. persons through traditional intelligence tradecraft”; “[c]riminal efforts to suppress voting and

  provide illegal campaign financing”; and “[c]yber attacks against voting infrastructure, along with

  computer intrusions targeting elected officials and others.” Ex. 131 at 1 (Combating Foreign

  Influence, Fed. Bureau of Investigation, https://perma.cc/M4P7-6KFF); see Declaration of Larissa

  L. Knapp, Exec. Assistant Dir., Nat’l Sec. Branch, FBI (“Knapp Decl.”) ¶¶ 10-20 (Ex. 157).

         148. Government concern about foreign influence efforts directed to United States

  elections has continued beyond the 2016 election into the 2020 election season and beyond,

  including under the Trump Administration. The International Emergency Economic Powers Act,

  50 U.S.C. §§ 1701 et seq., grants the President broad authority to impose economic sanctions on

  foreign governments that threaten the security of the United States. Invoking that authority,

  President Trump in 2018 declared an emergency to deal with the unusual and extraordinary threat




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  presented by “the ability of persons located . . . outside the United States to interfere in or

  undermine public confidence in United States elections, including through the unauthorized

  accessing of election and campaign infrastructure or the covert distribution of propaganda and

  disinformation.” Exec. Order No. 13,848, 83 Fed. Reg. 46,843, 46,843 (Sept. 12, 2018) (emphasis

  added). Noting that “foreign powers have historically sought to exploit America’s free and open

  political system,” President Trump found that “the proliferation of digital devices and internet-

  based communications has created significant vulnerabilities and magnified the scope and intensity

  of the threat of foreign interference.” Id. The order required, inter alia, various national security

  officials, not later than 45 days after an election, to assess “any information indicating that a foreign

  government, or any person acting as an agent of or on behalf of a foreign government, has acted

  with the intent or purpose of interfering in that election.” Id. at 46,843-44. President Trump

  continued that emergency finding for the following two years. 84 Fed. Reg. 48,039 (Sept. 10,

  2019); see also 85 Fed. Reg. 56,469 (Sept. 10, 2020) (President Biden continued that finding for

  two successive years).

          149. Also, on March 2, 2020, the eve of “Super Tuesday” (when multiple states held

  primary contests), then-Attorney General Barr joined numerous other officials in a joint statement

  advising: “We continue to work with all 50 states, U.S. territories, local officials, political parties,

  and private sector partners to keep elections free from foreign interference.” Ex. 132 at 1 (Press

  Release, Fed. Bureau of Investigation, Joint Statement from DOS, DOJ, DOD, DHS, ODNI, FBI,

  NSA, and CISA on Preparations for Super Tuesday (Mar. 2, 2020), 2020 WL 996966). “Americans

  must also remain aware,” the joint statement continued, “that foreign actors continue to try to

  influence public sentiment and shape voter perceptions. They spread false information and

  propaganda about political processes and candidates on social media in hopes to cause confusion




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  and create doubt in our system. We remain alert and ready to respond to any efforts to disrupt the

  2020 elections.” Id. Closer to Election Day, FBI and CISA, on September 22, 2020, issued an

  “announcement to raise awareness of the potential threat posed by attempts to spread

  disinformation regarding the results of the 2020 elections.” Ex. 133 at 1 (Press Release, Fed.

  Bureau of Investigation, Foreign Actors and Cybercriminals Likely to Spread Disinformation

  Regarding 2020 Election Results (Sept. 22, 2020), 2020 WL 5644950). “Foreign actors and

  cybercriminals,” the announcement continued, “could create new websites, change existing

  websites, and create or share corresponding social media content to spread false information in an

  attempt to discredit the electoral process and undermine confidence in U.S. democratic

  institutions.” Id. For example, an Iranian hacking group obtained unauthorized access to one local

  government’s computers and, before that intrusion was thwarted, could have displayed false results

  for the 2020 election on that government’s public-facing website. Ex. 134 at 1 (Joseph Menn, Iran

  gained access to election results website in 2020, military reveals, Wash. Post (Apr. 24, 2023)).

         150. Elvis Chan, the Assistant Special Agent in Charge (“ASAC”) of the Cyber Branch

  for the FBI in San Francisco, assisted with FITF efforts by sharing with social media companies

  information the FBI developed in the course of malign-influence investigations. As a supervisor

  over FBI San Francisco cyber investigations, he has also shared information with social media

  companies about cyber investigations, which are different from malign-influence investigations.

  Chan Dep. 8:11-13, 100:11-12, 105:13-18 (Dkt. 204-1). The companies ASAC Chan met with

  most frequently were Facebook, Google, Twitter, and Microsoft. Id. at 210:19-25.




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         151. The USG-industry meetings ASAC Chan regularly attended included discussion of

  “hack-and-dump” (a.k.a. “hack-and-leak”) operations. Id. at 170:12-15, 171:9-11, 172:3-5.50

  Multiple FBI agents attended the USG-industry meetings, at which, before the 2020 election, the

  FBI warned social media companies about the potential for 2016-style Russian hack-and-dump

  operations. Id. at 172:17-173:13, 177:7-10. The FBI’s warnings, though not based on observed

  computer intrusions similar to those that occurred in 2016, followed from the assessment that

  because such a hack-and-dump operation had been deployed before (in 2016), it could be deployed

  again, given, for example, the skills of the Russian hackers shown in 2016. Id. at 173:18-174:13,

  208:7-12. The FBI also voiced warnings at FITF-organized bilateral meetings with individual

  platforms. Id. at 181:6-11, 185:19-25, 189:24-190:13; see also Defs.’ Resp. PFOF ¶¶ 865-879.

         152. In general, ASAC Chan met with the platforms’ trust and safety personnel monthly

  in connection with cyber or FITF investigations, although the frequency became weekly as the

  2020 election approached. Chan Dep. 40:2-11, 40:44-50. On FITF matters, the FBI shared

  information with the platforms that was (1) strategic (concerning general foreign malign

  techniques or processes), or (2) tactical (describing attributes, or indicators, of particular social

  media accounts indicating they were being operated by foreign malign actors). FITF shared

  information about a foreign malign actor’s social media activity not based on the content or

  viewpoint expressed in a post, but rather on the determination that the account is part of a covert


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     The paradigmatic or “best” example of a hack-and-dump or hack-and-leak operation was the
  one undertaken by members of Russia’s GRU military unit when they unlawfully intruded
  (“hacked”) into the computer networks of the Democratic Congressional Campaign Committee,
  the Democratic National Committee, and the presidential campaign of Hillary Clinton, and
  thereafter released (“dumped” or “leaked”) information stolen from those networks on the internet.
  Chan Dep. 13:7-15; see, e.g., Ex. 135 at 1 (Press Release, Dep’t of Just., Grand Jury Indicts 12
  Russian Intelligence Officers for Hacking Offenses Related to the 2016 Election (July 13, 2018),
  2018 WL 3425704 (DOJ news release describing indictment charging 12 “Russian nationals for
  committing federal crimes . . . intended to interfere with the 2016 U.S. presidential election”)).


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  effort by a foreign malign actor. See Knapp Decl. ¶¶ 16-20 (Ex. 157). Platforms would use their

  own means to validate the FBI’s views on whether particular accounts were being operated by

  Russian state-sponsored actors and whether to take them down. Chan Dep. at 29:14-30:10, 32:8-

  33:17. The FBI only shared information concerning accounts it attributed with high confidence to

  a foreign-state actor, and to date the FBI’s attributions have always proven correct. Id. at 112:21-

  113:6. As Yoel Roth, former head of content moderation at Twitter, further explained in 2023

  testimony before the House Oversight and Accountability Committee: “The FBI was quite careful

  and quite consistent to request review of the accounts, but not to cross the line into advocating for

  Twitter to take any particular action.” Ex. 2 at 16. During 2020, ASAC Chan estimated that he

  shared tactical information with platforms “between one to five or one to six times per month.” Id.

  at 100:21-24; see also Defs.’ Resp. PFOF ¶¶ 905-924, 929-930.

         153. The Russians’ 2016 hack-and-leak operation provided an impetus for some platforms

  to change their service terms to state, among other things, that they would not allow posts of hacked

  materials because of concerns about the hacking victim’s privacy. Chan Dep. 205:4-17, 248:10-

  16. Although ASAC Chan inquired whether platforms had made changes to their terms of service

  and what the changes were, he never suggested that any platform change a service term. Id. at

  206:3-17, 250:17-21, 253:21-254:1. The platforms themselves “were actively looking for hack-

  and-leak operations” using detection methods that would identify hacked materials “put or

  uploaded onto their platforms.” Id. at 204:18-24.

         154. Also as part of its election integrity efforts, the FBI in San Francisco operated a 2020

  election command post, starting on the Friday before the election and continuing through election

  night. The San Francisco Field Office was responsible for relaying to the platforms election-related

  time, place, or manner disinformation or malign-foreign-influence information on their platforms




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  as reported by other field offices and after agency review. Chan Dep. 162:10-163:20, 164:23-

  165:2, 168:10-20. The FBI operated on the ground that it is a potential crime to post false

  information about the time, place, or manner of an election. Id. at 270:2-13; see Knapp Decl. ¶¶ 21-

  24 (Ex. 157). During the 2022 midterm elections the FBI in San Francisco staffed the command

  post on Election Day only, based on its experience during the 2018 midterm elections, when the

  “volume of information . . . to be coordinated” was “very low.” Chan Dep. at 167:20-168: 9.

         155. The FBI would convey such posts to platforms “to alert” them “to see if” the posts

  violated the platforms’ terms of service, and if the posts did so, the platforms “would follow their

  own policies, which may [have] include[d] taking down accounts.” Id. at 165:9-22; see Knapp

  Decl. ¶¶ 21-24 (Ex. 157). Platforms would sometimes reply that they had taken down the posts,

  while in other cases they would state that the flagged post did not violate platform terms of service.

  Id. at 165:23-167:3-14; see also Defs.’ Resp. PFOF ¶¶ 878-879, 925-928, 966-967.

             2. The “Hunter Biden Laptop Story”
         156. Plaintiffs allege that the FBI is responsible for “censorship” of the New York Post’s

  October 14, 2020, story concerning alleged contents of Hunter Biden’s laptop computer. PI Br.

  23-24; see PI Supp. 27-29.

         157. The evidence reflects that it was Twitter and Facebook, acting on their own initiative,

  that unilaterally determined what limits to impose on the dissemination of posts involving that

  story. Following the New York Post’s publication on October 14, 2020, Senator Hawley asserted

  that, “Twitter is blocking all tweets and direct messages that contain the URL for the Post article,”

  while “Facebook has stated that it is ‘reducing [the story’s] distribution on our platform,’ though

  the specifics of how Facebook will implement this remain opaque.” Ex. 136 at 1 (Press Release,

  Sen. Josh Hawley, Hawley Calls for FEC Investigation of Potential In-Kind Contributions from

  Twitter and Facebook to Biden Campaign (Oct. 14, 2020), https://perma.cc/A7ST-3KQK) (news


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  release reprinting Sen. Hawley letter to FEC). Twitter’s then-chief executive, Jack Dorsey, later

  represented to Congress in 2020 that, after the New York Post’s release of its article, the platform

  enforced its 2018 Hacked Materials Policy, which prevented sharing certain links from that

  newspaper’s Twitter account, “publicly or privately,” but “[r]eferences to the contents of the

  materials or discussion about the materials were not restricted under the policy.” Ex. 137 at 6

  (Censorship and the 2020 Election: Hearing Before the S. Comm. on the Judiciary, 116th Cong.

  (2020), 2020 WL 13568471 (opening statement of Jack Dorsey, CEO, Twitter)). Application of

  the 2018 policy “prevent[ed] Twitter from being used to spread hacked materials.” Id. at 5. As a

  former attorney for Twitter, Vijaya Gadde, represented to Congress in 2023, Twitter initially

  decided the New York Post’s tweets about the story fell within that policy because the tweets

  contained “embedded images that looked like they may have been obtained through hacking,” and

  the result of Twitter’s initial decision was to “block[]” tweets and linked-to articles “embedding

  those source materials”—which did not prevent other “tweeting [about], reporting, discussing, or

  describing the contents of” the laptop. Ex. 2 at 5.

         158. But “Twitter then “changed its policy within 24 hours and admitted its initial action

  was wrong. This policy revision immediately allowed people to tweet the original articles with the

  embedded source materials.” Id. Or, as Mr. Dorsey put it, Twitter changed course, and it “quickly

  updated” its “policy to limit its scope to only cover the removal of materials shared by hackers

  directly,” and subsequently restored the New York Post’s account. Ex. 137 at 6. Mr. Dorsey further

  explained: “We made a quick interpretation, using no other evidence, that the materials in the

  article were obtained through hacking, and according to our policy we blocked them from being

  spread.” Ex. 14 at 3. And Mr. Dorsey noted that Twitter “admitted this action was wrong and

  corrected it within 24 hours.” Id.




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         159. As Mr. Roth further testified in 2023 about Russian interference in the 2016 election:

  “Twitter and the entire social media industry were frankly caught with their pants down in 2016

  and missed an opportunity to do the critical work of protecting election security.” Ex. 2 at 11. Mr.

  Roth testified that academics and researchers had reached this judgment after long study of Russian

  “active measures,” and that the most influential part of Russia’s campaign was the hack and leak

  in 2016 targeting John Podesta, Chairman of Hillary Clinton’s 2016 presidential campaign. Id. The

  incident involving Mr. Podesta served as “one of the animating concerns” for Twitter’s initial

  decision to limit the distribution of posts about the New York Post’s Hunter Biden story. Id. That

  decision was not motivated by coercion or pressure from the Federal Government. Id. No one from

  the Federal Government, the Biden campaign or the DNC directed asked Twitter to remove or take

  action against content concerning the New York Post story. Id. at 11, 25.

         160. Plaintiffs contend that Mr. Roth previously acknowledged in a December 2020

  declaration submitted in a Federal Elections Commission (“FEC”) proceeding that the Federal

  Government had informed Twitter of a potential hack and leak operation concerning Hunter Biden.

  PI Supp. 28. Yet Mr. Roth stated only that, in “regular meetings” he attended with the FBI, other

  Federal agencies, “and industry peers regarding election security,” he had “learned” that “there

  were rumors that a hack-and-leak operation would involve Hunter Biden.” Chan Ex. 8 (Roth Decl.)

  ¶¶ 10-11 (Dkt. 204-5). But Mr. Roth did not say in his 2020 declaration from whom he heard those

  rumors, or attribute them to Government personnel. Mr. Roth later clarified, in sworn

  congressional testimony in February 2023, that he intended to indicate in his FEC declaration that

  another social media company, not the Federal Government, had raised the possibility of a hack-

  and-leak operation concerning Hunter Biden. Ex. 2 at 11. Mr. Roth explained that the Federal

  Government did not share that perspective or provide information to Twitter concerning this issue.




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  Id.; see id. at 37 (“My recollection is that a representative of another tech company may have

  mentioned [the Hunter Biden hack-and-leak operation], but those meetings were several years ago.

  I truly don’t recall.”); id. at 43 (“I want to be clear that my statement to the FEC does not suggest

  that the FBI told me it would involve Hunter Biden. That’s a popular reading of the declaration

  but it was not my intent.”); id. at 46 (“My recollection is it was mentioned by another technology

  company in one of our joint meetings, but I don’t remember who.”). Documents that ASAC Chan

  sent to Twitter the “night before” the New York Post story broke “did not relate to Hunter Biden.”

  Id. at 12; see also Defs.’ Resp. PFOF ¶¶ 880-904.

         161. ASAC Chan testified that no one brought anything to do with Hunter Biden’s laptop

  to his attention before the New York Post’s publication on October 14, 2020. Chan Dep. 229:21-

  230:19. At one bilateral meeting between the FBI FITF and Facebook after October 14, 2020, one

  of Facebook’s analysts asked if FBI had any information to share about the Hunter Biden

  investigation or case, and FBI personnel answered that the FBI had no comment. Id. at 213:11-19,

  308:14-309:12. Other than the Facebook analyst’s inquiry and the FBI’s no-comment response,

  ASAC Chan was not aware of any communications related to the Hunter Biden laptop story

  between the FBI and Facebook, Chan Dep. 233:22-234:3, Twitter, id. at 233:8-21, Apple,

  Microsoft, id. at 234:6-7, or any other platform, id. at 234:4-5; see also id. at 227:24-228:1, 21-23,

  229:6-14 (testifying that he did not recall any Federal Government personnel mentioning Hunter

  Biden’s name during meeting with Twitter). (The FBI is not commenting on the relevant

  investigation, which is ongoing.) Ex. 138 at 36-37 (Annual World Wide Threats Hearing with

  Heads of the Intelligence Committee: Hearing Before H. Select Comm. on Intell., 118th Cong.

  (2023)).




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         162. ASAC Chan was not aware (until asked about the Roth Declaration at his deposition)

  of actions Twitter initially took to limit circulation of certain posts (containing “embedded source

  materials”) about the Post’s Hunter Biden laptop story. Id. at 232:18-21. As Mr. Roth explained,

  his “interactions with [ASAC] Chan and with the FBI almost entirely focused on what the FBI

  called malign[ ] foreign interference, things like Russian troll farms and Iranian involvement in

  the elections, not on any type of domestic” inquiry. Ex. 2 at 12.

         163. As to Meta, in the October 25, 2022 letter by that company’s counsel to this Court,

  the platform stated that ASAC Chan “at no point in time advised Meta ‘to suppress the Hunter

  Biden laptop story.’ Nor did any of his colleagues.” Ex. A, Dkt. 96 at 2-3. 51

                                        LEGAL STANDARD
         “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

  v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008); Anderson v. Jackson, 556 F.3d 351, 360 (5th

  Cir. 2009) (“Injunctive relief is an extraordinary and drastic remedy[] and should only be granted

  when the movant has clearly carried the burden of persuasion.”). Plaintiffs must “by a clear

  showing” establish that (1) they have a substantial likelihood of success on the merits; (2) they

  will suffer irreparable harm without an injunction; (3) the balance of equities tips in their favor;

  and (4) preliminary relief serves the public interest. Mazurek v. Armstrong, 520 U.S. 968, 972

  (1997). Failure to satisfy any one of these requirements precludes injunctive relief, see Allied Mktg.

  Grp., Inc. v. CDL Mktg., Inc., 878 F.2d 806, 809 (5th Cir. 1989), and Plaintiffs bear a heavy burden



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    Mr. Zuckerberg’s October 2020 congressional testimony that the FBI put the company on “alert”
  about a potential hack-and-dump operation does not show that ASAC Chan or the FBI advised
  Facebook regarding the “Hunter Biden Laptop Story.” PI Supp. 28; Pls.’ PFOF ¶ 902. ASAC Chan
  testified that what the FBI would have done was to ask the platform “how their terms of service
  would handle a situation” involving materials released from such an operation. Chan Dep. 247:22-
  248:1-4, 250:14-21. Twitter and Facebook said they would remove hacked materials if the
  platforms themselves were able to validate such materials were hacked. Id. at 252:24-253:4.


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  of persuading the district court that all four elements are satisfied, Enter. Int’l, Inc. v. Corporacion

  Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985). A plaintiff’s burden is even

  higher where, as here, it seeks a preliminary injunction that would alter the status quo. See, e.g.,

  Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976). Preliminary injunctions that go “well

  beyond simply maintaining the status quo” are “particularly disfavored[] and should not be issued

  unless the facts and law clearly favor the moving party.” Id.

                                              ARGUMENT
          Contrary to Plaintiffs’ hyperbole and speculation, the record confirms only that devoted

  civil servants did what government officials are expected to do: promote government policies,

  including through discussions with private parties, to help protect the public. See Walker v. Tex.

  Div., Sons of Confederate Veterans, Inc., 576 U.S. 200, 208 (2015) (“[A]s a general matter, when

  the government speaks it is entitled to promote a program, to espouse a policy, or to take a

  position,” otherwise “it is not easy to imagine how government would function”); Bd. of Regents

  of Univ. of Wis. Sys. v. Southworth, 529 U.S. 217, 235 (2000) (“the government” has the right to

  “speak[] . . . to promote its own policies or to advance a particular idea,” and to the extent “the

  citizenry objects, newly elected officials later could espouse some different or contrary position”);

  Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 598 (1998) (Scalia, J. concurring) (it is “the

  very business of government to favor and disfavor points of view on . . . innumerable subjects”);

  Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 833 (1995) (“when the

  government” seeks to “promote a particular policy of its own it is entitled to say what it wishes”).

          The evidence demonstrates that during a pandemic that cost over a million Americans their

  lives, officials from the White House and OSG promoted an “all of society” effort to overcome

  this challenge, the likes of which our nation had not experienced in over a century. See supra Defs.’

  PFOF § II.A.-B. Public health officials at CDC and NIAID communicated with social media


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  companies to help promote accurate health information and address the spread of misinformation

  that could threaten additional lives. See supra Defs.’ PFOF § II.C.-E. FBI officials likewise

  communicated with social media platforms to help identify malign foreign actors seeking to exploit

  social media to further their objectives and undermine our national security. See supra Defs.’

  PFOF § II.H. Similarly, officials at CISA sought to protect our democratic processes by sharing,

  with social media companies, reports received from persons of all political stripes, including from

  Plaintiffs Louisiana and Missouri, regarding election-related misinformation. See supra Defs.’

  PFOF § II.F. None of the evidence demonstrates that any government official coerced or

  effectively compelled any social media company to take any action regarding content on its

  platforms. Rather, Defendants, like officials in prior administrations, used the bully pulpit, and

  other means of communication, to promote public health and safety—again, precisely what

  government officials are supposed to do. Ultimately, the social media companies—large,

  independent corporations—decided for themselves what would be carried on their platforms.

         These types of government communications with social media companies are not unlawful,

  and indeed, are beneficial. Although Plaintiffs purport to argue otherwise, they point to no

  evidence demonstrating the type of coercion that the Supreme Court has held necessary to

  transform private decisions into state action. Instead, Plaintiffs ask this Court to recognize new

  legal theories of state action to justify a sweeping injunction that would hamstring, if not cripple,

  the Government’s ability to express its views on matters of critical public concern.

         Plaintiffs’ motion should therefore be denied on the merits. But even if the Court believes

  Plaintiffs’ legal theories have merit, Plaintiffs cannot establish any irreparable harm to justify a

  preliminary injunction that would impair the Federal Government’s ability to communicate with

  private companies to promote national security and public safety.




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  I.     Plaintiffs fail to satisfy their burden of demonstrating that irreparable harm would
         result in the absence of a preliminary injunction.
         Plaintiffs have not “clearly carried the burden of persuasion” to show imminent irreparable

  harm, Bluefield Water Ass’n v. City of Starkville, 577 F.3d 250, 253 (5th Cir. 2009) (citation

  omitted), as “is required for injunctive relief.” Montient Corp. v. Dondero, 529 F.3d 532, 538 (5th

  Cir. 2008) (emphasis added); 11A Charles Alan Wright, Arthur R. Miller & Mary Kay

  Kane, Federal Practice and Procedure § 2948.1 (3d ed. 2013) (“Perhaps the single most important

  prerequisite for the issuance of a preliminary injunction is a demonstration that if it is not granted

  the applicant is likely to suffer irreparable harm before a decision on the merits can be rendered.”).

  To show irreparable harm, Plaintiffs must demonstrate “a significant threat of injury from the

  impending action, that the injury is imminent, and that money damages would not fully repair the

  harm.” Humana, Inc. v. Jackson, 804 F.2d 1390, 1394 (5th Cir. 1986) (emphases added).

         Plaintiffs devote a mere two sentences of their 68-page supplemental brief to this

  indispensable factor. And they argue only that a preliminary injunction is warranted because they

  bring a First Amendment claim. PI Supp. 65. But merely asserting a First Amendment violation

  does not suffice. A First Amendment injury, like any other, must be imminent and non-speculative

  to satisfy the irreparable injury requirement. See Google, Inc. v. Hood, 822 F.3d 212, 227-28 (5th

  Cir. 2016) (“[I]nvocation of the First Amendment cannot substitute for the presence of an

  imminent, non-speculative irreparable injury.”); see also Elrod v. Burns, 427 U.S. 347, 373 (1976)

  (plurality opinion) (finding a preliminary injunction appropriate when it was “clear . . . that First

  Amendment interests were either threatened or in fact being impaired at the time relief was

  sought” (emphasis added)); Ark. Project v. Shaw, 775 F.3d 641, 663-64 (5th Cir. 2014) (“Federal

  courts are not obligated to grant an injunction for every violation of law,” and that the “court’s




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  power to order injunctive relief depends” on “whether plaintiffs have established . . . a reasonably

  certain threat of imminent harm.” (citation omitted)).

         To demonstrate irreparable harm at the preliminary injunction stage, Plaintiffs must adduce

  evidence showing that the irreparable injury is likely to occur “during the pendency of the

  litigation.” Justin Indus., Inc. v. Choctaw Secs., L.P., 920 F.2d 262, 268 n.7 (5th Cir. 1990)

  (emphasis added). After all, the very purpose of a preliminary injunction is “simply [to] preserve[]

  the status quo pending final determination of the action after a full hearing.” SEC v. First Fin.

  Group of Tex., 645 F.2d 429, 435 n.8 (5th Cir. Unit A 1981). Plaintiffs make no effort to meet their

  heavy burden as to this critical element of the preliminary injunction requirements. In their two-

  sentence argument, they point to no evidence at all substantiating their irreparable harm claim. See

  PI Supp. 65. And although they allege, elsewhere in their brief, see id. at 56-57, vaguely defined

  harms to their interests as speakers or listeners for standing purposes, those purported harms fall

  far short of satisfying Article III’s requirements of “concrete and particularized” and “actual or

  imminent” injury. Infra Arg. § II.A.1.; see also Defs.’ MTD 18-31; Defs.’ Reply in Supp. of MTD

  7-19 (“Defs.’ Reply”) (Dkt. 199). Much less do they show any irreparable injury likely to arise

  during the pendency of this suit on the merits.

         For several reasons, the record undermines Plaintiffs’ claimed need for immediate relief.

  First, Plaintiffs rely on harms arising from social media companies’ past content moderation

  decisions, which provide no basis for forward-looking injunctive relief, preliminary or otherwise.

  Plaintiffs’ assertion that those past harms are “ongoing” or “imminent” are contradicted by the

  evidence: Plaintiffs’ previously banned accounts have been restored and Plaintiffs point to no

  recent social-media content that others posted (or wished to post) to which Plaintiffs have been

  denied access because of a company’s content moderation decision. Second, as the Government’s




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  response to the pandemic and attacks on election infrastructure have evolved to meet new

  challenges and changed circumstances, much of Defendants’ conduct that Plaintiffs challenge is

  no longer occurring, and Plaintiffs have no entitlement to relief, especially preliminary injunctive

  relief, from conduct that has ceased. Moreover, Plaintiffs’ assertion that Defendants are

  “expanding censorship efforts,” PI Supp. 57, is speculative and unfounded. To support that

  assertion, Plaintiffs point to various policy statements and initiatives on issues relating to climate

  change, cyber bullying, and other topics unrelated to COVID-19 and election security—matters of

  public concern on which the Government is entitled to promote awareness as well as its own views

  on how they should be met. But Plaintiffs offer no evidence that any Defendant has spoken with a

  social media company about content moderation relating to such topics, or that any social media

  company moderates content relating to those topics (let alone that it does so at the demand of any

  Defendant).

         Finally, even if Plaintiffs could otherwise show any ongoing or imminent harm, Plaintiffs’

  delay in seeking relief undermines any conclusion that such harm is irreparable and warrants

  emergency injunctive relief. The conduct of which Plaintiffs complain began years ago (by their

  own admission), and yet Plaintiffs waited until last May to bring suit, after which they then sought

  discovery, which has consequently delayed any relief they could obtain from their preliminary-

  injunction motion by nearly a year. That delay alone proves the absence of irreparable harm.

         A. Plaintiffs cannot establish imminent, irreparable harm based on social media
            companies’ past content moderation decisions.
         To start, Plaintiffs cannot show imminent, irreparable harm based on the alleged past

  content moderation decisions of social media companies: “[h]arm that has already occurred,” of

  course, “cannot be remedied by an injunction.” Pham v. Univ. of La. at Monroe, 194 F. Supp. 3d

  534, 548 (W.D. La. 2016) (quoting Mountain Med. Equip., Inc. v. Healthdyne, Inc., 582 F. Supp.



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  846, 848 (D. Colo. 1984)) (emphasis added). Plaintiffs acknowledge that “past injury is not

  redressable by injunctive or declaratory relief.” PI Supp. 62 (citing Stringer v. Whitley, 942 F.3d

  715, 720 (5th Cir. 2019)). Yet they rely almost exclusively on content moderation decisions

  occurring long ago. The declarations supporting their request for emergency relief are nearly one

  year old—all of them executed in May or June 2022, before the Plaintiff States’ initial request for

  preliminary injunctive relief. Even those declarations point to actions taken by social media

  companies as long ago February 2021. Infra Arg. § I.A.1. Despite nearly one year’s time and

  access to voluminous discovery materials with which to update their declarations, Plaintiffs have

  adduced no evidence of recent content moderation decisions affecting their speech, or the speech

  of others with which they seek to engage. In the meantime, the social media accounts of the

  Individual Plaintiffs who were allegedly “permanently deplatformed” have apparently been

  restored. As explained further below, the outdated declarations and changed factual circumstances

  contradict Plaintiffs’ conclusory assertions that they are “experienc[ing] ongoing injury from

  censorship and face the imminent prospect of further censorship.” PI Supp. 57.

             1. The Individual Plaintiffs’ alleged harms stem from long-past content
                moderation decisions.
         The Individuals Plaintiffs’ declarations allege harms arising from past content moderation

  decisions affecting posts of their own or of other users they claim to follow. But those decisions

  primarily occurred between two and three years ago—in 2020 and 2021. See Bhattacharya Decl.

  ¶¶ 16-18 (Dkt. 10-3) (Google, Redditt, YouTube actions in February and March 2021); Kulldorff

  Decl. ¶¶ 9-15 (Dkt. 10-4) (Google, Redditt, YouTube actions in February and March 2021); id.

  ¶¶ 17-18 (Twitter and LinkedIn actions in 2021); Hoft Decl. ¶¶ 3, 6-8 (Dkt. 10-5) (Twitter action

  in January and February 2021); Kheriaty Decl. ¶ 11 (Dkt. 10-7) (Twitter action in 2020-2021);

  Hines Decl. ¶¶ 7-8 (Dkt. 10-12) (Facebook action in 2020). Even the most recent alleged content



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  moderation actions occurred, at the latest, in May 2022—roughly one year ago. Kulldorff Decl.

  ¶ 26 (LinkedIn action in January 2022); Hoft Decl. ¶ 14 (YouTube action in May 2022); Kheriaty

  Decl. ¶ 15 (Twitter action in 2021 and 2022); Hines Decl. ¶ 9 (Facebook action in January and

  May 2022).52 These actions, all of which had already occurred by “the time [Plaintiffs] brought

  this suit,” Pham, 194 F. Supp.3d at 548, cannot be remedied by any prospective injunctive relief,

  infra Arg. § II.A., and certainly not by immediate injunctive relief. 53 See generally Defs.’ Resp.

  PFOF ¶¶ 1367-1411.

         Nor do past content moderation decisions show any “ongoing” or “imminent” harm,

  despite Plaintiffs’ conclusory assertions. The Individual Plaintiffs attempt to show an ongoing or

  imminent injury affecting their own speech on social media in two ways. First, three of the

  Individual Plaintiffs (Kulldorff, Hines, and Hoft), see Pls.’ Mem. Opp’n to Defs.’ MTD at 9 (“Pls.’

  Opp’n to MTD”) (Dkt. 165) suggest that they are experiencing ongoing injury because one of their

  social media accounts had been “permanently suspended” or “banned.” See Hoft Decl. ¶ 8; Pls.’

  PFOF ¶ 1369 (referencing the Bhattacharya Declaration’s reliance on the alleged termination of

  Dr. Kulldorff’s LinkedIn account, see Bhattacharya Decl. ¶ 30); Pls.’ PFOF ¶ 1388 (referencing

  the Hoft Declaration’s allegation that the Gateway Pundit has been permanently banned from

  Twitter, see Hoft Decl. ¶ 8); Pls.’ PFOF ¶ 1399 (referencing the Hines Declaration’s allegation


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     Plaintiffs also reference content moderation decisions occurring at unspecified points in time.
  See, e.g., Bhattacharya Decl. ¶¶ 25-26 (asserting that Twitter “censored his tweet” and temporarily
  “locked [him] out of” his account “for three weeks” without specifying a date for either action),
  id. ¶¶ 28-29 (referencing conduct by Twitter at an unspecified past date). Their failure to identify
  when those decisions occurred necessarily means that they cannot show ongoing or imminent
  irreparable harm stemming from those decisions.
  53
     The non-party declarations attached to the Complaint suffer the same flaw. Changizi Decl. ¶ 18
  (Dkt. 10-9) (April 2021 Twitter conduct); id. ¶ 19 (June 2021 Twitter conduct); id. ¶¶ 20, 23
  (December 2021 Twitter conduct); Senger Decl. ¶¶ 4-7 (Dkt. 10-2) (October 2021 and March 2022
  Twitter conduct); Kotzin Decl. ¶ 13 (Dkt. 10-10) (September 2021 Twitter conduct); Kitchen Decl.
  ¶¶ 18, 32 (Dkt. 10-11) (September 2021 Medium conduct).


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  that Hines’ personal account was “restricted for 90 days,” see Hines Decl. ¶ 1254). But as of today,

  all three individuals’ accounts appear active: Kulldorff has an active LinkedIn page, see

  Declaration of Jasmine Robinson ¶ 2 (Ex. 139) (“Robinson Decl.”), Hines has an active Facebook

  page, id. ¶ 3, and the Gateway Pundit has an active Twitter account, id. ¶ 4. 55 See also Defs.’ Resp.

  PFOF ¶¶ 1369, 1388, 1399.

         Second, the Individual Plaintiffs contend that they are experiencing an ongoing injury

  because of their choice to “self-censor[] to avoid more severe penalties from the platforms.” Pls.’

  PFOF ¶ 1385; see also id. ¶ 1371 (Dr. Bhattacharya asserting that the companies’ “policies have

  driven scientists and others to self-censorship,” although not stating that he engages in “self-

  censorship” of his own speech), id. ¶ 1379 (“Dr. Kulldorff states that he and other scientists engage

  in self-censorship”), id. ¶ 1385 (“Dr. Kheriaty also engages in self-censorship”), id. ¶ 1394

  (“Hoft . . . describes ongoing self-censorship”), id. ¶ 1407 (“Hines engages in self-censorship”).

  Yet Plaintiffs’ own decision to limit what they say on social media or how they say it, based on a

  generalized fear of how any company might choose to apply its own policy, is a “self-inflicted

  injury” that does not confer standing, Zimmerman v. City of Austin, 881 F.3d 378, 389 (5th Cir.

  2018), and thus does not suffice to show irreparable harm warranting immediate injunctive relief.

  Plaintiffs nowhere specify what content they seek to post online that a social media company might

  decide to moderate. Even if they had so specified, “the risk that” any content they post


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     Hines also states that Facebook pages for two of her organizations, Health Freedom Louisiana
  and Reopen Louisiana, are “under constant threat of being completely deplatformed,” Hines Decl.
  ¶ 12, but she offers no evidence to substantiate that claim, and she does not allege that they ever
  have been “deplatformed.”
  55
     The same is true of non-party declarants Daniel Kotzin and Amanda J. Kitchen. Kotzin alleged
  that his Twitter account was permanently suspended, see Kotzin Decl. ¶¶ 12, 19, but he now
  appears to have an active account, Robinson Decl. ¶ 5 (Ex. 139). Kitchen alleged that her Twitter
  account was “shadowbanned,” see Kitchen Decl. ¶ 34, but she, too, appears to have an active and
  publicly viewable account, Robinson Decl. ¶ 6 (Ex. 139).


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  subsequently will be moderated by a social media company “is speculative and depends . . . on the

  actions of [those] third-party” companies. Id. at 390. That risk is particularly speculative here,

  where no Plaintiff identifies any content moderation measures applied to any of their posts in the

  last year. See, e.g., Defs.’ Resp. to Pls.’ PFOF ¶ 1396 (responding to Hoft’s claim to have

  “experience[d] censorship” up to the date he executed his declaration the year prior, “on May 14,

  2022”). Plaintiffs’ conclusory and speculative assertions to the contrary do not justify preliminary

  relief. Winter, 555 U.S. at 22 (plaintiffs must show that irreparable harm is “likely,” not just

  “possib[le]” “in the absence of an injunction”).

         Moreover, to the extent the Individual Plaintiffs allege an interest in listening to, reading,

  or interacting with speech on social media, they fail to establish any ongoing or imminent

  irreparable harm to that interest either. The Individual Plaintiffs assert their own interest in

  receiving speech on social media for the first time in their supplemental brief, but they do so in

  conclusory fashion, citing no evidence that they have been precluded from receiving any particular

  speech because of a social media company’s particular content moderation decision. See PI Supp.

  56 (arguing that “[t]he individual Plaintiffs assert violation of their First Amendment right to speak

  and listen freely without government interference,” but without specifying how such interests have

  been harmed). Indeed, the declarations they submitted nearly one year ago make no mention of

  any harm to their interests as “listeners” 56 as opposed to their interests as speakers. Instead, the

  Individual Plaintiffs assert an “interest in being able to read and follow the speech and writings

  that others post on social media” for the first time in their declarations supporting the motion to


  56
    The declarations generally assert harm to other users’ right to engage with certain content
  because of content moderation decisions affecting the declarants’ own speech. See, e.g., Kheriaty
  Decl. ¶¶ 9-10, 12, 14 (discussing his number of followers and ways in which they have allegedly
  been restricted from viewing Kheriaty’s posts). But they do not allege any harm to the declarants’
  own interest in receiving any other users’ speech.


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  amend the complaint and for class certification. See 2d Bhattacharya Decl. ¶ 4 (Dkt. 227-5). Even

  if the Court were to consider those declarations, their contents would not move the Individual

  Plaintiffs any closer to showing imminent, irreparable harm based on this newly asserted interest.

         Like Plaintiffs’ allegations of harm to their interest as speakers, the allegations relating to

  their interest as listeners are entirely conclusory, speculative, and vague. For instance, Dr.

  Bhattacharya declares that he is “aware of others [he] follow[s] on social media engaging in self-

  censorship,” 2d Bhattacharya Decl. ¶ 6, but he provides no factual details (including any

  timeframe) supporting that claim. He also asserts that he “frequently read[s] and listen[s] to the

  speech and writings on social media of other speakers and writers whom federal officials may have

  explicitly targeted for censorship,” and lists various names, id. ¶ 5 (emphasis added), but he

  nowhere elaborates how, when, or by whom those speakers may have been “targeted for

  censorship” and how or when he has actually been prevented from receiving any speech from them

  on social media. 57 The remaining declarations are similarly vague and conclusory. See 2d Kulldorff

  Decl. ¶ 5 (Dkt. 227-6) (alleging that he “read[s] the writings and/or listen[s] to the speech of others

  who have been targeted for censorship on social media,” without specifying how, when, or by

  whom those individuals have been “targeted for censorship”); 2d Kheriaty Decl. ¶¶ 5-6 (Dkt. 227-

  7) (same); 2d Hoft Decl. ¶¶ 6-7 (Dkt. 227-8) (same); 2d Hines Decl. ¶¶ 5-6 (Dkt. 227-9) (same).

  These assertions, devoid of any factual support, are woefully inadequate to show a likelihood of

  ongoing or imminent, irreparable harm to the Individual Plaintiffs’ interest in receiving speech on

  social media that can be attributed to any of the Defendants, much less all of them.


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     Other allegations are completely unconnected to the actions of a social media company and are
  thus irrelevant to the First Amendment claim in this case. See, e.g., 2d Bhattacharya Decl. ¶ 6
  (alleging that he has “heard from prominent signatories of the Great Barrington
  Declaration . . . [that] they have experienced” “retaliation” “at work for signing the document[]”
  (emphasis added)).


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         In short, none of the Individual Plaintiffs shows irreparable harm stemming from the

  content moderation decisions of social media companies.

             2. Plaintiff States’ alleged harms likewise stem from long-past content
                moderation decisions.
         Nor do the Plaintiff States show any imminent, irreparable harm based on social media

  companies’ content moderation decisions. Again, for the reasons explained in Defendants’ motion

  to dismiss, none of the States’ alleged harms constitutes a cognizable injury-in-fact for Article III

  standing. See Defs.’ MTD 18-31. Even assuming they did, they still do not support Plaintiffs’

  request for preliminary injunctive relief, as they hinge on long-past conduct and thus fall far short

  of showing any likelihood of imminent, irreparable harm.

         First, the Plaintiff States allege two instances of content moderation affecting their interest

  in speaking on social media. See 2d. Am. Compl. ¶ 461; Pls.’ Opp’n to MTD 15-16. Those events,

  however occurred in 2021. Pls.’ Opp’n to MTD 15-16. The States point to no interference with

  their own speech for nearly two years, much less interference for which Defendants could be

  deemed responsible.

         Second, the States purport to identify six other “forms of imminent, continuing, irreparable

  injury.” 2d. Am. Compl. ¶ 459. 58 Each of those alleged injuries, however, is derivative of their

  citizens’ interests in speaking or engaging on social media. See id. ¶ 460 (alleging an interest in

  enforcing the free speech rights of their citizens); id. ¶ 462 (alleging an interest in receiving their

  residents’ speech); id. ¶ 463 (alleging an interest in their residents’ ability to use social media to

  petition the States); id. ¶ 464 (alleging an interest in Dr. Bhattacharya having a greater “impact”



  58
     The Complaint alleges eight total interests, but Plaintiffs States have since abandoned their
  alleged interest in Dr. Bhattacharya’s speech having a greater “impact” on social media, 2d. Am.
  Compl. ¶ 464. See Defs.’ Reply 11 n.4; PI Supp. 57 (now asserting “seven specific” injuries, not
  including injury to Dr. Bhattacharya’s speech).


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  on social media); id. ¶¶ 465-66 (alleging quasi-sovereign interests in vindicating the free speech

  rights of their residents); id. ¶ 467 (alleging an interest in vindicating the speech of all “listeners,

  readers, and audiences of social-media speech”). But even assuming States could establish

  standing based on asserted injuries to their residents, contra, e.g., Kentucky v. Biden, 23 F.4th 585,

  596 (6th Cir. 2022) (citing Massachusetts v. Mellon, 262 U.S. 447, 486-86 (1923)), the States point

  to no recent content moderation decision affecting any of these asserted interests. Again, none of

  the Individual Plaintiffs’ (or the non-party social-media users’) declarations point to content

  moderation decisions occurring after May 2022. See Pls.’ PFOF ¶ 1431-42. The States present

  declarations from two employees who purport that the performance of their official duties has been

  impeded because of their inability to “follow” or “monitor” speech on social media, but those

  declarations likewise point to long-past conduct. Flesch Decl. ¶¶ 7-9 (Dkt. 10-6) (alleging impact

  from content moderation occurring, at the latest, in March 2022); Bosch Decl. ¶¶ 8-9 (Dkt. 10-13)

  (not including any details about the timing or circumstances of impact of alleged instances of

  moderated content).

          Just like the Individual Plaintiffs’ injuries, the States’ alleged injuries based on long-past

  conduct fall far short of showing any imminent, irreparable harm warranting immediate injunctive

  relief. See also Defs.’ Resp. PFOF ¶¶ 1427-1442.

          B. Plaintiffs cannot establish imminent, irreparable harm based on alleged past
             actions of federal officials.
          Nor can Plaintiffs show imminent, irreparable harm based on the past actions of Defendants

  that they allege caused social media companies to moderate content on their platforms. Plaintiffs,

  of course, are harmed by Defendants only to the extent that Defendants’ conduct can be said to

  have compelled social media companies to act with respect to particular content on their platforms

  that Plaintiffs wished to disseminate or receive. Bennett v. Spear, 520 U.S. 154, 169 (1997) (alleged



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  injuries cannot be “th[e] result [of] the independent action of some third party not before the

  court[]”). Thus, even assuming Plaintiffs could point to any current or imminent harm from a prior

  or future content moderation decision, they would still need to tie that harm to some ongoing or

  future conduct of a Defendant.

         That means that the prior conduct of Defendants is irrelevant and cannot be the basis of

  emergency injunctive relief absent any indication that it is likely to recur (and imminently so). For

  instance, CISA discontinued its switchboarding activities after the 2020 election as non-

  governmental organizations stepped in to perform that important function, and focused its

  resources on other initiatives aimed at promoting election integrity. Switchboarding efforts that

  ceased over two years ago could not compel any social media platform’s current or future content

  moderation decisions concerning election content on their platforms, and thus do not show ongoing

  or imminent irreparable harm. Yet the majority of the conduct Plaintiffs seek to enjoin is exactly

  this type of past, completed conduct by Defendants having no ongoing or future effect. A

  preliminary injunction against that conduct is not only unnecessary, but improper: it would also

  constitute an improper “advisory opinion” having no real-world effect on Plaintiffs’ First

  Amendment rights. See TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021) (“Under Article

  III, federal courts do not adjudicate hypothetical or abstract disputes.”). When assessing Plaintiffs’

  need for preliminary injunctive relief, then, the Court must disregard Defendants’ past conduct that

  Plaintiffs have not shown is likely to recur during the pendency of this lawsuit.

         The record does not show that the challenged actions of Defendants are occurring or are

  likely to recur during the pendency of this lawsuit.




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             1. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the White House Defendants.
         Plaintiffs’ claims against White House officials are based almost exclusively on public and

  private statements that occurred in 2021 at the height of a global pandemic that took more than a

  million U.S. lives. See supra Defs.’ PFOF § II.A. The vast majority of White House officials’

  statements cited by Plaintiffs concerned the critical public health threat posed by mis- and

  disinformation about COVID-19 vaccines, and vaccine hesitancy more specifically, see id.,

  especially during the initial rollout of the first COVID-19 vaccine. See, e.g., Ex. 140 at 1

  (MOLA_DEFSPROD_00018153). The White House shared these concerns with global

  institutions like the World Health Organization and the United Nations—as well as nearly every

  country around the world—that acknowledged the “infodemic” of COVID-19 misinformation that

  was spreading on social media. See Ex. 17; supra Defs.’ PFOF § I.C. To be clear, none of the

  White House officials’ statements about COVID-19 misinformation was unlawful or made the

  White House responsible for any independent decisions by the social media companies. Urging all

  sectors of society, including social media companies, to accept their role in the Nation’s collective

  effort to combat the coronavirus was (and remains) an essential element of the Government’s duty

  and responsibility to lead that effort. But even setting the merits question aside, Plaintiffs have set

  forth no evidence demonstrating that the White House is now so engaged with social media

  companies about COVID-19 misinformation as to raise even the specter, much less the probability,

  of imminent irreparable harm.

         To the contrary, the record shows that the White House’s approach to the COVID-19

  pandemic has markedly changed since 2021. In April 2023, President Biden signed a joint

  resolution into law that terminated the national emergency related to COVID-19, which had been

  in place since March 2020. See 137 Stat. 6. The declaration of national emergency did not merely



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  serve a signaling purpose, but rather reflected the Administration’s view of the pandemic and

  enabled the Administration to exercise certain statutory authorities necessary to respond to the

  crisis. See 85 Fed. Reg. 15,337. HHS’s public health emergency is likewise due to end on May 11,

  2023. See Ex. 67 at 1 (“[T]hanks to the administration’s whole-of-government approach to

  combatting the virus, we are in a better place in our response than we were three years ago, and

  we can transition away from the emergency phase.”). And later this month, the White House will

  wind down its COVID-19 Response Team, which was the primary coordinator of the

  Administration’s response to the pandemic and which included several White House officials who

  are Defendants in this action and whose communications Plaintiffs cite in support of their motion.

  There is, accordingly, no evidence in the record of any current White House engagement with

  social media companies concerning COVID-19 misinformation that would support a claim that

  injunctive relief against the White House is needed. See also Defs.’ Resp. PFOF ¶¶ 188-211.

             2. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to CISA Defendants.
         Plaintiffs’ arguments regarding CISA’s alleged violation of the First Amendment focus

  primarily on its switchboarding activities during the 2020 election cycle. PI Supp. 37-39. As noted

  above, CISA has re-focused its important election-security efforts elsewhere. Thus, CISA decided

  in April or May 2022 not to provide switchboarding services for the 2022 election cycle and has

  no intention of engaging in switchboarding for the next election. Scully Dep. 21:19-22:1-23; Hale

  Decl. ¶ 78 (Ex. 97). Indeed, the record shows that in 2022 CISA fulfilled its role of promoting

  election integrity through support for the development of two EI-SCC and EIS-GCC Joint

  Managing Mis/Disinformation Working Group guides to build resilience to misinformation;

  updates to the Rumor vs. Reality webpage; the development of the “Tactics of Disinformation”

  guide; Halloween-themed messages on social media to build awareness of the risks posed by



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  disinformation; a CISA-FBI public service announcement on information manipulation tactics

  concerning the 2022 midterm elections; and participation in the USG-Industry meetings, see Scully

  Dep. 303:10-304:5; Hale Decl. ¶¶ 64-69 (Ex. 97), but not through switchboarding.

         Nonetheless, Plaintiffs insist that CISA continues to engage in switchboarding activities

  “through the present day,” pointing to an outdated statement that previously appeared on CISA’s

  website. PI Supp. 37; Pls.’ PFOF ¶¶ 976, 1120. But Mr. Scully explained during his deposition

  that this statement was inaccurate and should be changed to indicate that CISA’s switchboarding

  efforts are no longer occurring, in addition to stating that CISA did not engage in switchboarding

  activities in 2022. Scully Dep. 21:19-22:23, 366:21-367; Hale Decl. ¶ 78 (Ex. 97) (explaining that

  CISA did not engage in switchboarding for the 2022 election cycle and has no intention to engage

  in switchboarding for the next election). CISA’s website subsequently has been updated. See Ex.

  141 (Foreign Influence Operations and Disinformation, CISA, https://perma.cc/F46N-KZDU).

         Plaintiffs also point to CISA’s alleged “collaboration” with the EIP. PI Supp. 45-47. But

  CISA’s involvement with the EIP was generally limited to connecting it with election stakeholders

  in advance of the 2020 election, receiving a briefing from EIP in May or June 2022 during which

  EIP shared its lessons learned from the 2020 election and plans for the 2022 election (which was

  to work with state and local election officials), and attending public briefings provided by the EIP.

  Scully Dep. 54:10-25; Hale Decl. ¶¶ 58, 60, 62 (Ex. 97). CISA is not presently conducting any

  work with the EIP, see Hale Decl. ¶ 63 (Ex. 97), and Plaintiffs thus cannot establish any imminent,

  irreparable harm on this basis.

         Finally, even if Plaintiffs contended that CISA’s meetings with social media companies in

  which misinformation generally was discussed violate the First Amendment (and they make no

  such argument), those meetings have largely ended as well. For example, CISA has not




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  participated in the USG-Industry meetings since the 2022 general election. Hale Decl. ¶ 69 (Ex.

  97). 59 Similarly, the CSAC Protecting Critical Infrastructure from Misinformation and

  Disinformation Subcommittee was directed to stand down in December 2022 because it had

  completed its tasking and provided its recommendations to CISA. See Ex. 187 at 43. And although

  the EI-SCC and EIS-GCC Joint Managing Mis/Disinformation Working Group (Working Group)

  is still ongoing, its relevant work has consisted of the publication of two guides to help state and

  local election officials and industry providers prepare for and respond to risks of disinformation.

  Hale Decl. ¶ 40 (Ex. 97) (And, in any event, the Working Group does not engage with social media

  companies and does not flag or report potential disinformation to those companies, id. ¶ 43).

         Plaintiffs cannot show any current or “certainly impending” irreparable harm from CISA’s

  past switchboarding activities, any involvement by CISA with the EIP, or CISA’s meetings with

  social media companies, as Plaintiffs have not shown that such activities are occurring or likely to

  recur during the pendency of this suit. See also Defs.’ Resp. PFOF ¶¶ 1094-1122.

             3. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the CDC Defendants.
         As to CDC as well, Plaintiffs’ challenge looks to past actions. First, Plaintiffs point to

  BOLO meetings involving CDC and social media companies, PI Supp. 32, but the record plainly

  shows that only two BOLO meetings ever took place, in May 2021, and there is no plan to restart

  those meetings now, two years later. Crawford Decl. ¶¶ 14-15 (Ex. 80). Second, Plaintiffs

  complain about “Facebook provid[ing] the CDC with regular biweekly ‘CrowdTangle’ reports,”

  PI Supp. 31, but Facebook stopped sending those reports to CDC in December 2021, supra Defs.’

  PFOF § II.C.6., and Plaintiffs reference no record evidence showing any intent by Facebook to


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     Plaintiffs’ factually unsupported claim that “[t]he MDM Team continues to communicate
  regularly and extensively with social-media platforms about misinformation and disinformation,”
  Pls.’ PFOF ¶ 978, is therefore incorrect. See Defs.’ Resp. to PFOF ¶ 978.


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  send them in the future. Third, Plaintiffs refer to questions Facebook posed to CDC about whether

  certain claims about COVID-19 and vaccines are false and can lead to vaccine hesitancy, because,

  in response to CDC’s responses, Facebook may have chosen to remove certain claims. PI Supp.

  32-33. They also point to similar requests from Google and Twitter. Id. But the last request about

  which Plaintiffs complain was made in the summer of 2022. Crawford Decl. ¶ 19 (Ex. 80). In any

  event, even if any of the above conduct were presently occurring, it would not constitute evidence

  of irreparable harm to Plaintiffs. None of the above provides evidence that any company is taking

  or will take action against particular speech (including speech by a Plaintiff) on its platform

  because it was coerced or effectively compelled by, or acting jointly with, the CDC Defendants.

         Additionally, Plaintiffs assert that CDC “has regular meetings with social-media platforms

  about misinformation.” PI Supp. 31. As a threshold matter, although CDC had “regular meetings”

  with certain platforms for a period of time, misinformation was only occasionally, and not

  regularly, discussed at those meetings. In any event, with the exception of Google, CDC has not

  had “regular meetings” with a social media company, about any matter, since 2021, see PI Supp.

  31 (referencing PFOF paragraphs that cite emails documenting meetings during 2020 and 2021);

  rather, any meetings now are “more ad hoc.” Crawford Dep. 180:16-21; see also Crawford Decl.

  ¶¶ 6-12 (Ex. 80). And even as to CDC’s ongoing meetings with Google, there is no evidence that

  any such meeting has touched on anything relating to misinformation since March 2022, more than

  one year ago. Crawford Decl. ¶ 11 (Ex. 80).

         Finally, as explained, supra Arg. § II.C.2., Plaintiffs misstate the record when they argue

  that CDC is “focusing on other topics” relating to misinformation “and communicating with

  platforms about” those topics as well. See PI Supp. 33. The testimony Plaintiffs cite for this

  assertion shows the opposite: In June 2022, Google asked for CDC’s input on the veracity of health




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  claims unrelated to COVID-19 and vaccines, but CDC did not substantively answer the inquiry

  because it concerned a topic that CDC had not “dealt with.” Crawford Dep. 256:11-16. Thus,

  Plaintiffs’ counterfactual allegation that CDC is expanding the breadth of topics discussed with

  social media companies shows no irreparable harm. Regardless, even if CDC were communicating

  with a social media company about any topic relating to misinformation, that would not be enough

  on its own to show irreparable harm; again, Plaintiffs cite no evidence that a company is taking or

  will take action against speech (including speech by a Plaintiff) on its platform because of coercion

  or effective compulsion by, or joint participation with, the CDC.

         In short, Plaintiffs cannot show any current or certainly impending irreparable harm from

  CDC’s past BOLO meetings, CDC’s receipt of CrowdTangle reports, actions taken by social

  media companies in response to CDC’s provision of scientific conclusions, or any “regular

  meetings” between CDC and “social-media platforms about misinformation.” While CDC remains

  committed, in the event of a future public-health emergency such as COVID-19, to promote public

  understanding of the disease, its dangers, prevention, and treatment, Plaintiffs point to no conduct

  in which CDC is now engaged, or soon likely to engage, as evidence of ongoing or imminent

  irreparable harm. The motion for preliminary injunction against CDC should be denied.

             4. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the Census Defendants.
         Plaintiffs include Census in their request for preliminary relief for one reason: Census

  advised and assisted CDC in 2021, pursuant to an Interagency Agreement, in connection with

  CDC’s efforts to address COVID-19 misinformation on social media. PI Supp. 31-32. Specifically,

  Census helped CDC host the two May 2021 BOLO meetings and worked with CDC to identify

  examples of misinformation circulating on the platforms. Supra Defs.’ PFOF § II.D. But Census’

  past involvement with CDC—nearly two years ago—plainly provides no basis for preliminary



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  injunctive relief, and Plaintiffs offer no evidence that such involvement is likely to recur during

  the pendency of this suit. The motion for preliminary injunction against Census should be denied.

             5. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to Dr. Fauci, in his former capacity as NIAID Director.
         Plaintiffs’ requested injunction against NIAID is based solely on alleged past conduct by

  Dr. Fauci while he was the agency’s Director. Dr. Fauci was a leading figure in the Nation’s

  struggle against the coronavirus, and as such frequently used the bully pulpit to educate the

  American people about the virus and appropriate measures to protect themselves against it. But

  Dr. Fauci has retired from NIAID. Dr. Fauci cannot engage in any future government conduct on

  which Plaintiffs may stake their claimed need for preliminary injunctive relief (or any injunctive

  relief at all). Indeed, Plaintiffs do not even argue that they will likely be subject to imminent

  irreparable harm absent a preliminary injunction against NIAID. See PI Supp. 63-64 (arguing only

  that CDC, CISA, and White House officials are engaged in present-day conduct that is likely to

  cause “ongoing” or “imminent” injury). The motion for preliminary injunction against NIAID

  should be denied. 60

             6. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the GEC Defendants.
         Although their filings are not entirely clear on this point, Plaintiffs appear to allege that the

  GEC’s reporting of misinformation to the EIP during the 2020 election cycle violates the First

  Amendment. PI Supp. 48. But Plaintiffs fail to explain how they are suffering any imminent,

  ongoing harm based on conduct that happened more than two years ago.

         During the 2020 election cycle, the GEC discovered certain posts and narratives on social



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     Additionally, because Plaintiffs do not allege any conduct by NIAID whatsoever that is
  independent of Dr. Fauci’s conduct while he was the Institute’s Director before retiring, it is
  unclear on what basis NIAID remains a Defendant in this case at all.


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  media and digital media that originated from, were amplified by, or likely to be amplified by

  foreign malign influence actors—like Russia, the People’s Republic of China, Iran, and their

  proxies—that sought to spread propaganda or disinformation about the 2020 election. See Bray

  Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP on approximately 21

  occasions. Id. Presently, the GEC is not doing any work with the EIP, id. ¶ 19, and there is no

  evidence that the GEC will do so in the future. Accordingly, Plaintiffs cannot establish any

  imminent, irreparable harm based on the GEC’s submission of a limited number of tickets

  regarding foreign malign influence to the EIP during the 2020 election cycle.

                                               *   *     *
         Perhaps acknowledging the absence of imminent, irreparable injury based on the

  allegations raised in their Complaint and their preliminary-injunction motion, Plaintiffs assert a

  new form of imminent harm in their supplemental brief—one stemming from what they describe

  as an alleged “expan[sion]” by Defendants of “their censorship efforts.” PI Supp. 57-58. In support

  of this conclusory argument, Plaintiffs cite public policy statements or initiatives by various

  Federal officials (some of whom are no longer in government 61). Id. (alleging that the White

  House, CDC, CISA, DHS, and the EIP are “expanding” their efforts to “censor[]” speech on social

  media). But Plaintiffs fail to connect the alleged policy statements or initiatives in any way to any

  content moderation policies or actions of any social media company. See id. (citing various

  statements by Defendants without pointing to any resulting content moderation decision by a social



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     For instance, Plaintiffs spend several paragraphs in their PFOFs on reported statements by
  former White House National Climate Advisor Gina McCarthy in June 2022. See Pls.’ PFOF
  ¶¶ 201-03. Ms. McCarthy is no longer the White House National Climate Advisor, see Defs.’
  Notice of Substitution at 2, and in any event, these statements were made nearly one year ago and
  thus show no imminent future harm. Nor do Plaintiffs allege that any social media company has
  taken action against any particular content as a result of Ms. McCarthy’s comments on this single
  occasion in June 2022.


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  media company). For that reason alone, Plaintiffs’ speculative “expansion” theory should be

  disregarded. The Government’s conduct, of course, can only cause injury to the Plaintiffs and is

  only relevant to Plaintiffs’ First Amendment claims to the extent Plaintiffs allege and prove that it

  has actually compelled a particular content moderation decision by a social media company. In

  other words, mere policy statements or government initiatives do not constitute the First

  Amendment violation alleged here: the suppression of online content. But choices made by social

  media companies to moderate content on their platforms become state action attributable to

  Defendants only if Defendants’ policy statements, initiatives, or other communications actually

  coerce or effectively compel a social media company into taking such actions. Blum v. Yaretsky,

  457 U.S. 991, 1004 (1982). Plaintiffs’ failure to connect the dots between the alleged “expan[ded]”

  government conduct and the actions of any social media company means they necessarily lack

  standing, or any First Amendment claim, relating to this conduct, and is a fortiori reason enough

  to dismiss these allegations as not probative of any irreparable harm.

         By way of example, Plaintiffs point to the “Memorandum on the Establishment of the

  White House Task Force to Address Online Harassment and Abuse,” issued by the President in

  June 2022. See PI Supp. 57 (citing Pls.’ PFOF ¶ 204, in turn citing Pls.’ Jones Decl., Ex. N. (Dkt.

  214-16) (“Memorandum”)). The Memorandum reflects a legitimate exercise of the President’s

  inherent constitutional duty and authority to study matters adversely affecting the public welfare

  and to recommend appropriate solutions. It establishes a Task Force charged with “lead[ing] an

  interagency effort to address online harassment and abuse, specifically focused on technology-

  facilitated gender-based violence, and . . . develop[ing] concrete recommendations to improve

  prevention, response, and protection efforts through programs and policies in the United States

  and globally.” Memorandum § 1.




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         Plaintiffs do not articulate what imminent, irreparable harm they face as a result of the Task

  Force or this nearly year-old Presidential Memorandum. Importantly, they do not assert that a

  social media company has taken, or plans to take, action against any content on its platform—

  much less action that would affect Plaintiffs’ First Amendment interests—because it felt

  compelled to do so by any directive in the Presidential Memorandum. They do not even point to

  any language in the Memorandum itself that purports to require social media companies to take

  any particular action concerning content on their platforms. 62 Plaintiffs reference the

  Memorandum’s directive that the Task Force “submit periodic recommendations to the President

  on policies, regulatory actions, and legislation on technology sector accountability,” id. § 5(c), but

  a general instruction to provide recommendations for potential regulation, which is undefined and

  may never be adopted, does not amount to a threat to social media companies to take any specific

  action. Plaintiffs also fault the Memorandum’s use of the phrase “gendered disinformation,” but

  they do not contend that any social media company will imminently moderate content that it deems

  to be “gendered disinformation.” The same is true of Plaintiffs’ remaining assertions of imminent

  harm based on Defendants’ alleged “expanding . . . censorship efforts,” which take scattershot aim




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      Moreover, Plaintiffs omit from their narrative that the Task Force carrying out the
  Memorandum’s directives issued an initial “blueprint” for implementing the Memorandum, which
  further undermines Plaintiffs’ speculations that they face imminent, irreparable harm. See Ex. 143
  at 1 (EXECUTIVE SUMMARY: Initial Blueprint for the White House Task Force to Address
  Online Harassment and Abuse, The White House (Mar. 3, 2023)). The blueprint, which was
  summarized online by the White House on March 3, 2023, does not purport to direct social media
  companies to remove any category of speech from their platforms. See id. Rather, it recommends
  actions such as “strengthening coordination among Federal, state, Tribal, territorial and local law
  enforcement agencies to investigate and prosecute cyberstalking, image-based abuse, sextortion,
  and child sexual exploitation online,” among other things. Id. There is no obvious connection
  between Plaintiffs’ purported interest in speech on social media and the work initiated by the
  Memorandum and summarized in the blueprint, and Plaintiffs make no effort to draw such a
  connection.


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  at various policies without articulating any connection to the conduct of a social media company.

  See PI Supp. 57-58; Pls.’ PFOF ¶¶ 998, 188-211, 1106-16. 63

         Plaintiffs’ failure to even attempt to draw such a connection illustrates that what Plaintiffs

  ultimately seek to enjoin is not the Defendants’ purported coercion of social media companies, but

  instead the Executive’s use of its inherent authority to resort to all available channels of

  communication, including but not limited to the “bully pulpit,” to educate the public on the

  challenges we confront as a Nation and the measures that can and should be taken to overcome

  them. See Pleasant Grove City v. Summum, 555 U.S. 460, 468 (2009). But the First Amendment

  is not a tool for States, or individuals, to seek to muzzle the President or other Federal officials

  from generally expressing particular policy views or taking particular actions with which they

  disagree. The Government is free to “express[] a viewpoint,” and “the First Amendment d[oes]

  not demand that the Government balance [its] message” to “maintain viewpoint neutrality.” Matal

  v. Tam, 582 U.S. 218, 234-35 (2017). “When a government entity embarks on a course of action,

  it necessarily takes a particular viewpoint and rejects others.” Id. at 234. Plaintiffs cannot show

  any Article III injury, much less an irreparable one, stemming from government statements and

  policy initiatives simply because they disagree with them. As none of the “expanded” conduct that

  Plaintiffs now seek to challenge is alleged to have coerced or otherwise induced any social media

  company into taking any particular action, much less action that injures any of the Plaintiffs, it

  cannot be the basis for awarding any injunctive relief.




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     Plaintiffs argue that CDC is also expanding into “other topics,” but, as explained, the evidence
  contradicts Plaintiffs’ allegations. Infra Defs.’ PFOF § II.C.2. Ms. Crawford simply testified that
  CDC provides public health information on “other topics” beyond COVID-19; however, Plaintiffs
  cite no evidence showing that CDC has substantively responded to a social media company’s
  request for health information on any “other topics.” See id.


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         C. Plaintiffs’ delay in seeking relief shows there is no immediate need for an
            injunction.
         Even if Plaintiffs could show any ongoing or imminent harm arising from actions occurring

  as far back as 2020, their substantial delay in seeking relief decisively undermines any assertion

  that such harms are irreparable. In First Amendment cases, as in any other, the “party requesting a

  preliminary injunction must generally show reasonable diligence.” Benisek v. Lamone, 138 S. Ct.

  1942, 1944 (2018) (citing Holmberg v. Armbrecht, 327 U.S. 392, 396 (1946)); id. at 1945 (finding

  that, in a First Amendment political retaliation case, the “plaintiffs’ unnecessary, years-long delay

  in asking for preliminary injunctive relief weighed against their request”). “Absent a good

  explanation, a substantial period of delay militates against the issuance of a preliminary injunction

  by demonstrating that there is no apparent urgency to the request for injunctive relief.” H.D. Vest,

  Inc. v. H.D. Vest Mgmt. & Servs. LLC, No. 3:09-CV-00393, 2009 WL 1766095, at *4 (N.D. Tex.

  June 23, 2009); see also Shenzhen Tange Li’An E-Com., Co. v. Drone Whirl LLC, No. 1:20-CV-

  738, 2020 WL 5237267, at *4 (W.D. Tex. Sept. 2, 2020) (“Plaintiffs’ delay in seeking injunctive

  relief suggests a lack of urgency[.]”); Citibank, N.A, v. Citytrust, 756 F.2d 273, 276 (2d Cir. 1985)

  (“Delay in seeking enforcement of [the asserted] rights . . . tends to indicate at least a reduced need

  for . . . drastic, speedy action.”); Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151,

  163 (1st Cir. 2004) (“[D]elay between the institution of an action and the filing of a motion for

  preliminary injunction, not attributable to intervening events, detracts from the movant’s claim of

  irreparable harm.”); Ty, Inc. v. Jones Group, Inc., 237 F.3d 891, 903 (7th Cir. 2001) (“Delay in

  pursuing a preliminary injunction may raise questions regarding the plaintiff’s claim that he or she

  will face irreparable harm if a preliminary injunction is not entered.”); Young v. Motion Picture

  Ass’n of Am., Inc., 299 F.2d 119, 121 (D.C. Cir. 1962) (“The delay in filing this action negatives

  any finding of urgency necessary to justify the interlocutory relief sought.”).



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         Courts have found that even a delay of “five months” or less “is sufficient to rebut a

  presumption of irreparable harm.” H.D. Vest, Inc., 2009 WL 1766095, at *4; see also Boire v. Pilot

  Freight Carriers, Inc., 515 F.2d 1185, 1193 (5th Cir. 1975) (finding that a delay of three months

  cut against granting immediate relief). Even a delay of ten weeks may be enough to show an

  absence of “urgent need for speedy action to protect [a] plaintiffs’ rights” through the issuance of

  a preliminary injunction. Citibank, 756 F.2d at 276.

         Here, Plaintiffs have not waited mere months before seeking relief—they have waited

  years. Their Complaint alleges that Defendants or their “political allies” have been making threats

  against social media platforms “since at least 2018,” see, e.g., Pls.’ PFOF ¶ 1 (emphasis added),

  and that they “expanded” their alleged “efforts” to coerce or collude with social media companies

  as soon as the Biden Administration took office in January 2021, see, e.g., 2d. Am. Compl. ¶ 203.

  The Complaint further alleges that social media platforms began “respond[ing] to” such alleged

  “threats” “[s]tarting in or around 2020, if not before.” Id. ¶ 189 (emphasis added). And this past

  conduct was not newly discovered at the time Plaintiffs filed their Complaint—the vast majority

  of statements and other conduct at issue (e.g., White House press conferences and Facebook Live

  events with Dr. Fauci, among other things) was public at the time they occurred. Indeed, since

  early 2020, Facebook has touted the efforts it has taken to promote accurate content about COVID-

  19 from global and local health experts, including the WHO and CDC. See Ex. 144 at 19-20, 50-

  49 (Kang-Xing Jin, Keeping People Safe & Informed About the Coronavirus, Meta (Dec. 18,

  2020), https://perma.cc/2VJL-N2L5) (February 26, 2020 update explaining that Facebook

  “direct[s] people to information from” CDC and the WHO; April 7, 2020 update discussing work

  with CDC). Yet Plaintiffs waited until May 2022 to bring this suit, see Compl. (Dkt. 1) (filed on

  May 5, 2022), and then waited another 40 days to move for preliminary relief, see PI Mot. (Dkt.




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  10) (filed on June 14, 2022). The preliminary-injunction motion has now been pending for nearly

  a year while Plaintiffs have sought voluminous discovery. Plaintiffs’ nearly one-year-old request

  for relief from conduct that has been occurring since at least 2018 is anything but urgent.

         Nor have Plaintiffs uncovered any new conduct during the pendency of this suit that

  arguably could justify their belated request for injunctive relief. Despite receiving thousands of

  pages of documents and dozens of interrogatory responses and taking the depositions of multiple

  federal officials, the allegations on which Plaintiffs rest their purported need for preliminary

  injunctive relief are largely the same as those asserted in their initial Complaint in May 2022 or in

  their Second Amended Complaint in October 2022. And as to Plaintiffs’ conclusory assertion that

  “Defendants have expanded their social-media censorship activities” “[s]ince this lawsuit was

  filed,” Pls.’ PFOF ¶ 200 (but see supra Arg. § I.B.), Plaintiffs cite public statements or reports by

  various officials between June and August 2022, many months in the past.

         Even if all of the conduct Plaintiffs challenge remained ongoing, Plaintiffs’ failure to seek

  relief for such a substantial period of time undermines any urgency to grant that relief now, before

  the case is resolved on the merits. Because Plaintiffs fail to carry their heavy burden of showing

  irreparable harm—the most important factor for any request for preliminary injunctive relief—

  their motion for preliminary injunction should be denied.

  II.    Plaintiffs fail to show a likelihood of success on the merits.
         A. Plaintiffs lack Article III standing to bring any of their claims.
         For the reasons explained in Defendants’ memorandum in support of their motion to

  dismiss, Defs.’ MTD 16-43, Plaintiffs lack Article III standing to bring any of their claims.

  Although the Court held, in ruling on that motion, that Plaintiff States and the Individual Plaintiffs

  plausibly alleged Article III standing, see MTD Order 18-48 (Dkt. 224), Defendants respectfully

  disagree with the Court’s analysis for the reasons stated in support of their motion to dismiss, and


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  hereby incorporate by reference and reassert those arguments in opposition to Plaintiffs’ request

  for preliminary relief.

         But even assuming Plaintiffs had alleged standing with sufficient plausibility to withstand

  a motion to dismiss, they fail to provide the evidence necessary to maintain standing for purposes

  of obtaining preliminary relief. As the parties invoking this Court’s jurisdiction, Plaintiffs “bear

  the burden of establishing” the elements of Article III standing. Lujan v. Defs. of Wildlife, 504 U.S.

  555, 561 (1992). Since these elements “are not mere pleading requirements but rather an

  indispensable part of the plaintiff’s case, each element must be supported [] with the manner and

  degree of evidence required at the successive stages of the litigation.” El Paso Cnty. v. Trump, 982

  F.3d 332, 337–38 (5th Cir. 2020) (quoting Lujan, 504 U.S. at 561). And “[b]ecause a preliminary

  injunction ‘may only be awarded upon a clear showing that the plaintiff is entitled to such relief,’

  the plaintiffs must make a ‘clear showing’ that they have standing to maintain the preliminary

  injunction.” Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017) (citing cases). At this stage, then,

  Plaintiffs may not rest on “general allegations,” Lujan, 504 U.S. at 561, but must allege specific

  facts clearly showing that they likely meet each Article III standing element to sustain their claims

  on the merits, Barber, 860 F.3d at 352.

         Plaintiffs fail to make a clear showing that they have Article III standing for purposes of

  obtaining preliminary relief. They attempt to support their factual allegations with nearly year-old

  declarations, which make conclusory assertions contradicted by the record. Instead of presenting

  specific evidence of a current or imminent injury-in-fact fairly traceable to Defendants and likely

  to be remedied by injunctive relief, Plaintiffs’ supplemental brief posits new legal theories in

  attempts to evade well-established standing requirements. These efforts fail.




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             1. Plaintiffs fail to establish any injury-in-fact.
         Plaintiffs raise two new arguments that they have suffered an injury-in-fact. Both lack

  merit. First, Plaintiffs contend that the deposition testimony by CDC’s Director of Digital Media

  somehow constitutes an endorsement of the Plaintiff States’ purported “interest in being able to

  read and follow the uncensored speech and opinions of their constituents on social media.” PI

  Supp. 57. But even assuming the witness had testified about her views of the States’ alleged

  injuries—and she did not 64—her personal views would have no bearing on the legal question

  whether the States have asserted a cognizable injury to a sovereign or quasi-sovereign interest that

  they may vindicate in litigation against the Federal Government. They have not. As explained in

  Defendants’ motion to dismiss, among the various reasons the States’ all-encompassing right-to-

  receive-speech theory of standing fails, it is an overly broad and generalized grievance—an interest

  that the Supreme Court has consistently rejected as a basis for constitutional standing. See Defs.’

  MTD 24 (citing, e.g., Whitmore v. Arkansas, 495 U.S. 149, 160 (1990)). Second, Plaintiffs assert

  that they “face the imminent prospect of further” injury because of Defendants’ purported

  “expanding . . . censorship efforts.” PI Supp. 57. That argument fails for the reasons stated above.

  Supra Arg. § I.B.

         Moreover, these arguments do not shore up the factual deficiencies in Plaintiffs’

  allegations. As explained, Plaintiffs’ allegations of injury rest on dated declarations that focus on

  long-past conduct of Defendants and social media companies and shows that Plaintiffs’ purported

  fears of imminent injury stemming from a company’s content moderation decision are entirely

  speculative. Supra Arg. § I.A-B; see also Defs.’ Resp. PFOF ¶¶ 1367-1411, 1427-1442. And even

  if Plaintiffs had submitted any evidence of imminent harm from a social media company’s content


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    Rather, the testimony related to CDC’s use of Facebook’s CrowdTangle tool. See Crawford Dep.
  53:4-54:20, 57:22-58:3, 75:10-76:1, 81:10-14.


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  moderation decision, their conclusory assertions fall far short of making the “clear showing,”

  Barber, 860 F.3d at 352, required to attribute those decisions to the conduct of any Defendant,

  infra Arg. § II.A.2.—particularly when much of Defendants’ challenged conduct occurred in the

  past and is unlikely to recur during the pendency of this litigation, supra Arg. § I.B. In short,

  Plaintiffs’ failure to submit any evidence of actual or imminent harm is fatal to their efforts to

  show injury-in-fact, even assuming the alleged injuries are legally cognizable.

             2. Plaintiffs fail to establish traceability and redressability.
         Plaintiffs also cannot satisfy the causation and redressability requirements. To establish

  causation, they must show, with evidence, that any content moderation actions that social media

  companies are taking, or will imminently, take against them will occur as a “consequence of” or

  “as a result of” the challenged communications by Defendants. Ford v. NYLCare Health Plans of

  Gulf Coast, Inc., 301 F.3d 329, 333 (5th Cir. 2002). To satisfy this standard, Plaintiffs must show

  that those content moderation actions would not occur “in the absence of” those communications.

  Id. “Causation” is not established if their alleged “injuries” are “the result of the independent

  action[s] of . . . third party” social media companies that are “not before the court.” Inclusive

  Cmtys. Project, Inc. v. Dep’t of Treasury, 946 F.3d 649, 655 (5th Cir. 2019). Plaintiffs thus cannot

  establish the requisite causal link if the content moderation actions at issue may just as well have

  occurred “as a result of” factors “unrelated to” Defendants’ communications, such as the social

  media companies’ independent judgment that content moderation is inherently valuable and/or

  economically advantageous. Ford, 301 F.3d at 333; see also generally Gurrea Decl. (Ex. 1).

         Nor can Plaintiffs establish redressability based on mere speculation that an injunction

  against the challenged conduct would influence platforms’ regulation of Plaintiffs’ speech. “To

  satisfy redressability, a plaintiff must show that ‘it is likely, as opposed to merely speculative, that

  the injury will be redressed by a favorable decision.’” Inclusive Cmtys., 946 F.3d at 655. If an


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  injunction against government conduct could “just as easily have no” effect on the content

  moderation actions social media companies may take against Plaintiffs, id. at 660, then Plaintiffs

  do not have standing.

          Plaintiffs raise three new arguments in favor of the Article III causation and redressability

  requirements. Each is meritless. First, relying on tort and antitrust cases, Plaintiffs contend that

  they are likely to establish traceability on “aiding and abetting” and “conspiracy” theories. PI Supp.

  59. They further contend that, because Defendants have engaged in “aiding and abetting” and

  “conspiracy,” the Court need not concern itself with the maxim that “Article III . . . requires that a

  federal court act only to redress injury that fairly can be traced to the challenged action of the

  defendant, and not injury that results from the independent action of some third party not before

  the court.” Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 42-43 (1976). Plaintiffs cannot

  sidestep applicable Article III requirements merely by invoking concepts of “aiding and abetting”

  and “conspiracy” and arguing for their application here in novel and abstract ways. The cases on

  which Plaintiffs rely do not involve requests for injunctive relief, but rather requests for damages,

  where a monetary recovery from any defendant would redress the plaintiff’s injuries, thus largely

  reducing the standing issue to questions of substantive aiding-and-abetting and conspiracy law.

          Second, Plaintiffs argue that “even assuming” that the connection between Defendants’

  conduct and Plaintiffs’ “other injuries” is “too attenuated,” “the injuries to the individual Plaintiffs’

  First Amendment rights and to [the] Plaintiff States’ quasi-sovereign interests would still be fairly

  traceable to Defendants’ conduct.” PI Supp. 60. Plaintiffs’ argument in support of this contention

  is not a model of clarity. But to the extent Plaintiffs mean to argue that the traceability requirement

  is easier to meet in connection with the asserted First Amendment interests of the individual

  Plaintiffs and the States’ citizens, see id., they are mistaken. Traceability, like injury-in-fact and




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  redressability, is an essential element of the “‘irreducible constitutional minimum of standing,’”

  which plaintiffs in federal court “always have the burden to establish,” Barber, 860 F.3d at 352

  (quoting Lujan, 504 U.S. at 560), even where free-speech interests are at stake. see, e.g., Garzes v.

  Lopez, 281 F. App’x 323, 325-26 (5th Cir. 2008). Indeed, traceability is “substantially more

  difficult to establish” in cases such as this one, where plaintiffs challenge the government’s

  conduct towards third parties. Defs. of Wildlife, 504 U.S. at 562 (emphasis added) (citation

  omitted). Plaintiffs must show, as a factual matter, that any actions taken against them by social

  media companies are attributable to the allegedly unconstitutional government coercion of those

  private actors. And to obtain prospective relief in particular, they must show a non-speculative

  likelihood that future government actions will affect platforms’ conduct toward them—a showing

  they cannot come close to making. Plaintiffs’ contention that the traceability requirement is

  necessarily met here misses the mark. 65

         Finally, Plaintiffs assert that there is “overwhelming evidence” that Defendants’ actions

  are the “direct and but-for cause” of their injuries and that those injuries would be redressed by

  their proposed injunction, PI Supp. 60, and they purport to provide several supporting “examples.”

  The evidence shows, however, that social media companies took independent action to moderate

  content on their platforms. See, e.g., infra Defs.’ Arg. § II.B.1. 66 Plaintiffs fail to point to any


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     Plaintiffs are also wrong to suggest that they are relieved of any Article III standing requirement
  simply because they assert a First Amendment claim. See Seals v. McBee, 898 F.3d 587, 591 (5th
  Cir. 2018), as revised (Aug. 9, 2018) (in the Fifth Circuit, “requirements of standing are relaxed
  in the First Amendment context . . . but only as relating to the various court-imposed prudential
  requirements of standing;” plaintiffs “still must show that they satisfy the core Article III
  requirements of injury, causation, and redressability”).
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      Here, as elsewhere, Plaintiffs emphasize that the White House allegedly “press[ed] for
  censorship of so-called ‘borderline’ content that does not violate platform policies, and thus would
  not be censored but for federal pressure.” PI Supp. 60. This contention betrays a fundamental
  misunderstanding of the platforms’ policies. The platforms have policies for moderating



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  evidence that the companies would change their approaches to content moderation in the absence

  of the Government’s conduct. And it is not sufficient for Plaintiffs to point to “examples” of past

  conduct that allegedly supports standing. “[S]tanding is not dispensed in gross.” Town of Chester

  v. Laroe Ests., Inc., 581 U.S. 433, 439 (2017) (citation omitted). The relevant question is whether

  Plaintiffs have established a likelihood that they will suffer injury in the absence of an injunction

  and that an injunction would redress that injury. As Defendants have made clear throughout this

  litigation, Plaintiffs cannot lump together the conduct of sixty-seven actors, gesture vaguely at

  untold numbers of unspecified content moderation decisions made by social media companies over

  several years spanning multiple Administrations, and ipso facto establish a connection between

  them and a likelihood of redressability by citing a handful of “examples.” Plaintiffs must establish

  that they will suffer cognizable injuries, that each of those injuries is fairly traceable to specific

  Defendants, and that a Court order is likely to redress those injuries.

         Furthermore, on the present record, Plaintiffs’ theory of causation cannot succeed in light

  of Defendants’ evidence. In their complaint, Plaintiffs contended that “in the absence of

  Defendants’ campaign for social-media censorship, market forces and other incentives would have

  restrained and did restrain social-media platforms from engaging in the social-media censorship

  alleged herein.” 2d. Am. Compl. ¶ 478. In denying Defendants’ motion to dismiss, the Court relied

  on this allegation to conclude that Plaintiffs had established that their alleged injuries were

  traceable to Defendants’ claimed conduct. MTD Order 41-42. But even if that conclusion were

  correct as a matter of pleading, it cannot support Plaintiffs’ standing at this stage; plaintiffs cannot

  obtain a preliminary injunction without supporting their allegations with evidence. See Barber,



  “borderline” content; the reason it is referred to as “borderline” is that it does not violate the
  platforms’ policies for removal, but the content does violate the platforms’ policies for reduced
  distribution. See supra Defs.’ PFOF § I.D.


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  860 F.3d at 352; Vote.Org v. Callanen, 39 F.4th 297, 303-04 (5th Cir. 2022) (holding that plaintiffs

  could not establish a likelihood of success on the merits for preliminary injunctive relief in the

  absence of evidence of standing). They have failed to do so.

         Contrary to Plaintiffs’ factually unsupported conclusion, there is no basis to conclude that

  platforms made the content moderation decisions in question as a result of government pressure,

  as opposed to other factors. For example, social media platforms have their own economic reasons

  for engaging in content moderation actions. Defendants have presented the expert opinions of Dr.

  Stuart Gurrea, an economist who specializes in industrial organization, economics, and finance.

  Gurrea Decl. ¶ 7 (Ex. 1). Dr. Gurrea conducted an economic analysis of Plaintiffs’ claim that

  previously market forces “would have and did restrain social-media platforms” from moderating

  content, and concluded, based on analysis of the platforms’ business model and the economic

  incentives under which they operate, that the claim lacked economic validity. Id. ¶¶ 10-13. He

  observed that platforms have moderated content since the earliest days of social media, and that

  while the scope of moderation has grown with the platforms’ growth, the moderation of content

  related to both political matters and health matters, including vaccinations, dates back as far as

  2016. Id. This analysis is supported by the undisputed evidence that nonparties—mainly the public,

  Congress, and (with respect to COVID-19) the global health community and 132 sovereign

  governments—asked that social media companies do more to combat the spread of election and

  COVID-19 misinformation on their platforms. See supra Defs.’ PFOF § I. The companies even

  acknowledged that they were responding to that public sentiment. See, e.g., Ex. 10 at 3 (“We were

  told in no uncertain terms, by the public and by Congress, that we had a responsibility to do a

  better job protecting future elections.”). And as noted throughout this litigation, the particular types

  of content moderation to which Plaintiffs object preceded much of the Defendants’ conduct on




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  which they premise their claims, underscoring the implausibility of their assertion that the

  platforms were acting in response to government conduct rather than for other reasons.

         And as Dr. Gurrea observed, platforms have a strong incentive to moderate content because

  doing so is in their economic interests. Gurrea Decl. ¶¶ 43-58 (Ex. 1). Social media companies

  moderate content because it contributes to establishing, maintaining, and increasing the size and

  engagement of their user bases. Id. ¶ 44. The absence of content moderation can result in a decline

  of both. Id. ¶¶ 45, 48. An increase in user numbers and engagement typically results in an increase

  in advertising revenue, which in turn increases the platforms’ profits. Id. ¶¶ 11, 30-42. In addition,

  content moderation that preserves or even enhances the reputation and value of an advertiser’s

  brand or product directly makes the platform more valuable to the advertiser, and thereby also

  increases advertising revenues and the platform’s profits. Id. ¶¶ 38, 61.

         Accordingly, Plaintiffs have failed to identify evidence that would support their claim that

  any content moderation decisions that injured them were traceable to Defendants’ conduct, rather

  than to the companies’ independent business decisions driven by their economic interests, strong

  public sentiment, the opinions of the global health community, or some combination of all three

  factors (or any other factor not identified in this litigation). And even if they could make that

  showing regarding some past actions, their claim would still fail because they likewise cannot

  establish that an injunction would redress any injuries that they have suffered or have a non-

  speculative likelihood of suffering in the future. At this stage Plaintiffs carry the burden of

  establishing standing with evidence, and they have failed to do so.

         B. Plaintiffs are not likely to prevail on their First Amendment claims.
         Plaintiffs’ First Amendment claims take aim at numerous independent and (most critically)

  unspecified content moderation decisions that multiple social media companies have made, over a

  course of years and across Administrations, to prevent the spread of content that the companies


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  deem to violate their policies concerning COVID-19 and election misinformation. Of course, as

  Plaintiffs acknowledge, “the Free Speech Clause prohibits only governmental abridgment of

  speech”; it “does not prohibit private abridgment of speech.” Manhattan Cmty. Access Corp. v.

  Halleck, 139 S. Ct. 1921, 1928 (2019). Thus, in Halleck, the Supreme Court recently explained:

  “[W]hen a private entity provides a forum for speech, the private entity is not ordinarily

  constrained by the First Amendment because the private entity is not a state actor. The private

  entity may thus exercise editorial discretion over the speech and speakers in the forum.” Id. at

  1930. After all, the Court commented, “Benjamin Franklin did not have to operate his newspaper

  as ‘a stagecoach, with seats for everyone.’” Id. at 1931 (quoting F. Mott, American Journalism 55

  (3d ed. 1962)).

         Private action may be attributable to the Government, and subject to constitutional

  restraints, “only when [the government] has exercised coercive power or has provided such

  significant encouragement, either overt or covert, that the choice must in law be deemed to be that

  of the State.” Blum, 457 U.S. at 1004. And a determination of state action must begin “by

  identifying ‘the specific conduct of which the plaintiff complains’”—here, a specific content

  moderation decision—and tying it to a specific action by a particular government official. Am.

  Mfrs. Ins. Co. v. Sullivan, 526 U.S. 40, 52 (1999) (quoting Blum, 457 U.S. at 1004).

         This is a high bar. Courts seldom attribute private conduct to the Government, and vice

  versa, out of respect for the “‘essential dichotomy’ . . . between public and private acts that [the

  Supreme Court] ha[s] consistently recognized.” Id. at 53 (quoting Jackson v. Metro. Edison Co.,

  419 U.S. 345, 349 (1974)). Indeed, the Supreme Court has stressed that courts have an “obligation”

  to “‘preserv[e] an area of individual freedom by limiting the reach of federal law’ and avoi[d] the

  imposition of responsibility on [the Government] for conduct it could not control.” Brentwood




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  Acad. v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 295 (2001) (emphasis added) (quoting

  Nat’l Collegiate Athletic Ass’n v. Tarkanian, 488 U.S. 179, 191 (1988)).

         Plaintiffs here fall far short of satisfying the demanding standard that must be met before

  the Government may be held responsible for private conduct. They cannot demonstrate that any

  particular content moderation decision that allegedly harmed them “must in law be deemed to be

  that of” any particular government official, Blum, 457 U.S. at 1004, much less demonstrate that

  any such decision was attributable to the wide swath of government conduct that they challenge.

  To the contrary, this case demonstrates precisely why the standard for attributing private conduct

  to the Government is so high. Distilled to its essence, Plaintiffs’ argument is that social media

  companies may have been influenced by government officials expressing positions on matters of

  significant public concern, or law-enforcement agencies acting in furtherance of the Executive

  Branch’s national security responsibilities, or public health officials promoting science-based

  information to protect the public welfare as contemplated by federal statutes. The Constitution

  does not prohibit the government from engaging in such conduct, but rather contemplates that the

  Executive Branch will take care that the laws are faithfully executed and that, in doing so, the

  Government, through its officials, “has the right to speak for itself,” Summum, 555 U.S. at 467

  (citation omitted), and the “freedom to select the messages it wishes to convey,” Walker, 576 U.S.

  at 207-08.

         Plaintiffs cannot transform government officials’ efforts to carry out their responsibilities

  into impermissible coercion of (mostly unspecified) private content moderation by simply affixing

  conclusory (and inapt) labels to Defendants’ alleged conduct, see, e.g., PI Supp. 1 (“pressure,

  threats, coercion, cajoling, collusion, demands, and trickery and deceit”); id. at 4 (“coercion,

  significant encouragement, and deception”); 2d. Am. Compl. ¶ 498 (“conspiring and colluding”),




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  or by inventing new state-action tests unsupported by precedent, such as making inapposite

  analogies to criminal law, see, e.g., PI Supp. 6-7 (analogizing state action to accomplice liability).

         Nor can Plaintiffs meet the demanding state-action standard by simply alleging the

  existence of an alleged “Censorship Enterprise.” In addition to using pejorative language to

  attempt to transform innocuous public statements into First Amendment violations, this

  formulation endeavors to treat 67 different federal agencies and officials as a single edifice.

  Plaintiffs’ “Censorship Enterprise” theory relies on two erroneous arguments. First, Plaintiffs

  contend that Defendants’ conduct “occurs against the backdrop of . . . public threats from senior

  federal officials who demand greater censorship from social-media platforms and threaten adverse

  legal consequences—such as repeal or reform of § 230’s liability shield, and antitrust

  enforcement—against the platforms if they do not increase censorship of disfavored viewpoints.’”

  PI Supp. 15. Plaintiffs further contend that “President Biden and his aides lead this charge.” Id. As

  discussed above, much of the conduct that Plaintiffs challenge consists of policy recommendations

  by government officials or other public comments that the government is entitled to make. In

  particular, Plaintiffs’ challenge to the President’s exercise of his bully pulpit betrays a fundamental

  misunderstanding of constitutional law and threatens to trample on the President’s prerogatives.

  At the same time, Plaintiffs fail to identify any demands by any Defendants that social media

  companies take specific actions under the threat of specific consequences.

         This first argument—that the challenged conduct by Defendants occurs “against the

  backdrop” of various statements by federal officials—also suffers from a fatal chronological

  contradiction. Many of the actions by Defendants challenged in this lawsuit occurred in 2020 (or

  earlier), during the previous Administration. This includes (1) nearly all of Plaintiffs’ challenges

  to the actions of Dr. Fauci and NIAID concerning COVID-19; (2) the FBI’s alleged involvement




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  in “censoring” the Hunter Biden laptop story, prior to the 2020 election; (3) the FBI’s referral of

  potential misinformation related to the 2020 election; (4) CISA’s “switchboarding” activities in

  advance of the 2020 election; and (5) the Election Integrity Partnership’s “ticketing” of potential

  misinformation for social media companies in advance of the 2020 election. Plaintiffs fail to

  explain how conduct that occurred before President Biden took office could be part and parcel of

  a “Censorship Enterprise” operated by the Biden Administration.

         Second, Plaintiffs contend that there is “extensive evidence of the interconnected nature of

  the federal censorship activities,” and claim that “[t]he White House’s campaign of public threats

  against platforms demanding greater censorship, reinforced by its political allies in Congress and

  other senior federal officials, grants coercive force to all the censorship efforts of all the federal

  agencies involved.” Pls.’ Reply in Supp. of Mot. for Class Cert. & Leave to Amend Compl. at 7-

  8 (Dkt. 250). But they have failed to provide any evidence to support this assertion. Plaintiffs point

  to circumstances where, for example, the White House and OSG allegedly “collaborated” by

  participating in a joint press briefing, or where CDC “collaborated” with Census to host a couple

  of meetings with the social media companies. It is unremarkable for different components of the

  Executive Branch to work together at times, and certainly not indicative of coordination

  throughout the Federal Government on a common “censorship” objective. Nor does this mean that

  the statements or actions of one Defendant have any bearing on the nature of the statements or

  actions made by the sixty-plus other Defendants in this case.

      In short, the Court must separately analyze the challenged actions of each individual

  Defendant to ascertain which, if any of them, is responsible for the alleged violations of Plaintiffs’

  rights, and which, if any of them, may properly be enjoined going forward even assuming that they

  violated Plaintiffs’ rights at some point in the past. And, as discussed below, when the proper




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  analysis is conducted, it is clear that no Defendant has violated Plaintiffs’ First Amendment rights,

  no Defendant is currently violating or about to violate Plaintiffs’ First Amendment rights, and no

  Defendant, therefore, may be subject to an injunction.

             1. Plaintiffs are not likely to prevail on their theory that any Defendant provided
                “such significant encouragement” as to convert private conduct into
                government conduct.
         Plaintiffs first argue that the White House and OSG are responsible for the social media

  companies’ content moderation decisions under a watered-down version of the state action test,

  which Plaintiffs refer to as a “significant encouragement” test. PI Supp. 5-15. In doing so, Plaintiffs

  ignore the state action requirement established by Blum and its progeny, and they further err by

  misconstruing the record. Neither the White House nor OSG is responsible for any social media

  company’s decisions to take against any particular posts or individuals.

                 a. Plaintiffs’ “significant encouragement” theory rests on a misunderstanding of
                    Blum and its progeny.
         Plaintiffs’ “significant encouragement” theory purports to originate in Blum’s

  pronouncement that the Government “can be held responsible for a private decision only when it

  has exercised coercive power or has provided such significant encouragement, either overt or

  covert, that the choice must in law be deemed to be that of the State.” Blum, 457 U.S. at 1004

  (emphasis added). Contrary to Plaintiffs’ assertion, Blum’s reference to “such significant

  encouragement” as an alternative to coercion does not mean that the Government is responsible

  for private conduct “whenever ‘the Government d[oes] more than adopt a passive position’”

  toward it. PI Supp. 5 (quoting Skinner v. Ry. Labor Execs. Ass’n, 489 U.S. 602, 615 (1989)).67



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    Plaintiffs err in contending Skinner means that “‘[a] private party should be deemed an agent or
  instrument of the Government’ whenever ‘the Government did more than adopt a passive position
  toward the underlying private conduct.’” PI Supp. 5. Rather, Skinner teaches that “[w]hether a
  private party should be deemed an agent or instrument of the Government . . . necessarily turns on



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  Rather, the “dispositive question is always ‘whether the State has exercised coercive power or has

  provided such significant encouragement . . . that the choice must in law be deemed to be that of

  the State.’” VDARE Found. v. City of Colo. Springs, 11 F.4th 1151, 1161 (10th Cir. 2021) (quoting

  Sullivan, 526 U.S. at 52), cert. denied, 142 S. Ct. 1208 (2022).

         Blum illustrates how high the bar is for “significant encouragement” to convert private

  conduct into state action. There, the plaintiffs—a class of Medicaid patients—contended that

  nursing homes violated the Due Process Clause by “discharg[ing] or transfer[ring] patients without

  notice or an opportunity for a hearing,” and the question was “whether the State [could] be held

  responsible for those decisions.” Blum, 457 U.S. at 993. The State “extensively” regulated the

  nursing homes in question, id. at 1004, including in ways that bore on the nursing homes’ transfer

  and discharge decisions. For example, State regulations required nursing homes “to make all

  efforts possible to transfer patients to the appropriate level of care or [to] home as indicated by the

  patient’s medical condition or needs,” and “impose[d] a range of penalties on nursing homes that

  fail[ed] to discharge or transfer patients whose continued stay [was] inappropriate.” Id. at 1008-09

  (citation omitted). The State also had to “approve or disapprove continued payment of Medicaid

  benefits after a change in the patient’s need for services.” Id. at 1010. In short, the State placed

  various forms of regulatory pressure on nursing homes to discharge patients or transfer them to




  the degree of the Government’s participation in the private party’s activities.” 489 U.S. at 614
  (emphasis added) (citations omitted). It did not hold that state action is present “whenever” the
  Government participates to any degree in private-party conduct, and Plaintiffs tellingly cite no
  case supporting that interpretation. Also, Skinner found a sufficient degree of Government
  “participation” because the challenged regulations, which authorized employee drug and alcohol
  testing by private railroads, “removed all legal barriers” to testing by pre-empting contrary state
  law and collective bargaining agreements, and otherwise “made plain” the Government’s “strong
  preference for testing.” Id. at 615-16. In sharp contrast, this case involves no law or regulation that
  similarly requires or encourages particular content moderation decisions by social media
  companies.


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  lower levels of care, which “made possible and encouraged” the challenged private conduct. Id. at

  1008 n.19. Yet the Court held that the plaintiffs had failed to establish state action, because the

  nursing homes’ “decision[s] to discharge or transfer particular patients . . . ultimately turn[ed] on

  medical judgments made by private parties.” Id. at 1008.

         Similarly, in American Manufacturers Mutual Insurance Co. v. Sullivan, the Supreme

  Court reinforced the teaching that government encouragement of private acts must be “so

  significant[]. . . as to make the State responsible for it” to satisfy the state action requirement. 526

  U.S. at 53. That case concerned the constitutionality of a Pennsylvania workers’ compensation

  statute that authorized (but did not require) insurers to withhold payments for the treatment of

  work-related injuries pending independent “utilization” review of whether the treatment was

  “reasonable” and “necessary.” Id. at 44-47. The Supreme Court held that a private insurer’s

  decision to withhold payment for a disputed medical treatment pending review did not constitute

  state action. See id. at 49-58. The challengers’ main argument was that, by amending the statute to

  grant insurers the “utilization review”—an “option they previously did not have”—“the State

  purposely ‘encouraged’ insurers to withhold payments for disputed medical treatment.” Id. at 53.

  The Court rejected that argument: “[T]his kind of subtle encouragement is no more significant

  than that which inheres in the State’s creation or modification of any legal remedy. We have never

  held that the mere availability of a remedy for wrongful conduct, even when the private use of that

  remedy serves important public interests, so significantly encourages the private activity as to

  make the State responsible for it.” Id. “The most that can be said of the statutory scheme,” the

  Court went on to observe, “is that whereas it previously prohibited insurers from withholding

  payment for disputed medical services, it no longer does so. Such permission of a private choice

  cannot support a finding of state action.” Id. at 54 (emphasis added); see also White v. Commc’ns




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  Workers of Am., AFL-CIO, Loc. 1300, 370 F.3d 346, 354 (3d Cir. 2004) (Alito, J.) (Sullivan

  rejected “the notion that the express legislative authorization of an act makes that act state action”).

          Given these principles, the Fifth Circuit recently held that “[r]esponding agreeably to a

  request” is not evidence of “sufficiently strong ‘encouragement’” under Blum. La. Div. Sons of

  Confederate Veterans v. City of Natchitoches, 821 F. App’x 317, 320 (5th Cir. 2020). The plaintiff,

  the Sons of Confederate Veterans, applied to march in a city parade coordinated by a private

  business association. Id. at 318-19. In a letter, the Mayor asked the association to “prohibit the

  display of the Confederate battle flag in that year’s parade,” and two days later, the association

  denied the plaintiff’s request to march in the parade. Id. at 319. The plaintiff argued that the

  association’s decision amounted to “state action,” and was thus subject to a First Amendment

  claim. The Fifth Circuit disagreed, noting that the “Mayor’s letter” contained only “a request,” and

  that “the decision to deny the [plaintiff’s] parade application rested with the [association], not the

  City.” Id. at 320.

          The Ninth Circuit, in a case similar to this one, recently joined the chorus of courts that

  have rejected an overly broad conception of “significant encouragement.” 68 In O’Handley v.

  Weber, the plaintiff-appellant argued that a California agency was responsible for Twitter’s

  moderation of his content because the agency’s mission included “prioritiz[ing] ‘working closely


  68
     See also VDARE, 11 F.4th at 1162 (city’s decision not to provide “support or resources” to
  plaintiff’s event was not “such significant encouragement” as to transform a private venue’s
  decision to cancel the event into state action); S.H.A.R.K. v. Metro Parks Serving Summit Cnty.,
  499 F.3d 553, 565 (6th Cir. 2007) (government officials’ requests were “not the type of significant
  encouragement” that would render agreeing to those requests to be state action); cf. Campbell v.
  PMI Food Equip. Grp., Inc., 509 F.3d 776, 784 (6th Cir. 2007) (no state action where “government
  entities . . . did nothing more than authorize and approve a contract that provided tax benefits” or
  “incentives” “conditioned on [company] opening” local plant); Gallagher v. Neil Young Freedom
  Concert, 49 F.3d 1442, 1453 (10th Cir. 1995) (“Payments under government contracts and the
  receipt of government grants and tax benefits are insufficient to establish a symbiotic relationship
  between the government and a private entity.”).


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  with social media companies to be proactive’” about misinformation, and because it had flagged

  one of his posts for Twitter as “disinformation.” 62 F.4th 1145, 1154 (9th Cir. 2023). Given the

  state agency’s relationship with the companies and its flagging of his post, the plaintiff-appellant

  argued that the agency had “provided significant encouragement, through its public statements and

  otherwise, to Twitter” to “suppress speech.” 69 In rejecting this argument, the Ninth Circuit

  explained that the “critical question” when evaluating whether state action exists under a

  “significant encouragement” theory is “whether the government’s encouragement is so significant

  that we should attribute the private party’s choice to the State, out of recognition that there are

  instances in which the State’s use of positive incentives can overwhelm the private party and

  essentially compel the party to act in a certain way.” Id.

         Applying that standard to the facts before it, the O’Handley court held that the state agency

  had not “essentially compel[led]” Twitter to take any action against the plaintiff-appellant. Id. The

  panel noted that “[t]he [agency] offered Twitter no incentive for taking down the post that it

  flagged.” Id. Because the state agency “did nothing more than make a request with no strings

  attached,” and Twitter, in turn, “complied with the request under the terms of its own content

  moderation policy and using its own independent judgment,” appellant’s “significant

  encouragement” argument failed. Id.70

         Blum, Louisiana Division Sons of Confederate Veterans, Sullivan, and O’Handley make it

  clear that “significant encouragement” may only support a finding of state action if the

  Government’s conduct is “so significant” that the State has “essentially compel[ed] the [private]


  69
     Appellant’s Reply Brief to Cal. Sec’y of State Shirley Weber at 13, O’Handley v. Weber, 62
  F.4th 1145 (9th Cir. 2023) (No. 22-15071), 2022 WL 4389216.
  70
     The court’s rejection of the Free Speech Clause claim based on lack of state action made it
  unnecessary to address whether a social media company’s decision to remove a post is a
  “constitutionally protected exercise[] of editorial judgment.” O’Handley, 42 F.4th at 1156 n.1.


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  party to act in a certain way.” O’Handley, 62 F.4th at 1158. The Government can be liable for

  choices made by private actors only if its conduct shows that the private actors’ choices “must in

  law be deemed to be that of the State.” Blum, 457 U.S. at 1004. Such governmental conduct can

  take the form of “coercion”—that is, “actual or threatened imposition of government power or

  sanction,” Backpage.com, LLC v. Dart, 807 F.3d 229, 230 (7th Cir. 2015)—or “significant

  encouragement”—that is, the provision of “positive incentives,” O’Handley, 62 F.4th at 1158.

  Blum thus accounts for the possibility that the Government can be legally responsible for private

  choices through positive inducements (encouragement) in addition to negative ones (coercion by

  threats of sanction). But in any scenario, the private conduct must be “essentially compel[led]” by

  the Government. Id. at 1158. If any less of a showing were enough to satisfy the state action

  requirement under a “significant encouragement” theory, then no plaintiff would ever need to

  demonstrate coercion—the threshold for significant encouragement would be lower and easier to

  satisfy. That reading of Blum makes little sense and is unsupported by precedent—it does not

  appear that another party has ever prevailed on a theory like the one Plaintiffs assert. See Defs.’

  Reply 42 (refuting Plaintiffs’ reliance on inapposite cases). Indeed, despite multiple bites at the

  apple, Plaintiffs are unable to cite a single factually analogous case supporting their position.71



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     Plaintiffs’ reliance on Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970), is procedurally and
  substantively inapt. Contrary to Plaintiffs’ characterization, Adickes did not hold that the store’s
  denial of service to the black plaintiff “was government action if a police officer in the restaurant
  ‘communicated his disapproval’” to a restaurant employee. PI Supp. 5 (quoting Adickes, 398 U.S.
  at 158). Rather, the Court held that evidence of a policeman’s presence in the restaurant would
  “[leave] open to a jury . . . to infer from the circumstances that the policeman and a [defendant]
  employee had a ‘meeting of the minds” before the store refused to serve her, and the policeman
  took the further step of arresting her. Adickes, 398 U.S. at 156-58. For that reason, the Court
  concluded that a genuine issue of material fact existed and reversed a grant of summary judgment
  in the defendant’s favor. Here, Plaintiffs must establish that they are likely to prevail on the merits,
  not just defeat a motion for summary judgment, and—at least as to “significant encouragement”—
  they advance a legally unprecedented theory of state action.


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         Moreover, the stringent standard articulated in Blum, Sullivan, and O’Handley reflects the

  law’s respect for the “essential dichotomy” between public and private action. Sullivan, 526 U.S.

  at 53. The Government should be entitled to zealously encourage private parties to act on a wide

  range of matters affecting the public interest without fear of penalty. See Maher v. Roe, 432 U.S.

  464, 475-76 (1977) (“Constitutional concerns are greatest when the State attempts to impose its

  will by force of law; the State’s power to encourage actions deemed to be in the public interest is

  necessarily far broader.”). Indeed, the government-speech doctrine shields the Government against

  “paralyzing” restrictions on its ability to “urg[e]” private actors to take actions that it supports.

  Matal, 582 U.S. at 235. 72 For example, “[d]uring the Second World War,” the Federal Government

  “produced and distributed millions of posters . . . urging enlistment, the purchase of war bonds,

  and the conservation of scarce resources.” Id. at 234-35. It would be “absurd” to claim that federal

  encouragement to join the war effort—even significant encouragement—“is the equivalent of

  forcing people to serve.” Peery v. Chi. Hous. Auth., 791 F.3d 788, 790 (7th Cir. 2015). Of course,

  it remains true today that “[a] President frequently calls on citizens to do things that they prefer

  not to do—to which, indeed, they may be strongly opposed on political or religious grounds.”

  Freedom From Religion Found., Inc. v. Obama, 641 F.3d 803, 806 (7th Cir. 2011). It makes ample

  sense, then, that courts require more than a generalized showing of “significant encouragement”

  before government officials may be held liable for the decisions of private parties.




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     In its memorandum opinion denying Defendants’ motion to dismiss, the Court quoted Matal for
  the proposition that “[i]f private speech could be passed off as government speech by simply
  affixing a government seal of approval, government could silence or muffle the expression of
  disfavored viewpoints.” MTD Order 63 (quoting Matal, 582 U.S. at 235). That proposition has no
  bearing on this case. Unlike in Matal, which raised the question whether privately held trademarks
  are “government speech” simply because they are registered by an arm of the Federal Government,
  it is beyond dispute here that the Federal Defendants’ speech is government speech.


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         Plaintiffs contend that the White House and OSG have provided “such significant

  encouragement” to social media companies that they are responsible for those companies’ content

  moderation decisions. For the following reasons, Plaintiffs’ arguments should be rejected.

                 b. Plaintiffs fail to show that the White House has provided “such significant
                    encouragement” as to render the White House legally responsible for social
                    media companies’ independent decisions.
         Plaintiffs fail to show that White House officials provided “such significant

  encouragement” as to “essentially compel[]” any social media company to take any particular

  action. O’Handley, 62 F.4th at 1158.

         As a threshold matter, Plaintiffs have not shown that the White House offered social media

  companies any “positive incentives” to remove or otherwise moderate users’ content on their

  platforms. Id. Plaintiffs’ only evidence of “encouragement” from the White House is an email in

  which Mr. Flaherty told YouTube that its reduction of “watch time” of “borderline content” by

  70% was “impressive.” PI Supp. 9 (citation omitted). It is not plausible that Mr. Flaherty’s

  comment had any effect on YouTube or transformed the company’s conduct into government

  conduct. Otherwise, Plaintiffs’ “significant encouragement” theory relies exclusively on evidence

  of an alleged “pressure campaign” orchestrated by the White House, which is to say it is nothing

  more than their “coercion” theory under a different name. Compare id. at 8-10 (citing evidence of

  the White House’s “significant encouragement”), with id. at 14 (arguing that the White House’s

  “pressure campaign . . . discussed above” “constitutes coercion”). Again, to the extent that Blum

  offers “coerc[ion]” and “such significant encouragement” as distinct ways in which the

  Government can become “responsible” for private conduct, 457 U.S. at 1004, the latter does not

  simply encompass efforts to prod that fall short of compulsion, see PI Supp. 8 (arguing that

  Defendants’ conduct “rises to the level of coercion, as well as significant encouragement”).

  Because Plaintiffs have hardly pointed to any evidence of “encouragement”—let alone “such


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  significant encouragement” that White House officials “essentially compelled” any decisions by

  the social media companies—the “such significant encouragement” standard is inapplicable here.

         It also bears emphasis that “[d]eciding whether a [alleged suppression of speech] is fairly

  attributable to the [Government] begins by identifying the specific conduct of which the plaintiff

  complains.” Moody v. Farrell, 868 F.3d 348, 352 (5th Cir. 2017) (emphasis added) (quoting

  Cornish v. Corr. Servs. Corp., 402 F.3d 545, 550 (5th Cir. 2005)). This “specific conduct”

  requirement ensures that plaintiffs specify the particular private action that they wish to challenge

  as fairly attributable to the Government. See Blum, 457 U.S. at 1004 (the critical question is

  whether a private “choice” must “in law be deemed to be that of the State”); Cornish, 402 F.3d at

  550 (explaining that the “specific conduct” at issue was a private employer’s termination of the

  plaintiff). Plaintiffs fail to address this critical step in the state action analysis. They highlight

  specific examples of White House “pressure,” PI Supp. 8, but with few exceptions—namely,

  Twitter’s suspension of Alex Berenson and removal of an imposter account—Plaintiffs make no

  attempt to connect the White House Defendants’ conduct to the specific conduct of any social

  media company. Simply alleging that the White House engaged in a “pressure campaign” (which

  it did not) is not enough to establish that the White House is responsible for any private choices;

  the Plaintiffs must identify which of the social media companies’ “choice[s]” the White House is

  responsible for, and they must explain how the White House is responsible for those choices. Blum,

  457 U.S. at 1004. Those choices, moreover, must have a connection to Plaintiffs’ asserted harms. 73


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     Plaintiffs overlook the fact that some White House communications in evidence have nothing
  to do with the claims asserted in this case. They make much, for example, of an email in which
  Flaherty said to Facebook, “Are you guys f**king serious?” See PI Supp. 9; Pls.’ PFOF ¶ 46
  (Heading C., “Flaherty’s Profane Attack: “Are You Guys F**king Serious?”). That comment arose
  in the context of White House officials asking why the White House’s own Instagram account was
  experiencing a decrease in follower growth. Dkt. 174-1 at 55-56. It was not made in connection
  with any discussions of misinformation on social media. This comment does not make the White



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         Identifying the “specific conduct” at issue is especially important here, where Plaintiffs

  argue that numerous content moderation decisions made from 2020 to the present are “fairly

  attributable” to White House officials who did not take office until 2021. It is beyond dispute that

  the platforms have been moderating COVID-19 content pursuant to their terms of service, for

  reasons that include their own economic self-interest and public sentiment, since at least January

  2020, well before any of the White House Defendants took office. See supra Defs.’ PFOF § I.C.

  And it is also undisputed that some content moderation that occurred in 2021 and 2022 resulted

  from the enforcement of company policies that predated the Biden Administration. Plaintiffs offer

  no explanation of which particular actions are attributable to Biden White House officials, as

  opposed to preexisting content moderation policies—or, for that matter, the other Defendants in

  this case, whom Plaintiffs separately accuse of influencing the social media companies’ decisions.

         Even setting these fatal threshold deficiencies aside, Plaintiffs fail to establish that the

  White House is responsible for any social media company’s conduct. Plaintiffs seek to hold White

  House officials accountable for social media platforms’ content moderation decisions by citing

  public and private statements from these officials that, based on Plaintiffs’ allegations, may be

  divided into three categories: (1) requests for “more detailed information” about the companies’

  content moderation practices, PI Supp. 8; (2) alleged “very specific demands” about how the

  platforms should change their policies to “increase censorship of disfavored speech,” id.; and

  (3) alleged “demand[s] [for] the removal of specific posts and accounts of disfavored speakers,”

  id. at 9. None of this alleged conduct makes the White House legally responsible for any social

  media company’s independent decision-making.




  House responsible for any private conduct that forms the basis of the First Amendment challenges
  at issue. See also Defs.’ Resp. PFOF ¶¶ 138-140.


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         First, Plaintiffs erroneously contend that requests by White House officials—and Mr.

  Flaherty in particular—for “more detailed information” about COVID-19 misinformation make

  the White House responsible for companies’ content moderation decisions. PI Supp. 8. Plaintiffs

  rely on requests that Mr. Flaherty made of social media companies for information related to

  COVID-19 misinformation trends on their platforms and how the companies were enforcing their

  policies. See, e.g., Dkt. 174-1 at 7 (“Can you share more about your framework here?”); id. at 14

  (“Again, as I’ve said, what we are looking for is the universe and scale of the problem.”); Dkt. 71-

  3 at 24 (asking Meta for an explanation, “as we have long asked for, [of] how big the problem is,

  what solutions you’re implementing, and how effective they’ve been”); see also Pls.’ PFOF ¶¶ 43-

  44, 54, 57, 67-68, 112, 126, 175 (mischaracterizing Mr. Flaherty as “demand[ing]” “more

  information”). But Plaintiffs never demonstrate as a matter of fact, or explain as a matter of simple

  logic, how those requests for information from the companies could have so encouraged them to

  make decisions about content on their platforms as to render Mr. Flaherty (or any White House

  official) responsible for those decisions. Indeed, the Supreme Court has repeatedly rejected the

  notion that regulations requiring private actors to submit information to the Government are

  sufficient to render the Government responsible for private decisions. See Blum, 457 U.S. at 1006-

  07 (“We cannot say that the State, by requiring completion of a form, is responsible for the

  physician’s decision.”); Sullivan, 526 U.S. at 54-55 (same). That principle applies with even

  greater force here, where White House officials merely requested information from social media

  companies about misinformation on their platforms. See La. Div. Sons of Confederate Veterans,

  821 F. App’x at 320 (“Responding agreeably to a request and being all but forced by the coercive

  power of a governmental official are different categories of responses.”).




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         In any event, it is inexplicable how Mr. Flaherty’s efforts to obtain information about the

  companies’ actions could have “essentially compel[led]” any specific content moderation

  decisions by the companies, O’Handley, 62 F.4th at 1158, and Plaintiffs offer no explanation in

  support of their position other than their ipse dixit characterizations of the facts. The purpose of

  Mr. Flaherty’s requests was to better understand the companies’ policies, how they were being

  enforced, and what the Administration could do to address key issues like vaccine hesitancy. See

  Ex. 36 at 20. The record of requests reflects these objectives; as Mr. Flaherty told YouTube in

  April 2021, he wanted to continue a dialogue about “what is going on under the hood” because he

  was “on the hook for reporting out” to others in the White House. Dkt. 174-1 at 39. Absent from

  the record are requests by Mr. Flaherty that the companies enforce or adjust their policies in

  specific ways to require “greater” moderation of COVID-19 misinformation, or that they remove

  or otherwise restrict access to specific posts, or the posts of specific groups or individuals regarding

  COVID-19 misinformation. See also Defs.’ Resp. PFOF ¶¶ 34-122.

         Second, Plaintiffs contend that White House officials made “very specific demands about

  how to increase censorship of disfavored speech.” PI Supp. 8. They cite no evidence to support

  this assertion, apart from a single two-page email chain from April 22, 2021 to May 6, 2021, among

  a Facebook employee, Mr. Slavitt, and Mr. Flaherty (hereinafter “April 2021 email chain”). Id.

  (citing Pls.’ PFOF ¶¶ 118-121, which cite Dkt. 174-1 at 41-42). Plaintiffs characterize this chain

  as evidence of the White House “demanding that Facebook monitor private events and deplatform

  the ‘Disinformation Dozen,’” id., but it does not support their argument. As discussed above, see

  supra Defs.’ PFOF § II.A, on April 23, 2021, Mr. Flaherty sent Facebook “research work” about

  misinformation on social media that had been conducted by an outside group, with the subject line

  “Research Suggestions” and an explicit disclaimer that Facebook should not “read this as White




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  House endorsement of these suggestions.” Pls.’ Jones Decl., Ex. L at 1 (Dkt. 214-14) (emphasis

  added). On May 1, 2021, the Facebook representative provided reactions to the group’s findings,

  noting that it understood the “suggestions” had not come from within the White House. Dkt. 174-

  1 at 41; see also Defs.’ Resp. PFOF ¶¶ 118-121.

         It bears repeating that the Executive Branch has broad “power” to “encourage” “actions

  deemed to be in the public interest.” Maher, 432 U.S. at 475-76; see also Matal, 582 U.S. at 235.

  The spread of COVID-19 related misinformation on social media was a matter of significant public

  concern—as reflected by the global effort to combat the COVID-19 “infodemic,” see supra Defs.’

  PFOF § I.C., and the social media companies’ own misinformation polices. Just as the Government

  has a legitimate public-health interest in mounting an all-of-society effort to combat the spread of

  COVID-19, it has an interest in urging social media companies to help in that effort by curbing the

  spread of potentially harmful misinformation on their platforms. The companies, moreover,

  recognized that they had a role to play in combating the virus long before Mr. Flaherty (or any

  current Government official) entered office, see id., and they made their own judgments as to how

  to meet the moment, id. Accordingly, even if Mr. Flaherty had sent the aforementioned “Research

  Suggestions” to Facebook with a note indicating the White House’s endorsement of those

  suggestions, no First Amendment issue would arise, because mere efforts to persuade private

  actors are “permissible government speech.” O’Handley, 62 F.4th at 1163.

         Furthermore, the April 2021 email chain does not show that the White House was

  responsible for any action on Facebook’s part. Mr. Flaherty made clear that the “suggestions” from

  the outside group that briefed the White House were not urged—or even endorsed—by the White

  House. Id. Moreover, there is no evidence that Facebook engaged in any “specific conduct” as a

  result of these emails. Moody, 868 F.3d at 352. To the extent Plaintiffs argue that the April 2021




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  email chain renders the White House responsible for actions taken by Facebook against the

  Disinformation Dozen, that argument is belied by the record. For example, in response to the

  outside group’s view that “12 accounts are responsible for 73% of vaccine misinformation,”

  Facebook’s representative explained that Facebook “continue[s] to review accounts associated

  with the [Disinformation Dozen], but many of those either do not violate our policies or have

  ceased posting violative content.” Dkt. 174-1 at 42. He further noted that Facebook’s preexisting

  “‘Dedicated Vaccine Discouraging Entity’ policy is designed to remove groups and pages that are

  dedicated to sharing vaccine discouraging content[,] and we continue to review and enforce” the

  policy against violative accounts “when we become aware of them.” Id. Accordingly, not only did

  the White House not express the view that action should be taken against the Disinformation

  Dozen, but the evidence shows that Facebook continued to exercise its own independent judgment

  by declining to take any action against those accounts in response to the outside group’s

  “suggestions.” PI Supp. 8.

         Third, Plaintiffs contend that White House officials “demand[ed] the removal of specific

  posts and accounts of disfavored speakers.” Id. at 9. In support, Plaintiffs cite the following as

  examples: (1) Robert F. Kennedy Jr.; (2) Tucker Carlson and Tomi Lahren; (3) Alex Berenson;

  (4) the “Disinformation Dozen;” (5) “trending posts on Facebook;” (6) an imposter account of Dr.

  Fauci; and (7) a doctored video of First Lady Jill Biden. Id. It is not disputed that the White House

  requested the removal of some social media posts and accounts—mainly, imposter accounts. But

  none was a post made by or account belonging to any of the Plaintiffs. And none of these requests

  is sufficient to make White House officials legally responsible for any company’s decision

  concerning the posts or accounts cited. The social media companies allow any citizen that

  encounters objectionable conduct to flag that content for the company and urge that it be removed




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  or otherwise addressed under the platforms’ own policies. 74 It would be remarkable if the

  Government were powerless to do the same, even when posts implicate governmental interests or

  when the government has unique information that would be helpful to the platforms in applying

  their policies. And as discussed immediately below, the record demonstrates that some of these

  requests did not even include requests for the removal of posts. Where the White House did request

  removal of a post, each request was submitted for the company’s consideration “with no strings

  attached;” and, in each instance that involved a request from the White House, the relevant social

  media company considered the request “under the terms of its own content-moderation policy and

  using its own independent judgment.” O’Handley, 62 F.4th at 1158.

         Several of Plaintiffs’ purported examples contain no requests—let alone “demand[s]”—

  for the removal of content. For example, the White House’s emails to Facebook about Tucker

  Carlson’s Facebook Video (which included a reference to Lahren’s post) did not contain requests

  to remove posts. 75 See supra Defs.’ PFOF § II.A. And Plaintiffs’ example of “trending posts on

  Facebook” is a reference to the April 2021 email chain, in which Mr. Flaherty again did not request

  the removal of any particular posts. In both instances, Mr. Flaherty simply asked for more

  information—albeit in some instances conveying frustration about the lack thereof—as to why

  trending posts did not violate Facebook’s policies. See Dkt. 174-1 at 22 (Carlson) (“What exactly



  74
     See, e.g., Ex. 21 (How do I mark a Facebook post as false news?, Facebook Help Ctr.,
  https://perma.cc/N8HZ-P7R4); Ex. 35 (Report Violations, Twitter Help Ctr.,
  https://perma.cc/5MXZ-TAAM); Ex. 41 (Report inappropriate videos, channels, and other
  content on YouTube, YouTube Help, https://perma.cc/34HB-9CHL).
  75
     Flaherty instead explained that the Carlson and Lahren examples were “exactly why I want to
  know what ‘reduction’ means.” Dkt. 174-1 at 22. As noted above, “[r]eduction” is likely a
  reference to Facebook’s borderline content policy, adopted in 2018 to “reduc[e] the distribution
  and virality” of misinformation. Ex. 23 at 8 (Facebook’s 2018 post about borderline content).
  Flaherty understandably wanted to know more about it because, as noted above, Facebook’s
  borderline content policy enforcement is not transparent. See supra Defs.’ PFOF § I.D.


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  is the rule for removal vs. demoting?”); id. at 41 (“trends”) (“[H]ow does something like this

  happen? . . . What is going on here?”).

         The record does not support Plaintiffs’ argument that any action taken against the

  “Disinformation Dozen” must “in law be deemed to be that of” the White House. Blum, 457 U.S.

  at 1004. Plaintiffs again cite to the April 2021 email chain, PI Supp. 9, but as discussed above, that

  chain contains no indication that the White House endorsed the outside group’s research findings

  on those accounts. And in its response, Facebook explained that it had exercised its independent

  judgment to determine that the twelve accounts at issue were not violating its policies, and so it

  would not take any action against them. See Defs.’ Resp. PFOF ¶¶ 114-122. Plaintiffs also cite

  Ms. Psaki’s statement at the July 15, 2021, White House press briefing, but Ms. Psaki did not urge

  action against the Disinformation Dozen from the podium. See Defs. PFOF § II.A. The record

  shows, moreover, that Facebook not only took action regarding posts by the Disinformation Dozen

  in July 2021, but it did so again nearly a month later because it “violat[ed] [Facebook’s] policies.”

  Ex. 145 at 2 (Monika Bickert, How We’re Taking Action Against Vaccine Misinformation

  Superspreaders, Meta (Aug. 18, 2021), https://perma.cc/27UC-N6QV). As Facebook repeatedly

  noted at that time, when content posted by these twelve individuals did not violate the company’s

  policies—as determined by Facebook alone—it was not removed. See id. (“The remaining

  accounts associated with these individuals are not posting content that breaks our rules.”); see also

  Defs.’ Resp. PFOF ¶ 170.

         Plaintiffs’ examples also underscore that, in every case of a White House request for action,

  the White House did so with no “strings attached” (i.e., any form of actual encouragement or threat

  of sanction) and social media companies simply “complied with the request”—in the limited cases

  where they did, in fact, comply—“under the terms of [their] own content-moderation policy and




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  using [their] own independent judgment.” O’Handley, 62 F.4th at 1158; see also La. Div. Sons of

  Confederate Veterans, 821 F. App’x at 320 (“Responding agreeably to a request and being all but

  forced by the coercive power of a governmental official are different categories of responses

  . . . .”). For example, when the White House asked Twitter to remove or label a doctored video of

  the First Lady, see supra Defs.’ PFOF § II.A, Twitter declined to do so because the video did not

  violate Twitter’s policies.76 Dkt. 174-1 at 65. The White House did not seek to compel Twitter to

  reach a different conclusion; it instead asked for “any other info” about why the content did not

  qualify for labeling, “in order to help us understand the Twitter processes best.” Id. See also Defs.’

  Resp. PFOF ¶¶ 180-187. By contrast, when the White House emailed Facebook in reference to an

  imposter account for Dr. Fauci—aptly named “AnthonyFauciOfficial”—and asked if there was

  “any way” to have it removed, Fauci Ex. 57 at 1-2 (Dkt. 207-21), Facebook independently

  determined that the account violated its existing policies and removed the account accordingly.

  Indeed, Facebook’s community guidelines at the time—which Instagram had incorporated by

  reference—stated that Facebook “do[es] not allow the use of our services and will disable accounts

  if you . . . [i]mpersonate others by . . . [c]reating an account assuming to be or speak for another

  person or entity.”77 And it is against federal law to impersonate a federal official. See 18 U.S.C.

  § 912. This example falls well short of demonstrating that the decision to remove the Dr. Fauci

  imposter account “must in law be deemed to be that of the [White House].” Blum, 457 U.S. at

  1004. See also Defs.’ Resp. PFOF ¶¶ 809-820. And again, it would be surprising if the First




  76
     For this reason, there is no “specific conduct” to complain of with respect to this social media
  post—no action was taken, and so there is no “choice” that can be “deemed to be that of” the White
  House. Blum, 457 U.S. at 1004. And in any event, Plaintiffs cannot possibly show a cognizable
  injury to their First Amendment rights under these circumstances.
  77
     Ex. 56 (choose “show older” in dropdown; then choose “Dec. 17. 2020”).


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  Amendment prohibited federal officials from notifying social media platforms about the existence

  of fraudulent accounts that violate their terms of service, while any private citizen is free to do so.

       That leaves two examples involving posts by Robert F. Kennedy Jr. and Alex Berenson on

  Twitter. In both examples, the White House interacted with Twitter’s government affairs staff. See

  Dkt. 174-1 at 2 (Kennedy), id. at Dkt. 71-7 at 86. It is not disputed that these employees “did not

  have any kind of decision-making authority over policy enforcement,” Ex. 10 at 5, making the

  causal link between the government’s action and the platforms’ content moderation decisions even

  more attenuated.

       With respect to Mr. Kennedy, on January 23, 2021, a White House official emailed Twitter to

  “flag” a tweet by Mr. Kennedy about the “wave of suspicious deaths among elderly” following

  their receipt of the COVID-19 vaccine, and to ask if it could be removed. Dkt. 174-1 at 2. 78 Several

  minutes later, Twitter’s government affairs representative responded: “Thanks. We recently

  escalated this.” Id. The record does not indicate whether any action was taken against the tweet.

  In fact, the tweet is currently available for viewing, which strongly suggests that Twitter declined

  to remove it. See Ex. 146. There is, accordingly, no indication of “specific conduct” by Twitter

  that the White House could be held responsible for in this case. Blum, 457 U.S. at 1004. And even

  if Twitter had taken action against the tweet, Twitter’s response to the White House’s email request

  indicates that, before the White House reached out, it had already “escalated” the tweet, meaning

  (almost certainly) that it had “escalated” the tweet for internal review according to Twitter’s




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     The tweet stated: “#HankAaron’s tragic death is part of a wave of suspicious deaths among
  elderly closely following administration of #COVID #vaccines. He received the #Moderna vaccine
  on Jan. 5 to inspire other Black Americans to get the vaccine. #TheDefender.” See Ex. 146 at 1
  (Robert F. Kennedy Jr. (@RobertKennedyJr), Twitter (Jan. 22, 2021, 5:41 PM),
  https://perma.cc/8QXJ-H78L).


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  community standards. This reflects that Twitter made its decision “under the terms of its own

  content-moderation policy and using its own independent judgment.” O’Handley, 62 F.4th at 1158.

         Plaintiffs fare no better with respect to Mr. Berenson. They cite an April 22, 2021, meeting

  between White House officials and Twitter representatives as evidence that the White House is

  responsible for Twitter “suspending Alex Berenson for the first time,” notwithstanding that the

  suspension did not occur until three months later, on July 16, 2021. PI Supp. 9 (citing Pls.’ PFOF

  ¶¶ 102-04, in turn citing Dkt. 71-7 at 86 and Pls.’ Jones Decl., Ex. J at 2-3 (Dkt. 214-12)). More

  specifically, Plaintiffs cite screenshots from an internal Twitter discussion about the meeting, in

  which Twitter employees allegedly noted that White House officials “had one really tough

  question about why Alex Berenson hasn’t been kicked off the platform.” Id. at 3. Another Twitter

  employee allegedly noted in the internal conversation, “I’ve taken a pretty close look at [Mr.

  Berenson’s] account and I don’t think any of it’s violative.” Id.

         In his sworn interrogatory responses—which Plaintiffs fail even to acknowledge in their

  motion or proposed findings of fact—Mr. Flaherty described the April 22 meeting in detail:

                 Mr. Flaherty recalls participating in a meeting with Twitter employees on
                 Zoom, in or around the Spring of 2021, at which Alex Berenson was
                 mentioned. Mr. Flaherty recalls Andrew Slavitt also attending that meeting
                 and he believes, but is not sure, that Lauren Culbertson from Twitter
                 attended the meeting. Mr. Flaherty further recalls the meeting was about
                 vaccine hesitancy and Twitter’s efforts to combat disinformation and
                 misinformation on the platform. As the meeting was ending, Mr. Flaherty
                 recalls Mr. Slavitt expressing his view that Twitter was not enforcing its
                 content guidelines with respect to Alex Berenson’s tweets, and that
                 employees from Twitter disagreed with that view. Mr. Flaherty also recalls
                 that Mr. Slavitt suggested at the end of the meeting that Mr. Flaherty would
                 follow up with Twitter employees about that subject. Mr. Flaherty does not
                 recall following up with Twitter on the subject of Mr. Berenson, but he does
                 recall being later called within probably a week or two by a Twitter
                 employee, who Mr. Flaherty thinks was Todd O’Boyle, who indicated that
                 Twitter would not be removing Mr. Berenson because Mr. Berenson had
                 not violated Twitter policies at that time. That is the last time that Mr.
                 Flaherty recalls discussing Mr. Berenson with employees from Twitter.



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  Ex. 36 at 57.

         This evidence shows that White House officials inquired about Twitter’s enforcement of

  its policies without coercing or “essentially compel[ing]” any action. O’Handley, 62 F.4th at 1158.

  Indeed, it is not disputed that at the time of the April 22, 2021, meeting Twitter believed—and so

  told the White House—that Mr. Berenson was not violating Twitter’s policies. See Ex. 36 at 57.

  That belief provided the sole basis for Twitter’s decision not to deplatform Mr. Berenson in April

  2021. Id. Accordingly, there is no evidence that the White House was responsible for any action

  by Twitter arising out of the April 2021 meeting, nor is there any evidence supporting Plaintiffs’

  suggestion that the April 2021 meeting resulted in Twitter’s action against Mr. Berenson three

  months later. See also Defs.’ Resp. PFOF ¶¶ 102-04.

         In short, Plaintiffs have adduced no evidence to support their claim, and therefore have no

  likelihood of succeeding on their claim, that the White House “so significant[ly] encourage[d]”

  any social media companies to take action against any posts or accounts (much less Plaintiffs’

  posts or accounts) that the actions taken by those companies “must in law be deemed to be [those]

  of the [Government].” Blum, 457 U.S. at 1004.

                  c. Plaintiffs fail to show that OSG has provided “such significant encouragement”
                     as to render OSG legally responsible for social media companies’ independent
                     decisions.
         Plaintiffs are also unlikely to prevail on their claim that the Surgeon General engaged in

  “such significant encouragement” that any of their alleged injuries were “essentially compel[led]”

  by OSG. O’Handley, 62 F.4th at 1158. The Surgeon General’s mission is to “protect, promote, and

  advance the health and safety of the United States” by, among other things, “raising awareness

  about health threats” and “stimulating action nationwide on public health issues.” Lesko Decl. ¶ 3

  (Ex. 63). The Surgeon General relies on his “bully pulpit”—that is, his “visibility as the Nation’s



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  Doctor”—to carry out that mission. Id. OSG possesses no enforcement or regulatory authority over

  private parties, including social media companies. Id.

         Plaintiffs’ characterizations of OSG’s conduct as constituting “demands,” “pressure,” and

  “threat[s]” are illustrative of the fundamental flaws in their case. See PI Supp. 10-13. Consider, for

  example, Plaintiffs’ assertion that the Surgeon General’s Health Misinformation Advisory

  “explicitly demands greater censorship from social-media platforms.” PI Supp. 11. The Advisory

  itself overwhelmingly refutes that assertion.

         The Advisory states in clear terms that it is a “public statement that calls the American

  people’s attention to a public health issue and provides recommendations for how that issue should

  be addressed.” Advisory at 3 (emphasis added). Its recommendations are framed exclusively in

  precatory language, rather than mandatory language. It explains what various sectors of society

  “can” do to address health misinformation, including eight recommendations for “what technology

  platforms can do.” Id. at 12 (emphasis added). Among the things that the Advisory says

  “governments can do” is:

         Convene federal, state, local, territorial, tribal, private, nonprofit, and research
         partners to explore the impact of health misinformation, identify best practices to
         prevent and address it, issue recommendations, and find common ground on
         difficult questions, including appropriate legal and regulatory measures that address
         health misinformation while protecting user privacy and freedom of expression.
  Id. at 7 (emphasis added). In short, the Advisory indicates that it is nonbinding, uses only precatory

  language, and recommends that stakeholders (including private parties) “[c]onvene” to “find

  common ground” while accounting for “freedom of expression.” And of course, the Advisory is

  an advisory, not an order. See Hart v. Facebook, Inc., No. 22-cv-737, 2022 WL 1427507, at *7

  (N.D. Cal. May 5, 2022) (“Surgeon General Murthy’s ‘22-page advisory’ document is, well,

  advisory.”). See also Defs.’ Resp. PFOF ¶¶ 318-329.




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          It is therefore not true that the Advisory “explicitly demands greater censorship from

  social-media platforms.” PI Supp. 11. Indeed, it is difficult to imagine how OSG could have been

  clearer about the nonbinding, non-rights-infringing nature of the Advisory. Plaintiffs, for their part,

  make no effort to grapple with the language in the Advisory that contravenes their argument. Nor

  do they grapple with the fact that adopting their reading of the Advisory would have the effect of

  transforming private action into government action whenever a private party decides it will answer

  the Government’s precatory call to action. As one district court explained in this exact context,

  “vague government advisory documents . . . are issued annually by the thousands and do not

  secretly transform large swathes of the private sector into state actors.” Hart, 2022 WL 1427507,

  at *7. And Plaintiffs fail to cite any analogous cases supporting their argument that the Advisory

  “provide[s] such significant encouragement” to social media companies that any of their decisions

  “must in law be deemed to be that of [OSG].” Blum, 457 U.S. at 1004. At least two courts have

  rejected that very argument. See Hart, 2022 WL 1427507, at *7 (holding that the Surgeon

  General’s Advisory “do[es] not secretly transform large swathes of the private sector into state

  actors”); Changizi v. HHS, 602 F. Supp. 3d 1031, 1056 (S.D. Ohio 2022) (“[T]o the extent the RFI

  and July Advisory affect Plaintiffs at all, those effects stem from Twitter’s ‘independent actions.’”

  (citation omitted)), appeal filed, No. 22-3573 (6th Cir. June 6, 2022). This Court should do the

  same.

          Moreover, as with their arguments about the White House Defendants, Plaintiffs fail again

  to identify any “specific conduct” that OSG “essentially compel[ed].” O’Handley, 62 F.4th at

  1158. 79 The only suggestion of specific conduct is Plaintiffs’ contention that, “[i]n response to the


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    Plaintiffs contend that Facebook “agreed to additional data-sharing demanded by the Surgeon
  General.” PI Supp. 11. Setting aside the fact that there is no evidence to support the contention that
  Dr. Murthy “demanded” anything from Facebook, “additional data-sharing” is not complained of



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  Advisory, Facebook reported a series of more aggressive steps against misinformation, including

  deplatforming the Disinformation Dozen and adopting more restrictive policies.” PI Supp. 12. That

  argument is facially deficient; “[r]esponding agreeably to a request” is not evidence of government

  responsibility for private conduct. La. Div. Sons of Confederate Veterans, 821 F. App’x at 320.

  Were it otherwise, the Government would be severely restricted from expressing its views on

  matters of public concern. See Summum, 555 U.S. at 467-68.

         Even assuming, however, that Facebook’s “response” to the Advisory could somehow

  satisfy the standard articulated in Blum, the evidence here falls short. Plaintiffs cite emails from

  Facebook to OSG on July 21 and July 23, 2021. See Waldo Exs. 16, 19. In the first email, Facebook

  thanked OSG for “providing more context to the ongoing discussion around the Surgeon General’s

  recent announcement” and followed up about “questions [OSG] asked in the meeting focused on

  CrowdTangle, data on online interventions, and Facebook’s borderline content policies.” Waldo

  Ex. 16 at 1 (Dkt. 210-15). Nothing in this email indicates that Facebook took any action in response

  to the Advisory; Facebook instead followed up with information about its existing policies. Id. at

  1-2. In the second email, sent on July 23, a Facebook employee summarizes his understanding of

  a meeting with Dr. Murthy earlier that day, including that he “wanted to make sure [Dr. Murthy]

  saw the steps [Facebook] took this past week to adjust policies on what we are removing with

  respect to misinformation, as well as steps taken to further address the ‘disinfo dozen.’” Waldo

  Ex. 19 at 1 (Dkt. 210-18). Again, nothing in this email indicates that Facebook took any action in

  response to the Advisory, Facebook’s meetings with OSG, or any other conduct by OSG. And it

  bears repeating that even if OSG had requested that Facebook make the changes mentioned in that



  in this action—it has no conceivable relationship with the content moderation that Plaintiffs accuse
  Defendants of conducting. The same is true of Facebook’s provision of “biweekly reports on
  misinformation” to OSG. Id. at 12. In any event, those reports were provided voluntarily.


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  email (which it did not), nothing in the record indicates that Facebook did anything other than

  “comply with the request” using “its own independent judgment,” O’Handley, 62 F.4th at 1158,

  for reasons related to its own economic interest, see Gurrea Decl. ¶¶ 10-81 (Ex. 1); see also Defs.’

  Resp. PFOF ¶¶ 259-261, 346-348.

         Any doubt about Facebook’s “response” to OSG’s private (and public) communications

  can be put firmly to rest by Facebook’s contemporaneous public statements about the Advisory

  and the Disinformation Dozen. On July 17, 2021—two days after the Advisory was released—

  Facebook announced that it had “already taken action on all eight of the Surgeon General’s

  recommendations,” and it published a four-page document describing policies that Facebook

  already had in place well before the Advisory issued. Ex. 27 (publishing Facebook’s response to

  the Advisory); see also Ex. 71 at 1 (Facebook’s response to the Advisory). The four-page

  document does not describe any new actions that Facebook was taking in response to the Advisory;

  rather, it discusses steps that Facebook had been taking since as far back as April 2020. See Ex.

  71. Likewise, in August 2021, Facebook posted an update explaining actions taken against the

  Disinformation Dozen. Ex. 145. The post describes a “debate” among “people” about the

  Disinformation Dozen, which stemmed from a third-party “report” on the Disinformation Dozen

  by the Center for Countering Digital Hate, which found that “12 people are responsible for 73%

  of online vaccine misinformation on Facebook.” Id. Facebook vigorously disputes that claim,

  observing that it is “baseless” and that the center relied on an overly narrow sample size. Id. The

  post goes on to note that Facebook has removed misinformation that “violates [its] policies,” but

  “the remaining accounts associated with these individuals are not posting content that breaks our

  rules . . . or are simply inactive,” and so Facebook has not taken action against them. Id. These

  posts underscore that Facebook acted independently in its approach to misinformation, including




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  its analysis of the third-party “report” about the Disinformation Dozen and the “debate”

  surrounding that report.

         Plaintiffs’ erroneous treatment of the Advisory typifies their mischaracterization of other

  evidence of OSG’s conduct in 2021 and 2022. They erroneously represent at least eight times that

  OSG has “demanded” actions by the social media companies. PI Supp. 10-13. More specifically,

  in addition to the Advisory, Plaintiffs seek to hold OSG accountable for content moderation by

  citing OSG’s public and private statements and documents, which may be divided into three

  categories: (1) the Surgeon General’s public statements; (2) OSG’s private communications with

  social media companies; and (3) the March 2022 RFI. Like the Advisory, none of this conduct

  “provide[s] such significant encouragement” to social media companies that any of their decisions

  “must in law be deemed to be that of [OSG].” Blum, 457 U.S. at 1004.

                 i.      Surgeon General’s Public Statements

         First, the Surgeon General’s public statements fall far short of rendering OSG responsible

  for any private conduct. To start, Plaintiffs have failed again to identify which “specific conduct”

  by any social-media company that has injured them could plausibly be attributed to any of the

  Surgeon General’s public statements. Moody, 868 F.3d at 352. As discussed above with respect to

  Plaintiffs’ claims against the White House, it is not enough for Plaintiffs to point to disparate

  statements by the Surgeon General, label them a “pressure campaign,” PI Supp. 10, and impliedly

  assert that years of private conduct must “be deemed to be that of” OSG as a result of that

  campaign, Blum, 457 U.S. at 1004. For the Court (and Defendants) to assess the validity of

  Plaintiffs’ arguments, Plaintiffs must identify which specific conduct was “essentially compel[ed]”

  by OSG. O’Handley, 62 F.4th at 1158. They have failed to do so.




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         Even more fundamentally, the Surgeon General’s public statements about health

  misinformation are paradigmatic examples of government speech on public policy, which does not

  transform private conduct into state action. “Broad stances like those embraced by the Surgeon

  General embody” the Government’s “right to ‘speak for itself[,] . . . say what it wishes,’ and to

  select the views that it wants to express.” Changizi, 602 F. Supp. 3d at 1054 (quoting Summum,

  555 U.S. at 467-68). At no point in his public statements has the Surgeon General “demanded”

  that social media companies do anything—let alone that any specific company take action against

  any specific content or accounts. Nor has the Surgeon General “offered . . . incentive[s] for taking

  down [content]” or made “request[s] with . . . strings attached.” O’Handley, 62 F.4th at 1158. In

  his role of calling attention to important public health issues, the Surgeon General has chosen to

  highlight health misinformation as an issue that “we” the public ought to “demand” that

  everyone—including social media companies—“take responsibility for” resolving. Waldo Ex. 33

  at 1 (Dkt. 210-4). If private conduct were transformed into state action whenever the Government

  urged private action in this way, then the Government would be severely restricted in its ability to

  comment on public policy matters. See Summum, 555 U.S. at 467-68 (“[I]t is not easy to imagine

  how government could function if it lacked [the] freedom” to “select the views that it wants to

  express”).

         Plaintiffs fail to address the government-speech doctrine in the context of the OSG’s public

  statements. Their only comment on the applicability of the government-speech doctrine in this

  case is to distinguish “opining in the abstract about disputed policy questions,” which in their view

  is protected speech, from “contacting social-media companies through backchannels and

  demanding . . . specific changes to their content-moderation policies and . . . concrete censorship

  action on particular items of speech.” PI Supp. 7. Assuming for the sake of argument that the line




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  Plaintiffs have drawn is appropriate, the Surgeon General’s public comments on health

  misinformation fall comfortably on the protected side.

                 ii.    OSG’s Private Communications

         Plaintiffs’ reliance on OSG’s private communications with social media companies suffers

  from the same flaws. As with the Advisory, Plaintiffs mischaracterize OSG’s comments in these

  meetings as “demands” with no evidentiary support. PI Supp. 11 (“In private meetings, Dr. Murthy

  demands that the platforms perform ‘defensive work’ to remove misinformation.”). The bulk of

  OSG’s communications with the social media companies, however, involved discussing the

  Surgeon General’s Advisory at a “high level.” See supra Defs.’ PFOF § II.B. OSG staff would tell

  the companies that they “hope[d]” they would review the Advisory and “would love to hear from

  [them] after it comes out, if you think there’s ways we can collaborate.” Waldo Dep. 89:16-19; see

  also id. at 109:1-4 (OSG asked Facebook “whether or not they would share what they were doing

  in response to the [A]dvisory, if they were taking any actions”). There is nothing about these

  communications that suggests that OSG is responsible for any social media company’s decisions,

  or that OSG somehow interfered with any company’s independent judgment regarding specific

  content moderation decisions or policies.

         Plaintiffs fail to offer any evidence that OSG significantly encouraged any action during

  its private meeting with Facebook on July 23, 2021, or that Facebook took any action in response.

  At Facebook’s request, Dr. Murthy and OSG staff met with Facebook on July 23. Id. at 96:2-8.

  Dr. Murthy created a “cordial atmosphere,” Id. at 107:1-2, and “want[ed] to have a better

  understanding of the reach of the mis- and disinformation” on Facebook, Id. at 98:18-22. Mr.

  Waldo did not recall OSG making any specific asks of Facebook, except that “specific questions

  were [asked] about understanding the data around the spread of misinformation and how we were




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  measuring that.” Id. at 35:20-23. And an offer was made to connect DJ Patil, the White House’s

  “data person,” to a person at Facebook, so that Dr. Patil could better understand Facebook’s data

  about the spread of misinformation. Id. at 112:1-10. It is inexplicable how this conversation could

  have rendered OSG responsible for any choices made by Facebook after the meeting.

         Throughout this litigation, Plaintiffs have cited a New York Times article for the proposition

  that Dr. Murthy had “a series of ‘angry’ and ‘tense’ meetings with platforms to demand that they

  remove misinformation.” PI Supp. 11 (citing Pls.’ PFOF ¶¶ 341-344, which in turn cite Zolan

  Kanno-Youngs & Cecilia Kang, ‘They’re Killing People’: Biden Denounces Social Media for

  Virus Disinformation, N.Y. Times (July 16, 2021)). Plaintiffs cited that article as justification for

  obtaining expedited discovery in support of the instant motion. See, e.g., Pls.’ Supp. Br.

  Addressing Fifth Circuit’s Deposition Order at 22 (Dkt. 137). Having now obtained written and

  deposition discovery from OSG, Plaintiffs can point to no evidence that Dr. Murthy ever had an

  “angry” or “tense” meeting with social media companies. The record demonstrates just the

  opposite: Mr. Waldo testified that he was “skeptical” of the Times’s reporting. See also Lesko ¶ 13

  (Ex. 63) (stating that there was no meeting where Dr. Murthy “angrily” said anything to Facebook,

  and “[t]o the extend the article can be read to suggest otherwise, it is wrong”). Unsurprisingly,

  Plaintiffs fail even to acknowledge this contrary evidence and continue to cite the Times article. PI

  Supp. 11. In this respect, as with every other claim against OSG, Plaintiffs have failed to carry

  their burden of showing that they are likely to succeed on the merits of their First Amendment

  claim. See also Defs.’ Resp. PFOF ¶¶ 253-92.

                 iii.    The RFI

         Plaintiffs argue that the Surgeon General’s March 2022 RFI “demand[ed] information from

  platforms about the spread of, and how to track, misinformation on their platforms.” PI Supp. 13.




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  The RFI did no such thing. The RFI states in clear terms: “The Office of the Surgeon General

  requests input from interested parties on the impact and prevalence of health misinformation in

  the digital information environment during the COVID-19 Pandemic . . . . Please feel free to

  respond to as many topics as you choose.” 87 Fed. Reg. at 12,712-13 (emphasis added). It also

  instructs that respondents should not submit their users’ “personally identifiable information.” Id.

  at 12,713; see also id. (“All information should be provided at a level of granularity that preserves

  the privacy of users.”). “Plaintiffs, in other words, have not plausibly established that the RFI is

  anything other than what it purports to be: a request.” Changizi, 602 F. Supp. 3d at 1055. See also

  Defs.’ Resp. PFOF ¶¶ 411-421.

         Moreover, Plaintiffs have not pointed to any specific conduct that has harmed them as a

  result of the RFI, or is imminently likely to do so. On April 7, 2023, OSG published the responses

  to the RFI. See Ex. 70 (excerpt of RFI responses). Those responses give no indication that the

  companies took action against any users in response to the RFI. The companies submitted

  information about the policies they already had in place—policies that were independently devised

  by the companies—and “metrics” about the enforcement of those policies. Twitter, for example,

  submitted a five-page document that provides a high-level overview of its actions related to

  COVID-19, including a description of Twitter’s policies since March 2020. Ex. 70 at 1-6.

  According to Twitter, since 2020, its “enforcement teams . . . challenged 11.7 million accounts,

  suspended 6,599 accounts and removed over 77,287 pieces of content worldwide.” Id. at 3.

  Twitter’s submission does not say anything about taking new action, let alone in response to the

  RFI or OSG’s conduct more generally.

             2. Plaintiffs fail to show “coercion” under Bantam Books.
         Plaintiffs also contend that the White House and the Surgeon General engaged in “pressure

  campaigns” against the social media companies that constituted “coercion,” and further assert that


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  “the other agencies discussed herein, such as CISA, the FBI, CDC, NIAID, and the GEC,” also

  engaged in “coercion” akin to that in Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963), “because

  of the background threats from senior federal officials, including both Defendants and their

  political allies,” either to repeal or reform § 230, or to escalate antitrust enforcement. PI Supp. 14-

  15. Here, too, they have shown no likelihood of success on the merits of their contention that the

  content moderation decisions made by social media companies resulted from “exercise[s] [of]

  coercive power” by Defendants, Blum, 457 U.S. at 1004, whether through their public remarks or

  in private discussions with the companies. Even if certain Defendants asked or urged the

  companies to do more to address misinformation on their platforms, the record reflects that any

  ensuing content moderation decisions they made ultimately “rested with” those companies. See

  La. Div. Sons of Confederate Veterans, 821 F. App’x at 320.

                 a. Plaintiffs fail to connect purported coercion to specific acts harming them.
         Plaintiffs’ coercion theory stumbles out of the gate because it improperly attempts to

  characterize as state action broad swathes of platform conduct covering entire categories of

  misinformation, instead of concrete applications of platforms’ policies to particular social media

  posts or accounts. But to give rise to state action not only must any purported government

  “pressure” be sufficiently coercive to render a third party’s actions attributable to the government,

  but such purported “pressure” must also be targeted at the specific actions that harmed the plaintiff.

  See Bantam Books, 372 U.S. at 61-62 (Free Speech Clause violation arose from state agency’s

  threats of prosecution if distributor did not remove “certain designated books or magazines

  distributed by him [that] had been reviewed by the [agency] and . . . declared … to be

  objectionable” (emphasis added)); Backpage.com, 807 F.3d at 230, 232 (sheriff’s letter demanded

  that two credit card issuers “prohibit the use of their credit cards to purchase any ads on” a

  particular website containing advertisements for adult services); Okwedy v. Molinari, 333 F.3d


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  339, 341-42 (2d Cir. 2003) (per curiam) (municipal official allegedly pressured billboard company

  to take down particular series of signs he found offensive). In all those cases—as in Bantam Books,

  and unlike in Blum—government officials had pressured the private entities in question to engage

  in (or refrain from) “the specific conduct of which the plaintiff complain[ed].” Blum, 457 U.S. at

  1004.

          In any event, Plaintiffs’ coercion theory is properly rejected, even assuming they could

  meet the specific conduct requirement—which they cannot.

                 b. Defendants made no threats and instead sought to persuade.
          Plaintiffs mischaracterize Defendants’ statements and communications as coercive, and

  their argument hinges on a fundamentally mistaken comparison between this case and Bantam

  Books, 372 U.S. 58. Plaintiffs contend that Defendants made “on-the-ground threat[s]” akin to

  those in Bantam Books, and that therefore the Defendants’ remarks cannot be characterized as

  “advice.” PI Supp. 14 (quoting Bantam Books, 372 U.S. at 68). That comparison is flawed, because

  it ignores the close connection between the state agency’s demands for the removal of particular

  publications and the threats of actual criminal enforcement at issue in Bantam Books. That

  connection is entirely absent here, where (other than Plaintiffs’ conjecture), there is no evidence

  that any Defendant asserted that the content moderation choices of social media companies would

  result in criminal (or civil) proceedings, or retaliatory government action of any kind. Plaintiffs

  therefore fail to recognize that under Bantam Books and the cases applying it, neither official

  reproach of private conduct nor calls for it to cease will give rise to state action so long as

  government officials do not pair their criticism—even of private speech—with threats of

  punishment.

          Bantam Books involved Rhode Island’s Commission to Encourage Morality in Youth,

  empowered by law “to investigate and recommend the prosecution of all violations” of a Rhode


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  Island indecency law, including by deeming non-obscene publications objectionable for “sale,

  distribution or display” to persons below age 18. See Bantam Books, 372 U.S. at 60-62 & n.1.

  After deeming a publication “objectionable,” the Commission routinely notified the publication’s

  distributor not to carry it, threatening prosecution under the state obscenity law for failure to

  comply. Id. at 61-62. Moreover, the Commission’s notices warned recipients that the state attorney

  general “will act for” the agency “in case of non-compliance.” See id. at 62 n.5. Following the

  Commission’s notices local police officers conducted inspections to inquire whether the distributor

  had removed the books and magazines in question from circulation. Id. at 63. Typically,

  distributors would return the materials to the publisher rather than face court action. See id.

         The Supreme Court held that, although the Commission’s notices were not themselves

  enforceable, compliance was nevertheless effectively compulsory because “[p]eople do not lightly

  disregard public officers’ thinly veiled threats to institute criminal proceedings against them if they

  do not come around[.]” Id. at 68. As the Court observed, the Commission’s “notices, phrased

  virtually as orders, reasonably understood to be such by the distributor, invariably followed up by

  police visitations, in fact stopped the circulation of the listed publications ex proprio vigore.” Id.

  (emphasis added). Thus, in Bantam Books, the Court determined “that even though the distributors

  would violate no law if they refused to cooperate with” the state agency, “compliance with the

  directives was [n]ot voluntary.” Penthouse Int’l, Ltd. v. McAuliffe, 610 F.2d 1353, 1355-56, 1360

  (5th Cir. 1980) (injunction warranted under Bantam Books where county attorney used “calculated

  scheme that included public announcements in the local newspapers, systematic visits to retailers

  of the magazines in question, and a program of carefully timed warrantless arrests” under state

  obscenity statute to effectively terminate sale of plaintiffs’ magazines within county).




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         But here, Plaintiffs’ bid to extend Bantam Books fails, because the record shows

  Defendants did not “phrase” their statements “virtually as orders,” the companies’ reactions to

  Defendants’ statements did not show that the companies “reasonably understood” those statements

  “as orders” (“virtually,” or otherwise), and by no means were the statements “followed up” by law

  enforcement “visitations.” The record does not show any Defendant conveyed to any social media

  company that any exercise of criminal, civil, or regulatory authority against it would result from

  “non-compliance” with a Defendant’s preferences regarding content moderation. There simply is

  no showing of “threats to institute criminal proceedings,” or threats of any kind, akin to those in

  Bantam Books. Cf. Multimedia Holdings Corp. v. Cir. Ct. of Fla., St. Johns Cnty., 544 U.S. 1301,

  1305 (2005) (Kennedy, J., in chambers) (“[a]lthough it is true that ‘[p]eople do not lightly disregard

  public officers’ thinly veiled threats to institute criminal proceedings,’ Bantam Books, [372 U.S.

  at 68],” relief was unwarranted from allegedly coercive state court orders purportedly presaging

  prosecution where, inter alia, “there [was] no suggestion that the judge who entered the

  orders . . . could institute such a proceeding”).

         Even where officials raise the prospect of government sanctions for disfavored conduct—

  evidence of which has not been shown here—any such “threats” must be more than fanciful to

  amount to coercion of a private entity such that private conduct becomes state action constrained

  by the Free Speech Clause. As the Ninth Circuit noted in rejecting a characterization of YouTube’s

  content moderation decisions as “state action,” remarks by government officials that “lack force

  of law” are “incapable” of sustaining a coercion theory. Doe v. Google LLC, No. 21-16934, 2022

  WL 17077497, at *2 (9th Cir. Nov. 18, 2022) (unpublished). That is, public officials must remain

  free in the public interest to criticize the conduct, including the speech, of private parties without




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  fear of begetting “state action,” so long, as here, their remarks are “devoid” of “any enforceable

  threats.” See VDARE, 11 F.4th at 1163 (citation omitted).

         Although the Fifth Circuit has not had occasion to examine the limits of Bantam Books for

  state action purposes, other circuits have repeatedly rejected efforts to expand its holding. For

  example, the Tenth Circuit in VDARE rejected a state action claim where a mayor had publicly

  encouraged a resort to “be attentive to the types of events they accept,” and the resort then

  cancelled its contract to host the organizational plaintiff’s conference. 11 F.4th at 1156-57, 1163-

  68, 1171-72 (citation omitted). The Third Circuit in R.C. Maxwell Co. v. Borough of New Hope,

  similarly rejected a claim of state action where a letter from the Borough Council caused a bank

  to remove the plaintiff’s billboards from the bank’s property, because in comparison to the threats

  of criminal prosecution in Bantam Books, the Council “could brandish nothing more serious than

  civil or administrative proceedings under a zoning ordinance not yet drafted.” 735 F.2d 85, 86 n.2,

  88 (3d Cir. 1984) (emphasis added). And the Second Circuit in Hammerhead Enters., Inc. v.

  Brezenoff, similarly rejected an attempted Bantam Books analogy, where a municipal official sent

  letters urging department stores not to sell a disfavored board game, because the official’s agency

  lacked “administrative power” over New York department stores, and “no credible evidence

  suggest[ed] that any store decided not to carry the board game as a result of [the] letter.” 707 F.2d

  33, 36-37 & n.2 (2d Cir. 1983). Such decisions show that “Bantam Books and its progeny draw a

  line between coercion and persuasion: The former is unconstitutional intimidation while the latter

  is permissible government speech.” O’Handley, 62 F.4th at 1163 (citing Am. Family Ass’n v. City.

  & Cnty. of S.F., 277 F.3d 1114, 1125 (9th Cir. 2002)). “This line holds even when government

  officials ask an intermediary not to carry content they find disagreeable.” Id.




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          The D.C. Circuit’s analysis in Penthouse International is also instructive. There, the U.S.

  Attorney General’s Commission on Pornography sent retailers a letter suggesting that if they

  continued to sell adult magazines, then they would be named in the Commission’s public report,

  and thus associated with promoting child abuse. As a result, one retailer that received the letter

  stopped selling adult magazines. Playboy Enters., Inc. v. Meese, 639 F. Supp. 581, 583-85 (D.D.C.

  1986). In litigation brought by publishers of the magazines, the D.C. Circuit concluded that the

  letter “contained no threat to prosecute, nor intimation of intent to proscribe the distribution of the

  publications,” and therefore did not violate the First Amendment. Penthouse Int’l, Ltd. v Meese,

  939 F.2d 1011, 1015 (D.C. Cir. 1991). The adult magazine plaintiff’s “threat” allegation “with the

  rhetoric drawn out says nothing more than that the Commission threatened to embarrass the

  [magazine’s] distributors publicly,” which was insufficient. Id. at 1016 (emphasis added). The

  D.C. Circuit did “not see why government officials may not vigorously criticize a publication for

  any reason they wish.” Id. at 1015. Indeed, “[a]s part of the duties of their office, these officials

  surely must be expected to be free to speak out to criticize practices, even in a condemnatory

  fashion, that they might not have the statutory or even constitutional authority to regulate.” Id.

  (emphasis added). Thus, the D.C. Circuit explained, “[a]t least when the government threatens no

  sanction—criminal or otherwise—we very much doubt that the government’s criticism or effort

  to embarrass the distributor threatens anyone’s First Amendment rights.” Id. at 1016. 80


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     Plaintiffs err in comparing this case to Backpage.com, LLC v. Dart, 807 F.3d 229 (7th Cir. 2015).
  In Backpage.com, the county sheriff sent letters to Visa and MasterCard asking that they
  “immediately cease and desist from allowing [their] credit cards to be used to place ads on websites
  like Backpage.com,” which had an “adult” section on its classified advertisements forum. Id. at
  230-31. The letters asserted that Visa and MasterCard had “the legal duty to file ‘Suspicious
  Activity Reports’ to authorities in cases of human trafficking and sexual exploitation of minors,”
  and cited the federal money-laundering statute, intimating that the “companies could be prosecuted
  for processing payments made by purchasers of the ads on Backpage that promote unlawful sexual
  activity, such as prostitution.” Id. at 232. The day after the sheriff sent the letters, his spokesperson



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          In agreement, other courts of appeals have held that “public officials may criticize practices

  that they would have no constitutional ability to regulate, so long as there is no actual or threatened

  imposition of government power or sanction.” See, e.g., Am. Family Ass’n, 277 F.3d at 1120, 1125

  (no Free Speech Clause violation where municipal resolution urged “local television stations not

  to broadcast advertising campaigns aimed at ‘converting’ homosexuals”); X-Men Sec., Inc. v.

  Pataki, 196 F.3d 56, 68 (2d Cir. 1999) (rejecting Free Speech Clause claim where legislators were

  alleged to have “made accusations against [a private security company], asked government

  agencies to conduct investigations into its operations, questioned [the company’s] eligibility for

  an award of a contract supported by public funds, and advocated that [the company] not be

  retained,” and noting that court was “aware of no constitutional right on the part of the plaintiffs

  to require legislators to refrain from such speech or advocacy”); see also Walker, 576 U.S. at 208

  (“[W]hen the government speaks[,] it is entitled to promote a program, to espouse a policy, or to

  take a position. In doing so, it represents its citizens[,] and it carries out its duties on their behalf.”);

  Block v. Meese, 793 F.2d 1303, 1314 (D.C. Cir. 1986) (Scalia, J.) (“[C]ontrol of government

  expression (which would always seem to fall in the category of political expression, the most

  protected form of speech) is no more practicable, and no more appealing, than control of political

  expression by anyone else.”).



  informed Visa and MasterCard that if they did not “sever ties with Backpage and its imitators,”
  the sheriff would highlight their “ties to sex trafficking” at a press conference. Id. at 233. The
  sheriff also “contacted the Inspector General of the United States Postal Service and the FBI,
  urging them to investigate the lawfulness of alternative payment methods for Backpage’s sex ads.”
  Id. at 237. Visa and MasterCard thereafter stopped allowing use of their cards to purchase ads on
  the website. Id. at 232. The Seventh Circuit therefore concluded that the sheriff’s credible threats
  and actions had violated the free speech rights of Backpage. Id. at 231. In this case, by contrast,
  there is no evidence that a Defendant “intimat[ed]” to any particular company that criminal
  proceedings could ensue from its specific content moderation decisions, or even that any
  Defendant vowed to “urg[e]” law enforcement agencies “to investigate the lawfulness” of such
  decisions. Id. at 232, 237.


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          Plaintiffs fail to address the circuit decisions that have declined to extend Bantam Books.

  They instead rely (PI Supp. 14) on Rattner v. Netburn, 930 F.2d 204, 209-10 (2d Cir. 1991), a

  decision that also fails to support Plaintiffs. Rattner held that a letter from a village official to the

  local Chamber of Commerce could “reasonably be viewed as an implicit threat” to boycott local

  businesses or otherwise retaliate if the Chamber continued to carry statements by the plaintiff in

  its local newspaper. Id. at 210 (emphasis added); see Zieper v. Metzinger, 474 F.3d 60, 69 (2d Cir.

  2007) (applying Rattner). But “consider[ing] the entirety of the defendants’ words and actions,”

  id. at 66, the evidence in Rattner showed that such a boycott “threat was perceived and its impact

  was demonstrable.” 930 F.2d at 210. Here, in contrast, no record evidence shows that social media

  companies “perceived” remarks by or communications from Defendants as “threats”—let alone

  that such a perception was objectively “reasonable,” or that it had any “impact” on the companies’

  decisions. In addition, the threat of a commercial boycott in Rattner (omitted from Plaintiffs’

  description of the case) “constituted a more direct economic sanction,” Zieper, 474 F.3d at 69, than

  anything like the backdrop of unspecified policy changes to § 230, and antitrust enforcement, that

  Plaintiffs rely on here. Indeed, none of the factors that the Second Circuit considers when

  evaluating claims of coercion-based state action—“(1) [officials’] word choice and tone; (2) the

  existence of regulatory authority; (3) whether the speech was perceived as a threat; and, perhaps

  most importantly, (4) whether the speech refers to adverse consequences”—supports finding state

  action in this case. See Nat’l Rifle Ass’n of Am. v. Vullo, 49 F.4th 700, 707, 715 (2d Cir. 2022),

  petition for cert. filed, No. 22-842 (U.S. Mar. 6, 2023).

          To the contrary, when Defendants’ private communications and public statements are

  viewed in “the[ir] entirety,” Zieper, 474 F.3d at 66, they manifest Defendants’ consistent

  acknowledgment that social media companies exercise sole control over content moderation on




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  their own platforms, and cannot be viewed as having “crossed the line between attempts to

  convince and attempts to coerce.” Vullo, 49 F.4th at 707 (quoting Zieper, 474 F.3d at 66); see also

  id. at 716-19 (rejecting claim of coercion where, inter alia, official’s request “did not refer to any

  pending investigations or possible regulatory action” and “did not ‘intimat[e] that some form of

  punishment or adverse regulatory action [would] follow the failure to accede to [it]’”) (quoting

  Hammerhead, 707 F.2d at 39). 81

          In denying Defendants’ motion to dismiss, this Court remarked that a threat need not “be

  enforceable in order to constitute coercive state action,” and that “the government actor making

  the threat need not possess the direct power or decisionmaking authority to enforce [it].” MTD

  Order 62 & n.206 (emphases added). Although some courts have concluded that the directness of

  authority is ‘not necessarily dispositive,” Okwedy, 333 F.3d at 343-44, it “is certainly relevant,”

  id. at 343. Indeed, it is highly probative of whether a threat is objectively realistic, and not fanciful,

  and therefore may constitute coercion. And the stringent requirements for state action foreclose

  the notion that an official’s remarks become “coercive” where, as here, they are “‘devoid’” of any



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    This case differs from Okwedy, even assuming that opinion reflects the Second Circuit’s current
  view of the law. Cf. Vullo, 49 F.4th at 716-18. In Okwedy, a minister contracted with a billboard
  company to display two billboards condemning homosexuality. 333 F.3d at 340. The borough
  president wrote a letter to the company criticizing the billboards and remarking that the company
  “derive[d] substantial economic benefits” from a “number of billboards” it owned in the borough.
  Id. at 342 (citation omitted). He also directed the company to contact his legal counsel to discuss
  the issues raised in his letter. Id. The company took the signs down that same day. Id. at 340. The
  Second Circuit concluded that between the borough president’s references to the “substantial
  economic benefits” the company received from its business within the borough, and his directive
  to contact the borough’s legal counsel, the company could reasonably fear that the president
  “intended to use his official power to retaliate against it if it did not respond positively to his
  entreaties.” Id. at 344. Here again, although some officials obviously expressed frustration over
  and dissatisfaction with overall trends in platform content moderation choices, that falls well short
  of showing that each Defendant manifested an “inten[t] to use his official power to retaliate
  against,” id., any social media company if the company did not engage in any particular act (or
  acts) of content moderation.


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  threats even indirectly enforceable. See VDARE, 11 F.4th at 1163 (quoting R.C. Maxwell, 735 F.2d

  at 88-89); Vullo, 49 F.4th at 716-19; see also Penthouse Int’l, 939 F.2d at 1015 (no coercion where

  “the Advisory Commission had no . . . tie to prosecutorial power” “equivalent” to Bantam Books,

  “nor authority to censor publications,” but where instead it leveled “no threat to prosecute, nor

  intimation of intent to proscribe the distribution of the publications”); cf. Multimedia Holdings,

  544 U.S. at 1305 (Kennedy, J., in chambers) (rejecting Bantam Books-based coercion claim where,

  inter alia, “there is no suggestion that the judge who entered the orders . . . could institute”

  allegedly feared “prosecution by virtue of the orders”). VDARE, R.C. Maxwell, Penthouse

  International, and Vullo, are the weight of authority on this point. As described above, each of

  those decisions rejected efforts akin to Plaintiffs’ here to expand Bantam Books because there was

  no “actual or threatened imposition of governmental power or sanction . . . ‘regulatory,

  proscriptive, or compulsory in nature.’” Penthouse Int’l, 939 F.2d at 1015 (quoting Laird v. Tatum,

  408 U.S. 1, 11 (1972)). 82

         In painting Defendants as making coercive “threats,” Plaintiffs also impermissibly ignore

  evidence reflecting Defendants’ recognition (and the companies’ too) that the companies remained

  firmly in “control” of their platforms, including how to handle specific content. See O’Handley,

  62 F.4th at 1156-57. Government officials are free to “vigorously criticize” private actions “for

  any reason they wish.” Penthouse Int’l, 939 F.2d at 1015. And here, Defendants’ remarks, even



  82
    The other two cases cited in the Court’s Rule 12(b) ruling also do not support analogy to Bantam
  Books. Peterson v. City of Greenville, 373 U.S. 244 (1963), held that the management of a
  restaurant engaged in state action when it excluded African-American patrons because municipal
  law required the exclusion. Id. at 248. No such enactment purports to require the content
  moderation choices challenged here. In National Rifle Ass’n of America v. Cuomo, 350 F. Supp.
  3d 94 (N.D.N.Y. 2018), although the District Court denied dismissal because it deemed the
  coercion allegations facially plausible, at a later stage of that action, the Second Circuit in Vullo
  essentially rejected the District Court’s reasoning.


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  those that ranked at most as “vigorous[] critici[sm],” consistently recognized their own ultimately

  advisory character: The officials clearly understood that what they said was advisory and “lack[ed]

  force of law.” See Doe, 2022 WL 17077497, at *2 (“acts . . . specifically directed at YouTube”

  that “lack force of law” are “incapable of coercing YouTube to do much of anything”). Thus, none

  of Defendants’ remarks on which Plaintiffs rely attempted to divest or succeeded in divesting any

  company of its autonomy and discretion to determine for itself which posts contained

  “misinformation,” and, if so, what to do about them.

                 c. Defendants consistently recognized social media companies’ authority over
                    their platforms and no evidence shows they engaged in improper “pressure.”
         Defendants address below the particular statements of the White House Press Secretary,

  the White House Digital Director, and the Surgeon General relied on by Plaintiffs, and then turn

  to Plaintiffs’ contention that “background threats” turned the remaining Defendants’ statements

  and actions into “coercion.” As we show, Plaintiffs’ attempt to depict remarks by various

  government personnel as a “pressure campaign” (PI Supp. 14, 18) is predicated on cherry-picking

  certain statements without regard to the context. That context shows that Defendants repeatedly

  acknowledged the social media companies’ independence and ultimate authority to make decisions

  regarding their terms of service and their application to particular content and accounts. Moreover,

  none of the challenged statements and communications threatened, overtly or otherwise, that

  “some form of punishment or adverse regulatory action [would] follow the failure to accede to”

  any of the government requests concerning misinformation on the companies’ platforms, let alone

  any specific requests (of which there were none) concerning Plaintiffs or their posts. Hammerhead,

  707 F.2d at 39. The challenged remarks therefore were not “coercive” for state action purposes.




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                 i.     White House Press Secretary

         During Press Secretary Psaki’s May 5, 2021, press briefing, she expressed the President’s

  view regarding social media platforms’ “responsibility” to “stop amplifying untrustworthy

  content, disinformation, and misinformation, especially related to COVID-19, vaccinations, and

  elections.” Ex. 147. Yet she also emphasized that the President “believe[s] in First Amendment

  rights” and that “social media platforms need to make” “the decisions” regarding “how they

  address the disinformation” and “misinformation” that “continue to proliferate on their platforms.”

  Ex. 147; see also supra Defs.’ PFOF § II.A.1; Defs.’ Resp. PFOF ¶¶ 123-124.

         Likewise, during the July 15, 2021 press briefing with the Surgeon General, Ms. Psaki

  remarked that the Government was “flagging . . . for Facebook” “problematic posts . . . that spread

  disinformation.” Ex. 40. But at the next day’s briefing she added that the Government does not

  “take anything down” or “block anything” and that social media platforms themselves, as “private-

  sector compan[ies],” “make[] decisions about what information should be on their platform[s],”

  Ex. 37. Ms. Psaki also reiterated that although government officials urged social media companies

  to address misinformation, the companies ultimately had to decide which strategies (if any) to

  adopt. “Any decision about platform usage and who should be on the platform,” she explained, “is

  orchestrated and determined by private-sector companies. Facebook is one of them . . . [a]nd there

  are a range of media who are—also have their own criteria and rules in place, and they implement

  them. And that’s their decision to do. That is not the federal government doing that.” Ex. 37. And

  when the news media later asked whether the Administration was “considering any regulatory or

  legal moves to possibly address disinformation on social media,” Ms. Psaki responded that it was

  “up to Congress to determine how they want to proceed moving forward.” Press Briefing by Press

  Secretary Jen Psaki, 2021 WL 3030746, at *2; see also Defs.’ Resp. PFOF ¶¶ 123-124, 141-162.




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                 ii.    White House Digital Director

         In a similar vein, Mr. Flaherty’s email correspondence with social media companies

  repeatedly manifests a shared understanding that Facebook and other companies remained fully in

  command of their content moderation decisions. Thus, when Facebook advised Mr. Flaherty that

  Tucker Carlson’s video discouraging COVID-19 vaccination did not violate its standards, Mr.

  Flaherty did not demand that Facebook nevertheless remove the video, or insist that the company

  change a policy, or threaten retaliation if Facebook failed to comply. Instead, he sought to better

  understand Facebook’s policies, how Facebook applied them, and how the White House could use

  the company’s public-data resource, CrowdTangle, to understand what content Americans were

  being exposed to on the platform. See supra Defs.’ PFOF § II.A.2.

         Although Mr. Flaherty used strong language at times, such language does not show

  coercion because it lacked any accompanying assertion that adverse consequences would follow

  if Facebook did not change its content moderation decisions. And when Mr. Flaherty shared with

  Facebook specific proposals concerning misinformation developed by third-party researchers, he

  emphasized that the White House was not insisting that Facebook adopt those proposals. Supra

  Defs.’ PFOF § II.A.2. The record fails to show that Mr. Flaherty threatened, or even alluded to,

  adverse consequences if the social media companies did not answer his questions, or if they

  declined to take action against particular posts or accounts. See, e.g., Dkt. 174-1 at 33 (asking

  Facebook, without mentioning any possible sanction, “[h]ow” a Tucker Carlson video was “not

  violative” of Facebook policies, and asking “[w]hat exactly is the rule for removal vs demoting?

  Moreover: you say reduced and demoted. What does that mean?”). Tellingly, the companies did

  not respond to Mr. Flaherty’s requests in a way indicating that they perceived Mr. Flaherty’s

  questions about COVID-19 misinformation trends on their platforms, and how the companies were




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  enforcing their policies, to be “threats.” See, e.g., Dkt. 174-1 at 42 (Facebook employee indicated

  understanding that the outside researchers’ “recommendations/observations” conveyed by Mr.

  Flaherty on April 23, 2021, had not come from within the White House). And far from instantly

  removing the “Disinformation Dozen” in the spring of 2021 after receiving the outside research

  “suggestions,” Facebook indicated that it would not do so because those 12 individuals “either

  d[id] not violate [its] policies or have ceased posting violative content,” and said so without any

  apparent concern that it would suffer any consequences at the Government’s hands for failing to

  remove them. Dkt. 174-1 at 42; see also Ex. 145 (“The remaining accounts associated with these

  individuals are not posting content that breaks our rules.”); Defs.’ Resp. PFOF ¶¶ 81, 82, 93-100,

  116-122.

                 iii.   The Surgeon General

         The Office of the Surgeon General likewise manifested respect for social media

  companies’ control over their own platforms. The Surgeon General’s Advisory, for example,

  proposed a range of potential content moderation measures—including labeling posts that contain

  misinformation—and cautions that companies should assess for themselves whether any measure

  might have “unintended consequences” or unjustifiably impede “free expression.” The Advisory

  did not purport to make that assessment for the companies, and certainly did not expressly or

  implicitly threaten the companies with adverse legal consequences if the recommendations were

  not accepted—indeed, the Surgeon General would lack authority to impose legal consequences.

  See Lesko Decl. ¶ 3 (Ex. 63); see also Advisory at 12 (proposing that social media companies

  might address misinformation by, among other things, “[p]rovid[ing] information from trusted and

  credible sources”). To the contrary, the Advisory expressly recognized that “[d]efining

  misinformation is a challenging task, and any definition has limitations.” Id. at 17. The Surgeon




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  General thus expressly urged social media companies to exercise their discretion in a way that

  “avoid[s] conflating controversial or unorthodox claims with misinformation.” Id. See also Defs.’

  Resp. PFOF ¶¶ 318-329.

         Nor can the Surgeon General’s March 2022 RFI reasonably be characterized as coercive.

  The RFI merely sought information, including “[i]nformation about sources of COVID-19

  misinformation” on social media and elsewhere. 87 Fed. Reg. at 12,713-14. Like the Surgeon

  General’s Advisory, the RFI imposed no obligations; responses were purely voluntary. See Lesko

  Decl. ¶ 6 (Ex. 63). This Court, in ruling on Defendants’ motion to dismiss, accepted as valid

  Plaintiffs’ characterization of the RFI as implicitly threatening to impose regulation. MTD Order

  61. Whether or not that characterization was facially plausible under Rule 12(b)(6), Plaintiffs have

  not adduced any evidence that the RFI threatened any regulatory consequence or that such a

  consequence could have followed. On its face, the RFI states that “HHS will consider the usability,

  applicability, and rigor of submissions in response to this RFI and share learnings from these

  responses with the public,” and that the “inputs from stakeholders will help inform future pandemic

  response in the context of an evolving digital information environment.” See 87 Fed. Reg. at

  12,713. Nothing in this RFI either expressly or implicitly threatened future regulation if social

  media companies failed to adopt content moderation policies and practices preferred by the

  Government. Indeed, as discussed above, the Surgeon General does not have independent

  regulatory authority, see, e.g., 31 Fed. Reg. 8855 (transferring the Surgeon General’s powers to

  what is now HHS), and thus cannot issue or enforce binding regulations. The RFI has not resulted

  in any proposed regulation. For their part, Plaintiffs cite no authority for the extraordinary notion

  that an agency’s publication of a request for information is coercive. Accordingly, Plaintiffs cannot




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  make a case of government coercion based on the Surgeon General’s RFI. See also Defs.’ Resp.

  PFOF ¶¶ 411-421.

                 d. Officials’ remarks about potential § 230 amendments and antitrust enforcement
                    raised legitimate policy questions and had no coercive effect.
         Plaintiffs seek to overcome the fatal deficiencies in their coercion theory by contending

  that the Defendants’ statements become coercive when viewed “against the backdrop” of alleged

  “threats” in Congress and from the Executive Branch to repeal or reform § 230, and to intensify

  antitrust enforcement against the companies. PI Supp. 15 (citing Pls.’ PFOF ¶¶ 1-30). That

  contention is mistaken in several respects.

         It bears emphasis from the outset that the record as a whole offers no evidence that certain

  legislators or Biden Administration officials have said they would refrain from advocating changes

  to § 230, or pursuing potential remedies under the antitrust laws, if social media companies

  intensified their content moderation measures as to any individual Plaintiff or particular residents

  of the Plaintiff States. Nor is there record evidence that a social media company has said that it

  took a particular content moderation measure because it inferred (let alone reasonably) the

  existence of a “threat” from any of the statements by Defendants. See Hammerhead, 707 F.2d at

  37 (no coercion where official’s remarks cannot “reasonably be interpreted as intimating that some

  form of punishment or adverse regulatory action will follow the failure to accede to the official’s

  request”); accord VDARE, 11 F.4th at 1163-65; R.C. Maxwell, 735 F.2d at 88-89; Penthouse Int’l,

  939 F.2d at 1014-16.

         But even considering on their own terms, as we do below, the smattering of legislative and

  Executive Branch remarks on which Plaintiffs rely, they fail to show that Defendants “coerced”

  social media companies to do anything (let alone to do anything that violated Plaintiffs’ Free




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  Speech Clause rights). All that occurred was part of a legitimate debate about § 230 and antitrust

  questions stemming from the economic ascendance of social media companies.

                 i.     Legislative Remarks and Hearings

         To start with Congress: The purported “backdrop” consists of several statements by

  individual nondefendant Representatives and Senators, but whether Defendants “threatened” or

  “coerced” entities in an unconstitutional sense “are conclusions and characterizations that must be

  supported” by evidence as to what Defendants, not nonparties “said and did.” Vullo, 49 F.4th at

  716. Assigning “coercive” effect to legislator remarks would be especially improper because only

  collective action by Congress, not the views of individual legislators, may alter federal laws. Cf.

  INS v. Chadha, 462 U.S. 919, 951-52 (1983). The Ninth Circuit thus rejected individual legislators’

  remarks as ground for characterizing YouTube’s content moderation as state action. Doe, 2022

  WL 17077497, at *2-3. The court concluded that (1) “statements by House Speaker Nancy Pelosi

  on possibly removing the protection provided to social media platforms under” § 230, (2) a “letter

  by Representative Adam Schiff” “encouraging the curbing of COVID-related misinformation on

  social media platforms,” and (3) “a statement by Speaker Pelosi” at an academic “forum on

  COVID calling for greater accountability for ‘the division and the disinformation proliferating

  online,’” were insufficient to constitute coercion as a matter of law—including because individual

  legislators’ remarks “lack[ed] force of law, rendering them incapable of coercing YouTube to do

  much of anything.” See id. at *2.83


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    The Ninth Circuit’s rejection of individual legislator remarks as legally sufficient for coercion
  was presaged by several prior district court decisions. See Informed Consent Action Network v.
  YouTube LLC, 582 F. Supp. 3d 712, 723 (N.D. Cal. 2022) (“publicly expressed views of individual
  members of Congress—regardless of how influential—do not constitute action on the part of the
  federal government” (quoting Daniels v. Alphabet, Inc., No. 20-cv-04687, 2021 WL 1222166, at
  *6 (N.D. Cal. Mar. 31, 2021))); accord Trump v. Twitter, Inc., 602 F. Supp. 3d 1213, 1224 (N.D.
  Cal. 2022) (rejecting as insufficient to plausibly allege state action “ambiguous and open-ended



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         Plaintiffs fare no better in attempting to rely on various congressional hearings that the

  legislators purportedly “used . . . as forums to advance . . . threats of adverse legislation if social-

  medial platforms do not increase censorship.” Pls.’ PFOF ¶¶ 4-7 (citing hearings on July 29, 2020;

  November 17, 2020; and March 25, 2021—the first two of which occurred before the Biden

  Administration took office). Plaintiffs’ characterization of the hearings as “coercive” “overlook[s]

  Congress’s role as an investigatory body,” which includes legislative “studies of proposed laws,

  and ‘surveys of defects in our social, economic or political system for the purpose of enabling the

  Congress to remedy them.” Trump v. Twitter, 602 F. Supp. 3d at 1224 (quoting Trump v. Mazars

  USA, LLP, 140 S. Ct. 2019, 2031 (2020)). The statements Plaintiffs selectively quote fall “within

  the normal boundaries of a congressional investigation, as opposed to threats of punitive state

  action,” id. at 1224, given the unarguable legitimacy of Congress “conducting investigative

  hearings on potential legislation,” see Schilling v. Speaker of U.S. House of Representatives, --- F.

  Supp. 3d ---, 2022 WL 4745988, at *8 (D.D.C. Oct. 3, 2002) (citing, inter alia, McSurely v.

  McClellan, 553 F.2d 1277, 1286 (D.C. Cir. 1976)), appeal filed, No. 22-5290 (D.C. Cir. Nov. 4,

  2022). The absence of Supreme Court decisions classifying legislative hearings as “coercing”

  private entities into becoming state actors is unsurprising given the leeway afforded to




  statements to the effect that ‘we may legislate’ something unfavorable to Twitter or the social
  media sector”), appeal filed, No. 22-15961 (9th Cir June 28, 2022); Abu-Jamal v. Nat’l Pub. Radio,
  No. 96-cv-0594, 1997 WL 527349, at *6 (D.D.C. Aug. 21, 1997) (radio network’s broadcasting
  decision was not state action where even if “individual members of Congress did call” network
  “in attempts to pressure it not to air” specified program, “not one of these people has any legal
  control over [network]’s actions”), aff’d, 159 F.3d 635 (D.C. Cir. 1998); see also Buentello v.
  Boebert, 545 F. Supp. 3d 912, 918 (D. Colo. 2021) (rejecting contention that state action doctrine
  applied to decision by an individual Member of Congress to block a follower of her personal
  Twitter account, noting that “member of Congress” holds “almost no power to act on behalf of the
  United States government”).


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  legislators—including via the Speech or Debate Clause, U.S. Const. art. I, § 6, cl. 1—to explore

  problems and potentially responsive enactments.

         Nor could the legislators’ remarks and their comments at hearings reasonably have been

  understood by social media companies as “threats,” when “consider[ing] the entirety of” their

  “words and actions.” Zieper, 474 F.3d at 66. The companies understand, as do the courts, that

  “enacting a bill is rarely fast or easy.” Trump v. Twitter, 602 F. Supp. 3d at 1224. And although

  legislators of both political parties have proposed amendments to § 230 as the economic power

  and influence of social media companies has grown sharply in the last decade, no such change has

  actually been enacted. Supra Defs.’ PFOF § I.E.

         The statute could perhaps one day be amended in a manner that would “alter the

  judgments” Congress “made in the past,” to account for “evolution” of social media companies

  since the statute became law in 1996. Cf. Henson v. Santander Consumer USA Inc., 582 U.S. 79,

  90 (2017) (Court did not “[d]oubt that the evolution of the debt collection business might invite

  reasonable disagreements on whether Congress should reenter the field and alter the judgments it

  made in the past”). But if the mere possibility of some (vague and unspecified) § 230 amendment

  were enough to constitute “coercion” triggering the state action doctrine here, then state action

  would be present everywhere. That is not the law.

         Plaintiffs also err in relying (PI Supp. 16-17) on personal views expressed by FBI Assistant

  Special Agent in Charge (ASAC) Elvis Chan in his master’s thesis, and his testimony, that certain

  social media company employees he talked with felt what he called “pressure” from inquiries made

  during congressional hearings, and platform meetings with congressional staff, “after 2016.” See

  Chan Dep. 123:1-3 (“I don’t recollect any of them using the specific word ‘pressure,’ but that was

  how I interpreted our conversations.”); id. at 125:22. No Members of Congress or legislative staff




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  are defendants here, so even if Plaintiffs’ characterization of ASAC Chan’s testimony were correct,

  that would not show that Defendants “essentially compel[led]” platform decisions. O’Handley, 62

  F.4th at 1158. Rather, as discussed above, the Constitution does not prohibit government officials

  from speaking their mind on matters of public concern, or of expressing their concerns in informal

  conversations. Rather, government officials may permissibly make public statements and advocate

  for change: “[O]fficials surely must be expected to be free to speak out to criticize practices, even

  in a condemnatory fashion,” but “[a]t least when the government threatens no sanction,” any such

  “effort to embarrass” a private entity is not an impermissible threat. See Penthouse Int’l, 939 F.2d

  at 1015-16.

         Moreover, Plaintiffs offer no evidence that the “pressure” ASAC Chan described came

  from legislators and staff Plaintiffs characterize as Defendants’ “political allies” (PI Supp. 15). 84

  And ASAC Chan did not assert that what he called “pressure” was of such moment as to amount

  to “coercion” under the state action doctrine—that is a fanciful legal characterization Plaintiffs

  attach to ASAC Chan’s testimony. Cf. Doe, 2022 WL 17077497, at *2-3 (House Speaker

  comments “on possibly removing the protection provided to social media platforms” under § 230

  among events found insufficient to show “state action” under compulsion or nexus theories).

         Also missing is evidence that the so-called “pressure” sought to compel action against

  specific posts or accounts, or that it was understood by (or acted on) by any company as such. To

  the contrary: Asked whether social media companies “changed their practices and became more



  84
    For example, Plaintiffs emphasize (PI Supp. 16) a statement in ASAC Chan’s master’s thesis
  (which reflected only his academic views, not the FBI’s views) that an October 31, 2017 Senate
  Judiciary Committee hearing “provided politicians with the occasion to exert pressure on the
  companies to make constructive changes to their platforms” (Chan Ex. 1 at 48-49 (Dkt. 204-2)),
  while entirely ignoring that the pertinent Senate committee hearing was chaired by a Republican
  Senator, because Republicans then held the Senate majority.


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  active in account takedowns” after the meetings with congressional staffers, ASAC Chan

  answered: “No. I would not connect those two events.” Chan Dep. 125:15-21. The “pressure”

  ASAC Chan testified about therefore did not have the effect on particular content moderation

  choices Plaintiffs contend it had. See also Defs.’ Resp. PFOF ¶¶ 945-961.

                ii.     Executive Branch Remarks and Actions

         Also misconceived is Plaintiffs’ contention that remarks from President Biden or his

  Administration concerning potential amendments to § 230, or raising the prospect that the growing

  economic power of social media companies may implicate the antitrust laws, contributed to

  “coercion.” The Defendants here are within the Executive Branch, and could not unilaterally

  amend § 230, as that of course would require action by both houses of Congress and the President.

         Moreover, the remarks Plaintiffs strain to depict as “coercive” did not telegraph that

  Defendants would press Congress to enact any particular legislation if social media companies did

  not intensify their content moderation. For example, Ms. Psaki said at an April 2022 news

  conference that “there are . . . reforms that we think Congress could take and [that] we would

  support taking, including reforming [§] 230, enacting antitrust reforms, requiring more

  transparency.” Ex. 42 (emphasis added); Pls.’ PFOF ¶ 197. But neither Ms. Psaki nor any other

  Defendant announced actual proposed language for any such amendment. The possibility of § 230

  “reform” thus resembles the “zoning ordinance not yet drafted” that the Third Circuit in R.C.

  Maxwell ruled insufficient to support an analogy to the “criminal prosecution under existing

  statutes” threatened in Bantam Books: The mere prospect of “civil or administrative proceedings”

  under that undrafted ordinance, the court of appeals ruled, was an insufficient “quantum of

  governmental authority” to constitute “coercion.” R.C. Maxwell, 735 F.2d at 88. Indeed, the

  Supreme Court has never held that government officials’ references to (unspecified) statutory




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  “reform” (or even actual proposed legislation sent to Congress for consideration) could be

  “coercive.” Notably, then-Missouri Attorney General tweeted himself: “Get rid of section 230

  protections, treat them like common carriers, bust up #BigTech.” Ex. 32. That shows Plaintiffs

  themselves did not behave as though government official calls for statutory reform (or even

  revocation) were inherently “coercive,” but rather were part of a legitimate debate.

         It would in any event be extraordinary to prohibit the Executive Branch from identifying

  concerns about the conduct of businesses within the United States and asserting that a statutory

  amendment might be appropriate to address those concerns, merely because such statements on

  matters of public concern might influence the conduct of private actors in a way that affects speech.

  Cf. U.S. Const. art. II, § 3 (the President “shall” recommend to Congress “such Measures as he

  shall judge necessary and expedient”); see also Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

  579, 587 (1952) (Recommendations Clause assigns President “function[]” of “recommending . . .

  laws he thinks wise”). 85


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     The “coercion” claim cannot be sustained by extrinsic statements of Mr. Biden before taking
  office. This Court’s ruling on the motion to dismiss accepted as plausible Plaintiffs’ allegations
  that comments candidate Biden made in January 2020 (about potential criminal or civil liability
  for Facebook and its executives due to misinformation on that platform) were “coercive.” Compare
  MTD Order 62 & n.203 (attributing comments to “President Biden”), with 2d. Am. Compl. ¶¶ 191-
  92 (discussing comments of “candidate” Biden) and Pls.’ PFOF ¶¶ 20-21 (same). But precedent
  does not support assigning coercive effect to such candidate comments. The candidate remarks at
  issue here are no more consequential than those in Trump v. Hawaii, 138 S. Ct. 2392 (2018). In
  assessing an unconstitutional discrimination claim there, the Court considered but ultimately
  rejected “extrinsic statements—many of which were made before the President took the oath of
  office,” where the statements did not overcome the facial neutrality of the President’s rationale for
  his action when he was in office. Id. at 2418-19. Leeway for candidate rhetoric is guaranteed by
  the Free Speech Clause, which “has its fullest and most urgent application precisely to the conduct
  of campaigns for political office,” Buckley v. Valeo, 424 U.S. 1, 15 (1976) (citation omitted). Cf.
  Washington v. Trump, 858 F.3d 1168, 1173-74 (9th Cir. 2017) (Kozinski, J., dissenting) (opining
  that “[n]o Supreme Court case—indeed no case anywhere that I am aware of—sweeps so widely
  in probing politicians for unconstitutional motives[,]” and given that “[c]andidates say many things
  on the campaign trail” that “are often contradictory or inflammatory,” reliance on candidate’s
  campaign statements is “unworkable”).


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         Plaintiffs’ effort to depict as coercion limitations that could be placed on social media

  companies under the antitrust laws is similarly incomplete and incorrect. Plaintiffs have failed to

  show that any decision under the antitrust statutes bears a concrete nexus to Defendants’ efforts to

  address misinformation on social media. Tellingly, Plaintiffs omit evidence of antitrust

  enforcement measures proposed or taken against social media companies that well predated the

  tenure of many Defendants and that also predated the misinformation-focused remarks Plaintiffs

  paint as coercive. For example, during the Trump Administration, then-Attorney General Barr

  explained in a speech in December 2019: “Concerns about online platforms have come from a

  wide variety of stakeholders, across the political spectrum. Indeed, almost every State AG is now

  participating in publicly announced antitrust investigations of Google and Facebook . . . . [W]e

  have a good cooperative relationship in these efforts.” Ex. 148 at 2 (William P. Barr, Att’y Gen.,

  Remarks at the National Association of Attorneys General 2019 Capital Forum (Dec. 10, 2019),

  2019 WL 6715208). One example of such parallel federal and state allegations of antitrust

  violations by an online platform is found in Federal Trade Commission v. Facebook, Inc., No. 20-

  cv-3590 (D.D.C.) (public redacted version of under-seal complaint filed Jan. 13, 2021, before

  President Biden entered office). There, the FTC alleged that conduct by Facebook, including

  acquisition of Instagram and WhatsApp, was harmful to competition. See FTC v. Facebook, Inc.,

  581 F. Supp. 3d 34 (D.D.C. 2022) (denying motion to dismiss amended complaint). Notably,

  attorneys general for multiple states, including the two State Plaintiffs here, brought their own

  action predicated on similar antitrust allegations. See New York v. Facebook, Inc., 549 F. Supp. 3d

  6, 13 (D.D.C. 2021) (dismissing States’ action), aff’d sub nom. New York v. Meta Platforms, Inc.,

  --- F.4th ---, 2023 WL 3102921 (D.C. Cir. Apr. 27, 2023). The commencement of the FTC’s suit

  prior to the Biden Administration, and the two Plaintiff States’ participation in a multi-state




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  antitrust action raising similar allegations, undermines Plaintiffs’ contention that proposals for

  antitrust enforcement against platforms are inherently coercive “threats” (whether aimed at

  platform content moderation choices or anything else).

         Additionally, Plaintiffs’ mischaracterization of § 230 as an unconstitutional subsidy akin

  to the one invalidated in Norwood v. Harrison, 413 U.S. 455 (1973), PI Supp. 50, rips that case

  from its context. There is of course no basis for interpreting Norwood as somehow dispensing with

  Plaintiffs’ obligation to satisfy the established state action requirements under cases such as Blum

  before the acts of private social media companies can legally be attributed to Defendants. Cf. Watts

  v. Northside Indep. Sch. Dist., 37 F.4th 1094, 1097-98 (5th Cir. 2022) (citing Norwood in the

  course of applying Blum and other state action precedents). The question presented in Norwood

  was not, as here, whether the State could be held responsible for the conduct of private parties.

  Rather, the question was whether the State’s own conduct—furnishing free textbooks to segregated

  private schools—was itself constitutional. The Court held no, explaining “the Constitution does

  not permit the State to aid [racial] discrimination even when there is no precise causal relationship

  between state financial aid to a private school and the continued wellbeing of that school.”

  Norwood, 413 U.S. at 465-66. “[T]he constitutional infirmity of the Mississippi textbook

  program,” therefore, was “that it significantly aid[ed] the organization and continuation of a

  separate system of private schools which . . . may discriminate if they so desire.” Id. at 467. Here,

  Defendants do not “operat[e]” or provide “significant[] aid” to private social media platforms in

  the first place, much less do so contrary to the affirmative constitutional obligation to refrain from

  racial discrimination. See id. at 465. Plaintiffs’ reliance on Norwood is therefore misplaced.

             3. Deception is not a freestanding basis for state action and is lacking here.
         Next, Plaintiffs advance a newfound “deception” theory that relates only to two distinct

  allegations: (1) that the FBI is responsible for suppression of the Hunter-Biden laptop story; and


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  (2) that Dr. Fauci is responsible for suppression of a wide array of content relating to COVID-19.

  PI Supp. 18-29. These arguments lack merit. At the start, “deception” is not an independent legal

  basis for attributing a private entity’s acts to the Government under the state action doctrine.

  Instead, it is an invention of Plaintiffs’ own making, cut out of whole cloth to fit their allegations

  of First Amendment violations against the FBI and Dr. Fauci, which are plainly deficient under

  well-settled state-action doctrine. In any event, Plaintiffs’ new deception theory, even if it were

  legally tenable, is unsupported by the record. On the contrary, the record here squarely rebuts

  Plaintiffs’ allegations that the FBI or Dr. Fauci deceived (or attempted to deceive) anyone. Thus,

  neither the law nor the facts support Plaintiffs’ First Amendment claims based on a “deception”

  state-action theory.

                  a. There is no “deception” test for state action.
          Neither the Supreme Court nor the Fifth Circuit has ever recognized “deception” as an

  independent test for “state action.” See, e.g., Bass v. Parkwood Hosp., 180 F.3d 234, 241-42 (5th

  Cir. 1999) (listing “public function,” “compulsion (or coercion),” and “nexus or joint action” tests,

  without identifying “deception” as an independent state action test). Plaintiffs’ contention that

  “deception” is a distinct test for state action hinges on a mischaracterization of the Ninth Circuit’s

  decision in George v. Edholm, 752 F.3d 1206 (9th Cir. 2014).

          In George, the Ninth Circuit denied summary judgment on the “state action” issue based

  on evidence that two policemen misrepresented the plaintiff’s medical condition to a (private)

  doctor “with the intent of inducing” the doctor to perform an allegedly illegal cavity search of the

  plaintiff resulting in the discovery of a plastic baggie containing cocaine. Id. at 1215. Critically,

  “there [was] evidence . . . that [two officers] . . . physically assisted [the private party] by turning

  [the plaintiff] on the table and holding his legs, and that [one officer] emphasized . . . the necessity

  for prompt action in removing the cocaine.” Id. at 1216. Thus, the issue for trial was whether the


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  policemen “provided ‘significant encouragement, either overt or covert,’ to [the doctor],” and

  “‘induce[d], encourage[d] or promote[d]’” the doctor “to do what he would not otherwise have

  done,” “such that” the doctor’s “actions” were “attributable to the state,” without suggesting that

  “deception” was a distinct basis for such a finding. Id. Far from analyzing the purported

  misrepresentations as an adequate or independent test for state action, the Ninth Circuit considered

  those misrepresentations in applying the same state action tests the Fifth Circuit has identified.

  Compare id. at 1215, with Bass, 180 F.3d at 241-42. Indeed, the Ninth Circuit only concluded that

  the private doctor’s conduct “could be attributed to the state” because “a reasonable jury could

  conclude that [the officers] provided false information, encouragement, and active physical

  assistance to” the doctor. George, 752 F.3d at 1216 (emphasis added).

         Neither George nor any of the other cases Plaintiffs cite suggests that evidence of

  misrepresentations independently suffices to show state action. To show that any social media

  content moderation action is attributable to some Defendant, Plaintiffs thus must satisfy one of the

  tests the Supreme Court has recognized, such as the coercion test.

                 b. The record contradicts Plaintiffs’ allegations of deceit and trickery.
         In any event, the record rebuts Plaintiffs’ assertions that the FBI or Dr. Fauci, on behalf of

  NIAID, engaged in “deception.” Rather than evincing any deceptive conduct, the record shows

  that dedicated public servants used their knowledge and skill to provide information or other

  resources to the public as a whole, and private companies in particular, which social media

  companies may (or may not) have considered when determining whether and how to moderate

  certain categories of content on their platforms. Plaintiffs’ characterization of the government

  officials’ conduct as “deceitful” is, ironically, based on gross mischaracterizations of the evidence.




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                 i.     FBI

         Plaintiffs contend that the FBI “engaged in a campaign of deception to induce social-media

  platforms to censor the Hunter Biden laptop story,” a contention built on two mistaken premises—

  that (1) the FBI “had no investigative basis” for warning platforms about hack-and-leak or hack-

  and-dump operations by Russian state-sponsored actors ahead of the 2020 election, and

  (2) platforms took content moderation measures against the “Hunter Biden laptop story” because

  FBI statements “left” them “with the clear impression that the Hunter Biden laptop materials were,

  in fact, hacked materials.” PI Supp. 27-29.

         First, the snippet from ASAC Chan’s testimony that Plaintiffs cite, in which he stated that

  the FBI was “not aware of” hack-and-leak “operations that were forthcoming or impending,” when

  viewed in proper context, neither stated nor implied that the FBI lacked an “investigative basis”

  for its warnings, as Plaintiffs contend. Id. at 27-28 (quoting Pls.’ PFOF ¶ 893); see Chan Dep.

  192:19-24. ASAC Chan testified: “[W]hat we mentioned was that there was the general risk of

  hack-and-leak operations, especially before the election. However, we were not aware of any hack-

  and-leak operations that were forthcoming or impending.” Chan Dep. 192:19-24. Plaintiffs lack

  any ground for arguing that the “general risk” ASAC Chan described was an inadequate basis for

  FBI’s general warnings to social media companies about the potential risk of hack-and-leak

  operations. Nor is there evidence the FBI misstated the basis for its warnings.

         “Investigative basis” is an amorphous term Plaintiffs do not attempt to define, but in any

  event, the FBI did have a factual basis for the 2020 warnings. Start with the indictment the

  Government obtained in 2018 against 12 members of the GRU, a Russian Federation intelligence

  agency within the Main Intelligence Directorate of the Russian military, for committing federal

  crimes intended to interfere with the 2016 U.S. presidential election: Those GRU members




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  engaged in a well-documented effort to hack into the computer networks of the Democratic

  Congressional Campaign Committee, the Democratic National Committee, and the presidential

  campaign of Hillary Clinton, and then released that information on the internet. See, e.g., Ex. 135.

  Because Russia had pursued a hack-and-dump effort in 2016, the FBI viewed it as “possible”

  Russia would do so again in 2020. Chan Dep. 221:3. The FBI’s warnings reflected an abundance

  of caution given the skills of the Russian hackers shown in 2016. Supra Defs.’ PFOF § II.H.1;

  Chan Dep. 173:18-174:13, 203:16-204:1, 208:7-12. The record does not support Plaintiffs’

  apparent assumption that the FBI’s 2020 warnings were improper because the risk of a repetition

  was zero or negligible. And Plaintiffs do not even attempt to justify their further assumption that

  such warnings would only have been appropriate if the risk of recurrence of hack-and-dump efforts

  was so high as to be “impending.” PI Supp. 37 (emphasis added); see also Defs.’ Resp. PFOF

  ¶¶ 880, 893.

         Plaintiffs also fail to address (let alone explain), statements during the Trump

  Administration that place the allegedly improper warnings Chan described in proper context.

  President Trump in 2018 declared an emergency to deal with the unusual and extraordinary threat

  presented by “the ability of persons located . . . outside the United States to interfere in or

  undermine public confidence in United States elections, including through the unauthorized

  accessing of election and campaign infrastructure or the covert distribution of propaganda and

  disinformation.” 83 Fed. Reg. at 46,843 (emphasis added). He repeated that finding twice,

  including on the eve of the 2020 election. 84 Fed. Reg. 48,039; 85 Fed. Reg. 56,469. “The Russian

  effort to influence the 2016 presidential election,” then Deputy Attorney General Rod J. Rosenstein

  noted in a July 2018 speech, “is just one tree in a growing forest. Focusing merely on a single

  election misses the point. As [Director of National Intelligence Dan Coats] made clear, ‘these




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  actions are persistent, they are pervasive, and they are meant to undermine America’s democracy

  on a daily basis, regardless of whether it is election time or not.’” Ex. 149 at 2 (Rod J. Rosenstein,

  Deputy Att’y Gen., Remarks at the Aspen Security Form (July 19, 2018), 2018 WL 3471764).

  Multiple Cabinet agencies went on to explicitly state in March 2020 that “foreign actors continue

  to try to influence public sentiment and shape voter perceptions,” and that “[t]hey spread false

  information and propaganda about political processes and candidates on social media in hopes to

  cause confusion and create doubt in our system.” Ex. 132 (joint statement of Mar. 2, 2020). Another

  announcement in September 2020 sought to “raise awareness of the potential threat posed by

  attempts to spread disinformation regarding the results of the 2020 elections.” That statement noted

  that “[f]oreign actors and cybercriminals could create new websites, change existing websites, and

  create or share corresponding social media content to spread false information in an attempt to

  discredit the electoral process and undermine confidence in U.S. democratic institutions.” Ex. 133

  (FBI and CISA announcement of Sept. 22, 2020).

         Although those statements did not use the hack-and-dump jargon, they show that FBI and

  other agencies raised serious concerns about foreign influence operations ahead of and close in

  time to the 2020 election, further undermining Plaintiffs’ notion that the FBI’s more particularized

  warnings to platforms about potential hack-and-dump operations before the 2020 election were

  somehow improper.

         Second, the record shows the FBI did not raise the “Hunter Biden Laptop Story” in its

  warnings before October 14, 2020, when the New York Post “broke” that story. Rather, the record

  establishes that Twitter made the independent and temporary decision to limit circulation of the

  New York Post story on its platform, and that the decision did not involve the FBI in any way.

  Supra Defs.’ PFOF § II.H.2. Other than one inquiry by a Facebook analyst about what the FBI




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  could “share” about the Hunter Biden investigation after the New York Post published its story,

  and the FBI’s “no comment” response, ASAC Chan was not aware of any communications related

  to the Hunter Biden Laptop Story between the FBI and Facebook, Chan Dep. 233:22-234:3,

  Twitter, id. at 233:8-21, Apple or Microsoft, id. at 234:6-7, or any other platform, id. at 234:4-5.

         Plaintiffs heavily rely on statements made in a declaration that Yoel Roth, Twitter’s former

  Senior Director for Trust and Safety, submitted to the Federal Elections Commission (FEC) in

  2020. Plaintiffs emphasize (PI Supp. 38) Mr. Roth stated in that 2020 declaration that, in “regular

  meetings” he attended with the FBI and other agencies “and industry peers regarding election

  security,” he had “learned” that “there were rumors that a hack-and-leak operation would involve

  Hunter Biden.” Chan Ex. 8 (Roth Decl.) ¶¶ 10-11 (Dkt. 204-5). But Mr. Roth did not say in his

  2020 declaration from whom he heard those rumors; much less did he attribute them to

  Government personnel. And Mr. Roth has clarified, in sworn congressional testimony in 2023, that

  he intended the declaration to state that another social media company, rather than the Federal

  Government, mentioned at a meeting that there was the possibility of a hack and leak operation

  concerning Hunter Biden. Mr. Roth explained that the Federal Government did not share that

  perspective or provide information to Twitter concerning this issue, emphasizing that his 2020

  declaration “does not suggest that the FBI told [him] it would involve Hunter Biden.” Ex. 2 at 43;

  see also id. at 37, 46. Similarly, ASAC Chan’s testimony that he did not discuss the Hunter Biden

  Laptop Story with Facebook before October 14, 2020 reinforces the statement in the October 25,

  2022 letter by Meta’s counsel to this Court that “ASAC Chan at no point in time advised Meta ‘to

  suppress the Hunter Biden laptop story.’ Nor did any of his colleagues.” Dkt. 96 at 2 (Ex. A).

          The recent congressional testimony also refutes Plaintiffs’ assertion that the FBI in 2020

  “induced” revisions to platform hacked materials policies or the application of those policies to




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  the “Hunter Biden Laptop Story.” PI Supp. 27. Twitter grounded its decisions concerning the New

  York Post story on a 2018 policy that “prevent[ed] Twitter from being used to spread hacked

  materials,” but decided within 24 hours that its initial decision was wrong and removed the

  restrictions. Ex. 137 at 5-6; Ex. 2 at 5; see also Defs.’ Resp. PFOF ¶¶ 880-904, 1083-1087.

                 ii.     Dr. Fauci, in his prior role as the Director of NIAID

         As with the FBI, Plaintiffs’ arguments regarding Dr. Fauci, in his prior role as Director of

  NIAID, are legally and factually meritless. Again, “deception” is not a cognizable basis for finding

  state action. The record is also utterly lacking factual support for Plaintiffs’ “deception” theory

  involving Dr. Fauci.

         Plaintiffs assert that Dr. Fauci worked with former NIH Director Dr. Francis Collins or

  other Biden Administration officials to “orchestrate[] a series of campaigns of deceit to procure

  the censorship of viewpoints he disfavored on social media.” PI Supp. 19. Ultimately, Plaintiffs’

  allegations amount to nothing more than a disagreement with the correctness of Dr. Fauci’s or

  other scientific experts’ conclusions about the origin, treatment, or prevention of COVID-19. They

  have nothing at all to do with content moderation on social media platforms, let alone violations

  of the First Amendment.

         Indeed, Plaintiffs spend seven pages on arguments about (1) Dr. Fauci’s involvement in

  internal discussions among an international group of virologists about the origins of COVID-19,

  (2) whether Dr. Fauci correctly concluded that hydroxychloroquine is not an effective treatment

  for COVID-19, (3) Dr. Fauci’s views on the efficacy of face masks, (4) Dr. Fauci’s criticism of

  the “focused protection” strategy espoused by the Great Barrington Declaration, and (5) Dr.

  Fauci’s public expression of “horror” at people cheering over refusing a life-saving vaccine. PI

  Supp. 19-27. Strikingly absent from these discussions is any allegation that Dr. Fauci ever publicly




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  or privately spoke to any social media company about his views on the above issues—let alone

  that he did so in a manner that could be considered threatening or coercive (or “deceptive”). In

  fact, Dr. Fauci testified time and time again that he has never asked a social media company “to

  remove misinformation from one of [its] platforms,” Fauci Dep. 152:21-24, and indeed does not

  “pay attention to what social media organizations like Google and YouTube and Twitter . . . do,”

  id. at 239:21-24.86 And despite Plaintiffs’ voluminous filings, they have provided no evidence to

  rebut this testimony.

         So what is the resulting state action, and First Amendment violation, arising from Dr.

  Fauci’s internal discussions and public comments about COVID-19? According to Plaintiffs:

  “[s]ocial media platforms . . . follow[ing] Dr. Fauci’s lead,” “accepting [Dr. Fauci’s]

  proclamation[s]” as to the “scientific consensus,” and choosing to “censor[]” content on their

  platforms that ran counter to that consensus. PI Supp. 25 (emphasis added). But the social media

  companies’ decisions to consider the conclusions of Dr. Fauci and other scientific experts when



  86
     See also Fauci Dep. 99:5-9 (“You know, I’m so dissociated from social media. I don't have a
  Twitter account. I don't do Facebook. I don't do any of that, so I’m not familiar with that. I've never
  gotten involved in any of that.”); id. at 210:3-8 (“So social media stuff, I don’t really pay that much
  attention to.”); id. at 213:13-16 (“Like I said, my association with social media is almost zero. I
  don’t have an account. I don’t tweet. I don’t pay attention to social media. I wouldn’t know how
  to access a tweet if you paid me.”); id. at 235:21-22 (“I don’t get involved in social media stuff.”);
  id. at 241:6-13 (“I do not get involved in any way with social media. I don’t have an account, I
  don’t tweet, I don’t Facebook, and I don’t pay attention to that. . . . I don’t pay attention to what
  gets put up and put down on social media.”); id. at 241:23-242:1 (“I don’t pay attention to social
  media issues. That’s something I don’t do. I don’t follow it. I don’t have an account. I don’t follow
  it.”); id. at 280:3-7 (“I’m not aware of anything being censored. Like I said multiple times—and
  I’ll repeat it again—I don’t follow what goes on social media, censoring or otherwise. That’s not
  something that I pay attention to.”); id. at 281:24-282:2 (“I don’t pay attention to that whole culture
  of social media censoring or not censoring. I’ve said that maybe 50 times today. That’s not what I
  do.”); id. at 312:8-9 (“I really don’t get involved in social media issues.”); id. at 357:8-13 (“My
  way of countering false information, and I’ve been on the record multiple times as saying that, is
  that my approach is to try to [] flood the system with the correct information as opposed to
  interfering with other people’s ability to say what they want to say.”).


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  determining what content to allow on their platforms does not make Dr. Fauci (or any other

  scientist) legally responsible for those decisions, Blum, 457 U.S. at 1004, and certainly does not

  amount to a First Amendment violation. A contrary conclusion would have far-reaching, and

  dangerous, ramifications. Accepting this theory of state action in the First Amendment context

  would mean that any time a government official expresses views or gives scientific advice, the

  official could be in danger of violating the First Amendment if a social media company simply

  considers those views or advice in its own decision-making process. Yet neither NIAID nor any

  other agency may presume to control whether or how a social media company, or any other third

  party, uses the health information that it makes public. To avoid running afoul of the First

  Amendment, then, NIAID—which is tasked with “advanc[ing] the understanding, diagnosis, and

  treatment of many of the world’s most intractable and widespread diseases,” including

  “tuberculosis and influenza, HIV/AIDS,” and COVID-19, see Ex. 86—would have to refrain from

  promoting critical health information that can save lives. It would be precluded from carrying out

  its statutory purpose to “conduct and support . . . research, training, health information

  dissemination, and” participate in “other programs with respect to” such diseases. 42 U.S.C. § 285f

  (emphasis added); see also id. § 284(b)(1)(F) (granting NIAID authority to “develop, conduct, and

  support public and professional education and information programs”). Plaintiffs’ proposed

  “deception” theory of state action must be rejected for this reason alone. See Summum, 555 U.S.

  at 467 (a government entity “is entitled to say what it wishes” (citation omitted)).

         Indeed, it is worth noting that Plaintiffs seem to have constructed their amorphous

  deception theory—articulated for the very first time in their supplemental brief, despite Dr. Fauci

  being named in the original complaint in May 2022—to account for the complete absence of any

  evidence of communications between Dr. Fauci and social media companies about




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  misinformation. Earlier in this case, in justifying the deposition of Dr. Fauci, Plaintiffs claimed

  that “Dr. Fauci is directly involved in multiple, far-reaching social-media censorship campaigns

  against so-called COVID-19 ‘misinformation.’” Joint Stmt. Regarding Witness Depositions at 5

  (Dkt. 86) (emphasis added). In seeking Dr. Fauci’s deposition, Plaintiffs expressed skepticism

  about the accuracy of NIAID’s interrogatory responses indicating that Dr. Fauci did not have any

  direct communications with social-media platforms about “censorship”; Plaintiffs insisted that,

  contrary to those responses, Dr. Fauci “acted on behalf of others” in procuring” “social media

  censorship.” Id. at 10. Now, tacitly acknowledging that Dr. Fauci’s deposition testimony failed to

  substantiate those assertions, Plaintiffs abandon them for an invented theory that turns not on Dr.

  Fauci’s interactions with social media companies (or any other relevant facts) but instead on

  unfounded speculation that Dr. Fauci sought to deceive the public about COVID-19. Yet the very

  notion that Dr. Fauci, together with highly respected scientists from around the world, orchestrated

  a “campaign to deceive” anyone—including social media companies—is built on distortions of

  the evidence and baseless attacks on Dr. Fauci’s credibility stemming from his testimony on

  matters irrelevant to Plaintiffs’ First Amendment claim.

         § The Origins of COVID-19. Plaintiffs’ primary “deception” theory is that Dr. Fauci

  worked with former NIH Director Dr. Francis Collins 87 and an official from a British research

  organization (Dr. Jeremy Farrar88) to “discredit and suppress the opinion that SARS-CoV-2, the

  virus that causes COVID-19, leaked from a laboratory at the Wuhan Institute of Virology[.]” PI

  Supp. 19. According to Plaintiffs, the alleged conspiracy formed during a purportedly “clandestine

  . . . call” on February 1, 2020, during which the participants allegedly entered into a plan to


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     Dr. Collins stepped down as Director of NIH in December 2021. Ex. 151 at 1 (A Farewell to
  Dr. Francis Collins, Nat’l Insts. of Health (Dec. 16, 2021), https://perma.cc/5Q48-NJAD).
  88
     Dr. Farrar does not work for the United States Government and is not a Defendant in this case.


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  “manufacture the appearance of scientific consensus against the lab-leak theory,” id. at 21, which

  culminated in the publication of a research article by non-federal officials refuting that theory—

  all for the “purpose of . . . suppress[ing] the lab leak theory in both ‘main stream and social

  media,’” id. at 24 (citation omitted). Plaintiffs contend that the “conspiracy succeeded” when

  social media platforms decided to “aggressively censor[] the lab-leak theory well into 2021.” Id.89

         To support this accusation, Plaintiffs misconstrue internal discussions documented in email

  exchanges between Dr. Fauci and other scientists in early 2020. That correspondence flatly

  contradicts Plaintiffs’ deception theory. The record shows that, on February 1, 2020, Dr. Jeremy

  Farrar invited a group of international scientists (including Dr. Fauci and Dr. Collins) to participate

  in a call later that day. See Fauci Ex. 8 at 9-10 (Dkt. 206-9). The invitation stated that the

  “[i]nformation and discussion” was to be “shared in total confidence and not to be shared until

  agreement on next steps.” Id. at 10. Contrary to Plaintiffs’ characterization of this instruction, it

  plainly does not suggest that the call was meant to be “clandestine.” PI Supp. 21. On the contrary,

  the point was to allow for an initial convening of an “ad hoc group” to “air some thoughts” about

  the participants’ “current understanding” of the scientific data—while also identifying “the many

  gaps in [their] knowledge”—with the aim of obtaining a “broader range of input” going forward.



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     Plaintiffs’ use of the phrase “lab-leak theory” implies that there is only one theory concerning
  how SARS-CoV-2, the virus that causes COVID-19, may have emerged from a laboratory in
  Wuhan, China. In fact, multiple diverging “lab-leak” theories have emerged. One theory is that
  SARS-CoV-2 was intentionally engineered in a laboratory and deliberately or accidentally
  released. Another is that SARS-CoV-2 was inadvertently created in a lab during serial passage
  experiments and accidently spread beyond the lab. Yet another is that SARS-CoV-2 naturally
  occurred in the wild, was being studied in a lab, and was accidentally spread beyond the lab by
  infected researchers. See Pls.’ Jones Decl. Ex. AA at 6 (“Those suspecting a lab-related incident
  point to an array of possible scenarios, from inadvertent exposure of a scientist during field
  research to the accidental release of a natural or manipulated strain during laboratory work.”); Ex.
  99 (Joel Achenbach, What we know about covid-19’s origins, and what is still a mystery, Wash.
  Post (Mar. 1, 2023)) (discussing “versions of the lab leak theory”).


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  Fauci Ex. 8 at 9 (Dkt. 206-9). Thus, the group’s next step after the call, according to Dr. Farrar,

  was to encourage “a body like the WHO . . . to ask or commission a group of scientists from around

  the world to ask [a] neutral question[:] ‘To understand the evolutionary origins of 2019-nCoV[.]”

  Id. at 5. “In other words,” the goal was to develop “a completely open minded and neutral question”

  relating to the origins of COVID-19 and commission “the best minds” to consider it, “under the

  umbrella of a respected international agency.” Id. at 10. Doing so was “important for this epidemic

  and for future risk assessment and understanding of animal/human coronaviruses.” Id. at 5.

         Most participants on the call also believed that a broader group should convene

  immediately, before the question of COVID-19’s origins became “polari[z]ed” and

  “people . . . start[ed] to look to who to blame”—which could “increase tension and reduce

  cooperation” necessary for objective inquiry. Fauci Ex. 8 at 7 (Dkt. 206-9). That would undermine

  the group’s shared goal of “really continu[ing] to pursue what actually happened in order to prepare

  for and prevent similar things from happening in the future.” Fauci Dep. 102:13-103:7. 90 For

  instance, Dr. Farrar noted that, already, “questions [we]re being asked by politicians, . . . in the

  scientific literature, [and] certainly on social and main stream media.” Fauci Ex. 8 at 7 (Dkt. 206-

  9). Thus, he found it imperative for a group to convene without delay “to consider the evolutionary

  origins of [the virus], with an open mind, neutral, and in a transparent way[.]” Id. In his view,

  immediate objective analysis might “prevent wild claims being made.” Id. That was so even if the

  issue “remain[ed] grey” after a group convened. Id. at 3. Dr. Farrar believed that even “grey, from

  a respected group, under the umbrella of let us say WHO, would in itself help!” id.




  90
     Others identified another reason for urgency in addition to discovering the source of the virus:
  if the virus did come from a “non-human host, pre-adapted, it [could] threaten control efforts
  through new zoonotic jumps.” Fauci Ex. 8 at 6 (Dkt. 206-9).


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         After the call, the group continued internal discussions about various theories surrounding

  COVID-19’s origins. Their email exchanges reflect a shared desire for “open minded and neutral”

  scientific inquiry, id. at 10, as several virologists voiced competing initial views on the theories

  surrounding the origins of the COVID-19 virus. Some opined that “a non-natural origin of 2019-

  nCoV is highly unlikely at present,” id. at 7; others stated that they favored the view that the virus

  originated through events a laboratory, id. at 3-4; and others responded that their view “[wa]s

  completely neutral,” id. at 7. Dr. Collins, for his part, conveyed that he “hadn’t given much

  consideration to the idea of lab-based evolution by tissue-culture passage” that one scientist

  presented, and he agreed that the idea “[wa]s worth including on the list of options” to be

  examined. Id. at 3. And as Dr. Kristian Andersen expressed in another email to Dr. Fauci and Dr.

  Farrar, while “some of the features” of the virus “(potentially) look[ed] engineered” on an initial

  review of the data, he believed it was important to “look very critically at” the issue and “there

  [we]re still further analyses” to be done, so “opinions could still change.” Fauci Ex. 6 at 1 (Dkt.

  206-7). Amidst the uncertainty, what was clear to the participants was that the issue was “very

  complex,” Fauci Ex. 8 at 5 (Dkt. 206-9), that they alone did not have all the answers, id. at 9, and

  that opinions could evolve as new information was considered, id.

         Dr. Fauci’s participation in these discussions was limited. He apparently did not respond

  at all to the email exchanges involving the entire group on the call or share his thoughts on the

  origins of COVID-19. Instead, he emailed Dr. Farrar separately on the afternoon of February 2,

  2020, to apologize for taking “so long to weigh in on [Dr. Farrar’s] e-mails,” and to convey only

  that he agreed with the urgency of convening a broader group. Id. at 2 (including Dr. Collins and

  another NIH employee on the email). “Like all of us,” Dr. Fauci wrote, “I do not know how this

  evolved, but given the concerns of so many people and the threat of further distortions on social




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  media, it is essential that we move quickly. Hopefully, we can get WHO to convene.” Id.; see also

  Fauci Dep. 126:13-18 (“[T]he theme of everything that was going on at the time” was to “get

  WHO moving on getting the convening . . . so that evidence and data could be openly discussed.”).

  That Dr. Fauci did not weigh in on the substantive question of the virus’s origin is entirely

  consistent with his deposition testimony. He testified that, because he is “not an evolutionary

  virologist,” he is “not qualified . . . to make any kind of definitive determination about whether a

  genome could or could not be a laboratory construct or experimentally manipulative.” Id. at

  121:22-122:2. Accordingly, he “relied, as anyone would, [on] highly qualified, respected

  evolutionary virologists” to examine the evidence. Id. at 122:3-5.

         Separately, and around the same time as the February 1, 2020 call, Dr. Andersen and four

  other expert virologists (two of whom may have been included on Dr. Farrar’s invitation to the

  February 1 call91) were looking into the issue further and developing a research paper with their

  analysis. 92 Their paper, titled “The Proximal Origin of SARS-CoV-2,” was eventually published

  in Nature Medicine, a scientific journal, 93 on March 17, 2020. Fauci Ex. 24 at 3 (Dkt. 206-25)

  (with link to online publication). The paper stated that “[o]ur analyses clearly show that SARS-

  CoV-2 is not a laboratory construct or a purposefully manipulated virus.” Id. at 1.


  91
      Co-authors Dr. Andrew Rambaut (located in Edinburgh, UK) and Dr. Edward Holmes (in
  Sydney, Australia) are on the email chain following the February 1 call. Fauci Ex. 6 at 9 (Dkt. 206-
  7).
  92
     Plaintiffs allege that these virologists only began drafting their paper after the February 1 call,
  PI Supp. 21, but there is no evidence in the record indicating when the authors began their research.
  The evidence actually suggests that Dr. Andersen and Dr. Holmes were considering the issue and
  examining the data before the February 1 call. See Fauci Ex. 6 at 1 (Dkt. 206-7) (January 31, 2020
  email from Dr. Andersen informing Dr. Fauci of his initial impressions in advance of the call,
  referring to an article that quotes him and Dr. Holmes).
  93
     “Nature Medicine is a monthly journal publishing original peer-reviewed research in all areas
  of medicine on the basis of its originality, timeliness, interdisciplinary interest and impact on
  improving human health. . . . All editorial decisions are made by a team of full-time professional
  editors.” Ex. 152 at 1 (Journal Information, Nature Medicine, https://perma.cc/2MD3-H6SV).


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          Before the article’s publication, Dr. Farrar had forwarded several drafts of the paper, which

  Dr. Holmes had sent to him, to Dr. Fauci and Dr. Collins. As with the email discussions after the

  February 1 phone call, Dr. Fauci testified that he had “very little input into” those drafts. Fauci

  Dep. 196:1-8. As Dr. Fauci explained, he would not have had much input because they

  “involve[d]” issues of “very complicated evolutionary virology of which [he is] not an expert.” Id.

  at 124:9-14. 94 Indeed, the record contains no evidence that Dr. Fauci ever responded to Dr. Farrar’s

  emails with any substantive input on the drafts. 95

          These are the facts on which Plaintiffs attempt to build their claim against Dr. Fauci. But

  the facts contradict Plaintiffs’ assertion that there was a “clandestine” call whose participants

  formed a conspiracy with the “stated purpose” of “suppress[ing] the lab-leak theory” on “social

  media.” PI Supp. 24. On the contrary, the facts show that a group of international virologists sought

  to urgently and openly investigate “what actually happened” to cause the COVID-19 virus, before

  politics or the spread of unfounded theories in mainstream media and social media interfered with

  the objective inquiry needed to properly combat the virus and defend against the risk of future



  94
     See also Fauci Dep. 114:4-15 (“I remember getting a paper and looking at it. I don’t believe I
  had any substantive comments on it, just by reading it. Because that’s not my lane, evolutionary
  virology.”); id. at 120:10-20 (“My recollection is I really didn’t have any meaningful comments
  on [the draft] because it . . . would be involved in a lot of complicated evolutionary virology that
  is not my lane.”); id. at 124:21-24 (“I might have looked at [the draft], but I certainly didn’t make
  any meaningful comments since this is outside of my lane of expertise.”); id. at 127:10-13 (“Again,
  I had very little input or even interpretation of the . . . information because it was in an area that is
  not my area of expertise.”).
  95
     Plaintiffs assert that Dr. Andersen thanked Dr. Fauci for his “advice and leadership” in an email
  and suggest that provides evidence that Dr. Fauci played a significant role in the drafting of the
  paper. PI Supp. 23. But the cited email shows nothing of the sort. The cited email is from Dr.
  Andersen to Drs. Farrar, Fauci, and Collins. In it, Dr. Andersen thanks all of them for their “advice
  and leadership as we have been working through the SARS-CoV-2 ‘origins’ paper,” and informs
  them “that the paper was just accepted by Nature Medicine and should be published shortly (not
  quite sure when).” Fauci Ex. 22 at 1 (Dkt. 206-23). Dr. Andersen also shares “the accepted version”
  of the paper in order to “keep [them] in the loop[.]” Id.


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  outbreaks. Fauci Dep. 102:22. The facts show no agreement to attempt to “suppress” speech on

  any medium that promoted any particular theory of the virus’s origins.

         Importantly, Plaintiffs reference not a single public or private communication by Dr. Fauci

  or anyone else about the “lab-leak” theory that was directed, publicly or privately, at a social media

  company. Instead, Plaintiffs pin the culmination of the alleged conspiracy to deceive on the

  following public and private statements: First, roughly one week after the article’s publication, Dr.

  Collins wrote on the “NIH Director’s Blog” online that the article refuted “outrageous claims that

  the new coronavirus causing the pandemic was engineered in a lab and deliberately released to

  make people sick.” See Fauci Ex. 25 at 1 (Dkt. 206-26). Second, in April 2020, Dr. Fauci responded

  to an email from Dr. Collins expressing concern about the “growing momentum” of the theory that

  COVID-19 started in a lab, Fauci Ex. 27 at 1-2 (Dkt. 206-28), with, “I would not do anything about

  this right now. It is a shiny object that will go away in times.” Id. at 2. Third, and also in April

  2020, Dr. Fauci was asked at a White House press conference to address “concerns that th[e] virus

  was somehow manmade, [and] possibly came out of a laboratory in China,” Fauci Ex. 28 at 2 (Dkt.

  206-29); he responded by explaining that a recent study by “highly qualified evolutionary

  virologists” found that the data were “totally consistent with a jump of a species from an animal

  to a human.” Id.96 After the press conference, one member of the press reached out to Dr. Fauci’s

  office to obtain a copy of the study Dr. Fauci was referring to, and Dr. Fauci passed along three

  “links to the scientific papers and a commentary about the scientific basis of the origins of SARS-

  CoV-2,” including a link to “The Proximal Origin of SARS-CoV-2.” Fauci Ex. 29 (Dkt. 206-30).


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     At the press conference, then-President Trump followed up after a brief line of questioning
  directed at Dr. Fauci by saying that he was “very satisfied with the decision [the Administration]
  made” to “listen[] to experts” and “many others.” Fauci Ex. 28 at 3 (Dkt. 206-29). Had the
  Administration not done so, the President said, “we could have lost more than 2 million people. I
  really believe that.” Id.


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  These statements, most of which simply promote information, and none of which was directed at

  a social media company, hardly show any effort to “suppress” the “lab-leak theory” on social

  media.

           This evidence contradicts every premise on which Plaintiffs construct their novel and

  legally unsupported “conspiracy to deceive” narrative. That narrative is built on fiction, not fact.

  See also Defs.’ Resp. PFOF ¶¶ 598-756. Plaintiffs resort to baseless and irrelevant attacks on Dr.

  Fauci’s credibility. Woven throughout their elaborate reconstruction of the events is a request for

  the to Court disregard Dr. Fauci’s testimony as “not credible,” and, presumably, to accept

  Plaintiffs’ factually unsupported retelling of the events instead. See PI Supp. 20. Plaintiffs’ sole

  argument against Dr. Fauci’s credibility—that he, like any other deponent, responded with some

  variation of “I do not recall” in his deposition when he did not recall the answer to a question,

  id.—is spurious. Plaintiffs obscure the details that Dr. Fauci could not recall by referring, without

  elaboration, to a long string cite to paragraphs of their proposed findings of fact. Id.97 Following

  the trail from that string cite to the deposition transcript reveals that the details Dr. Fauci could not

  recall were irrelevant and trivial matters such as: when and where he met a scientist years ago,

  Fauci Dep. 32:32-33:3; when he became aware of a particular article in 2020, id. at 31:21-32:3;

  who was copied on an email sent three years ago, id. at 55:5-8; whether he recalled, from eight

  years ago, the initiation of a grant he was not responsible for approving, id. at 21:21-22:23; what

  he remembered saying in a televised interview in July 2021, id. at 340:25, 342:13-18; and whether

  he was aware of communications between social media companies and other federal officials in

  which Dr. Fauci was not personally involved, id. at 328:20-329:7, among other immaterial matters.



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     Elsewhere, Plaintiffs make the same accusation by simply citing nearly the entire deposition
  transcript. PI Supp. 20 (citing Pls.’ PFOF ¶ 620, in turn citing Fauci Dep. 22:21-352:18).


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  That Dr. Fauci—then responsible for running NIAID, with an annual budget of more than $6

  billion, 2,000 employees, and 1,300 funded principal investigators—could not remember these

  irrelevant and trivial details is unremarkable. 98 In any litigation, even as to relevant information,

  witness “memories fade” “with the passage of time.” Star Sys. Int’l Ltd. v. Neology, Inc., No. 4:18-

  CV-00574, 2019 WL 679138, at *2 (E.D. Tex. Feb. 19, 2019) (citation omitted).

         Plaintiffs do not explain how Dr. Fauci’s failure to remember such minutiae from between

  two and eight years ago “contradicts the documentary evidence” or otherwise undermines his

  credibility. Plaintiffs fail to substantiate their very serious suggestion that Dr. Fauci—who was

  testifying under oath—was deliberately withholding information. An unadorned string cite to their

  brief does not suffice. Nor does their submission of a cut and spliced audio-recording of Dr. Fauci’s

  deposition, which removes all context in which to assess his testimony and Plaintiffs’ serious

  accusations against him. If the Court chooses to watch the audiovisual-recording of Dr. Fauci’s

  deposition, Defendants urge the Court to watch the full recording—which shows Dr. Fauci making

  a concerted effort to answer each question as thoroughly as possible, and provide as many details

  as possible, even where his memory is hazy (despite being repeatedly cut off or instructed to

  provide less information by opposing counsel, see Fauci Dep. 47:5-21 (“paus[ing]” Dr. Fauci’s

  answer regarding details of the February 1, 2020 call and asking him “not to go off on . . . a

  tangent”); id. at 127:13-128:8 (interrupting Dr. Fauci’s response to counsel’s questions relating to

  the receipt of a draft research paper); id. at 134:6-135:12 (interrupting Dr. Fauci’s answer

  “provid[ing] context” about an email he sent to Dr. Farrar).




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    See also Defs.’ Resp. PFOF ¶¶ 609, 612, 620, 628-630, 636, 642, 647, 651, 662-664, 666-668,
  670, 685, 686, 690, 7702, 703, 708, 710, 722, 730, 733, 737, 746, 750, 753, 766, 772, 789, 798,
  805, 807-809, 825, 849, 890-892.


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         In any event, Plaintiffs’ baseless attacks on Dr. Fauci’s credibility do not fill the gaping

  holes in their legally unsupported deception theory, which the evidence contradicts.

         § Other COVID-19-related topics. The remaining narratives supporting Plaintiffs’

  deception theory are likewise built on a contortion of the record and have nothing to do with

  content on social media platforms—and everything to do with Plaintiffs’ substantive disagreement

  with the conclusions and recommendations of Dr. Fauci and other scientific experts, which is

  irrelevant to their First Amendment claim. Plaintiffs allege that, “[h]aving succeeded so

  dramatically in suppressing the lab-leak theory through deception, Dr. Fauci,” in coordination with

  others, “continued . . . the same tactic of deceptively creating a false appearance of scientific

  consensus to procure the censorship of disfavored viewpoints on social media.” PI Supp. 24. In

  support, Plaintiffs lodge a series of complaints about Dr. Fauci’s views on issues such as the

  effectiveness of facemasks or particular treatments for COVID-19, among other things.

         But none of Dr. Fauci’s publicly or privately expressed views has any connection to speech

  on social media. Plaintiffs do not allege that Dr. Fauci discussed any of his views with a social

  media company, or that he demanded any company moderate content opposed to his views. Nor

  do Plaintiffs allege that a social media company made any particular content moderation decision

  because of any such demand. Instead, they assert that social media companies’ content moderation

  decisions were consistent with (or “followed”) Dr. Fauci’s publicly expressed views on various

  matters. PI Supp. 24-25. Yet the mere fact that social media companies may have considered the

  public statements of Dr. Fauci (or any other civil servant) in making their own decisions about

  what content to allow on their platforms does not suggest that Dr. Fauci intended to deceive any

  company into moderating content on its platform in a manner consistent with his views. See Defs.’

  Resp. PFOF ¶¶ 757-776 (regarding efficacy of hydroxychloroquine), 777-808 (regarding the Great




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  Barrington Declaration), 828-39 (masking), 840-852 (Alex Berenson). That is particularly so

  considering Dr. Fauci’s repeated testimony that he does not “pay attention to social media” Fauci

  Dep. 213:13-16. Rather, as Dr. Fauci testified, his “approach” to “countering false information,”

  “is to try to [] flood the system with the correct information as opposed to interfering with other

  people’s ability to say what they want to say.” Id. at 357:8-13. And he is entitled to take that

  approach. As the former Director of NIAID and Chief Medical Advisor to the President, Dr. Fauci

  was “entitled to say what [he] wishes . . . and to select the views that [he] want[ed] to express[.]”

  Summum, 555 U.S. at 467-68 (citations omitted). Finding that Dr. Fauci’s publicly (or privately)

  expressed views render him “responsible for,” Blum, 457 U.S. at 1004, the decision of a social

  media company and thus violates the First Amendment would, ironically, transform the First

  Amendment into a tool for muzzling routine government speech.

                                               *    *    *
         In short, Plaintiffs’ attempt to impugn the character of these public servants is built on a

  distortion of the factual record that, ultimately, is irrelevant to their First Amendment claims.

  Plaintiffs fail to show any likelihood of success on the merits of their newly constructed

  “deception” state-action theory, which lacks any factual or legal basis. A preliminary injunction

  against the FBI or NIAID on this basis is unwarranted.

             4. Plaintiffs fail to show that any Defendant jointly participated in any particular
                content moderation decision.
         Additionally, Plaintiffs contend that various Defendants acted as “joint participants” with,

  and both “conspired” and “colluded” with, social media companies, and so those companies

  content moderation decisions amount to state action. PI Supp. 29. As discussed below, Plaintiffs’

  supporting facts are unsupported by the record and otherwise do not establish the type of joint

  action necessary to hold the Government responsible for private conduct.




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         To meet the state action requirement via the joint action test, a plaintiff must show that “the

  government act[ed] jointly with the private entity.” Manhattan Cmty. Access Corp., 139 S. Ct. at

  1928 (citing Lugar v. Edmondson Oil Co., 457 U.S. 922, 941-42 (1982)). As with every other

  formulation of the state-action tests, the joint action inquiry “begins by identifying the specific

  conduct of which the plaintiff complains.” Moody, 868 F.3d at 352 (quoting Cornish, 402 F.3d at

  550); Cornish, 402 F.3d at 550 (requiring the plaintiff to “establish ‘a sufficiently close nexus

  between the State and the challenged action,”—there, the termination of the plaintiff’s

  employment—“of the regulated entity” (quoting Blum, 457 U.S. at 1004)). The plaintiff must then

  show that, as to that particular private action, the Government “so far insinuated itself into a

  position of interdependence with the [private actor] that it was a joint participant in the enterprise.”

  Bass, 180 F.3d at 242 (quoting Jackson, 419 U.S. at 357); see also Howard Gault Co. v. Tex. Rural

  Legal Aid, Inc., 848 F.2d 544, 555 (5th Cir. 1988) (state action found where there was “heavy

  participation” by the government in private decisions such that the “activities of the State” and the

  private parties were “interlocking”). In other words, the Government must have played an

  “indispensab[le]” and “meaningful role in the mechanism leading to the disputed act.” Frazier v.

  Bd. of Trs. of Nw. Miss. Reg’l Med. Ctr., 765 F.2d 1278, 1287-88 (5th Cir.), amended, 777 F.2d

  329 (5th Cir. 1985). This standard cannot be not satisfied based only on the private party’s

  “generalized relation with the state.” Id. at 1287. Instead, “the state” must have played an

  “affirmative role[] in the particular conduct underlying” the plaintiff’s “grievance.” Id. at 1286.

         In addition, the plaintiff must show that the joint action flowed from an agreement between

  a private party and government official to achieve the “specific conduct of which the plaintiff

  complains.” Moody, 868 F.3d at 352-54 (“conspiracy or joint action” tests failed where those

  circumstances were lacking) (citation omitted). Applying that standard here, there is no meeting




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  of the minds, and thus no state action, where a social media company independently applies its

  terms of service to moderate content on its platform. See O’Handley, 62 F.4th at 1156 (holding

  that because “Twitter acted in accordance with its own content-moderation policy when it limited

  other users’ access to [plaintiff’s] posts and ultimately suspended his account[],” Twitter “did not

  operate as a state actor”); Huber v. Biden, No. 21-CV-06580-EMC, 2022 WL 827248, at *5 (N.D.

  Cal. Mar. 18, 2022) (dismissing conspiracy claim between the President and Twitter where Twitter

  suspended plaintiff’s account for violating company’s terms of service), aff’d, 2023 WL 17818543

  (9th Cir. Dec. 20, 2022); Doe v. Google, No. 20-cv-07502-BLF, 2021 WL 4864418, at *5 (N.D.

  Cal. Oct. 19, 2021) (rejecting state action claim under joint action theory because there were “no

  allegations that Defendants invoked state or federal procedure to bring about the suspension of

  Plaintiffs’ accounts”), aff’d, 2022 WL 17077497 (9th Cir. Nov. 18, 2022). Plaintiffs cannot satisfy

  this “meeting of the minds” requirement by referring only to “generalized statements about

  working together to counteract the dissemination of election misinformation.” O’Handley v.

  Padilla, 579 F Supp. 3d 1163, 1184 (N.D. Cal. 2022), aff’d sub nom., O’Handley v. Weber, 62

  F.4th 1145 (9th Cir. 2023).

         The Fifth Circuit has emphasized that the joint participation standard is not easily met. In

  Howard Gault Co. v. Texas Rural Legal Aid, Inc., the Fifth Circuit held that a group of onion

  growers were functionally state actors when they pursued a lawsuit and a temporary restraining

  order to stop a labor strike. 848 F.2d at 555. The court found dispositive that the growers, seizing

  upon “deep-seated community hostility toward the strike,” hired attorneys who were at the same

  time “criminal district attorneys” and who repeatedly acted in their official capacity to collaborate

  in the lawsuit with “the Attorney General of the State of Texas” and the County sheriff. Id. As the

  court explained, “[t]he interlocking activities of the State . . . and the growers constituted a joint




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  effort” such that the growers’ conduct, “while not compelled by the state, was so ‘significantly

  encouraged, both overtly and covertly, that the choice must in law be deemed to be that of the

  state.” Id. (alterations omitted) (quoting Blum, 457 U.S. at 1004). The court was careful to

  “emphasize that the growers cannot be considered state actors merely because they invoked a state

  statute[;]” rather, “[i]t was the heavy participation of [the] state and state officials” in the growers’

  lawsuit that satisfied the state action requirement. Id. (emphasis added).

          In addition, the fact that social media companies may act on a large number of posts

  identified by a government agency does not demonstrate that the social media companies acted

  “jointly” with the Government:

          That Twitter and Facebook allegedly removed 98 percent of the posts flagged by
          [the state] does not suggest that the companies ceded control over their content-
          moderation decisions to the State and thereby became the government’s private
          enforcers. It merely shows that these private and state actors were generally aligned
          in their missions to limit the spread of misleading election information. Such
          alignment does not transform private conduct into state action.

  O’Handley, 62 F.4th at 1156-57.

      Here, as a general matter, Plaintiffs’ “joint participation” theory fails because regardless of

  what Defendants allegedly communicated, the social media companies “retained ultimate control”

  over the content allowed on their platforms. Frazier, 765 F.2d at 1287-88. Defendants are not

  “indispensab[le]” to any “particular” content moderation actions, nor do they have access to the

  “mechanism” by which those moderation actions occur (the private platforms’ internal technical

  systems), much less play a “meaningful role” in that mechanism. Id. As explained below,

  Plaintiffs’ allegations with respect with specific Defendants fail for a number of other reasons.

                  a. Plaintiffs fail to show that, by sharing information about COVID-19, CDC or
                     the Census Bureau jointly participated in any content moderation decision.
          Plaintiffs’ allegations against CDC and the Census Bureau do not demonstrate joint

  participation between those agencies on the one hand, and social media companies on the other, in


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  the companies’ content moderation decisions. See PI Supp. 31-33. The claims against these

  agencies falter at the outset because Plaintiffs fail to “identif[y] [any] specific” content moderation

  decision by a social media company in which CDC and Census were purportedly heavily involved.

  Moody, 868 F.3d at 352 (emphasis added). Rather, Plaintiffs simply recite a grab bag of past

  communications between various employees of social media companies and CDC (and,

  occasionally, employees of Census). PI Supp. 31-33 (referencing various emails and meetings

  between the agencies and social media company employees). But mere communications between

  a private company and the Government do not transform the private company into a state actor.

  Such a theory of state action would yield untenable results—it “would effectively cause companies

  to cease communicating with” government officials, including “their elected representatives[,] for

  fear of liability.” Doe, 2021 WL 4864418, at *4-5 (finding that a “Twitter exchange between Rep.

  Schiff and YouTube CEO Susan Woj[c]icki” did not support a finding of state action). As with

  Plaintiffs’ other overly broad conceptions of state action, this one, too, must be rejected.

         Relying solely on an assortment of communications between social media companies and

  CDC (and sometimes Census), Plaintiffs ask the Court to infer, without evidence, that social media

  companies ceded “authority” to CDC and Census “to dictate what may and may not be posted on

  their platforms.” PI Supp. 32. Yet not a single one of the challenged communications comes close

  to evincing that CDC (or Census) had significant involvement with—much less ultimate authority

  over—social media companies’ content moderation decisions. Rather, the record shows that the

  companies “retained ultimate control” over content allowed on their platforms. Frazier, 765 F.2d

  at 287-88.

         To start, contrary to Plaintiffs’ assertions, the mere existence of “regular meetings” with

  certain social media platforms, see PI Supp. 31, does not suffice to show that CDC was




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  “indispensab[le]” to the companies’ content moderation decisions, Frazier, 765 F.2d at 1287-88.

  Initially, although Plaintiffs characterize past meetings as being “about misinformation,” PI Supp.

  31, the record shows otherwise. As Ms. Crawford testified, regular meetings with select social

  media platforms for a short time in 2021 were initiated for the purpose of promoting CDC’s

  understanding of information about COVID-19. Crawford Dep. 27:13-23, 181:19-182:2. Only

  occasionally did those meetings involve any discussions about misinformation. Id.; Crawford

  Decl. ¶¶ 5-6 (Ex. 80). And to the extent the meetings did touch on misinformation, the focus was

  on narratives that the companies or CDC observed circulating on platforms and the information

  available from CDC that would respond to those narratives. Crawford Decl. ¶ 6 (Ex. 80). But

  regardless of whether and to what extent meetings with social media companies involved

  discussions about misinformation narratives, that would not show that CDC had become so

  “heavily involved” in a company’s decision to moderate any particular content so as to attribute

  that content moderation decision to CDC. Howard Gault, 848 F.2d at 555. At most, it shows a

  “generalized relation” between the companies and CDC, which falls far short of demonstrate state

  action. Frazier, 765 F.2d at 1286. See also Defs.’ Resp. PFOF ¶¶ 435-589.

         Nor does CDC’s mere receipt of Facebook’s CrowdTangle reports, see PI Supp. 31-32,

  show joint participation in any decision to moderate particular speech. As explained, the

  CrowdTangle reports provided summaries of high-engagement COVID-19 content on Facebook’s

  platform, regardless of whether that content was considered “misinformation.” Supra Defs.’ PFOF

  § II.C.6.; see also Crawford Dep. 53:8-10 (“[CrowdTangle is] a search of content on social media,

  and a summary of the higher volume conversations.”); Crawford Ex. 18 (Dkt. 205-19) (summary

  of COVID insight report that listed “news of shifting public health policies allowing people to

  return to work, school, and religious services” as among the most “highly engaging content”).




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  CDC did not use the reports to “monitor” speech for the purpose of removing particular posts,

  contrary to Plaintiffs’ unsupported assertions, see PI Supp. 31-32. As Ms. Crawford testified, CDC

  used the reports to understand the public’s concerns about COVID-19 and vaccines as expressed

  on social media and to “improve [its own] communication materials.” Crawford Dep. 53:7-12.99

  CrowdTangle is no evidence of joint participation in any particular content moderation decision.

  See also Defs.’ Resp. PFOF ¶¶ 440-452, 456, 471, 472, 485, 507-510.

         Further, certain social media companies’ requests that CDC provide input on the science

  behind general claims about COVID-19 and vaccines shows no state action. According to

  Plaintiffs, CDC was doing more than providing input—it was “dictat[ing]” what companies could

  allow on their platforms. PI Supp. 32. Yet Plaintiffs cite no evidence whatsoever backing up that

  extravagant claim. The cited emails do not contain any discussions about specific posts and

  whether such posts should be permitted on the platforms. Rather, they show that Facebook asked

  CDC whether certain claims in the abstract (for instance that “vaccines caus[e] magnetism,”

  Crawford Ex. 16 at 2 (Dkt. 205-17) had been “debunked” by scientific sources or were “false and

  can lead to harm,” Crawford Ex. 17 (Dkt. 205-18)—or, as put elsewhere, were false and could lead

  to vaccine hesitancy, Crawford Ex. 26, at 4 (Dkt. 205-26). In response to these requests, CDC did

  not ask the platform to take any particular action against any particular content. Instead, CDC

  provided factual information, sometimes stating the claim had been “debunked,” other times

  stating the evidence was “inconclusive,” and often times pointing directly to publicly available



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     Plaintiffs’ contention that CDC had “privileged access to use CrowdTangle,” see PI Supp. 32,
  likely refers to Facebook offering CDC the opportunity to log into the CrowdTangle platform to
  run its own reports about general categories of content circulating on the platform. See Crawford
  Dep. 77:9-14. Ms. Crawford did not use CrowdTangle for this purpose, but others at CDC may
  have. See id. at 50:1-4. Regardless, there is no evidence that anyone at CDC used CrowdTangle
  reports to collude with Facebook to remove or otherwise suppress particular posts or accounts.


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  and responsive information on the agency’s website. See, e.g., id. at 1; supra Arg. § II.C.2.

  Plaintiffs cite a handful of similar exchanges that CDC had with Google and Twitter. See PI Supp.

  33. These communications reflect social media companies’ independent interest in CDC’s

  understanding of the facts, as opposed to any effort by CDC to “dictate” to the companies what

  content they should allow on their platforms. See also Defs.’ Resp. PFOF ¶¶ 435-589.

         Plaintiffs find evidence of joint action from the fact that Facebook occasionally informed

  CDC that it had “updated its policies . . . based on the CDC’s input” on the above requests. PI

  Supp. 33. But Plaintiffs offer no evidence that CDC was given advance notice of or in any way

  weighed in on Facebook’s decisions about whether and how to update its misinformation policies.

  Those decisions rested entirely with Facebook. Plaintiffs also allege that CDC was aware that, in

  applying its policies, Facebook may have removed posts from its platform that made “debunked”

  claims. Pls.’ PFOF ¶¶ 523, 525. But CDC’s mere awareness that, applying its own policies,

  Facebook might remove hypothetical posts making claims that contradict CDC’s science-based

  information about COVID-19 and vaccines, does not show that CDC “dictated” Facebook’s

  decision to remove such posts, or that CDC otherwise entered into an agreement with Facebook to

  remove those posts. Again, as Ms. Crawford testified, it was not “CDC’s role . . . to determine

  what” companies should “do with the scientific information that [CDC] provided.” Crawford Dep.

  161:20-23. And Plaintiffs cite no authority in support of the surprising proposition that a

  government entity cannot provide information to a social media platform upon request, regardless

  of whether the platform might use the information to inform its content moderation decisions.

         At most, the evidence shows mere “acquiescence” by CDC in the company’s independent

  decisions to moderate content—including potentially removing content—in reliance on CDC’s

  science-based information. The Supreme Court “has never held that [the government’s] mere




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  acquiescence in a private action converts that action into that of the [government].” Flagg Bros. v.

  Brooks, 436 U.S. 149, 164 (1978). Making that finding here would have especially problematic

  implications for the functioning of government and for private conduct. It would imply that social

  media companies are precluded by the First Amendment from choosing to rely on certain types of

  information—solely because it comes from the Federal Government—when determining how to

  implement their own terms of service. In other words, finding state action based on this conduct

  would restrict the decisionmaking of social media companies, not subject to constitutional

  constraints and endowed with First Amendment rights of their own, about the content of the speech

  that may be carried on their platforms. By the same token, holding CDC responsible for a social

  media company’s independent decision to rely on CDC’s information would subject the agency to

  constitutional liability in a host of unknown circumstances outside of its control. CDC cannot

  predict whether and how a social media company (or any other private company) may choose to

  use its information (much of it publicly available on its website) in carrying out the company’s

  own business policies. These are among the reasons that the Supreme Court has cautioned that

  state-action principles be construed so as to preserve the “‘essential dichotomy’ [] between public

  and private acts.” Sullivan, 526 U.S. at 53 (quoting Jackson, 419 U.S. at 349).

         Similarly, the two BOLO meetings held in May 2021—in which CDC (with the help of

  Census) discussed misinformation narratives circulating online and where to find scientific

  information from CDC, supra Defs.’ PFOF § II.C.4, shows no joint participation in the companies’

  content moderation decisions. Plaintiffs misconstrue the record when they assert that CDC and

  Census provided “lists and screenshots of specific posts that [the agencies’] believe[d] should be

  censored.” PI Supp. 32. In fact, the materials presented focused on misinformation “narratives,”

  Crawford Decl. ¶ 14 (Ex. 80); and while some slides included social media posts as clarifying




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  “examples,” neither CDC nor Census pressed the social media companies to “censor[],” or take

  any action relating to, those posts or any others. Id.; see also Defs.’ Resp. PFOF ¶¶ 550-562.

         Next, Plaintiffs’ claim that CDC “asks platforms to provide reports about censorship,” PI

  Supp. 31, is evidentiarily unsupported and, in any event, shows no joint participation in any content

  moderation decision. Plaintiffs base their allegation on a March 2021 email exchange in which

  Ms. Crawford asked Facebook whether it could provide more information on the “themes” or

  “types of COVID-19 misinfo[rmation]” that Facebook had already removed. Crawford Ex. 44 at

  3 (Dkt. 205-44) (emphases added); see also Defs.’ Resp. PFOF ¶¶ 455-458. Ms. Crawford testified

  that the reason for this request was to understand whether Facebook’s past, independent decisions

  to remove certain content from its platforms would affect what CDC viewed in the CrowdTangle

  reports. As she explained, the CDC team responsible for creating reports on “vaccine confidence”

  was concerned that if only “live posts” on Facebook were reflected in CrowdTangle reports, CDC

  might be unaware of other areas of confusion about COVID-19 vaccines reflected in removed

  posts. Crawford Dep. 258:1-11. Thus, CDC’s request was aimed at trying to understand the effects

  of Facebook’s decisions, not attempting to compel Facebook to take any particular action with

  respect to any particular post.

         Relatedly, the record lends no support to Plaintiffs’ assertion that CDC inquires whether

  “specific content flagged by CDC and the Census Bureau has been removed,” or that Census

  “follows up to monitor whether platforms are removing” such content. PI Supp. 31. On the

  contrary, the evidence shows that CDC simply sought to understand why Facebook had taken down

  certain posts. See Crawford Ex. 8 at 1 (Dkt. 205-9) (email from CDC asking: “Were those [posts]

  re-evaluated by the [Facebook] moderation team or taken down for another reason?”). Indeed,

  Plaintiffs’ assertion that Census occasionally “check[ed]” to see whether things they might have




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  flagged or otherwise observed on Facebook had been removed, Crawford Dep. 117:19-21,

  confirms that Census did not know what action the company would take with respect to any

  specific content and was not “heavily involved” in the company’s content moderation decisions,

  Howard Gault, 848 F.2d at 555.

         Finally, Plaintiffs state that “CDC’s and Census Bureau’s actions constitute significant

  encouragement[ and] coercion,” in addition to “conspiracy or collusion.” PI Supp. 31. Yet

  Plaintiffs do not “discuss[]” any state-action theories relating to CDC conduct aside from their

  theory of “conspiracy or collusion.” It is Plaintiffs’ “obligation . . . to develop [those] arguments.”

  Paez v. Wal-Mart Stores, Tex., LLC, No. EP-20-CV-00321-DCG, 2022 WL 3216343, at *2 (W.D.

  Tex. Aug. 9, 2022). Having failed to do so, they have waived them. See United States v. Scroggins,

  599 F.3d 433, 446 (5th Cir. 2010) (argument not adequately briefed is waived). In any event, there

  is no evidence that CDC or Census threatened adverse consequences if a social media company

  failed to take action concerning any particular post or account, or offered them significant

  incentives of encouragement to do so, as Blum requires. Supra Arg. § II.B.1-2. To the contrary,

  CDC never “instruct[ed]” a social media company “to do anything” with the information that was

  “debunked.” Crawford Dep. 138:12-14. CDC never “advise[d] or help[ed]” a social media

  company on the “enforce[ment] or appl[ication] of [its] policies to any particular social media

  post.” Id. at 105:1-19. CDC never required a social media company to take any particular action

  with any content the agency flagged as reflecting a misinformation theme that CDC’s scientific

  information could address. Id. at 87:13-88:18. The “consequence” to any social media company

  for failing to take action with respect to any particular content on its platform was “[n]othing.” Id.

  at 88:19-22.




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         In sum, none of the challenged conduct amounts to state action under any theory. Instead,

  the record confirms that social media platforms have exercised independent decision-making

  authority about whether and how to moderate content on their platforms, including content about

  COVID-19. Accordingly, there is no basis for attributing any decision of any social media

  company to CDC or Census. See Blum, 457 U.S. at 993. For all of these reasons, Plaintiffs are

  unlikely to succeed on the merits of their claims against CDC and Census.

                 b. The FBI did not participate in “censorship” by sharing information about
                    foreign malign influence efforts or potential election-related misinformation.
         The FBI shared information with platforms regarding particular accounts or websites that

  FBI had with high likelihood determined to be covertly operated by hostile foreign actors, Knapp

  Decl. ¶¶ 10-20 (Ex. 157), and, on or near the day of an election, posts (even by domestic sources)

  that the agency preliminarily had found to contain falsehoods regarding the time, place, and

  manner of voting in the impending election, id. ¶¶ 21-24. When the FBI did so, contrary to

  Plaintiffs’ contention (PI Supp. 34-36), each platform retained sole discretion over all content

  moderation decisions regarding the account or website at issue. The FBI shared information with

  “no strings attached,” such “that the social media companies c[ould] protect their platforms as

  they deem[ed] appropriate.” Chan Dep. 32:16-20 (emphasis added). The FBI “d[id] not control

  what” platforms would “do” with the shared information. Id. at 33:2. Because the private platforms

  never “ceded control” over those decisions to the FBI, Plaintiffs’ conspiracy theory of state action

  as to FBI has no likelihood of success. O’Handley, 62 F.4th at 1156. And Plaintiffs also disregard

  the narrow scope and the serious import to national security and to law enforcement of the

  information FBI shares with platforms.

         In particular, the FBI’s Foreign Influence Task Force (FITF) shared information with the

  platforms that was (1) strategic (concerning techniques or processes through which foreign malign



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  actors operated), Chan Dep. 29:17-23, or (2) tactical (describing attributes, or “selectors,”

  including IP addresses and “hash values,” associated with particular social media accounts

  indicating their operators were foreign, such as the Russians), id. at 29:24-30:7, 30:10; see Knapp

  Decl. ¶¶ 10-20 (Ex. 157); cf. United States v. Reddick, 900 F.3d 636, 639 (5th Cir. 2018) (“hash

  value comparison allows law enforcement to identify” contraband “with almost absolute certainty,

  since hash values are specific to the makeup of a particular image’s data”). Platforms would “take

  the information that [FBI] share[d],” and then “validate” it “through their own means. And then if

  they determine[d] that these [were] accounts being operated by Russian state-sponsored actors,

  then they [would] take[ ] them down.” Chan Dep. 33:13-17 (emphasis added). Or, as Yoel Roth,

  formerly head of Twitter’s content moderation personnel, testified to Congress in 2023, the “FBI

  was quite careful and quite consistent to request review of the accounts, but not to cross the line

  into advocating for Twitter to take any particular action.” Ex. 10 at 16.

         FITF shared information about a foreign malign actor’s social media activity not based on

  the content or viewpoint expressed in a post, but rather on the determination that the account is

  part of a covert effort by a foreign malign actor. See Knapp Decl. ¶¶ 16-20. That is, FITF would

  “only share information” about a particular social media account when the FBI had “high

  confidence” that the account “is attributed to a foreign-state actor.” Chan Dep. at 112:21-113:6.

  Put another way, FITF would only provide account-specific information after “gathering”

  appropriate “intelligence” and completing the declassification review. Id. at 111:13-112:8. Thus,

  when FITF “provided” platforms “with high confidence” information that particular accounts bore

  indications of foreign malign activity, the platforms then were “able to discover fake . . . accounts

  and take them down.” Id. at 32:21-24. Hostile foreign entities often exploit such fake online

  personas on social media sites created via false representations of the identity or other




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  characteristics of the account holder, including whether the holder is a person at all rather than a

  “bot” or automation.100

         In some instances, the platform’s own analytical work would lead the platform to find ten

  accounts connected to the one account about which FITF shared information, and the platform

  would then “take all of them down.” Platforms would only “sometimes” inform FITF “how many

  accounts were taken down” following FITF’s sharing of information. And when FITF “ask[s] for

  specifics,” platforms “don’t necessarily tell” FITF “all the time.” Chan Dep. 113:23-114:7; see

  also Defs.’ Resp. PFOF ¶¶ 860, 861, 867, 873, 889, 906-909, 918, 931, 938, 939, 942.

         Similarly, as part of the FBI’s election integrity efforts FBI personnel, on or near the day

  of an election, would call platforms’ attention to accounts posting disinformation about the time,

  place, or manner of elections in various states. Id. at 162:10-163:3; see Knapp Decl. ¶¶ 21-24 (Ex.

  157). A “hypothetical example” of such a post, which “would probably be flagged,” is one that

  asserted that “Political Party A” would “vote on Tuesday,” while “Political party B” would “vote



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      As then-Deputy Attorney General Rod J. Rosenstein explained: “Together, bots and networks
  of paid trolls operating multiple accounts allow foreign agents to quickly spread disinformation
  and create the false impression that it is widely accepted.” Ex. 149 (Deputy Attorney General
  remarks of July 19, 2018); see also Kimmage Dep. 170:11-18, 279:17-280:4; Ex. 9 at 80 (“The
  spread of intentionally false information on social media is often exacerbated by automated, or
  ‘bot’ accounts.”); Ex. 154 at 2 (Press Release, Fed. Bureau of Investigation, 40 Officers of China’s
  National Police Charged in Transnational Repression Schemes Targeting U.S. Residents, (Apr.
  17, 2023), 2023 WL 2968014) (describing United States v. Yunpeng Bai, et al. (E.D.N.Y. unsealed
  Apr. 17, 2023), which alleges that Chinese agents “created thousands of fake online personas on
  social media sites, including Twitter, to target Chinese dissidents through online harassment and
  threats,” and “disseminated . . . government propaganda and narratives to counter the pro-
  democracy speech of the Chinese dissidents . . . . [Agents] created and maintained the fake social
  media accounts through temporary email addresses, posted official PRC government content, and
  interacted with other online users to avoid the appearance that [their] accounts were ‘flooding’ a
  given social media platform.”); Ex. 155 at 4 (Craig Timberg, Secret trove offers rare look into
  Russian cyberwar ambitions, Wash. Post (Mar. 30, 2023)) (describing documents of Russian
  defense contractor about “tactics for automating the creation of massive numbers of fake social
  media accounts for disinformation campaigns.”).


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  on Wednesday.” Chan Dep. 265:6-10. In the election security context, the FBI operated on the

  understanding that it is a potential election crime for a person in the United States (not simply a

  foreign person) to post deliberately misleading information about the time, place, or manner of

  casting a ballot. Id. at 270:2-13; see, e.g., Anderson v. United States, 417 U.S. 211, 225-26 (1974)

  (upholding 18 U.S.C. § 241 conviction for deceiving voters regarding which candidate was

  selected on their ballot where accused’s casting of fictitious ballots “injure[d] the right of all voters

  in a federal election to express their choice of a candidate and to have their expressions of choice

  given full value and effect”); see also United States v. Mackey, No. 21-cr-80, Dkt. 115 (E.D.N.Y.

  Mar. 31, 2023) (conviction for using Twitter to assert, among other things, that supporters of

  particular Presidential candidate could and should vote by posting specific hashtag on Twitter or

  Facebook, or by texting candidate’s first name to specific telephone text code); United States v.

  Tobin, No. 04-cr-216-01-sm, 2005 WL 3199672 (D.N.H. Nov. 30, 2005) (conviction for disruption

  of phone lines on election day).

          In that regard, in 2020, the FBI San Francisco Field Office at which ASAC Chan works

  was responsible for relaying time/place/manner disinformation or malign-foreign-influence

  information to platforms. Chan Dep. 168:10-20. The FBI would convey such posts to platforms

  “to alert” them “to see if” the posts “violated” the platforms’ “terms of service,” and if the posts

  did so, the platforms “would follow their own policies, which may include taking down accounts.”

  Id. at 165:9-22 (emphasis added). Platforms would sometimes inform the FBI that they had taken

  down the posts, while in other instances they would state that a post at issue “did not violate”

  platform “terms of service.” Id. at 166:2-7; see also Defs.’ Resp. PFOF ¶¶ 879, 925-928, 966.

          In the aftermath of Russian active interference in the 2016 Presidential Election, including

  via social media, the Senate Select Committee on Intelligence concluded: “Information sharing




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  between the social media companies and law enforcement must improve, and in both directions.”

  Consistent with that conclusion, the record shows that the FBI shared information with social

  media companies to counteract foreign malign influence efforts, and to raise platform awareness

  about posts with deliberately misleading information about the time, place, or manner of voting.

  But there is no evidence the FBI sought control over platform content moderation decisions, and

  no evidence the platforms ever ceded such control to the FBI. Plaintiffs’ “joint participation” theory

  thus fails against the FBI.

                  c. Plaintiffs fail to establish that CISA worked jointly with social media companies
                     to violate the First Amendment.
      Plaintiffs next contend that CISA “engages in extensive collusion with platforms on

  censorship” based primarily on the following activities: (1) “continuous meetings and

  coordination” between social media companies and CISA; and (2) CISA’s “flagging [of] content

  for censorship,” providing additional evidence of misinformation to social-media platforms, and

  platforms’ treatment of CISA as a “privileged reporter of misinformation.” PI Supp. 36-39. As

  discussed below, these activities neither individually nor collectively reflect any joint action

  depriving Plaintiffs of their constitutional rights.

      ▪ CISA’s Meetings with Social Media Companies. Plaintiffs first contend that CISA’s

  meetings with social media companies regarding general discussions of misinformation concerns

  support their claim of collusion. PI Supp. 37. Plaintiffs cite no authority to support the conclusion

  that meetings in which misinformation concerns generally were discussed—as an element of

  broader election-related security discussions—are sufficient to establish the requisite joint

  participation necessary for the Government to be responsible for private decisions, and indeed, the

  law is to the contrary. See supra at pp. 213-16.




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         In furtherance of its mission, CISA participated in regular meetings with social media

  companies about misinformation, including recurring USG-Industry meetings (and preparatory

  meetings in advance of these meetings); CISA Cybersecurity Advisory Committee (CSAC)

  quarterly meetings; CISA CSAC, Protecting Critical Infrastructure from Misinformation and

  Disinformation subcommittee meetings; and meetings convened by the EIS-GCC and the EI-SCC

  Joint Managing Mis/Disinformation Working Group. See Ex. 187 at 42-44. Contrary to Plaintiffs’

  factually unsupported claim that these meetings “provide avenues for government officials to push

  for censorship of disfavored viewpoints and speakers online,” PI Supp. 27, Plaintiffs have failed

  to adduce any evidence that such alleged “push[es]” for censorship actually occurred during these

  meetings.

         For example, the USG-Industry meetings, which began in 2018 (during the Trump

  Administration) and ended in 2022, included federal agency participants from CISA, DHS, the

  FBI, DOJ, ODNI, as well as technology company participants from Google, Facebook, Twitter,

  Reddit and Microsoft, and on occasion Verizon Media, Pinterest, LinkedIn, and the Wikimedia

  Foundation. Ex. 187 at 42-43; Scully Dep. 31:10-16. 101 CISA never flagged or reported potential

  disinformation for social media or technology companies during or in connection with the USG-

  Industry meetings. Hale Decl. ¶ 68 (Ex. 97). Rather, the topics discussed generally included

  information sharing around election risk, briefs from the industry, threat updates, and highlights

  and upcoming watch outs. Ex. 187 at 43. For example, these meetings generally involved CISA

  educating social media platforms on how elections function and are administered, as well as

  potential threats to elections. Scully Dep. 224:22-25:9. Much of the discussions at these meetings


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     Plaintiffs claim that the USG-Industry meetings “have been ongoing for years and are
  continuing.” PI Supp. 37. CISA has not participated in the USG-Industry meetings since the 2022
  general election. Hale Dec. ¶ 69 (Ex. 97).


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  involved cyber security issues, as well as discussions about recurrent physical threats to poll

  workers. Id. at 235:11-22.

         Although general concerns about misinformation and disinformation were discussed

  during these USG-industry meetings, they did not involve “pushes” to censor misinformation or

  disinformation, either in general or regarding specific individuals, posts, or accounts. Id. at 39:12-

  25. For example, CISA often reported on election infrastructure security, key election timelines,

  and publications designed to promote resilience to disinformation, such as a general disinformation

  resilience guide highlighting examples of the tactics use by foreign disinformation actors and

  outlining proactive measures to mitigate the effectiveness of such tactics entitled the Tactics of

  Disinformation. Id. at 39:12-18; Hale Decl. ¶ 68 (Ex. 97). Other agencies, including DOJ, FBI,

  ODNI, and DHS, would participate and provide unclassified, high-level reviews or strategic

  intelligence briefings. Scully Dep. 25:10-23. Members of the intelligence community discussed

  malign foreign actors who potentially were going to launch disinformation operations. Id. at 39:19-

  25. Industry participants would share high-level trend information from public reporting they had

  released. Id. at 40:2-41:15. In short, Plaintiffs have failed to provide any evidence that CISA or

  other federal agencies colluded with social media platforms during these meetings to deprive

  anyone of their constitutional rights, much less the rights of Plaintiffs. See also Defs.’ Resp. PFOF

  ¶¶ 861, 866, 978-990.

         Similarly, the CISA CSCAC Committee quarterly meeting agenda and summaries, as well

  as participants, are all available on-line, Ex. 121, and contrary to Plaintiffs’ contention, a review

  of those materials fails to reflect any collusion between CISA and social media companies to

  deprive Plaintiffs (or anyone) of their constitutional rights through the removal of or other action

  against specific social media content. Instead, these materials reflect discussions concerning the




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  creation of a new, congressionally-mandated advisory committee; how CISA can better

  accomplish its mission of promoting the security and resilience of critical infrastructure such as by

  refining the national effort to identify and prioritize the most critical entities and infrastructure;

  improving efforts to strengthen the nation’s cyber workforce; and enhancing public-private

  communication and collaboration in preventing and responding to cybersecurity incidents. Id.

         In addition, the CSAC Protecting Critical Infrastructure from Misinformation and

  Disinformation Subcommittee (Subcommittee), which was directed to stand down in December

  2022 because it had completed its taskings and provided its recommendations to CISA, did not

  involve any joint action by CISA and social media companies to remove or take any action

  concerning any social media content. See Ex. 187 at 43; Ex. 122 at 9 (stating that the MDM

  Subcommittee did not participate in, or recommend for others to participate in, any activities

  related to social media platform moderation or other activities that could be construed, even

  broadly, as “censorship”). Rather, CISA had established the Subcommittee for the purpose of

  evaluating and providing recommendations on potentially effective critical infrastructure-related

  counter-MDM efforts that fit within CISA’s unique capabilities and mission. Ex. 123 at 1. Like

  the CSAC Committee, the Subcommittee operated transparently, and further details about the

  Subcommittee, its membership, and reports and recommendations, are posted on CISA’s website,

  Id.; and Ex. 119. Specifically, the Subcommittee recommended that CISA take actions such as

  “shar[ing] up to date ‘best practices’ around how to proactively address and counter MDM based

  on the most recent research[,]” “[s]har[ing] information with state and local election officials[,]”

  and “[p]rotect[ing] the courts” from being the target of “an intensified campaign to undermine

  public trust in the legitimacy of their processes.” Ex. 124 at 1-3. Nothing in these materials reflects

  an attempt by CISA to “push” social media companies to censor mis- or disinformation or reflects




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  a conspiracy or collusion to deprive Plaintiffs—or anyone, for that matter—of their constitutional

  rights.

            Finally, the EIS-GCC EI-SCC Joint MDM Working Group (Working Group), which was

  launched after the 2020 election, provides a forum through which the Election Infrastructure

  subsector could identify challenges in countering MDM and produce resources for addressing

  these challenges. See Ex. 187 at 44. CISA supports the Working Group by providing administrative

  and substantive support, such as facilitating meetings and helping to draft working group products.

  Hale Decl. ¶ 41 (Ex. 97). As noted above, the Louisiana Secretary of State oversaw the

  management and activity of the Working Group from the summer of 2021 to the summer of 2022.

  Id. ¶ 31.102 To date, the Working Group has published two guides to help state and local election

  officials and industry providers prepare for and respond to risks of disinformation. Id. ¶ 40.103 The

  Working Group does not engage with social media companies, and it does not flag or report

  potential disinformation to social media or technology companies. Id. ¶ 43. Again, Plaintiffs have

  failed to adduce any evidence that these meetings involved federal agencies attempting to conspire

  or collude with social media companies to act on misinformation on their platforms, let alone a


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      The Louisiana Secretary of State has been a member of the EIS-GCC since May 2019, and
  while serving as the NASS President from the summer of 2021 to 2022 served as an EIS-GCC
  Executive Committee member. Hale Decl. ¶ 31 (Ex. 97). In this capacity, Louisiana received
  regular briefings (usually every two weeks) on CISA’s election security efforts, including briefings
  on CISA’s disinformation resilience work, and engaged in security planning activities for the
  Election Infrastructure Subsector. Id. In addition, the Missouri Secretary of State served as an
  alternative member of the EIS-GCC from 2018-2019 and attended the EIS-GCC biannual meetings
  and actively participated in briefings on the Election Infrastructure Subsector’s security and
  resilience efforts. Id. at ¶ 32.
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      These publications include (1) the Rumor Control Page Start-Up Guide, which is designed for
  use by state, local, tribal and territorial government officials and private sector partners seeking to
  dispel inaccurate election security-related information by sharing accurate information; and (2) the
  MDM Planning and Incident Response Guide for Election Officials, which is designed for SLTT
  election officials and to help them understand, prepare for, and respond to disinformation that may
  impact the ability to securely conduct elections. Hale Decl. ¶ 40 (Ex. 97).


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  conspiracy to deprive Plaintiffs of their constitutional rights. See also Defs.’ Resp. PFOF ¶¶ 1011,

  1235.

          In short, like the allegations rejected by the Ninth Circuit in O’Handley, Plaintiffs’

  “allegations establish, at most, a meeting of the minds to promptly address election

  misinformation, not a meeting of the minds to violate constitutional rights.” 62 F.4th at 1159.

          ▪ CISA’s Switchboarding Activities During the 2020 Election Cycle. Plaintiffs next claim

  that CISA’s conveyance of potential misinformation identified by state and local election

  officials—including officials from Plaintiffs Missouri and Louisiana, and membership

  associations in which officials from Missouri and Louisiana are members 104—to social media

  companies during the 2020 election cycle evinces a conspiracy to deprive Plaintiffs of their

  constitutional rights. PI Supp. 37-38. But this also fails to show that CISA was a joint participant

  in any content moderation action.

          As discussed above, during the 2020 election cycle, CISA performed “switchboarding”

  work on behalf of state and local election officials. Scully Dep. 16:16-25. Switchboarding involved

  state and local election officials identifying for CISA information on social media that they

  believed constituted election-related misinformation, and CISA forwarding that information to

  social media companies for their informational awareness. Id. at 17:1-14; 23:19-24:2. Social media

  companies would then make independent decisions on the content that CISA forwarded to them

  based on the companies’ policies. Id. at 17:15-21.




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     See, e.g., Ex. 100; Ex. 101; Ex. 102; Ex. 103; Ex. 104; Ex. 105 and Hale Decl. ¶¶ 33, 70 (Ex.
  97) (explaining that officials in Plaintiff States Missouri and Louisiana were among those who
  transmitted election security-related disinformation to CISA or CIS for the purpose of it being
  shared with the social media companies, that Louisiana is a member of NASS, and both Louisiana
  and Missouri are members of NASED).


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         When CISA set up its switchboarding function it met with social media companies and

  reaffirmed its “position that [CISA] would never ask them to take any specific actions, [and] that

  they should make decisions based on their terms of service.” Id. at 241:23-242:5. Accordingly,

  when CISA transmitted potential misinformation identified by state and local election officials to

  social media companies, CISA’s protocol was to include a notice stating that it was not requesting

  that the company take any particular action. See, e.g., Ex. 106; Hale Decl. ¶ 72 (Ex. 97).

         On occasion, at the request of election officials, CISA would ask social media companies

  to report back on how, if at all, they had addressed misinformation CISA flagged for the

  companies. Scully Dep. 163:17-164:17. Over time, however, the companies would report directly

  to the election officials about what actions, if any, they took concerning potential misinformation.

  Id. at 164:8-25.

         Normally, CISA would receive a note from a social media company acknowledging that

  they received CISA’s email, but CISA often did not receive any kind of notification from a social

  media company regarding what decision it made concerning potential misinformation. Id. at 177:7-

  178:8. If a social media company needed additional information from an election official in order

  to make a decision about whether content violated its terms of service, CISA would try to support

  that effort. Id. at 219:25-220:13. For example, if state or local officials had made a public statement

  about potential misinformation, or could provide additional information about it, and a social

  media company asked for it, CISA would try to obtain that information for the company. Id. at

  219:25-220:20.

         The record in this case makes clear that social media companies made independent

  judgments in applying their content moderation polices to information that CISA “switchboarded”

  to them, and Plaintiffs concede as much. See Pls.’ PFOF ¶ 973 (quoting Brian Scully’s deposition




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  testimony that “the idea was that [the social media companies] would make decisions on the

  content that was forwarded to them based on their policies.”). For example, when CISA passed

  along information for social media companies’ awareness, the companies at times concluded that

  certain posts did not violate their content moderation policies and therefore determined that no

  action would be taken. See, e.g., Ex. 105 at 1 (email from Twitter concluding that “Tweet was not

  determined to be a violation of our rule”); Ex. 107 at 1 (email from Twitter concluding that certain

  tweets violated its terms of service while others did not); Ex. 108 at 1 (email from Twitter stating

  “[t]weet was not in violation of our Civic Integrity Policy”); Ex. 109 at 1 (email from Twitter

  stating that the “Tweets to not be in violation of our policies” and that Twitter would “not take

  action on these Tweets”); Ex. 110 at 1 (email from Twitter stating “internal review of account data

  indicates [the account] is not suspicious”); Ex. 111 at 1 (email from Twitter stating “this tweet was

  not determined to violate our civic integrity policy”). See also Defs.’ Resp. PFOF ¶¶ 1076-1082.

         Despite Plaintiffs’ voluminous preliminary injunction filings, nowhere do they identify

  facts supporting the notion that the social media companies failed to exercise their independent

  judgment in applying their content moderation policies. This is fatal to their claim of conspiracy.

  See O’Handley, 62 F.4th at 1158 (“The First Amendment does not interfere with this

  communication [between the Government and social media companies] so long as the

  intermediary is free to disagree with the government and to make its own independent judgment

  about whether to comply with the government’s request.”).

         Furthermore, Plaintiffs fail to explain why CISA’s willingness to provide social media

  companies with additional context about misinformation identified by state and local governments

  reflects a “meeting of the minds” to deprive Plaintiffs of their constitutional rights. PI Supp. 39.

  Nothing about these activities negates the fact that social media companies independently applied




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  their content moderation policies in determining what action, if any, to take regarding potential

  misinformation.105

                  d. Plaintiffs fail to identify joint action by the Global Engagement Center and
                     social media companies to remove any social media content.
        Plaintiffs also devote a paragraph of their brief to their claim that the State Department’s

  Global Engagement Center (GEC) “colludes with social-media platforms on censorship,” solely

  because it meets with social media companies about disinformation, including with the platforms’

  content moderation officials. PI Supp. 39-40.

          But this too does not establish the type of “joint action” necessary to attribute private

  conduct to the Government. For example, the GEC’s Technology Engagement Team (TET) meets

  with social media companies and exchanges information concerning the propaganda and

  disinformation tools and techniques used by the United States’ adversaries. Kimmage Dep. 29:14-

  30:14. These meetings rarely include discussions about specific content posted on social media

  because the meetings are at a higher, more conceptual level about what foreign actors are doing,

  rather than specific content. Id. at 30:20-31:3. 106


  105
      In a last-ditch effort to establish a conspiracy between CISA and social media companies
  Plaintiffs make two final arguments. First, they note that early in the 2022 election cycle a CISA
  employee asked social media companies to develop a one-page document that state and local
  election officials could use to help explain the social media companies’ content moderation
  policies and how to report misinformation to the companies. PI Supp. 39. Second, Plaintiffs note
  that CISA runs an “operation center” on election day that engages in reporting misinformation to
  social media platforms. Id. Once again, Plaintiffs fail to explain how these activities reflect a
  deprivation of Plaintiffs’ constitutional rights. In addition, nothing about these activities
  undermines the fact that social media companies independently apply their content moderation
  policies when potential misinformation was brought to their attention.
  106
      Plaintiffs also claim that the fact that the GEC briefly had a liaison in Silicon Valley to connect
  with social media platforms is evidence of collusion. PI Supp. 39. Not so. For a time, the GEC had
  a location in Silicon Valley where one individual, Defendant Sam Stewart, was stationed.
  Kimmage Dep. 153:7-154:21. The purpose of the Silicon Valley location was to facilitate
  public/private coordination and broker constructive engagements between the Government and the
  technology sector, including social media companies, academia and research. Id. at 155:5-21. Mr.



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         Similarly, the GEC front office also engages with social media companies, primarily to

  build relationships with those companies to facilitate better communications at the working level.

  Id. at 31:12-20. The GEC did not flag specific content for social media companies during these

  meetings and did not give the companies any directives. Id. at 34:13-36:5. The GEC’s purpose in

  advising social media companies about disinformation campaigns was not to influence social

  media companies’ internal decisions regarding content, but to deepen their understanding of the

  actions of malign actors seeking to harm the national security, in line with the GEC’s congressional

  mandate. Id. at 36:6-37:7. The GEC simply shared lessons learned, information about propaganda

  and disinformation techniques, and the campaigns and narratives of foreign propaganda and

  disinformation actors. Id. at 273:12-24. Sharing information can help social media companies

  identify coordinated inauthentic activity or to understand what these actors are trying to achieve,

  as well as to understand the types of narratives they are promoting. Id. at 279:17-280:4. Providing

  this information to social media companies is the first step in social media companies’ ability to

  address foreign propaganda on their sites, as “[s]olving a problem has to start with understanding

  the problem.” Id. at 280:9-281:3.

         However, the GEC does not engage in any activities with the intention of proposing to

  social media companies that certain content should not be posted on their platforms. Id. at 37:16-

  25. Indeed, “[t]he Global Engagement Center does not tee up actions for social media companies




  Stewart had conversations with social media companies in which the GEC shared information
  related to its mission to counter foreign propaganda and disinformation. Id. at 155:22-156:11. The
  social media companies also educated the GEC based on what sorts of propaganda and
  disinformation they were observing on their platforms. Id. at 157:11-23. Mr. Stewart no longer
  works for the GEC, and no one from the GEC is currently working from the Silicon Valley
  location. Id. at 154:14-21, 272:17-25. Plaintiffs have failed to identify anything collusive about
  these meetings.


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  to take,” and it “does not seek to influence the decisions of the social media companies.”107 Id. at

  38:2-3, 283:9-22. Nor does the GEC seek to provide information that might inform or influence

  social media companies’ decisions concerning the moderation of specific content. Kimmage Dep.

  38:1-11; Bray Decl. ¶ 16 (Ex. 142) (stating that the GEC’s practice is not to request social media

  companies take any specific actions when sharing information with them). 108 Rather, whatever

  actions social media companies may take after receiving information from the GEC is left

  completely up to those companies. Kimmage Dep. at 273:12-274:8. See also Defs.’ Resp. PFOF

  ¶¶ 1123-1134.

         In short, as with CISA, at most Plaintiffs have established that the GEC and social media

  companies were “generally aligned in their mission to limit the spread of misleading election




  107
      In 2018, the GEC flagged a specific post for social media companies, and this involved the
  safety of State Department personnel. In this incident, a colleague of Mr. Kimmage, who was the
  then-Acting Coordinator of the GEC, informed him about a security situation in a Middle Eastern
  country where protestors were using a social media platform to communicate in ways that raised
  urgent security concerns, and the State Department was concerned for the safety of its personnel.
  Kimmage Dep. 38:12-39:25; Bray Decl. ¶ 17 (Ex. 142). Mr. Kimmage communicated directly
  with the social media platform and informed it that this was an ongoing concern. Kimmage Dep.
  38:12-39:25. Mr. Kimmage was “very specific” in his interaction with the social media company
  that this was a real time situation where the State Department believed its personnel were at risk
  and asked the company to review the activity on these accounts to decide whether this content
  violated its terms of service. Id. at 38:12-39:25. Mr. Kimmage did not ask for anything to be
  removed from the sites, but he did express security concerns about the safety of State Department
  personnel. Id. at 38:12-39:25. These posts were from foreign actors. Id. at 40:1-3. Mr. Kimmage
  is unaware of what action, if any, social media companies took in response to his identification of
  this issue, because they did not report back to him. Id. at 40:4-7.
  108
       When asked at his deposition about any efforts by the GEC to influence social media
  companies’ content moderation decisions, Daniel Kimmage, the acting GEC coordinator and
  principal deputy coordinator from 2017 until June 2021, stated that he never had a conversation
  with social media companies where he encouraged them to speed up the removal of posts.
  Kimmage Dep. 42:12-20, 47:16-20. Mr. Kimmage further testified that he is unaware of instances
  where someone at the GEC may have gone through a third party on the understanding that the
  party would convey a concern about content on a social media platform with a social media
  company. Id. at 55:20-56:8. Plaintiffs have failed to identify any evidence to the contrary.


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  information.” O’Handley, 62 F.4th at 1157. But such alignment falls far short of establishing that

  the GEC acted jointly with social media companies in acting against any particular content.

                 e. No “joint action” transformed the private conduct of the Election Integrity
                    Partnership or the Virality Project into state action attributable to Defendants.
         Plaintiffs next contend that “social-media companies work hand-in-glove with Defendants

  and their partners in state and local government, the Election Integrity Partnership, and the Virality

  Project to censor speech expressing viewpoints that Defendants disfavor.” PI Supp. 42. More

  specifically, Plaintiffs allege that certain Defendants are responsible for certain (unspecified)

  content moderation decisions made by social media companies due to two separate layers of

  alleged “joint participation”: (1) those Defendants allegedly worked jointly with the Election

  Integrity Partnership (EIP) and the Virality Project (VP) such that the EIP and the VP are state

  actors; and (2) the EIP and VP in turn worked jointly with social media companies to supposedly

  target certain content such that the social media companies are state actors. 109 Id. Plaintiffs are




  109
      Plaintiffs contend that the EIP and VP acted as arms of the Federal Government due to the
  alleged level of involvement in the activities of those private organizations by CISA, the GEC, and
  the EI-ISAC. Plaintiffs claim that the EI-ISAC is a “government agency,” apparently because it
  receives funding from CISA. PI Supp. 42 (referring to the “CISA-funded EI-ISAC” as a
  “government agency”). Plaintiffs provide no legal or factual basis for its claim that the EI-ISAC
  is a government agency. As noted supra, at 73, the EI-ISAC is a voluntary organization managed
  by CIS with membership open to all state, local, tribal, and territorial organizations that support
  election officials. Hale Decl. ¶ 48 (Ex. 97). Plaintiffs cite no legal support for the proposition that
  the receipt of federal funding converts a private entity into an arm of the Federal Government.
  Indeed, Fifth Circuit precedent is to the contrary. Fairley v. PM Mgmt.-San Antonio AL, LLC, 724
  F. App’x. 343, 344 (5th Cir. 2018) (affirming dismissal of section 1983 claim where plaintiff
  contended that nursing home’s receipt of federal funds converted the nursing home into a state
  actor). Moreover, the EI-ISAC is overseen by CIS, a non-profit organization, rather than the
  Federal Government. Scully Dep. 59:9-60-17; Hale Decl. ¶ 44 (Ex. 97). CISA did not fund CIS or
  the EI-ISAC for any of the work they provided in relation to the reporting of potential election
  security-related disinformation to social media or technology companies during the 2020 election
  cycle. Id. ¶¶ 50-51. Accordingly, any suggestion that the EI-ISAC is a Federal Government agency,
  or that its work can be imputed to CISA, lacks merit.


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  incorrect both as a matter of fact and as a matter of law, and they fail to establish a likelihood of

  success based on this state-action theory.

                  i.      EIP

          Plaintiffs contend that the EIP is pervasively entwined with CISA and the GEC such that

  the EIP is a state actor. PI Supp. 45. Plaintiffs are incorrect. To start, Plaintiffs mischaracterize the

  EIP. The EIP is a private partnership formed in 2020 that included the Stanford Internet

  Observatory, the University of Washington, Graphika, and the Atlantic Council’s Digital Forensic

  Research Lab to better understand the information environment around elections. See Scully Ex.

  1 at vi (Dkt. 209-2). The EIP’s “primary goals were to: (1) identify mis- and disinformation before

  they went viral and during viral outbreaks; (2) share clear and accurate counter-messaging; and

  (3) document the specific misinformation actors, transmission pathways, narrative evolutions, and

  information infrastructures that enabled these narratives to propagate.” Id. Among other actions,

  the EIP developed a “ticketing” system by which trusted external stakeholders and internal EIP

  analysts could flag misinformation that EIP would then analyze and, depending on the nature of

  the information, could flag for social media companies for their awareness. Id. at 8-10; 18-19.

          The record reflects that several Stanford University students who interned at CISA and

  worked on election security matters came up with the idea for the EIP. Id. at 2; Hale Decl. ¶ 53

  (Ex. 97). Based on lessons learned from the 2018 election, CISA personnel discussed with the

  interns a gap that existed in the resources of state and local election officials to identify

  misinformation that targeted their jurisdictions. Scully Dep. 84:10-22; Hale Decl. ¶ 53 (Ex. 97).

  Some of the Stanford students who interned at CISA independently made a presentation about this

  lack of resources to the Stanford Internet Observatory. Hale Decl. ¶ 54 (Ex. 97). Subsequently,

  CISA personnel had a conversation with Alex Stamos, who worked for the Stanford Internet




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  Observatory, one of the four organizations that comprised the EIP, and confirmed the existence of

  the gap in state and local resources. Scully Dep. 86:22-87:9; Hale Decl. ¶ 54 (Ex. 97). The Stanford

  Internet Observatory thereafter launched the EIP. Hale Decl. ¶ 55 (Ex. 97). CISA personnel’s

  provision of feedback to interns about a gap in state and local election official resources and

  confirmation of that feedback to Mr. Stamos does not render the EIP a government body.

            Furthermore, Plaintiffs do not provide any evidence that CISA or the GEC were entwined

  in the management or control of the EIP. Rather, Plaintiffs claim only that (1) CISA and the GEC

  were “major stakeholders” of the EIP; (2) CISA and the GEC provided information into EIP’s

  “Intake Queue”; (3) the EIP receives some funding from a grant from the National Science

  Foundation and from Federal funding for the Atlantic Council (rather than from CISA or the GEC);

  and (4) “numerous current and former CISA personnel also have or had roles in the EIP.” PI Supp.

  42, 44.

            Even assuming Plaintiffs were factually correct about each of these activities, which they

  are not, they have identified no legal authority to support the proposition that this minimal level of

  involvement rises to the level of management or control of the EIP. As an initial matter, CISA did

  not found, fund, or otherwise have any role in the management or operation of the EIP. Hale Decl.

  ¶¶ 52, 56-57 (Ex. 97); Ex. 122 at 7 (“CISA did not found, fund, or otherwise control the EIP.”).

  Moreover, Plaintiffs overstate—and in some cases misstate—the evidence. For example, Plaintiffs

  contend that CISA and the GEC provided information to the EIP’s “Intake Queue” for flagging

  misinformation for social media companies. But as Mr. Scully explained during his deposition,

  CISA generally did not share information with EIP, and CISA did not provide tickets flagging

  potential misinformation for the EIP. Scully Dep. 73:25-74:2; 106:3-9; see Scully Ex. 1 at 38 (Dkt.

  209-2) (reflecting organizations that tagged alleged misinformation and not including CISA); Ex.




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  125 at 2 (“CISA did not send any examples of potential misinformation to EIP” and “EIP did not

  send any reports of false rumors or disinformation to social media companies on behalf of [DHS]

  or [CISA].”); Ex. 122 (stating that CISA did not send content to the EIP to analyze, and the EIP

  did not flag content to social media platforms on behalf of CISA); Ex. 74 (stating that EIP did not

  receive requests from CISA to eliminate or censor tweets).

         And with respect to the GEC, during the 2020 election cycle, the GEC discovered certain

  posts and narratives on social media and digital media that originated from, were amplified by, or

  likely to be amplified by foreign malign influence actors—like Russia, the People’s Republic of

  China, Iran, and their proxies—that sought to spread propaganda or disinformation about the 2020

  election. See Bray Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP

  on approximately 21 occasions. Id. Plaintiffs fail to explain how the GEC’s limited submission of

  tickets to the EIP concerning foreign malign influence actors transforms the EIP into a state actor.

         Furthermore, Plaintiffs fail to explain how funding by entities other than CISA or the GEC,

  such as a grant from the National Science Foundation and some Federal funding received through

  the Atlantic Council, reflects substantial entwinement in the EIP by CISA or the GEC. Many

  entities, such as universities, receive Federal funding and also engage in content moderation (for

  example, of student and faculty publications), and there is no basis for suggesting that the Federal

  government somehow becomes responsible for that content moderation under the First

  Amendment.

         Finally, Plaintiffs substantially overstate the extent and relevance of the “roles” that certain

  CISA personnel have played at the EIP, and vice versa. Plaintiffs contend that “[n]umerous current

  and former CISA personnel also have or had roles in the EIP,” and that “key EIP personnel such

  as Alex Stamos, Renee DiResta, and Kate Starbird also have formal roles in CISA.” PI Supp. 44.




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  That is an overstatement, at best. First, Plaintiffs rely upon the EIP report’s acknowledgement of

  contributions to the report by Alex Stamos, Renee DiResta, Kate Starbird, Pierce Lowary, Alex

  Zaheer, and Matthew Masterson, in claiming that CISA was “pervasively entwined” with the EIP.

  See Pls.’ PFOF ¶ 1163. As explained in Defendants’ response to Plaintiffs’ proposed findings of

  fact, Messrs. Lowary and Zaheer’s contributions to the EIP report were in their roles at the Stanford

  Internet Observatory, and Mr. Masterson, a former CISA employee, was simply thanked by the

  EIP for his “additional feedback.” See Defs.’ Resp. to Pls.’ PFOF ¶ 1163 (citing Scully Ex. 1 at 16

  (xii) (Dkt. 209-2)). 110 Second, the “formal roles” Mr. Stamos and Ms. Starbird supposedly had at

  CISA were as members of CISA’s Cybersecurity Advisory Committee, an “independent advisory

  body” established in June 2021—after the 2020 election—that provides advice, consultation and

  recommendations to CISA on “the development, refinement, and implementation of policies,

  programs, and training pertaining to CISA’s cybersecurity mission.” See Ex. 119, at 1. And

  Plaintiffs identify no involvement of Ms. DiResta with CISA apart from a lecture she gave during

  a 2021 conference hosted by CISA. See Pls.’ PFOF ¶ 1171 (citing Cybersecurity Summit 2021:

  Responding to Mis, Dis, and Malinformation, YouTube (Oct. 27, 2021)). In short, Plaintiffs have

  failed to establish that CISA or the GEC were entwined in the management or control of the EIP.

         At bottom, Plaintiffs have failed to identify any factual or legal basis to establish that CISA

  or the GEC’s involvement with the EIP transformed the EIP into a state actor for purposes of the

  First Amendment. Plaintiffs accordingly cannot establish a substantial likelihood of success on

  this First Amendment theory. See also Defs.’ Resp. PFOF ¶¶ 1136-1235.



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     In addition, Mr. Stamos, Ms. DiRestra, Mr. Lowary, and Mr. Zaheer contributed to the EIP
  report in their capacity as “students, staff, and researchers” for the Stanford Internet Observatory,
  and Ms. Starbird contributed to the report in her capacity as an employee of the University of
  Washington Center for an Informed Public. Defs.’ Resp. to Pls.’ PFOF ¶ 1163.


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                 ii.      The Virality Project

         Plaintiffs next claim that “[f]ederal officials are pervasively entwined with the Virality

  Project.” PI Supp. 50. Plaintiffs argue that this entwinement between the Virality Project and OSG

  is established by the following six facts: (1) OSG “pushes platforms to share information with the

  Virality Project”; (2) OSG coordinated with the Virality Project on the Surgeon General’s Health

  Advisory; (3) the Surgeon General “repeatedly echoes the key messaging from the Virality

  Project”; (4) the Surgeon General launched his Health Advisory on Misinformation at an event

  hosted by the Stanford Internet Observatory, which is one of the groups that leads the Virality

  Project; (5) the Virality Project had “strong ties with several federal government agencies,”

  including OSG, and was involved in “flagging vaccine-related content on social media”; and (6)

  OSG “incorporated [the Virality Project’s] research and perspectives into its own vaccine

  misinformation strategy.” Id. None of these actions, either individual or collectively, establishes

  sufficient entwinement between OSG and the Virality Project to convert the private conduct of the

  Virality Project into state action. And as discussed infra, Plaintiffs have failed to establish certain

  of these alleged “entwinements” to begin with.

          First, Plaintiffs have provided no evidence that OSG “pushes platforms to share

  information with the Virality Project.” PI Supp. 50. In support of this claim, Plaintiffs cite a portion

  of the deposition of Eric Waldo, a former senior advisor to the Surgeon General, where he

  discussed a conversation the Surgeon General had with an employee of Facebook. During this

  conversation, the Surgeon General raised the possibility of having external researchers validate the

  extent to which misinformation spreads on social media platforms. Id. at 50 (citing Waldo Dep.

  35:20-26:2). But nowhere in this discussion does Mr. Waldo suggest that the Surgeon General

  asked Facebook to share information with the Virality Project (or any specific individual or entity),




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  much less that he “pushed” Facebook to do so. There is no evidence that the Virality Project was

  even mentioned in that conversation; Mr. Waldo, in fact, testified that he had never heard of the

  Virality Project. Waldo Dep. 207:10-21. (Plaintiffs also fail to explain what a request for Facebook

  to share information with the Virality Project would have had to do with “censoring” speech on

  Facebook.)

         Second, Plaintiffs’ claim that the Surgeon General “coordinated” with the Virality Project

  on his Health Advisory also is unsupported by the record. For example, Mr. Waldo stated that he

  did not know who was consulted in the development of the Surgeon General’s Health Advisory

  because that work predated his time in the office. Waldo Dep. 37:13-22. Mr. Waldo explained that

  OSG coordinated the launch of the Health Advisory with Renee DiResta, who worked for the

  Stanford Internet Observatory. Id. at 37:23-38:8. And while the Stanford Internet Observatory was

  one of the founders of the Virality Project, Plaintiffs put forward no evidence that Ms. DiResta

  participated in the rollout of the Health Advisory as part of her work for the Virality Project rather

  than the Stanford Internet Observatory. See Waldo Dep. 283:2-18 (stating he was unaware of any

  involvement by OSG with the Virality Project but was aware that it had involvement with the

  Stanford Internet Observatory concerning the announcement of the Health Advisory); Lesko Decl.

  ¶ 15 (Ex. 63) (stating that OSG did not understand the launch of the Health Advisory to be a

  Virality Project event).

         Third, there is no evidence that OSG “echo[ed] the key messaging from the Virality

  Project.” PI Supp. 50. The Virality Project’s final report (released in February 2022) postdated

  many—if not most—of the Surgeon General’s public and private statements on health

  misinformation that are included in the record, including the Health Misinformation Advisory

  (released in July 2021). There is no evidence that the Surgeon General was even aware of the




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  Virality Project’s “key messaging.” The fact that OSG and the Virality Project shared a view that

  misinformation related to COVID-19 could potentially be harmful—a view that is widely held,

  including by 132 countries’ governments, see supra at 13-14—is not evidence of entwinement of

  any kind.

         Fourth, Plaintiffs have failed to produce any evidence that OSG “flagg[ed] vaccine-related

  content on social media” to the Virality Project. See PI Supp. 50. The only support Plaintiffs

  identify for this claim is a sentence in a Virality Project report that states: “The Virality Project

  built strong ties with several federal government agencies, most notably [OSG] and the CDC, to

  facilitate bidirectional situational awareness around emerging narratives.” See Scully Ex. 2 at 17

  (Dkt. 209-3) (Virality Project Report). Plaintiffs provide no basis to equate facilitation of

  “bidirectional situational awareness around emerging narratives” with “flagging” “vaccine-related

  content on social media.” To the contrary, the record shows that OSG never provided any “tips,

  flags, tickets, reports, or other form of notification or input to the Virality Project concerning posts

  or accounts on social media.” Lesko Decl. ¶ 16 (Ex. 63).

         More fundamentally, even if Plaintiffs could establish each of these facts, which they

  cannot, Plaintiffs have identified no evidence that OSG exercised any management or control of

  the Virality Project, so as to convert its activities into state action. See Brentwood Acad., 531 U.S.

  at 295. Finally, Plaintiffs do not even attempt to argue that the Virality Project failed to utilize its

  own independent judgment in conducting its work, or that social media companies that received

  information from the Virality Project failed to do the same. See Pikaluk v. Horseshow Ent., L.P.,

  810 F. App’x 243, 247 (5th Cir. 2020).




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         Accordingly, Plaintiffs have failed to establish a likelihood of success in establishing that

  the activities of the Virality Project constitute state action attributable to Defendants. See also

  Defs.’ Resp. PFOF ¶¶ 1236-1365.

                                               * * * *

         Neither the EIP nor the Virality Project is a state actor, and even if Plaintiffs could establish

  that they are, Plaintiffs have not shown that their actions, in turn, converted the content moderation

  decisions of any social media company into state action. That is to say, Plaintiffs do not provide

  any evidence that either of these organizations threatened or pressured any social media company

  to take action of any kind against particular content, or speakers, when flagging potential

  misinformation for the companies to independently evaluate under their terms of service. 111 Nor

  is there any evidence that any social media company regarded (or acted on) communications from

  the EIP, or the Virality Project, as threats or pressure to “censor” speech. Rather, the evidence is

  clear that both the EIP and the Virality Project simply flagged information for social media

  companies so that those companies could apply their independent judgment to determine whether

  the information violated their terms of service—terms to which all users agree. See Waldo Ex. 28

  at 17 (Dkt. 210-3) (“Six social media platforms engaged with [Virality Project] tickets—

  acknowledging content flagged for review and acting on it in accordance with their policies”); Ex.

  74 (noting that Twitter “examined any reports sent to it by the Virality Project to determine if the

  content was violating of its policies and did not take action in cases where Twitter felt its existing

  policies were not violated”); Scully Ex. 1 at 17 (Dkt. 209-2) (“The EIP established relationships

  with social media platforms to facilitate flagging of incidents for evaluation when content or



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     Indeed, Plaintiffs’ misguided coercion theory is particularly inapt with respect to the EIP, as its
  activities began before the current Administration.


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  behavior appeared to violate platform policies[].”); Ex. 125 at 3 (“Social-media platforms, not EIP,

  decided which action to take.”); Ex. 74 (stating that the EIP provided public factual findings to

  social media platforms, but had no control over content moderation, censorship, or labeling posts);

  Ex. 122 (stating that EIP’s “researchers made independent decisions about what to pass on to

  platforms, just as the platforms made their own decisions about what to do with our tips”).

         Reflective of the fact that social media companies independently applied their terms of

  service when they received tips about potential misinformation from these organizations, the EIP

  reported that only 35% of the time potential misinformation was shared with companies was the

  misinformation “labeled, removed, or soft blocked.” Scully Ex. 1 at 27, 40 (Dkt. 209-2) (“No

  action was taken on 65%.”).

         Here, Plaintiffs’ claims of state action are even weaker than the ones rejected in O’Handley,

  discussed supra at 214-16. Neither the EIP nor the Virality Project possesses any regulatory

  authority—indeed, they are private actors. There is no evidence that either the EIP or the Virality

  Project threatened or pressured social media companies when identifying potential misinformation

  for their consideration. Rather, the evidence reflects that the EIP and the Virality Project simply

  flagged misinformation for social media companies, and those companies then independently

  applied their terms of service. Plaintiffs cannot establish state action implicating the First

  Amendment under these circumstances.

                 f. Social media companies’ voluntary consultation with agencies for scientific
                    and medical information about COVID-19 does not support a state action
                    finding relating to “other agencies.”
         Finally, Plaintiffs attempt to bring “other agencies” within the reach of their capacious

  joint-action theory through a series of meritless arguments that turn on mischaracterizations of the

  evidence. See PI Supp. 40-41. First, Plaintiffs posit that social media companies “routinely treat

  certain federal agencies, and “CDC in particular,” as fact-checkers having “authority to dictate”


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  what appears on their platforms. Id. at 40. As explained above, Arg. § II.B.4.a., that extravagant

  assertion lacks any evidentiary basis. As support, Plaintiffs point to Facebook’s requests for views

  about COVID-19 and vaccines from various agencies, including CDC and NIAID, when Facebook

  was assessing the validity of factual claims circulating on its platform. PI Br. at 40. But Plaintiffs

  point to no precedent teaching that Facebook’s (or any other company’s) voluntary choice to seek

  advice regarding available scientific and medical information about the virus and the vaccines can

  support a state action finding. And the cited correspondence does not indicate that, in voluntarily

  electing to treat the agencies as reliable sources of scientific information—even as “privileged”

  sources, as Plaintiffs put it—any company somehow surrendered its “plenary power to reexamine”

  agencies’ views, and “to reject them” when determining whether certain claims constituted

  “misinformation.” Cf. Nat’l Collegiate Athletic Ass’n, 488 U.S. at 194-95 (distinguishing Bates v.

  State Bar of Ariz., 433 U.S. 350, 360 n.12, 362 (1977), in holding that a private association was

  not a state actor where public university “retained the authority to withdraw from the [private

  association] and establish its own standards”). There is no evidence that any agency demanded or

  implored that companies accord any deference to its views, dispositive or otherwise, or that

  companies take any particular action concerning any particular post.

         Plaintiffs also point to a handful of instances in which NIAID communications staff

  notified a social media company of posts impersonating Dr. Fauci and asked for their removal;

  and they say that other officials made similar requests. PI Supp. 40. As noted, impersonating a

  federal official may violate both federal law, 18 U.S.C. § 912, and the social media companies’

  own content moderation policies, supra at 157 (noting Facebook and Twitter mechanisms for the




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  public to report imposter accounts).112 But as with the communications over the scientific validity

  of certain claims, these communications lack any support for Plaintiffs’ extraordinary assertion

  that social media companies have ceded “ultimate authority,” PI Supp. 40, to the Government to

  “dictate” was appears on their platforms.

         Next, Plaintiffs assert that social media companies’ efforts to amplify the Federal

  Government’s perspectives on the health benefits of COVID-19 vaccines, among other topics,

  constitutes “collusi[ve]” state action. PI Supp. 41. That argument is also mistaken. The

  Constitution preserves the Government’s leeway to craft and to put forward government views on

  matters of public import. See Walker, 576 U.S. at 207-08. The Government’s willingness to have

  its views about vaccines promoted on social media reflects a commonsense interest in sharing what

  the Government viewed as important public health information on platforms capable of reaching

  a large share of the population in the middle of a deadly pandemic. Such a willingness does not

  reflect “collusion” between the Government and the social media companies to suppress Plaintiffs’

  preferred views of controversial issues that arose during the pandemic. Plaintiffs thus cannot show

  any likelihood of success on the merits of their claims against some category of “other agencies”

  that have supposedly “colluded” with social media companies to violate any Plaintiffs’ First

  Amendment rights.

             5. Even if Plaintiffs could show that any social media content moderation actions
                amount to state action, the Court cannot necessarily conclude that all of those
                content moderation actions violate the First Amendment.
         In addition to suffering from numerous defects on its own terms, the sprawling and

  imprecise nature of Plaintiffs’ legal theory also makes it impossible for them to pinpoint which

  content moderation decisions are attributable to Defendants, thus precluding the Court from


  112
     Dr. Fauci was not involved in these requests and did not testify to his views on the removal of
  “parody” accounts, despite Plaintiffs’ contrary assertions, see PI Supp. 40. Supra PFOF § II.E.


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  conducting the relevant First Amendment analysis. Plaintiffs presume, incorrectly, that each

  relevant content moderation decision would be subject to, and would fail, strict scrutiny. But

  content moderation actions may apply to different forms of speech, some of which merit less

  protection than others, or even none. And moderation actions against certain content may have

  critical national security justifications and would survive the highest level of scrutiny. The Court

  thus cannot assume that all relevant content moderation decisions necessarily violate the First

  Amendment.

         Critically, Plaintiffs do not, and likely cannot, catalogue the types of speech that, allegedly,

  either currently is or will be subject to social media companies’ moderation actions that are

  attributable to the Government. They identify examples of speech previously subject to moderation

  actions, but they seek injunctive relief relating to ongoing and future unspecified moderation

  actions. Given Plaintiffs’ failure to submit evidence on the specific speech that is currently or will

  soon be subject to relevant moderation actions, the Court cannot conduct the analysis necessary to

  conclude that the moderation actions violate the First Amendment.

         To begin with, some categories of speech—even if deemed “core political speech” as

  Plaintiffs label them—fall outside the protections of the Free Speech Clause. Thus, moderation

  actions against that speech would not necessarily violate the First Amendment, even if such actions

  are attributed to the Government (which they are not).

         For example, the First Amendment permits “restrictions upon the content of speech in a

  few limited areas” without triggering scrutiny at all, including the areas of solicitation, aiding and

  abetting, fraud, conspiracy, and incitement. United States v. Stevens, 559 U.S. 460, 468 (2010)

  (citation omitted); see, e.g., Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949). To

  take one of those areas: The Free Speech Clause “does not shield fraud.” Illinois v. Telemarketing




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  Assocs., Inc., 538 U.S. 600, 612 (2003); see, e.g., Stevens, 559 U.S. at 468; Commodity Trend

  Service, Inc. v. CFTC, 233 F.3d 981, 993 (7th Cir. 2000). And a “difference of opinion as to

  whether a product had any value at all d[oes] not bar a fraud order based on claims of far greater

  curative powers than the product could actually have.” Reilly v. Pinkus, 338 U.S. 269, 273 (1949)

  (discussing Leach v. Carlile, 258 U.S. 138, 139 (1922)). So, for example, if a user made a social

  media post intended to promote potential commercial uses of a drug as a remedy for COVID-19

  via a fraudulent statement within the scope of the wire-fraud statute, 18 U.S.C. § 1343, the First

  Amendment would not protect that post, just as the First Amendment would not bar the

  Government from prosecuting the fraud.

         In any event, even if strict scrutiny were to apply to some of the content moderation

  episodes, certain, relevant moderation actions may satisfy it. The Supreme Court has observed that

  although strict scrutiny sets a high bar, cases in which it is met “do arise.” Williams-Yulee v. Fla.

  Bar, 575 U.S. 433, 444 (2015) (quoting Burson v. Freeman, 504 U.S. 191, 211 (1992) (plurality

  opinion)). As explained below, Arg. §§ III, IV-B, infra, certain moderation actions taken by social

  media platforms concern malign foreign actors, and if Plaintiffs argue that those moderation

  actions are attributable to the Defendants, the Court would have to weigh whether those actions,

  with the ensuing national security benefits, satisfy strict scrutiny.

         For example, when the speech in question implicates the Government’s foreign affairs and

  national security responsibilities, a Free Speech Clause claim does not automatically triumph over

  the exercise of those powers. See Dep’t of the Navy v. Egan, 484 U.S. 518, 527 (1988) (the

  Government’s interest in national security is “compelling”); Guillot v. Garrett, 970 F.2d 1320,

  1324 (4th Cir. 1992) (Luttig, J.) (“[F]oreign policy [is] the province and responsibility of the

  Executive.” (quoting Egan, 484 U.S. at 529; Haig v. Agee, 453 U.S. 280, 293-94 (1981))); Holder




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  v. Humanitarian L. Project, 561 U.S. 1, 33-34 (2010). Some of the communications with social

  media companies that Plaintiffs challenge involved agencies, such as the FBI and the State

  Department, that are statutorily authorized, at a minimum, to address malign foreign-origin

  misinformation. At least as to the activities of such agencies concerning posts from hostile foreign

  governments or foreign non-governmental organizations (such as al-Qaida)—entities unable to

  seek shelter under the Free Speech Clause, Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l,

  Inc., 140 S. Ct. 2082 (2020)—Plaintiffs have not demonstrated a likelihood of succeeding on their

  claim under the First Amendment.

         C. Plaintiffs are not likely to prevail on their APA and Ultra Vires claims.

         Plaintiffs argue that the various alleged communications by Defendants—none of which

  has imposed any legal obligations on any party—are ultra vires because they were not expressly

  authorized by statute. PI Supp. 53-55. Government officials, however, need no express statutory

  authorization to simply engage in basic speech.

      Although “an administrative agency’s power to promulgate legislative regulations is limited

  to the authority delegated by Congress,” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208

  (1988) (emphasis added), “an agency without legislative rulemaking authority may” still “issue . .

  . non-binding statements,” Batterton v. Marshall, 648 F.2d 694, 702 (D.C. Cir. 1980). A

  “legislative-type rule,” or “substantive rule,” is one that is “binding” or has the “force of law,” and

  “affect[s] individual rights and obligations.” Chrysler Corp. v. Brown, 441 U.S. 281, 302 (1979);

  see also Walmart Inc. v. U.S. Dep’t of Just., 21 F.4th 300, 308 (5th Cir. 2021) (“Non-substantive

  rules” include “non-binding agency policy statements”); Changizi, 602 F. Supp. 3d at 1057

  (“[A]gencies may issue ‘non-binding [policy] statements’ on various topics even if they lack

  ‘legislative rulemaking authority’ in relation thereto”) (citation omitted).




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         Here, none of the alleged communications at issue is a “legislative” or “substantive” rule

  that requires Congressional authorization. They are non-binding communications that impose no

  obligations, and confer no rights, on any person. No person or organization—including any social

  media platform or social media user—is required to take any action as a result of those

  communications. And none of those communications imposes any penalty on any party that

  declines to take any particular action. Those communications amount to routine government

  speech conveying a policy view, akin to public remarks made by any other government official.

  Indeed, government officials across multiple administrations have engaged in televised interviews

  or have held press conferences, and Plaintiffs never suggest all of those activities were expressly

  authorized by some statute.

         Accordingly, Defendants did not require any Congressional authorization before

  expressing their views on social media practices. 113 In any event, a government official has a right

  to engage in non-binding speech on matters the official finds important. 114 See Summum, 555 U.S.


  113
      In ruling on Defendants’ motion to dismiss, the Court noted that, in its view, Plaintiffs had
  properly alleged that Defendants imposed a “prior restraint” on social media users, and thus their
  conduct required statutory authorization. See MTD Order 72. But Plaintiffs refer to no statement
  or action by any Defendant that legally restrained any communications by social media users. Any
  social media account restrictions are imposed by the platforms themselves, not by any Defendant.
  114
      Moreover, many of the Defendant agencies have been given broad, express statutory authority
  to carry out their respective missions, which would encompass relevant communications with
  social media companies. See, e.g., 6 U.S.C. § 652 (CISA is charged with leading the national effort
  to understand, manage, and reduce risk to the nation’s cyber and physical infrastructure); 28 U.S.C.
  § 533, (the Attorney General may appoint officials to, inter alia, detect crimes against the United
  States and to conduct such other investigations regarding official matters under the control of the
  Department of Justice); 22 U.S.C. § 2656 note (GEC is formed “[t]o direct, lead, synchronize,
  integrate and coordinate efforts of the Federal Government to recognize, understand, expose, and
  counter foreign state and foreign non-state propaganda and disinformation efforts aimed at
  undermining or influencing the policies, security, or stability of the United States and United States
  allies and partner nations.”); 42 U.S.C. § 300u (HHS is authorized to “formulate national goals,
  and a strategy to achieve such goals, with respect to health information and health promotion . . .
  and education in the appropriate use of health care”); 42 U.S.C. § 284(b)(1)(F) (NIAID has the



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  at 467–68 (“A government entity has the right to ‘speak for itself’” and it “is entitled to say what

  it wishes . . . and to select the views that it wants to express,” otherwise “it is not easy to imagine

  how government could function”) (citations omitted). Thus, Plaintiffs cannot make a showing of

  ultra vires conduct based on nothing more than Government speech about, and with, social media

  companies. An ultra vires claim is valid only if a plaintiff can show that an official acted “without

  any authority whatever,” or without any “colorable basis for the exercise of authority.” See Danos

  v. Jones, 652 F.3d 577, 583 (5th Cir. 2011). Finally, Defendants incorporate by reference their

  argument that Plaintiffs have failed to identify a sovereign immunity waiver for their ultra vires

  claim. See Defs.’ Reply 36-39. Plaintiffs’ ultra vires claim thus fails.

         For similar reasons, Plaintiffs’ APA claims fail as well. The APA provides a right to

  judicial review to persons suffering legal wrong because of, or adversely affected or aggrieved by,

  “agency action,” 5 U.S.C. § 702; see id. § 706(2), that is “final,” id. § 704, see also Bennett, 520

  U.S. at 175. As shown by Defendants in support of their motion dismiss, Plaintiff have failed to

  allege—and now to establish—that they are challenging any conduct by Defendants that amounts

  to “agency action.” Defs.’ MTD 45-48. 115

         Nor have Plaintiffs met the finality requirement. To constitute “final agency action,” the

  action must be “identifiable” and “specific,” and must determine “rights or obligations” from




  authority to “develop, conduct, and support public and professional education and information
  programs”).
  115
      The APA defines “agency action” as including “the whole or a part of an agency rule, order,
  license, sanction, relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13);
  see also id. § 551(4), (6), (8), (10), (11) (defining “rule,” “order,” “license,” “sanction,” and
  “relief”). Note that the President is not subject to the APA at all. See Dalton v. Specter, 511 U.S.
  462, 470 (1994) (“The actions of the President . . . are not reviewable under the APA because . . .
  the President is not an ‘agency’”) (citation omitted). The President’s advisers are not considered
  agencies either. Cf. Ass'n of Am. Physicians & Surgeons, Inc. v. Clinton, 997 F.2d 898, 905 (D.C.
  Cir. 1993).


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  “which legal consequences will flow.” Sierra Club v. Peterson, 228 F.3d 559, 565 (5th Cir. 2000)

  (citation omitted). Additionally, the plaintiff “must show some direct, final agency action

  involving the particular plaintiff.” Texas v. Rettig, 987 F.3d 518, 529 (5th Cir. 2021) (emphasis

  added), cert. denied sub nom. Texas v. Comm'r of Internal Revenue, 142 S. Ct. 1308 (2022). Here,

  none of the alleged communications by Defendants constitutes “final agency action.” As explained

  above, those communications impose no requirement on any party, and so they do not determine

  any “rights or obligations.” Peterson, 228 F.3d at 565 (citation omitted). Nor do any of those

  communications “direct[ly]” affect any “particular plaintiff.” Rettig, 987 F.3d at 529 (citation

  omitted). To the extent they affect Plaintiffs at all, those effects would stem from the independent

  decisions of private social media companies, each of which is free to ignore Defendants. Thus,

  Defendants’ alleged communications do not constitute “final agency action,” and Plaintiffs’ APA

  claims fail for that reason alone.

         Additionally, Plaintiffs’ APA claims also fail on the merits. Their contentions that

  Defendants have acted in “arbitrary [and] capricious” fashion and “contrary to constitutional right”

  all hinge on the flawed assertion underlying their First Amendment claim: that Defendants have

  imposed some legal restriction on speech. See PI Supp. 54. Their argument that Defendants have

  failed to observe the APA’s requirements for notice-and-comment rulemaking, id. at 55; see

  5 U.S.C. § 553(b), is specious. Those requirements apply only to an agency’s promulgation of

  “final, legislative rules.” See Flight Training Int’l, Inc. v. Fed. Aviation Admin., 58 F.4th 234, 240

  (5th Cir. 2023). Defendants’ meetings and e-mails with social media companies, and their public

  remarks at press briefings, do not constitute APA “rule[s]” to begin with. 5 U.S.C. § 551(4)

  (defining a “rule” as “the whole or a part of an agency statement of general or particular

  applicability and future effect designed to implement, interpret, or prescribe law or policy”). Nor




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  are they “legislative” rules, that is, “rules having the force and effect of law . . . because they are

  promulgated pursuant to legislative authority delegated to the agency by Congress,” and that

  “modif[y] or add[ ] to a legal norm.” Flight Training Int’l, Inc., 58 F.4th at 241 (citations omitted).

  Defendants’ actions meet none of these criteria. Finally, Defendants incorporate by reference the

  argument that Plaintiffs have also failed to establish that they are challenging any conduct that

  amounts to discrete “agency action,” and therefore that they have not established any waiver of

  sovereign immunity as to this claim. See Defs.’ MTD 45-48. Plaintiffs’ APA claims thus fail.

  Plaintiffs’ APA claims thus fail.

  III.    Plaintiffs fail to satisfy the remaining preliminary injunction requirements.
          An injunction also is not appropriate because the balance of the equities and the public

  interest tip sharply in Defendants’ favor. See Nken v. Holder, 556 U.S. 418, 435 (2009) (holding

  that “[t]hese factors merge when the Government is the opposing party”). As an initial matter,

  given that Plaintiffs cannot establish the first two factors necessary to obtain an injunction, “it is

  clear they cannot make the corresponding strong showings [on the second two factors] required to

  tip the balance in their favor.” Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1295 (D.C.

  Cir. 2009); Mayo Found. for Med. Educ. & Rsch. v. BP Am. Prod. Co., 447 F. Supp. 3d 522, 535

  (N.D. Tex. 2020) (declining to address the final two Winter factors because plaintiff could not

  establish the first two factors).

          But even if Plaintiffs could satisfy one or both of those factors, the remaining Winter factors

  tip decisively in Defendants’ favor. Although there is no dispute that protecting First Amendment

  rights when they are genuinely at risk is in the public interest, the speculative risk of harm to

  Plaintiffs’ asserted interests must be weighed against the substantial, widespread obstruction of

  legitimate government functions that would result if the Court entered Plaintiffs’ proposed

  injunction—functions that are critical to the public welfare and the integrity of our democratic


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  processes. See Winter, 555 U.S. at 24 (“In exercising their sound discretion, courts of equity should

  pay particular regard for the public consequences in employing the extraordinary remedy of

  injunction.”) (citations omitted).

         First, as also shown in the discussion of the proposed injunction’s overbreadth, infra, Arg.

  § IV.B, Plaintiffs’ proposed injunction would significantly hinder the Federal Government’s

  ability to combat foreign malign influence campaigns, prosecute crimes, protect the national

  security, and provide accurate information to the public on matters of grave public concern such

  as health care and election integrity. See Knapp Decl. ¶¶ 5-50 (Ex. 157); Declaration of Brandon

  Wales, Exec. Dir., CISA (“Wales Decl.”) ¶¶ 27-30 (Ex. 167); Crawford Decl. ¶¶ 20-23 (Ex. 80);

  Lesko Decl. ¶¶ 18-19 (Ex. 63); Bray Decl. ¶¶ 12-15 (Ex. 142). These government activities are

  essential to the nation’s welfare and safety, and outweigh the speculative First Amendment

  interests Plaintiffs assert here. Def. Distrib. v. U.S. Dep’t of State, 838 F.3d 451, 459 (5th Cir.

  2016) (holding that any First Amendment interest by plaintiffs was outweighed by stronger interest

  of Federal Government in national security); Am. Civil Liberties Union v. Clapper, 785 F.3d 787,

  826 (2d Cir. 2015) (recognizing maintenance of national security as “public interest of the highest

  order”); Donald J. Trump for President, Inc. v. Way, 492 F. Supp. 3d 354, 375 (D.N.J. 2020)

  (recognizing “that the public interest favors preserving the integrity of the election process”);

  Beverly v. United States, 468 F.2d 732, 741 n.13 (5th Cir. 1972) (in assessing request for stay

  pending appeal, court was “particularly mindful that the grant of a stay would be contrary to the

  public interest in the orderly investigation of criminal activities by a federal grand jury”); cf.

  Spiegel v. City of Houston, 636 F.2d 997, 1002 (5th Cir. Unit A 1981) (reversing preliminary

  injunction that “by its terms . . . in its overbreadth forbids good faith as well as bad faith law




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  enforcement activities”); Roviaro v. United States, 353 U.S. 53, 59 (1957) (recognizing “the public

  interest in effective law enforcement”).

         The FBI, for example, routinely shares intelligence with private sector entities, including

  social media platforms, so that those entities can use that information to help protect the public.

  Knapp Decl. ¶ 15 (Ex. 157). Foreign malign actors (like Russia, the People’s Republic of China,

  and Iran) attempt to use social media to sway U.S. voters’ preferences and perspectives, shift U.S.

  policies, increase discord in the United States, and undermine the American people’s confidence

  in democratic institutions and processes. Id. ¶¶ 10-12. Across Administrations, the Executive

  Branch has recognized such operations as a profound threat to national security. Id. ¶ 11. Yet the

  proposed injunction could be understood to prevent the FBI from sharing, with social media

  platforms, intelligence about which accounts appear to be tools of foreign malign actors—

  preventing the platforms from taking appropriate action pursuant to their own terms of service.

         The injunction also could be understood to prevent the FBI and the GEC from calling

  platforms’ attention to accounts used by foreign terrorist organizations, such as the Islamic State

  of Iraq and ash-Sham (ISIS) and al Qaeda, to recruit supporters and propagate their ideologies. Id.

  ¶¶ 25-31; Bray Decl. ¶ 14 (Ex. 142). Whereas the promotion of terrorist activities is typically a

  violation of a social media platform’s terms of service, platforms may not be able to identify

  terrorist content without access to FBI intelligence. Knapp Decl. ¶ 30 (Ex. 157). For example, the

  FBI is uniquely positioned to identify and share intelligence about code words and symbols being

  used by terrorist groups. Id. ¶ 48. Similarly, the GEC would be unable to flag for social media

  companies the kinds of propaganda and disinformation spread by foreign terrorist groups or state

  actors aimed at harming U.S. interests. Bray Decl. ¶ 14 (Ex. 142). As the FBI has explained:

             [T]he Russian, Chinese, and Iranian governments, other foreign malign
             actors individuals or groups intent on preventing qualified voters from



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             voting, terrorists, cyber criminals, individuals or groups involved in crimes
             against children, and a wide variety of other criminals would benefit, and
             the American public and victims of crime would be harmed, if the court
             were to issue the proposed PI and if it were interpreted to prevent the FBI
             from communicating with social media platforms about criminal conduct,
             national security threats, and other threats on their platforms.

  Knapp Decl. ¶ 5 (Ex. 157).

         As this Court previously has recognized, “[i]n balancing the equities and considering the

  public interest, courts properly decline to second-guess the judgments of public health officials.”

  Chambless Enter., LLC v. Redfield, 508 F. Supp. 3d 101, 123 (W.D. La. 2020) (Doughty, J.). But

  that is precisely what the proposed injunction would do. As CDC has explained, the proposed

  injunction “could inhibit CDC from performing its essential education function, to the detriment

  of those whose health and well-being (and perhaps their lives) depend on the availability of

  accurate information about disease prevention and treatment,” Crawford Decl. ¶ 21 (Ex. 80), a

  function the agency has been faithfully carrying out for nearly 75 years.

         Second, the proposed injunction, if granted, could be read to prevent the Government from

  speaking on issues of significant public concern. Popular rhetoric is a core aspect of the modern

  presidency. Yet Plaintiffs seek to enjoin Executive Branch officials from using the bully pulpit to

  express the President’s views. For example, Plaintiffs seek to prohibit, as “censorship,” public

  statements made by the White House Press Secretary during press briefings, outreach by the

  Surgeon General, and even off-the-cuff remarks made by the President to reporters. See PI Supp.

  10 (“The White House makes detailed public demands for greater censorship, including at the

  White House press conferences on May 5, 2021 and July 15, 2021.”); id. (challenging President’s

  public statement that social media companies are “killing people”); id. at 11 (“The Surgeon

  General uses his ‘bully pulpit’ to pressure social-media platforms to censor disfavored

  viewpoints.”). As the Supreme Court has observed, “If every citizen were to have a right to insist



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  that no one paid by public funds express a view with which he disagreed, debate over issues of

  great concern to the public would be limited to those in the private sector, and the process of

  government as we know it radically transformed.” Summum, 555 U.S. at 468 (quoting Keller v.

  State Bar of Cal., 496 U.S. 1, 12–13 (1990)). Plaintiffs’ proposed injunction, if granted, would

  significantly impair the public interest by curtailing the Federal Government’s ability to publicly

  express its views on matters affecting the public welfare and ensure an informed citizenry.

           Together, these interests far outweigh Plaintiffs’ speculative fears that social media

  companies, whether under threat by or otherwise compelled by Defendants, will remove or

  otherwise restrict access to speech that Plaintiffs wish to engage in or with. Moreover, Plaintiffs’

  overbroad injunction, which would significantly interfere with core Executive Branch functions as

  explained below, raises serious separation-of-powers concerns. The Supreme Court has repeatedly

  emphasized that Article III does not “grant unelected judges a general authority to conduct

  oversight of decisions of the elected branches of Government.” California v. Texas, 141 S. Ct.

  2104, 2116 (2021); cf. Juliana v. United States, 947 F.3d 1159, 1171 (9th Cir. 2020) (affirming

  the dismissal of constitutional claims on redressability grounds because “it is beyond the power of

  an Article III court to order, design, supervise, or implement the plaintiffs’ requested remedial

  plan”), denying reh’g en banc, 986 F.3d 1295 (9th Cir. 2021). It is difficult to imagine a more

  overly expansive remedy than the broad injunction Plaintiffs propose, the enforcement of which

  would threaten to encroach on the Executive Branch’s prerogatives to speak on matters of public

  concern. Accordingly, if the Court reaches the balance of the equities and the public interest, it

  should conclude that those factors weigh heavily against granting the relief Plaintiffs seek.

  IV.      Plaintiffs’ proposed injunction is improper.
        Plaintiffs’ proposed injunction is not only contrary to the public interest but also improper for

  several reasons. First, the proposed injunction lacks the specificity required by Federal Rule of


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  Civil Procedure 65(d)(1). Second, the proposed injunction is substantially overbroad because it

  would needlessly interfere with the performance of lawful Executive Branch activities that protect

  the public welfare. And it would also needlessly enjoin former and current federal employees sued

  in their official capacities when Plaintiffs also seek to enjoin the federal agencies where they are

  or were employed. Accordingly, the Court should reject Plaintiffs’ proposed injunction, as further

  discussed below.

         A. Plaintiffs’ proposed injunction lacks the specificity required by Federal Rule of
            Civil Procedure 65.
         Plaintiffs’ proposed injunction is insufficiently precise. Rule 65(d)(1) requires that “[e]very

  order granting an injunction” must “state its terms specifically,” and “describe in reasonable

  detail—and not by referring to the complaint or other document—the act or acts restrained or

  required.” As the Supreme Court has explained:

         The specificity provisions of Rule 65(d) are no mere technical requirements. The
         Rule was designed to prevent uncertainty and confusion on the part of those faced
         with injunctive orders, and to avoid the possible founding of a contempt citation on
         a decree too vague to be understood. . . . Since an injunctive order prohibits conduct
         under threat of judicial punishment, basic fairness requires that those enjoined
         receive explicit notice of precisely what conduct is outlawed.

  Schmidt v. Lessard, 414 U.S. 473, 476 (1974) (citations omitted); Atiyeh v. Capps, 449 U.S. 1312,

  1316-17 (1981) (Rehnquist, J., in chambers) (holding that an injunction requiring prison officials

  to accomplish a further reduction of the inmate population at three facilities by “at least 250”

  individuals by a date certain “falls short of [Rule 65’s] specificity requirement”); Common Cause

  v. Nuclear Regul. Comm’n, 674 F.2d 921, 926-27 (D.C. Cir. 1982) (holding that an injunction

  barring the NRC from closing to the public future meetings similar in nature to the meeting that

  gave rise to the action lacked the requisite specificity under Rule 65). As the Fifth Circuit has

  explained, an “injunction should not contain broad generalities,” but “must describe in reasonable




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  detail the acts restrained or required” and identify what specific policies are enjoined. Scott v.

  Schedler, 826 F.3d 207, 213-14 (5th Cir. 2016).

         Plaintiffs’ requested injunction falls far short of the specificity requirement of Rule 65(d).

  Plaintiffs’ proposed, ambiguous injunction seeks to enjoin certain Defendants from “taking any

  steps” to “demand, urge, encourage, pressure, coerce, deceive, collude with, or otherwise induce

  any social-media company or platform for online speech” to “censor, suppress, remove, de-

  platform, suspend, shadow-ban, de-boost, deamplify, issue strikes against, restrict access to,

  demonetize,” or take “any similar adverse action” against “any speaker, content, or viewpoint

  expressed on social media.” PI Supp. 67-68. If Defendants are to understand these undefined terms

  by reference to the immense swath of conduct that, to Plaintiffs, amounts to coercion,

  encouragement, or joint participation, those terms could encompass any form of expression, public

  or private. The line between permissible and impermissible expression would be anyone’s guess.

         Nor do Plaintiffs define the terms “censor,” “suppress,” “remove,” “de-platform,”

  “suspend,” “shadow-ban,” “de-boost,” “deamplify,” “issue strikes against,” “restrict access to,” or

  “demonetize,” many of which are conclusory labels (“censor,” “suppress”) or terms of art within

  the social media industry that the proposed injunction does not define (“shadow-ban,” “de-boost,”

  “deamplify”). Compounding those ambiguities is the proposed injunction’s attempt to prohibit

  Defendants from “otherwise induc[ing]” these actions or “any similar adverse action[s].” See Scott,

  826 F.3d at 207; M.D. ex rel. Stukenberg v. Abbott, 907 F.3d 237, 272 (5th Cir. 2018); Louisiana

  v. Biden, 45 F.4th 841, 845-46 (5th Cir. 2022); United States v. Phillip Morris USA Inc., 566 F.3d

  1095, 1137 (D.C. Cir. 2009). In addition, the proposed injunction fails to specify the covered

  “social media compan[ies]” and “platform[s] for online speech,” or, if these terms are meant

  instead to refer to entire categories including companies not yet in existence, then the injunction




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  does not give them a precise definition. These vague, undefined concepts fail to put the Defendants

  on reasonable notice of what conduct is proscribed and improperly place Defendants at risk of

  contempt. 116

         B. Plaintiffs’ proposed injunction is impermissibly overbroad.
         Even if Plaintiffs’ proposed injunction were sufficiently precise, it is radically overbroad.

  The proposed injunction would threaten to prevent Executive Branch agencies from performing

  functions essential to public safety and national security—functions that pose no threat to the First

  Amendment. Thus, the injunction would defy established principles barring equitable relief that is

  “more burdensome to the defendant[s] than necessary to provide complete relief to the plaintiffs.”

  Califano v. Yamasaki, 442 U.S. 682, 702 (1979); Scott, 826 F.3d at 211 (an injunction must be

  “narrowly tailor[ed] . . . to remedy the specific action which gives rise to the order as determined



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     These defects would not be cured by the proposal by amicus Children’s Health Defense, which
  would limit the proposed injunction to a prohibition against federal officials’ privately
  communicating with social media companies for the purpose of inducing them to censor
  constitutionally protected speech, as such an injunction would still lack the specificity required by
  Rule 65(d). See Br. Amicus Curiae of Children’s Health Def. 3-6 (Dkt. 262). For example, it is
  unclear what conduct would amount to “inducement” or what specific speech would be subject to
  constitutional protection and, therefore, subject to the injunction. See Zamecnik v. Indian Prairie
  Sch. Dist., 619 F. Supp. 2d 517, 523 (N.D. Ill. 2007) (holding that a request for a preliminary
  injunction must “establish[] the speech at issue with sufficient specificity”); Burton v. City of Belle
  Glade, 178 F.3d 1175, 1200 (11th Cir. 1999) (holding that an injunction that ordered a City “not
  to discriminate” in the future lacked sufficient specificity). And an injunction that prevented
  Defendants from inducing the censorship of “constitutionally protected speech” would also
  constitute an impermissible “obey-the-law” injunction. See SEC v. Life Partners Holding, Inc.,
  854 F.3d 765, 784 (5th Cir. 2017) (“Rule 65(d) therefore prohibits ‘general injunction[s] which in
  essence order[] a defendant to obey the law.” (quoting Meyer v. Brown & Root Constr. Co., 661
  F.2d 369, 373 (5th Cir. 1981))); Payne v. Travenol Lab., Inc., 565 F.2d 895 (5th Cir. 1978) (holding
  that “[t]he word ‘discriminating,’ like the word ‘monopolizing’ . . . is too general” and that “[s]uch
  ‘obey the law’ injunctions cannot be sustained” (citations omitted)). In addition, such an injunction
  would be improper because by focusing on the “purpose” of the communication (i.e., “the purpose
  of inducing”), compliance with the injunction would turn on the intent behind each Defendants’
  communication with a social media company—an unworkable standard that would simply result
  in endless hearings to determine whether Defendants had the requisite intent to violate the
  injunction in communicating with social media companies.


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  by the substantive law at issue”); cf. INS v. Legalization Assistance Project of L.A. Cnty. Fed’n of

  Labor, 510 U.S. 1301, 1305-1306 (1993) (O’Connor, J., in chambers) (emphasizing harm from

  “improper intrusion by a federal court into the workings of a coordinate branch of the

  Government”).

         1.     For example, the proposed injunction could be taken to apply to “a range of

  situations—some of which are completely unrelated to the allegations against the FBI and FBI

  officials in this lawsuit—in which it would be in the public interest and consistent with the FBI’s

  law enforcement and national security missions for the FBI to notify a social media platform of

  criminal conduct, national security threats or other threats on its platform.” Knapp Decl. ¶ 5 (Ex.

  157). Yet the proposed injunction could be read to preclude Defendants from sharing intelligence

  on the use of online platforms to commit crimes ranging from fraud to the sexual exploitation of

  children,117 conduct that is not subject to First Amendment protection. Id. ¶¶ 5-50. See, e.g., Seals,

  898 F.3d at 597 (holding that statute that regulated true threats and extortion did not implicate the

  First Amendment).

         United States v. Mackey, No. 21-CR-80, 2023 WL 363595 (E.D.N.Y. Jan. 23, 2023),

  illustrates the overbreadth of Plaintiffs’ requested injunction. In Mackey, the United States charged

  the defendant with a violation of 18 U.S.C. § 241 based on his alleged participation in an online

  conspiracy to disenfranchise certain Twitter users by, inter alia, conducting a coordinated

  campaign to spread disinformation about voting procedures during the 2016 Presidential election.


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      The proposed injunction could potentially prevent the Government from alerting a social media
  provider that child sexual abuse material exists on its platform, thus triggering the provider’s
  statutory duties under 18 U.S.C. §§ 2251 et seq., including the removal and reporting of such
  content. Knapp Decl. ¶ 43 (Ex. 157). Furthermore, the proposed injunction’s prohibition on ‘acting
  in concert with others’ could potentially prevent the National Center for Missing and Exploited
  Children (“NCMEC”) from working with government agencies and providers to keep child
  pornography off the internet. Id. ¶¶ 43-44.


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  Id. at *1. The district court rejected the defendant’s argument that the indictment violated his First

  Amendment rights, holding that “[t]his case is about conspiracy and injury, not speech.” Id. at *19.

  In so concluding the court observed that “[f]alse speech . . . may fall into categories historically

  exempted from First Amendment protection[,]” id., and took particular note of the Supreme

  Court’s observation in Minnesota Voters Alliance v. Mansky, 138 S. Ct. 1876, 1899 n.4 (2018),

  that the government “may prohibit messages intended to mislead voters about voting requirements

  and procedures.” Mackey, 2023 WL 363595, at *22. 118 Yet Plaintiffs’ proposed injunction would

  appear to bar federal law enforcement from alerting social media companies to the presence of

  such illegal activity on their platforms. Other examples of the proposed injunction’s gratuitous

  intrusions on the FBI’s law-enforcement activities are discussed in the declaration of Larissa L.

  Knapp, see Knapp Decl. ¶¶ 10-49 (Ex. 157).

          2.    The proposed injunction could similarly interfere with key functions statutorily

  assigned to CISA, such as the ability to share with platforms information that allows them to

  detect, prevent, and mitigate malicious cyber activity. Wales Decl. ¶ 26 (Ex. 167). For example,

  CISA’s declaration explains that in March 2023, a cybercriminal compromised a Voice over

  Internet Protocol (VoIP) company, causing the company unwittingly to distribute an altered

  version of its software to hundreds of thousands of customers. Id. ¶ 28.c. The altered software

  would initiate a connection to GitHub—a site that allows individual users to develop, host, and



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      The court further explained that “statutes that prohibit falsities in order to ‘protect the integrity
  of government processes’ (e.g., perjury statues, laws barring lying to government officials, and
  those ‘prohibit[ing] falsely representing that one is speaking on behalf of the Government’) are
  properly within the government’s regulatory authority.” Mackey, 2023 WL 363595, at *21
  (citation omitted). Accordingly, the district court rejected the defendant’s First Amendment
  challenge that characterized his deceptive tweets as “political speech” and concluded that his
  tweets are “most accurately characterized as a vehicle or means for illegal conduct.” Id. at *22.



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  download software and to comment on or contribute to one another’s work—to download a file

  containing Internet addresses that the user’s computer would then use to download malware. Id.

  To mitigate the harm caused by this crime, CISA contacted GitHub to learn whether the malicious

  file remained accessible. Id. If that conduct were regarded as encouraging GitHub to remove the

  file, as plaintiffs’ theory would appear to suggest, the proposed injunction would hamper such

  efforts in the future. Id. Other potential harms to CISA should Plaintiffs’ broad injunction issue

  are discussed in the declaration of Brandon Wales. See Wales Decl. ¶¶ 28-30 (Ex. 167).

         3.    In addition, the proposed injunction could be understood to interfere with important

  public-health functions. Because so many Americans use social media, the Surgeon General, in

  exercising his responsibility to promote healthy behavior, would typically ask social media

  platforms to take steps that help Americans make choices that improve their health. Lesko Decl.

  ¶ 19 (Ex. 63). The Surgeon General could, for example, ask platforms to take steps to prevent

  online bullying of children and teenagers, or to limit advertisements for tobacco, alcohol, or

  dangerous weight-loss products that could be seen by children or teenagers. Id. ¶ 20. But the

  proposed injunction could be understood to forbid that sort of advocacy if it is deemed to

  “encourage” platforms to take action against the content in question. Id.

         Notably, Plaintiffs engage in the same type of advocacy with social media companies that

  their proposed injunction could be construed to prohibit. For example, in October 2019, Louisiana

  Attorney General Jeff Landry, on behalf of the National Association of Attorneys General, wrote

  a letter to Facebook, Craigslist and eBay “call[ing] upon you to join us in this shared responsibility

  to protect our youth, the Constitution and the integrity of the digital marketplace” by, among other

  things, “review[ing] the current content posted to [your] companies’ websites and remove illegal

  postings for the sales and/or transfer of alcohol products.” Ex. 158 at 1 (Press Release, La. Dep’t




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  of Just., Online Alcohol Sales Concern of Republican and Democrat Attorney Generals (Oct. 22,

  2019), https://perma.cc/4ZFX-TEP5); Ex. 159 at 1 (Letter from Jeff Landry, La. Att’y Gen., et al.,

  to Scott Schenkel, Interim Chief Exec. Officer, eBay (Oct. 22, 2019)). The letter also invited the

  companies to help “establish a work[ing] group with stakeholders from industry and government”

  to “discuss and establish realistic and effective protocols for internet platforms and content

  providers related to illegal and unlicensed alcohol sales via digital platforms.” Ex. 159 at 2.

         Similarly, on behalf of 33 other state attorneys general, Attorney General Landry sent a

  letter to Facebook, eBay, Craigslist, Walmart and Amazon urging them “to more rigorously

  monitor price gouging practices by online sellers using their services” concerning COVID-19,

  including a request that the companies “[s]et policies and enforce restrictions on unconscionable

  price gouging during emergencies” and “[t]rigger price gouging protections prior to an emergency

  declaration.” Ex. 160 at 1 (Press Release, La. Dep’t of Just., 33 State Attorneys General Warn

  Amazon, Facebook, Ebay, Craigslist, Walmart: Online Marketplaces Are Not Exempt from Price

  Gouging Laws (Mar. 25, 2020), https://perma.cc/X2BY-FHF5). And in April 2021, Attorney

  General Landry joined a bipartisan letter to Twitter, among others, noting that the platforms were

  “being used to market and sell blank or fraudulently completed COVID vaccine cards bearing the

  [CDC] logo,” and stating expressing “deep[] concern[] about this use of [their] platforms to spread

  false and misleading information regarding COVID vaccines.” Ex. 161 at 1 (Letter from Nat’l

  Ass’n of Att’ys Gen., et al., to Jack Dorsey, CEO, Twitter, Inc., et al. (Apr. 1, 2021)). The letter

  requested that the platforms “take immediate action to prevent [their] platforms from being used

  as a vehicle to commit these fraudulent and deceptive acts that harm our communities.” Id. at 2.

  Among other requests, the letter indicated that platforms should “promptly tak[e] down ads or

  links identified through that monitoring.” Id. Plaintiffs’ position that they can combat potential




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  violations of state law on social media platforms through direct communications with those

  platforms, but that the Federal Government must be enjoined from taking similar action to curtail

  violations of federal law, highlights why their proposed injunction should be rejected.119

         4.     Relatedly, Plaintiffs’ proposed injunction would preclude the White House and

  federal agencies from legitimately using the bully pulpit to advance their views on matters of

  public concern, raising serious separation-of-powers concerns. “A President frequently calls on

  citizens to do things that they prefer not to do—to which, indeed, they may be strongly opposed

  on political or religious grounds.” Freedom From Religion Found., 641 F.3d at 806. Indeed,

  popular rhetoric is a core aspect of the modern presidency—a tool that presidents have used to

  galvanize private actors for more than a century. See Jeffrey K. Tulis & Russell Muirhead, The

  Rhetorical Presidency 4 (2017 ed.). But a presidential request is not compulsion where “people

  are free to ignore the President’s call.” Peery, 791 F.3d at 791.

         The same holds true for other Executive Branch officials. Because it would be impossible

  for the President to administer the entire Executive Branch alone, “the Constitution assumes that

  lesser executive officers will assist the supreme Magistrate in discharging the duties of his trust.”

  Seila L. LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2197 (2020) (citation omitted).

  Limitations on the speech of other senior government officials, including White House staff and

  Cabinet members, therefore also threaten the President’s constitutional prerogatives in

  administering the Executive Branch and articulating the administration’s policy views. The




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     Plaintiffs’ proposed inunction also could bar components of the Department of Justice or other
  agencies from working with social media companies to address dangerous TikTok “challenges,”
  such as the one that recently resulted in the death of a 13-year-old who overdosed on Benadryl.
  Ex. 162 (Michelle Watson, Carma Hassan, Benadryl TikTok ‘challenge’: A 13-year old died in
  Ohio after participating, CNN (Apr. 18, 2023)).


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  Seventh Circuit has thus recognized that it is appropriate for federal officials and agencies

  generally to use the bully pulpit:

         Government officials and agencies spend a great deal of time urging private persons
         and firms and other institutions to change their behavior (for example, to adopt
         healthier diets or use public transit more) without backing up their urging with
         coercion or the threat of it. Physically fit young men and women are encouraged to
         enlist in the armed forces, but there is no longer a draft, and so there is no coercion
         to enlist and it would be absurd to claim that encouraging enlistment is the
         equivalent of forcing people to serve.

  Peery, 791 F.3d at 790-91.

         Here, Plaintiffs’ proposed injunction could be read to preclude the Defendants from

  “urging” or “encouraging” social media companies to act consistent with an Administration’s

  views of the public interest. Indeed, Plaintiffs’ proposed injunction is so broad that it could be

  read to not only cover direct communications between Defendants and social media companies

  but could preclude federal officials from giving public speeches or press conferences by

  government officials where they “encouraged” social media companies to take certain actions,

  including actions against malign foreign influence actors, people who disseminate child sexual

  abuse materials, or people who improperly disclose classified documents. See, e.g., Ex. 166 (Brett

  Samuels, White House says social media companies have responsibility to manage platforms amid

  leaked document fallout, The Hill (Apr. 13, 2023)). Indeed, under Plaintiffs’ theory, an

  Administration’s public statement recommending reforms to § 230 could be swept into the

  proposed injunction if it were deemed to be a veiled threat to social media companies. Plaintiffs

  have no First Amendment right that entitles them to muzzle such plainly legitimate Government

  speech. See Summum, 555 U.S. at 468 (citizens have no right to prohibit government speech with

  which they disagree); Freedom From Religion Found., 641 F.3d at 806 (“Those who do not agree




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  with a President’s statement may speak in opposition to it; they are not entitled to silence the

  speech of which they disapprove.”).

         5.     Furthermore, Plaintiffs’ proposed injunction could conceivably be construed to

  preclude agencies from publishing election- and health-related information on their websites if a

  social media company were to rely upon that information in deciding whether information on its

  platform violated its terms of service. Under Plaintiffs’ proposed injunction, such proposed

  publication on websites could be perceived as “encouraging” platforms to consider this

  information in applying their terms of service. Indeed, far from being speculative, Plaintiffs

  improperly challenge this precise conduct. See, e.g., Pls.’ PFOF ¶ 729 (“As was evidently intended,

  Dr. Collins’s blog post immediately fueled media coverage attacking the lab-leak theory as a

  ‘conspiracy theory.’”); id. ¶ 1105 (“Scully admits that CISA was aware that ‘social media

  platforms were following the rumor page posted by CISA and using that as a debunking method

  for content on their platforms.”).

         Putting to one side that such publication via websites is classic government speech, an

  injunction that could be read to preclude Defendant agencies from publishing information on their

  websites on which social media companies might rely for purposes of applying their own content

  moderation policies would substantially obstruct Defendants’ performance of their missions. See

  Crawford Decl. ¶ 21 (Ex. 80); Bray Decl. ¶ 14 (Ex. 142); Wales Decl. ¶ 28.a. (Ex. 167). It would

  leave Defendants in an impossible position where each agency post would risk drawing

  accusations of contempt depending on the unpredictable choices of social media companies

  concerning whether and how to act on that information.

         For example, CISA developed a Rumors vs. Reality page on its website to provide accurate

  information about election rumors. Ex. 112; Scully Dep. 290:18-23. The page was “designed to




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  address common disinformation narratives by providing accurate information related to elections.”

  Ex. 112. The page “seeks to inform voters and help them build resilience against foreign influence

  operations and disinformation narratives about election infrastructure.” Id. Tellingly, despite their

  apparent objection to CISA’s maintenance of this website, Plaintiffs Louisiana and Missouri have

  similar websites that seek to debunk rumor and misinformation concerning both elections and

  COVID-19. See Ex. 113; Ex. 114; Ex. 115; Ex. 116. In fact, contrary to its position in this litigation,

  the Missouri Secretary of State’s election misinformation page expressly links to CISA’s resources

  concerning election misinformation. Ex. 114 (linking to CISA’s “The War on Pineapple:

  Understanding Foreign Intelligence in 5 Steps”; and “Social Media Bots Overview”).

         Similarly, a “core part of CDC’s mission is to promulgate science-based, data-driven

  information about public health matters.” Crawford Decl. ¶ 21 (Ex. 80). Like CISA, social media

  companies may choose to rely on CDC-published information when determining whether certain

  posts violate their terms of service. Id. Yet, under Plaintiffs’ proposed injunction, this could be

  construed as a “step” to “encourage” a social media company to “suppress” or take “similar

  adverse action” against information that is counter to CDC-provided information. This is yet

  another example of the staggering overbreadth of Plaintiffs’ proposed injunction.

         6.     Plaintiffs’ proposed injunction is also overbroad because it seeks to preclude

  Defendants from “acting in concert” with “any such others who are engaged in the aforementioned

  conduct.” PI Supp. 68. Although it is unclear what conduct Plaintiffs seek to cover with this

  provision, as written the language could be read to mean that even if a Defendant is unaware that

  another entity has “engaged in the aforementioned conduct,” that Defendant could not “act[] in

  concert” with that entity for any purpose—even if that interaction has nothing to do with content

  moderation. This is an absurd and unworkable result, and the Court should reject such an




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  amorphous injunction that would cause significant harm to Defendants’ operational interests. See,

  e.g., Wales Decl. ¶ 29a-e (Ex. 167); Crawford Decl. ¶ 22 (Ex. 80).120

         7.     Finally, Plaintiffs’ proposed injunction is overbroad because it would not just apply

  to the Office of the White House Press Secretary and numerous agencies but also would extend to

  dozens of current and former federal employees sued in their official capacity. See PI Supp. 67-

  68). 121 As the Fifth Circuit has recognized, an official capacity claim is essentially a claim against

  the agency and the official capacity claims therefore merge with those against the agencies.

  Harmon v. Dallas Cnty., 927 F.3d 884, 891 (5th Cir. 2019) (citing Turner v. Houma Mun. Fire &

  Police Civil Serv. Bd., 229 F.3d 478, 485 (5th Cir. 2000)) (observing that when “a defendant

  government official is sued in his individual and official capacity, and the city or state is also sued”

  the “official-capacity claims and the claims against the governmental entity essentially merge”);

  Smith v. Town of Lake Providence, No. 3:22-CV-01319, 2022 WL 16626762, at *7 (W.D. La. Oct.

  17, 2022) (holding that official capacity claims brought against officers merged with claims against



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      For example, Plaintiffs’ overbroad proposed injunction could throw CDC’s funding of research
  and other public health programs into jeopardy, thereby inhibiting CDC from carrying out core
  elements of its vital public health mission. Crawford Decl. ¶¶ 22-23 (Ex. 80). If a CDC-funded
  entity publicizes research that runs contrary to a narrative circulating on social media, and a social
  media company then takes steps consistent with its terms of service to limit that narrative, it is
  unclear whether CDC would be deemed to be “acting in concert” with “others” “engaged” in the
  “conduct” of “inducing” a social-media company to “suppress” or take “similar adverse action”
  against certain content, speakers or viewpoints. Id.
  121
      As another example of the overbreadth of the proposed injunction, Plaintiffs seek to enjoin DOJ
  and the State Department in addition to the component offices under their authority. See PI Supp.
  68. But despite Plaintiffs’ voluminous filings, they do not appear to have identified any evidence
  that these parent agencies have violated the First Amendment. For example, Plaintiffs identify
  DOJ only twice in their supplemental brief, and in both instances, it is in the context of meetings
  it attended with other federal departments and agencies, and in which misinformation generally
  was discussed. Id. at 34, 37. And Plaintiffs do not identify any conduct of the Department of State,
  which is only referenced twice in their brief, and, in both circumstances, it is simply to note that
  State is the parent agency of the GEC. Id. at 39, 44. Accordingly, any injunction in this case should
  not run against these agencies.


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  town). Indeed, “nothing [is] added by suing the [government official] in his official capacity.” See

  Jungels v. Pierce, 825 F.2d 1127, 1129 (7th Cir. 1987).

         Plaintiffs fail to explain why an injunction against federal employees sued in their official

  capacity is necessary when they also seek to enjoin the agencies where these individuals are now

  or previously were employed. There is nothing added by seeking to enjoin individuals sued in their

  official capacity where the agencies also would be subject to the proposed injunction. Instead,

  enjoining those individuals would result in substantial confusion. For example, if the proposed

  injunction were to extend to individuals sued in their official capacity, when an official capacity

  Defendant leaves the Government, a successor would need to be identified. But identifying a

  successor is not always easy or obvious, as employee job descriptions and responsibilities change

  over time. Sometimes, there may not be a successor given changed agency priorities and

  organizational structures. Accordingly, given the potential confusion resulting from applying an

  injunction against a host of individuals and because the official capacity claims merge with the

  claims against the agencies and the Office of the White House Press Secretary, any injunction in

  this case should apply only to those agency Defendants.

         In addition, Plaintiffs improperly seek to apply the injunction against former Federal

  Government employees sued in their official capacity and for whom no successor has been named,

  including: Andrew Slavitt; Clarke Humphrey; and Benjamin Wakana. PI Supp. 68; see also Defs.’

  Notice of Substitution at 4. Any prospective injunctive relief against these former government

  employees sued in their official capacity is no longer available against them because they have no

  authority to act. See Alvarez v. O’Brien, No. 8:21-cv-303, 2022 WL 5209377, at *2 (D. Neb. Oct.

  5, 2022) (citing Tara Enters., Inc. v. Humble, 622 F.2d 400, 401 (8th Cir. 1980) (holding that

  “because monetary damages are not sought nor any other relief which would be operative against




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  these defendants who no longer possess any official power, the action against them is, of course,

  moot”).” Nor are successors automatically substituted for these Defendants pursuant to Fed. R.

  Civ. P. 25(d), because these Defendants “did not hold an office for which a particular successor

  can be identified.” Alvarez, 2022 WL 5209377, at *2 (citations omitted). Accordingly, injunctive

  relief against former government employees for whom there are no successors is improper.

                                               * * * *
         Thus, even if the Court were to conclude that Plaintiffs are likely to prevail on the merits,

  that Plaintiffs have shown that they would suffer concrete and imminent irreparable harm in the

  absence of an injunction, and that Plaintiffs’ harm outweighs the detriment to the public interest

  of awarding them a properly drawn injunction, it would be profoundly and unnecessarily harmful

  to the public interest, and therefore unjustifiable, to impose the overbroad and vague injunction

  that Plaintiffs have proposed. If any injunction could be appropriate upon a finding that Plaintiffs

  are likely to prevail and face irreparable harm, it would need to be far more narrowly tailored to

  prevent the purportedly unlawful conduct that would cause Plaintiffs’ asserted injuries.

                                           CONCLUSION
      For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction should be denied. If

  nevertheless the Court were to enter an injunction, Defendants respectfully request that the

  injunction be administratively stayed for seven days, to allow Defendants time to consider moving

  for a stay pending appeal.




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  Dated: May 2, 2023          Respectfully submitted,

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